           Case   1:23-cv-23631-RNS                      Document 20-3 Entered on FLSD Docket 11/13/2023        PageMy eBayv
                                                                                                                       1 of 368
           v  Dai ly De als Brand Outlet Help & C ontact                                            Sell Watc hlist v
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ebay                              Shop by v
                                  category
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                                                         Q Search for anything                                                                                                              All Categories       V

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(      8-ack to ho m e page I List ed in c at egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                     Shar e I Add to Watchlist


                                                                                                                            Pop Sonic Leaf Facial Cleansing Device - NEW WITH
                                                                                                                                                                                                             Sho p w it h c onfidence
                                                                                                                            DEFECTS (BOX DAMAGE)
                                                                                                                                                                                                                       eBay Mon e y Back Guarantee

                                                                                                                               Condit io n:   New                                                            8 Get the item you ordered or get
                                                                                                                                                                                                               your money back.
                                                                                                                                                                                                                       Learn more

                                                                                                                                Price :   $75.95                               Buy It Now
                                                                                                                                                                                                             Seller information
                                                                                                                                                                                                             oebristol @Q;1 * )
                                                                                                                                                                               Acldtocart
                                                                                                                                                                                                             100% posit ive feedb ack


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                                                                                                                            Addit ional service available                                                    Visit store
                                                                                                                                                                                                             See other items
                                                                                                                            O 2=¥ear grotection [llan from Allstate - $7.99

                                                                                                                               ~     Fast a nd re liab le. Ships from United States.



                                                                                                                                Shipping : Free Standard Shipping. See details
                                                                                                                                              Located in: Johnson City, Tennessee, United States              Explore a related Store
                                                                                                                                 Delivery: Est imat ed between Wecl, Apr 19 and Fri, Apr 21 to               114K items sold
                                                                                                                                           60305 0
                                          $ Have one to sell?            Sell now                                                                                                                                      lovelydeals2012      (   Visit store )
                                                                                                                                 Ret u rns:   Selle r d oes not acce p t re turns . See details                        In eBay Stores
                                                                                                                                                                                                                       Sponsored

                                                                                                                               Payments: l~         IGPayl §      l[ •   l-      ~      I

                                                                                                                                              PayPal CREDIT
                                                                                                                                              Special f inancing available. See terms and ariP-!¥
                                                                                                                                              now

                                                                                                                                                     Earn up t o 5x poi n ts w h en you u s e you r
                                                                                                                                                     eBay M aste rcard®. Learn m o re

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    Similar sponsored items                                                                                                                                                                                                       Feedback on our sug~stions




                                              <::>                                                                                                                                                                                                 <::>
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    Popsonic Leaf bud Sonic Facial                         Pop Sonic strawberry 3 in 1.                            Cliniq ue Sonic System Purify ing             Pop Sonic Leaf bud Facial                   Pink pop sonic leaflet Sonic Facial               FC
    C leansin g Device Softe n W rinkl es                  C le an se, Massage, Exfol iate. Brand                  C lean s i ng Brush - New W/ Wand             C leansing Device O r an ge                 C lea nsi ng D evice                              Cl
    Lavender Purple                                        n ew sealed.                                            And Charge Dock                               Waterproof ~echargeable NIB
    New                                                    New                                                     New                                           New                                         New(Other}                                        N,

    $29.99                                                 $24.00                                                  $22.49                                        $18.00                                      $24.99                                            $
                                                                                                                   2 bids
    Free shipping                                          + $3.50 shipping                                                                                      + Sll.75 shipping                           Free shipping                                     +:
    Seller with a 99.8% posrf.ive feedback                 DJ Top Rated Plus                                       Free shipping                                 Seller with a 100% positive feedback        Seller with a 100% positive feedback              Se
                                                           Seller with a 100% positive feedback                    Seller with a 100% positive feedback




    Sponsored items customers also bought                                                                                                                                                                                         Feedback on our suggestions




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    Pop Sonic strawberry 3 in 1.                           Sonic Facial C leansing Brush                           Electric Silicone Facial Cleansing
    Cleanse, Massage, Exfoliate. Brand                     YUNCHI Food Grade Silicone                              Brush Face Skin C are Deep Cleane r
    n ew sealed.                                           Wat erproof BLUE WC02_B                                 Massager
    New                                                    New                                                     New
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 2 of 368
         el::>ay Checkout                                                                                                            How do you liKe our checkout? Give us reedbacK




            Pay with                                                                                                                  Subtotal (1 item)                            $75.95
                                                                                                                                      Shipping                                        Free
                   Add new card                                                                                                       Tax•                                            S5.32
            0
                    ~~          -      [51
                                                                                                                                      Order total                                 $81.27

            @       PayPa/                                                                                                               By placing your order, you agree to eBay's
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                                                                                                                                         *We're required by law to collect sales tax and


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                                                                                                                                         applicable fees for certain tax authorities
                                                                                                                                         Learn more
            0       Special financing available.
                   Apply now. See terms
                                                                                                                                                       Pay with PayPal


            0      I G Pav l Googte Pay                                                                                                       You'll nnrsh checkout on PayPal



                                                                                                                                           ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                        See details




            Miami, FL 33133
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: oebristol       Message to seller

                                     Pop Sonic Lear Facial Cleansing Device - NEW W ITH DEFECTS (BOX
                                     DAMAGE)
                                     $75.95
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 19 - Apr 21
                                     Standard Shipping
                                     Free



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]            -




            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families wtth Kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charily if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 3 of 368



DOE Number: 266
Seller Name: ottostore
Marketplace: eBay
           Case    1:23-cv-23631-RNS                    Document 20-3 Entered on FLSD Docket 11/13/2023       PageMyeBayv
                                                                                                                    4 of 368
          v   Daily Deals Brend Outlet Help & Co ntac t                                            Sell Watchlistv
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ebay                            Shop by v
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                                                  I    Q Search for anything                                                                                                                      All Categories     V

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(      8.aick t o prev i ou s page I List ed in category: Healt h & Bec1ut y ) Skin Care ) C leansers S, Toners                                                                                                                          Shar e I Add to Watchlist




                                                                                                                        Electric Facial Spa Massage Cleansing Silicone
                                                                                                                                                                                                                   Shop with confidence
                                                                                                                        Brush Face Clean Skin Cleaner
                                                                                                                                                                                                                          eBay Money Back Guarantee
                                                                                                                                                                                                                          Get the item you ordered or get
                                                                                                                            Condition: New                                                                         8      your money back.
                                                                                                                                  Colour:        - Select -                                                               Learn more


                                                                                                                             Quantity:      LJ                  Last One
                                                                                                                                                                                                                   Seller information
                                                                                                                                                                                                                   ottostore lliZQ.Q * l
                                                                                                                                                                                                                   93.3% positive feedback
                                                                                                                             Price:    AU $11.51                                      Buy It Now
                                                                                                                                       Approximately
                                                                                                                                       US$7.75                                                                     <:;) Saveseller
                                                                                                                                                                                      Add to cart
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                                                                                                                                                                                           _ a_tc_h_li_s_t - ~ )   See ot her items


                                                                                                                             Shipping: AU $300.00 [approx US S202.04) Australia Post
                                                                                                                                       International Economy Sea. See details
                                                                                                                                                                                                                   Earn 60,000 bonus points
                                                                                                                                             International shipment of rf:ems may be subject to                    with the JetBlue Plus Card.
                                                                                                                                             customs processing and additional charges. (D

                                                        Hover to zoom                                                                        located in: ShenZhen, China

                                                                                                                              Delivery:     Iii Estimated between Wed, May 31 and Wed, Jun
                                                                                                                                             70
                                                                                                                                             This rf:em has an extended handling time and a delivery

                                           $ Have one to sell?            Sell now
                                                                                                                                             estimate g reater than 34 business days.
                                                                                                                                             Please allow additional time if international delivery is
                                                                                                                                                                                                                                                jetBlue·
                                                                                                                                             subject to customs processing.                                        T~msApply


                                                                                                                              Returns:       Seller does not accept returns. See details

                                                                                                                            Payment s: l~                  IG Payl   § II llli!
                                                                                                                                                              Earn up to 5x points when you use y our
                                                                                                                                                              eBay Mastercard®. Learn more

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    Silicone Electric Face Cleansing                       Silicone Elect ric Facial Cleansing                    Sil icone Facial C leansing Brush                     Electric Face Cleansing Silicone           Silicone Elect ric Face C leansing         Si
    Brush Waterproof Facial Skin                           Brush Son ic Face Cleaning Spa                         Electric Sonic Vibrat ion Deep Pore                   Brush Facial Skin Cleaner C leaning        Brush Facial Sk in C leane r C leaning     Br
    C leaner Massager                                      Massage C lean                                         Skin Cleaner                                          Massager                                   Massager                                   M
    New                                                    New                                                    New                                                  New                                         New                                        N,

    $13.97                                                 $16.14                                                 $ 9.42                                                $6.20                                      $12.42                                     $
                                                                                                                                                                       ($6.20/lOOg)
    + $2.69 shipping                                       + $1.23 shipping                                       Free shipping                                                                                    + $24.86 shipping                          +:
                                                           7 watchers                                             7 watchers                                           + S7.46 shipping                            9watchers                                  16
                                                                                                                                                                       179 sold




    Sponsored items inspired by your views                                                                                                                                                                                           Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 5 of 368
         el::>ay Checkout                                                                                                               How do you like our checkout? Give us feedback




            Pay wit h                                                                                                                    Subtotal (1 item)                       A U $11.51
                                                                                                                                         Shipping                               AU $300.00
                    Add new card                                                                                                         Tax•                                    AU $21.81
            0
                    ~~-                                                                                                                  Order total                            AU $333.32

            @       PayPa/                                                                                                               Order total in USD                        $233.47
                    Current exchange rate: $1 = AU $1 42767
                    Change currencv.                                                                                                        current conversion rate: $1 = AU
                                                                                                                                            $1.42767

                        PoyPal                                                                                             V
                    •   CREDIT                                                                                                             By placing your order, you agree to eBay's
                                                                                                                                           User Agreement and Prtvagv. Notice.
                                                                                                                                           ~w e're required by law to collect sales tax and
                                                                                                                                           applicable fees for certain tax authorities.
            0       IG Pov l Google Pay                                                                                                    Learn more


                                                                                                                                                         Pay with PayPal
            Ship to
                                                                                                                                                 You'll finish checkout on PayPal


            Miami, FL 33138-4055                                                                                                             ebay MONEY BACK GUARANTEE
            United States                                                                                                                                    See details                      Bill
            Changf



            Review item and shipping

            Seller: ottostore        Message to seller

                                     Electric Facial Spa Massage Cleansing Silicone Brush Face Clean Skin
                                     Cleaner
                                     Colouc Rose Red
                                     AU $11 .51
                                     Quant~y 1


                                     Delivery
                                     Est. delivery: May 31 - Jun 7
                                     Australia Post International Economy Sea
                                     AU $300.00



            Gift cards, coupons, eBay Bucks



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            Enter_code: _ ~ ]                              -




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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 6 of 368



DOE Number: 267
Seller Name: outleth74
Marketplace: eBay
           Case  1:23-cv-23631-RNS                      Document 20-3 Entered on FLSD Docket 11/13/2023        PageMyeBayv
                                                                                                                     7 of 368
           v  Dai ly Deals Brand Outlet Hel p & Contact                                            Sell Watc hlistv
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ebay ~t:~!~ I                              V         Q Search for anything                                                                                                                          All Categories       V

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(      8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                               Shar e I Add to Watchlist


                                                                                                            Pulsaderm SONIC WASHCLOTH 2 speed Silicone Face
                                                                                                                                                                                                                     Shop w ith confidence
                                                                                                            Brush PINK waterproof
                                                                                                                                Be the first to w rite a review.
                                                                                                                                                                                                                               eBay Money Back Guarantee

                                                                                                                                                                                                                      8 Get the item you ordered or get
                                                                                                                                                                                                                        your money back.
                                                                                                                   Condition: New other (see details)                                                                          Learn more



                                                                                                                       Price:                                                                                        Seller information
                                                                                                                                  $9.50                                                Buy It Now
                                                                                                                                                                                                                     outleth74 ~ * J
                                                                                                                                 Was\!&$»-00 0
                                                                                                                                                                                                                     95% positive feed back
                                                                                                                                 Save US $0.50 (5% off)                            Add to cart

                                                                                                                                                                                                                     0       Saveseller

                                                                                                                 Best Offer:                                                                                         Contact seller
                                                                                                                                                                                       Make offer
                                                                                                                                                                                                                     Visit store
                                                                                                                                                                                                                     See other items
                                                                                                                                                                    (         <:? Add to Watchlist            )
                                                                                                            Addit ional servi ce avai lable

                                                                                                            0       Zcrear grotection glan from Allstate - $2.99


                                                                                                                                                                                                                      Shop a related Store
                                                                                                                 ~         Fast and reliable. Ships from United States.
                                                                                                                                                                                                                      278K items sold

                            $ Have one to sell?            Sell now                                                  Shipp ing: Free Standard Ship ping . see details                                                , . j:<>- eaud e luxe           ( Shop now )
                                                                                                                                                                                                                               In eBay Stores
                                                                                                                                      Located in: Henderson, Nevada, United States
                                                                                                                                                                                                                               Sponsored

                                                                                                                     Delivery: Estimated between Thu, Apr 20 and Mon, Apr 24 0

                                                                                                                       Ret urns: Seller does not accept returns. See det ails

                                                                                                                    Payments: [~              IGPay[ §       I[ -   1- ~ I
                                                                                                                                      PoyPo/ CREDIT
                                                                                                                                      Special f inancing available. See terms and aJ:l[l!.¥ now

                                                                                                                                               Earn up to 5x point s when you use your eBay
                                                                                                                                               Mastercard ®. Learn more

                                                                                                                                      -



    Similar sponsored items                                                                                                                                                                                                               Feedback on our suggestions




                                                                                                                                                                                       pulsaderm
                                                                                                                                                                                         I I ',




    Pack Of 2 Pulsaderm SONIC                            p ulsaderm SONIC WASHCLOTH 2                            Clinique Sonic System Purifying                    Pulsaderm Sonic Washc loth - Micro               Pulsaderm Sonic Washcloth - Micro              Si
    WASHCLOTH 2 speed Silicone                           Speed Waterproof                                        Cleansing Brush - New W/ Wand                      Pulse Cleansing (PINK) 2 Speed                   Pulse Cleansing (Lavender) 2                   Br
    Face Brush PINK waterproof                                                                                   And Charge Dock                                    Waterproof                                       Speed Waterproof                               H<
    New                                                  New                                                     New                                                New                                              New                                            N,

    $13.00                                               $17.99                                                  $29.00                                             $10.59                                           $9.99                                          $
                                                                                                                 11 bids
    Fr ee shipping                                       Free shipping                                                                                              Fr ee shi ppi ng                                 Free shipping                                  F,,
    Seller w ith a 99.4 % posrf:ive feedback             Sel ler with a 100% positive feedback                   Free shipping                                      last o ne                                        ~ lop Rated Plus                               Se
                                                                                                                 Seller with a 100% positive feedback                                                                Sel ler w ith a 99.6% positive feedback




    Sponsored ite ms inspired by your views                                                                                                                                                                                               Feedback on our sug~stions




                                                                                                                                                       ■
    Electric Facial C leansing Brush,                     Toys Importers Pack of 2                               Nail Boss Hoodie Hoody
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 8 of 368
         el::>ay Checkout                                                                                                             How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                  Subtotal (1 item)                               $9.50
                                                                                                                                       Shipping                                        Free
                   Add new card                                                                                                        Tax•                                            S0.67
            0
                    ~~           -     [51
                                                                                                                                       Order total                                 $10.17

            @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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                                                                                                                                          applicable fees for certain tax authorities
                                                                                                                                          Learn more
            0       Special financing available.
                   Apply now. See terms
                                                                                                                                                       Pay with PayPal


            0       I G Pav l GoogtePay                                                                                                        You'll nnrsh checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: outleth74        Message to seller

                                     Pulsaderm SONIC WASHCLOTH 2 speed Silicone Face Brush PINK
                                     waterproof
                                     $9.50
                                     SWcOO
                                     auanrny 1


                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS First Class
                                     Free



            Gift cards, coupons, eBay Bucks



            [ Entercode                                ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charrty has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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DOE Number: 268
Seller Name: pencilcolor2017
Marketplace: eBay
               Case     1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023        Page   10 of                                                                                                                                  s,O
          v     Daily Dea ls Brend Outlet He lp & Contact
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                                                                                                   Sell Watchlistv MyeBay v
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ebay                          Shop by v
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                                                I   Q Search for anything                                                                                                                       All Categories     V

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(      Back t o ho m e page I Listed in cat egory: Health & Beauty )   Sk in Care )   Fac ial C l e ans ing Dev ic es                                                                                                                   Share I Add to Watchlist


                                                                                                                                                                                                1          r""

                                                                   Earn $1,000 bonus cash back                                                          cHA~e o             ~ -




0 SAVE UPTO 20% WHEN YOU BUY MORE
[I]                                                                                                                             Silicone Electric Facial Cleansing Brush Vibration
                                                                                                                                Face Cleaner Skin Care Tool
                                                                                                                                                                                                                 Shop with conf idence
                                                                                                                                                                                                                         eBay Money Back Guarantee

■                                                                                                                                    Condition: New                                                              8 Get the item you ordered or get
                                                                                                                                                                                                                   your money back.
                                                                                                                                                                                                                          Learn more
                                                                                                                                                        Buyl           Buy2                 Buy3
                                                                                                                                Bulk savings:
                                                                                                                                                      $13.60/ea      $12.24/ea            $11.56/ea
                                                                                                                                                                                                                 Seller information
                                                                                                                                                  4 or more for $10.88/ea                                        11encilcolor2017 06536 * )

                                                                                                                                      Quantity:   LJ         More than 10 available/ 4 sold
                                                                                                                                                                                                                 96.9% posit ive f eed b ack



                                                                                                                                                                                                                 \ / Save seller

                                                                                                                                      Price: $13.60/ea                                                           Contact seller
                                                                                                                                                                                    Buy It Now
                                                                                                                                                                                                                 Visit store
                                                                                                                                                                                                                 See other items
                                                                                                                                                                                    Add to cart



                                                                                                                                      Best
                                                                                                                                                                                    Make offer
                                                                                                                                     Offer:



                                                                                                                                                                                                                  Shop a related Store
                                                                                                                                Addit ional service available                                                    115K items sold

                                        $ Have one to sell?            Sell no w                                                O ~ ~Rrotect ion Rian from Allstate - $1.99                                       --~-    lovelydeals2012      (   Visit store )
                                                                                                                                                                                                                          In eBay Stores
                                                                                                                                                                                                                          Sponsored

                                                                                                                                   ~      Fast and reliable. Ships from Unit ed States.


                                                                                                                                   ~      Breathe easy. Returns accepted.



                                                                                                                                      Shipping: Free Standard Shipping. See details
                                                                                                                                                  Located in: New Jersey, United States

                                                                                                                                      Delivery: Estimated between Thu, Apr 27 and Tue, May 2 0

                                                                                                                                      Returns: 30 day returns. Buyer pays for return shipping.
                                                                                                                                                  See d etails


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                                                                                                                                                  Special f inancing available. See terms and aRR!i
                                                                                                                                                  now

                                                                                                                                                            Earn up to 5x points when you use your
                                                                                                                                                            eBay Mastercard ®. Learn more

                                                                                                                                                  -


    Similar sponsored items                         See all      >                                                                                                                                                                 Feedback on our suggestions




    Silicone Electric Face Cleansi ng                   Ult rasonic Silico ne Elect ric Facial                          Nano 30ML Facial Portable Mist              Silic one Face Cleansing Brush               Electric Silicone Facial Cleansing             El•
    Brush Sonic Facial Skin Cleaner                     C leansing Brush Son ic Face                                    Sprayer for Disinfecting & Face             Elect ric Facial Cleanser Washing            Brush Face Skin Care Deep Cleaner              Br
    Heated Massager                                     C leanser Massager                                              Hydration US                                 Massager Scru bber                          Massager                                       M
    New                                                 New                                                             New                                         New                                          New                                            Nt

    $19.98                                              $12.93                                                          $6.50                                        $6.99                                       $6.99                                          $
                                                                                                                        0bids
    Free shipping                                       St&.6t5%off                                                                                                 Free shipping                                Free shipping                                  $9
    Seller with a 100% positive feedback                Free shipping                                                   + shipping                                  70sold                                       Seller with a 99.4% positive feedback          fo
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 11 of
        el::>ay   Checkout           368
                                                                                                                                        How do you like our checkout? Give us feedback




           Pay wit h                                                                                                                     Subtotal (1 item)                            $13.60
                                                                                                                                         Shipping                                        Free
                   Add new card                                                                                                          Tax•                                            S0.95
           0       ~ ~ -                 151
                                                                                                                                         Order total                                 $14.55

           @       PayPa/                                                                                                                   By placing your order, you agree to eBay's
                                                                                                                                            User Agreement and Prtva91: Notice.
                                                                                                                                            *We're required by law to collect sales tax and


                   ·~~
                                                                                                                                            applicable fees for certain tax authorities
                                                                                                                                            Learn more
           0       Special financing available.
                   Apply now. See terms
                                                                                                                                                          Pay with PayPal


           0       IG Pay I Google Pay                                                                                                           You'll finish checkout on PayPal



                                                                                                                                              ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                            See details




           Miami, FL 33138-4055
           United States
                                                                                                                                                                                                 Bill
           Changf



           Review item and shipping

           Seller: pencilcolor. ..       Message to seller




           [I]
                                     Silicone Electnc Facial Cleansing Brush Vibration Face Cleaner Skin
                                     Care Tool
                                     $13.60


                                     [   ~uantify




                                     Delivery
                                     Est. delivery: Apr 27 - May 2
                                     Standard Shipping
                                     Free



           Gift cards, coupons, eBay Bucks



           [~_E_n_te_r _co
                         _d_e_: _ _ _ _ _ _]               -




           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days after the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
           status, has closed, or no longer accepts funds from PPGF.


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          v     Daily Dea ls Brend Outlet He lp & Contact
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(      Back t o ho m e page I Listed in c at eg ory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                    Share I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                            Silicone Electric Facial Cleansing Brush Vibration
                                                                                                                                                                                                               Shop w ith confidence
                                                                                                                            Face Cleaner Skin Care Tool
                                                                                                                                                                                                                       eBay Money Back Guarantee
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                                                                                                                                                  $13.60/ea      $12.24/ea            $11.56/ea
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                                          $ Have one to sell?             Sell now                                          0     ~\'fil!LJ2rotection Jllan from Allstate - $1.99



                                                                                                                                ~      Fast and reliable. Ships from Unit ed States.


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                                                                                                                                 Ship ping: Free Standard Shipping. See details
                                                                                                                                              located in: New Jersey, United States

                                                                                                                                 Delivery: Est imat ed between Tue, A pr l8 and Sat, Apr22 0

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    Silicone Electric Face Cleansi ng                      Electric Face C leansing Brush Ultra                     NEW Murad Brighten UP ECLAIRCIR              Silic one Electric Facial Cleansing           Facial Deep Cleansing Brush                   El•
    Brush Sonic Facial Skin Cleaner                        Sonic Facial Skin Silicone Cleaner                       3 PIECE Facial Skincare Set NIB              Brush Vibration Face C leaner Skin            Silicone Face Sonic V ibration                Br
    Heated Massager                                        Massager                                                                                              c are Tool                                    Remover Rechargeable                          M
    New                                                    New                                                      New                                          New                                           New

    $19.98                                                 $7.12                                                    $9.95                                        $12.89                                        $14.99                                        $
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    Free shipping                                          $-r.495%off                                                                                           Free shipping                                 Free shipping                                 fo
    Seller with a 100% positive feedback                   Free shipping                                            + $1.95 shipping                                                                           Seller with a 99.2% posrt:ive feedback        Se
                                                           5watchers                                                Seller with a 99.4% positive feedback




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           Pay wit h                                                                                                                    Subtotal (1 item)                            $13.60
                                                                                                                                        Shipping                                        Free
                   Add new card                                                                                                         Tax•                                            S0.95
           0       ~ ~ -                 151
                                                                                                                                        Order total                                 $14.55

           @       PayPa/                                                                                                                  By placing your order, you agree to eBay's
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           Ship to                                                                                                                                           See details




           Palm Beach, FL 33480
           United States
                                                                                                                                                                                                Bill
           Changf



           Review item and shipping

           Seller: pencilcolor. ..       Message to seller




           [I]
                                     Silicone Electnc Facial Cleansing Brush Vibration Face Cleaner Skin
                                     Care Tool
                                     $13.60


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                                     Delivery
                                     Est. delivery: Apr 18 - Apr 22
                                     Standard Shipping
                                     Free



           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Nova Ukraine
           Donate to Nova Ukraine to help fund group, individual & famity therapy for families with kids
           who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days after the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
           status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 269
Seller Name: positiveshopnr1
Marketplace: eBay
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             v     Daily Deals Brand Outlet Help & Contac t
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 (      8.aick t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                        Shar e I Add to Watch11st



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                                                                                                                             Facial Cleansing Brush Electric Silicone Sonic
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                                                                                                                                                                                                                           eBay Money Back Guarantee

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                                                                                                                                      Color:      Rose

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                                                                                                                                           save us $0.97 (5%                          Add to cart
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                                           $ Have one t o s ell?           Sell now
                                                                                                                                                  worldwide. See det ails
                                                                                                                                                  located in: Multiple locations, Hong Kong

                                                                                                                                   De livery:     GI Estimated b etween Wed, Mar 29 and Tue, M ay
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                                                                                                                                   Returns: 30 day returns. Buy er pays fo r return shipping.
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     Ultrasonic Silicone Elect r ic Facial                  Silic one Ele c tric Face C lea ns ing                   S und ay Riley C .e .o. C + E Micro-             Hand he ld Electric Facial C leansing         Ultra sonic Silicone Ele c t ric Facial      Si
     Cleansing Brush Sonic Face                             Brush Sonic Fac ial Ski n Cleaner                        dissolve Cleansing Oil FULL SIZE                 Brush Tool Waterproof Silicone                Clea nsing Brush Sonic Face                  Br
     C le anse r M assage r                                 Heated Massager                                          3.4 oz NEW                                       Cleansing New                                 C lea nser M assag e r                       D•
     New                                                    New                                                      New                                              New                                           New                                          N,

     $12.93                                                 $19.98                                                   $8.50                                             $9.95                                        $13 .19                                      $
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     ~5%off                                                 Free shipping                                                                                             Free shipping                                 Free shipping                                F"
     Free shipping                                          Seller 100% positive                                     Free shipping                                    72 sold
     6 watchers                                                                                                      Seller99.8% positive




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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 16 of
        el::>ay   Checkout           368
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           Pay with                                                                                                                     Subtotal (1 item)                            $18.52
                                                                                                                                        Shipping                                        Free
                   Add new card                                                                                                         Tax•                                            S1.30
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                                                                                                                                        Order total                                 $19.82

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           Ship to                                                                                                                                           See details




           Miami, FL 33133-2709
           United States
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           Review item and shipping

           Seller: positivesho ..        Message to seller




               •-
                                     Facial Cleansing Brush Electnc Silicone Sonic Vibration Deep Pore Face
                                     Cleaning
                                     Coloc Rose
                                     $18.52

                                    Q uantity 1


                                     Delivery
                                     Est. delivery: Mar 29 - May 16
                                     Economy Shipping from Greater China to worldwide
                                     Free



                                     save up to5%



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           Donate to charity (optional) 0

           Girls MaKe Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days after the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



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           the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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DOE Number: 270
Seller Name: ramireariadn-0
Marketplace: eBay
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          v    Daily Deals Brend Outlet Help & Contact
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(     8-ack t o ho m e pag e I List ed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                 Shar e I Add to Watchlist


                                                                                                                          Sonic Face. Scrubber,silicone Facial C leaning Brush
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                                            FACIAL CLEANER
                                                                                                                               Quantity:    LJ         Last One / 2 sold
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                                                                                                                                                                                                          ramireariadn- 0 W        *)
                                                                                                                               Price :   $15.00                                Buy It Now                 95.4% Positive feedback


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                                    •                                                                                                              Ships from United States


                                                                                                                               Shipping: Free Standard Shipping. See details
                                                                                                                                         Located in: Les Vegas, Nevada, United States
                                                                                                                                                                                                          Shop related items
                                                                                                                                                                                                          113K items sold

                                          $ Have one to sell?             Sell now
                                                                                                                                Delivery: Est imated b etween Sat, Marn and Thu, M ar16 to
                                                                                                                                                                                                                    lovelydeals2012      ( Visit store )
                                                                                                                                                                                                                    In eBay Stores
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                                                                                                                                Returns: Seller does not accept returns. See details




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    Electric Face C leansing Brush Ult ra                 Silicone Electric Face C leansing                         Sonic Facial C leansing Brush               Silicone Electric Face C leansing         Hand held Electric Facial C leansing          El,
    Sonic Facial Skin Silicone C leaner                   Brush Sonic Fac ial Skin C leaner                         YUNCHI Food G rade Silicone                 Brush Ultra Sonic Facial Skin             Brush Tool Waterp roof Silicone               S<
    Massager                                              Heated Massager                                           Waterproof BLUE WC02_B                      C leaner Massage r                        C leansing New                                Si
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    $7.49                                                 $19.98                                                    $13.95                                      $9.00                                     $9.95                                         $
    Free shipping                                         Free shipping                                             Free shipping                               + S6.40 shipping                          Free shipping                                 F,,
                                                          Seller 100% positive                                      Seller99.9% positive                        Seller 100% positive                      74sold




    Sponsored ite ms inspired by your v ie ws                                                                                                                                                                               Feedback on our suggestions




    Fac ial C leansing Brush, Sonic                       Facial Cleansing Brush, Sonic                             Sil icone Elect ric Face C leansing         Ultrasonic Electric Sil icone Facial      Facial Cleansing Brush, Sonic                 Fe
    Silicone Scrubber, Face Vibrat ing                    Silicone Scrubber, Face V ibrat ing                       Bru sh Ultra Sonic Fac ial Skin             C leansing Br ush Sonic Face              Silicone Scr ubber, Face V ib rating          s,
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 19 of
        el::>ay   Checkout           368
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           Pay with                                                                                                                  Subtotal (1 item)                             $15.00
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                   Add new card                                                                                                      Tax*                                            $1.05
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           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: ramireariadn-0         Message to seller

                                    Son ic Face. Scrubber.silicone Facial Cleaning Brush USB
                                    Rechargable,ror Face Ext
                                    $15.00
                                    Quantity 1


                                    Delivery
                                    Est. delivery: Mar 11 - Mar 16
                                    USPS First Class
                                    Free




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           Donate to charity (optional) 0

           Girls MaKe Beats Inc
           Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
           the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 271
Seller Name: retailmisfits
Marketplace: eBay
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(     8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                           Shar e I Add to Watchlist




[I]                                                                                                                        Facial Cleansing Brush, Sonic Silicone Scrubber,
                                                                                                                           Face Vibrating Massager NEW
                                                                                                                                                                                                                   Shop w ith conf idence
                                                                                                                                                                                                                             eBay Money Back Guarantee

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                                                                                                                                                                                                                             your money back.
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                                                                                                                                                   (packaging is WORN/DAMAGED- exactly as pictured).
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                                                                                                                                                                                                                   Seller information
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                                                                                                                                Price : $13.95                                         Buy It Now                  10 0% Positive feedback


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                                                                                                                                Ships from United States                         Returns accepted

                                                                                                                                                                                                                   Shop a related Store
                                                                                                                                Shipping: Free Standard Shipping. See details                                      113K items sold
                                                                                                                                                   Located in: Las Vegas, Nevada, United States

                                         $ Have one to sell?             Sell now                                               Delivery: Estimated between Sat, Marn and Wed, Mar l 5 t o                                   lovelydeals2012      (   Visit store )
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    Facial C leansing Brush, Sonic                        Silicone Electric Face C leansing                        ON LABS Blackhead Deep                              Elect ric Face Cleansing Brush Ultra        Facial Cleansing Brush, Sonic                   Fe
    Silicone Scrub ber, Face Vibrat ing                   Brush Son ic Facial Skin Clean er                        Cleansing Nose Pore Strips 6 Strips                 Sonic Fac ial Skin Silicone Cleane r        Silicone Scr ubber, Face V ib rat ing           Si
    Massager                                              Heated Massager                                          (LOT OF3)                                           Massager                                    Massager                                        M
    New                                                   New                                                      New                                                 New                                         New                                             N,

    $ 6.00                                                $19.98                                                   $0.99                                               $7.49                                       $6.00                                           $
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    + $5.85 shipping                                      Free shipping                                                                                                Free shipping                               + $5.85 shipping                                +!
                                                          Seller 100% positive                                     + $4.50 shipping                                                                                5I Top Rated Plus
                                                                                                                   Seller 100% positive                                                                            Swatchers




    Sponsored items inspired by your v ie ws                                                                                                                                                                                          Feedback on our sug~stions




    Silicone Electric Face Cleansing                      Ult rasonic Electr ic Silicone Facial                    Facial C leansing Br ush, Sonic                     Facial Cleansing Brush, Waterproof          Facial Cleansing Brush Silicone                 Fe
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 22 of
        el::>ay   Checkout           368
                                                                                                                                      How do you liKe our checkout? Give us reedbacK




           Pay wit h                                                                                                                   Subtotal (1 item)                            $13.95
                                                                                                                                       Shipping                                        Free
                  Add new card                                                                                                         Tax•                                            S0.98
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                                                                                                                                       Order total                                 $14 .93

           @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
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                                                                                                                                           ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                          See details




           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: retailmisfits      Message to seller

                                    Facial Cleansing Brush, Sonic Silicone Scrub ber, Face Vibrating
                                    Massager NEW
                                    $1 3.95
                                    Quanmy 1


                                    Delivery
                                    Est. delivery: Mar 11 - Mar 15
                                    Standard Shipping
                                    Free



           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Girls MaKe Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days after the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
           the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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                  Case      1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023           Page   23 of
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 (       8-ack t o ho m e page I List ed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Devic es                                                                                                                         Shar e I Add to Watchlist



D EX TRA 10% OFF WITH C O DE MISFITSSPRINGl0                                                            See all e ligi ble it em sand t e, ms   ►

[i]                                                                                                                         Facial Cleansing Brush, Sonic Silicone Scrubber,
                                                                                                                            Face Vibrating Massager NEW
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                                                                                                                                                    located in: l as Vegas, Nevada, United States

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     Face Body Ex foliating Sil icone                       Sonic Facial Skin Silicone C leaner                     C leansing and Revit alizing Mousse                Brush Sonic Facial Skin C leaner              Massage Electric Rechargeable              s,
     Waterp roof us                                         Massager                                                5.1 oz - New                                        Heated Massager                              Exfoliate Clean                            Si
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     10% off 3+ with coupon




     Sponsored it ems inspired by your views                                                                                                                                                                                          Feedback on our sug~stions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 24 of
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           Pay wit h                                                                                                                    Subtotal (1 item)                           $11.16
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           Ship to                                                                                                                           ebay MONEY BACK GUARANTEE
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           Miami. FL 33133
           United States
                                                                                                                                                                                               Bill
           Changf



           Review item and shipping

           Seller: retailmisfits       Message to seller

                                     Facial Cleansing Brush. Sonic Silicone Scrubber. Face Vibrating
                                     Massager NEW
                                     $11.16
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                                     Delive ry
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                                     Standard Shipping
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           Gift cards, coupons, eBay Bucks

           &I    Discount MISFITSSPRING10
                 Applied : $ 1.12




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           O To apply a donation. you can't be using gift cards. coupons. eBay BucKs. or reward points




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                                      368


DOE Number: 272
Seller Name: rodcogroup
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023          Page    26 of
          v     Daily Deals Brend O utlet Help & C o ntac t
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                                                                                                                                 Pop Sonic Leaf Sonic Facial Cleansing Electric
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                                                                                                                                 Device Blue Marble New Cordless
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                                                                                                                                                         located in: Pittsburgh, Pennsylvania, United States

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    C lean s in g Device O range                             C lean s i ng Devi ce Sof ten W rin k l es                 Inf used Brush                                          Cleanse, Massage, Extoliate. Brand                         YUNCHI Food Grade Silicone                           s,
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    Sponsored items customers also bought                                                                                                                                                                                                                             Feedback on our suggestions



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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 27 of
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           Pay with                                                                                                        Subtotal Q item)                             $39.99
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           Ship t o                                                                                                             ebay MONEY BACK GUARANTEE
                                                                                                                                               See details


           Miami, FL 33133-2709
           United States                                                                                                                                                         Bill
           Chang,1



           Review item and shipping

           Seller: rodcogroup         Message to seller

                                  Pop Sonic Leaf Sonic Facial C leansing Electric Device Blue Marble
                                  New Cordless

                                  $39.99
                                  Quantityl


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                                  Est. delivery: Apr 21 - Apr 24
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           G ift cards, coupons, eBay Bucks




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           Donate t o c harity (optiona l) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up
           healthy, safe, educated & empowered so they can focus on being kids. PayPal Giving
           Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
           after the end of the month in which the donation is made. Donations are non-
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           funds from PPGF.


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                                      368


DOE Number: 273
Seller Name: rumaxtrade
Marketplace: eBay
                     Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 29 of
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    (       8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                       Shar e I Add to Watchlist



0 SAVE UPTO 10% WHEN YOU BUY MORE
                                                                                                                                Electric Face C leansing Brush Silicone Massager
                                                                                                                                                                                                                       Shop w ith confidence
                                                                                                                                Ultra Sonic Facial Skin Cleaner
I       I   I                                                                                                                                                                                                                 eBay Money Back Guarantee
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                                               $ Have one to sell?            Sell now

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                                                                                                                                                 Located in: Dummalasooriya, Sri Lanka


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        Silicone Electric Face C leansing                      Hand held Electric Facial Cleansing                      Sunday Riley c .e .o. c + E Micro-           Silicone Elect ric Face Cleansing                 Silicone Elect ric Face C leansing          UI
        Brush Sonic Facial Skin C leaner                       Brush Tool Waterproof Silicone                           dissolve Cleansing Oil FULL SIZE             Brush Facial Skin C le aner C leaning             Brush Facial Skin C leaner C leaning        Cl
        Heated Massager                                        Cleansing New                                            3.4oz NEW                                    Massager                                          Massager                                    Cl
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 30 of
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           Pay wit h                                                                                                             Subtotal (1 item)                            $13.98
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           Ship to                                                                                                                                   See details




           Miami, FL 33133-2709
           United States
                              1
           Changf



           Review item and shipping

           Seller: rumaxtrade          Message to seller




               •
                                   Electric Face Cleansing Brush Silicone Massager Ultra Sonic Facial SKm
                                   Cleaner
                                   Color/Color: Rose
                                   $13.98


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           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Girls MaKe Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charily if



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           the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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                                      368


DOE Number: 274
Seller Name: shmcg-7339
Marketplace: eBay
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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                     Shar e I Add to Watchlist


                                                                                                                      Facial Cleansing Brush made with Ultra Hygienic
                                                                                                                                                                                                      Shop w ith confidence
                                                                                                                      Soft Silicone, Waterproof Sonic
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                                                                                                                                      located in: Toledo, Oregon, United States
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    Son ic Silicone Facial C le ansing                    5 -1 Mu lt ifunctio n Electr ic Face                O N LABS Blackhead Deep                    BLUE Facial Cleansing Brush,2-in-1         Silicone Facial C le ansing Brush                             Si
    Massager Brush - FREE Headband                        Facial Cleansing Brush Spa Skin                     Cleansing Nose Pore Strips 6 Strips        Silicone Exfoliator w/Spa                  Electric Sonic Vibration Deep Pore                            Br
    Free Shipping                                         Care Massage US                                     (LOTOF3)                                   Mic rof iber He adband                     Skin C le ane r                                               Cl
    New                                                   New                                                 New                                        New                                        New

    $17.99                                                $5.99                                               $0.99                                      $13.99                                     $7.59                                                         $
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    Free shipping                                         Free shipping                                                                                  Free shipping                              $r.995%off                                                    +,
    Seller 100% positive                                  5 watchers                                          + $4.50 shipping                           Seller 100% positive                       Free shipping                                                 l't'I
                                                                                                              Seller100% positive                                                                   9 watchers                                                    Se




    Sponsored items inspired by your v ie ws                                                                                                                                                                             Feedback on our suggestions




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    Son ic Facial C leansing Brush                        FOREVER LINA T-Sonic mini Facial                    Flipping Octopus Flipping Octopus          O ffic ial Reversib le Mood Colo u r       Ele ctric Face C leansing Brush                               Si
    Heated, 3 Speed Silicone Face                         C leansing Devic e                                  Octop us Octopus Plush Toy                 Chang ing Octopus Plush Pre Loved          Silicone Massager Ultra Sonic                                 Br
    Cleansing Brush                                                                                           Flipping Doll Octopu                       Soft Toys                                  Facial Skin C leane r                                         Cl
    New                                                   New                                                 New                                        Pre-owned                                  New                                                           N,

    $35.00                                                $12.99                                              $24.69                                     $4.74                                      $13.98                                                        $
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 33 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                                   Subtotal (1 item)                            $15.00
                                                                                                                                       Shipping                                        $5.00
                  Add new card                                                                                                         Tax•                                            $140
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                                                                                                                                       Order total                                 $21.40

           @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
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           Ship to                                                                                                                                          See details




           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: shmcg-7339           Message to seller

                                    Facial Cleansing Brush made with Ultra Hygienic Son Silicone,
                                    Waterproof Sonic
                                    $15.00


                                    [   ~uantify




                                    Delivery
                                    Est. delivery: Mar 13 - Mar 16
                                    USPS First Class
                                    S5.00



           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Girls MaKe Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days after the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charily if
           the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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                                      368


DOE Number: 275
Seller Name: shop_purple
Marketplace: eBay
               Case     1:23-cv-23631-RNS                  Document 20-3 Entered on FLSD Docket 11/13/2023          Page    35 of
          v     Daily Dea ls Brend O utlet He lp & Contact
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(      8.aick t o ho m e page I Listed in cat eg ory· Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es                                                                                                                      Shar e I Add to Watchlist


                                                                                                                            NEW BEAUTY 360 PINK SILICONE SONIC FACIAL
                                                                                                                                                                                                               Shop w ith confidence
                                                                                                                            BODY CLEANSING PORE BRUSH
                                                                                                                                                                                                                         eBay Money Back Guarantee
                                                                                                                            It Last item available
                                                                                                                                                                                                               8 Get the item you ordered or get
                                                                                                                                                                                                                 your money back.
                                                                                                                                 C ondition: New                                                                         Learn more

                                                                                                                                  Quantity:   LJ         Last O ne / l sold
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                                                                                                                                  Price :   $16.99                              Buy It Now                     99.3% positive fe edback



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                                                                                                                                                                                                                Explore a related Store
                                                                                                                                                                                                                278K items sold
                                                                                                                                ~      Fast and reliable. Ships from United States.
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                                                                                                                                                                                                                         In eBay Stores
                                                                                                                                                                                                                         Sponsored
                                                                                                                                  Shipping:   us $4.0 0 Expedited Shipping. See d etai Is
                                                                                                                                              Located in: Tampa, Florida, United States


                                                                                                                                  Delivery: Estimated between Fri, Apr21 and Sat, Apr 22 0

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    Silic one Electric Face Cleansing                      Electric Face Cleansing Brush Ultra                      Proactiv Pore Cleansing Charcoal             Sonic Fac ial Cleansing Brush                 Silicone Elect ric Face Cleansing              El•
    Brush Sonic Fac ial Skin C leaner                      Sonic Facial Skin Silicone C leaner                      Inf used Brush                               YUNCHI Food G rade Silic one                  Brush Ult ra Sonic Facial Skin                 s,
    Heated Massager                                        Massager                                                                                              Waterproof BLUE WC02_B                        C lea ner Massager                             M
    New                                                    New                                                      New                                          New                                           New

    $19.98                                                 $ 7.49                                                   $11.30                                       $13.95                                        $ 9.00                                         $
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    Fr ee shipping                                         Free shipping                                                                                         Fr ee shi ppi ng                              + shipping                                     F,,
    Seller w ith a 100% posit ive f eedback                6 watc he r s                                            + shipping                                   Seller with a 99.9% positive feedback         Seller w ith a 100% positive feedback
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           Pay wi th                                                                                                       Subtotal 0 item)                              $16.99
                                                                                                                           Shipping                                      $4.00
                  Add new card                                                                                             Tax·                                            $1.47
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           Miami, FL 33133-2709
           United States                                                                                                                                                           Bill
           Chang!l                                                                                                                                                                  ?


           Review item and shipping

           Seller: shop_purple          Message to seller

                                  NEW BEAUTY 360 PINK SILICON E SONIC FACIAL BODY
                                  C LEANSING PORE BRUSH

                                  $16.99
                                  Quantityl


                                  Delivery
                                  Est. delivery: Apr 20 - Apr 22
                                  Expedited Shipping
                                  $4.00




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           Donate t o c harity (optiona l) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children lacing poverty resources needed to grow up
           healthy, sale, educated & empowered so they can locus on being kids. PayPal Giving
           Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
           after the end of the month in which the donation is made. Donations are non-
           refundable and typically tax deductible. PPGF may be unable to grant funds to a
           charity ii the charity has lost tax exempt status, has closed, or no longer accepts
           funds from PPGF.


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                                      368


DOE Number: 276
Seller Name: shopcom2000
Marketplace: eBay
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            v     Daily Deals Brand Outlet Help & Contact
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ebay                            Shop by v
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(      8.aick t o ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                        Shar e I Add t o Watchlist


                                                                                                                            Sonic Facial Cleansing Brush Heated, 3 Speed
                                                                                                                                                                                                                 Shop w ith confidence
                                                                                                                            Silicone Face Cleansing Brush
                                                                                                                                                                                                                           eBay Money Back Guarantee

                                                                                                                                 Condition: New                                                                   8        Get the item you ordered or get
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                                                                                                                                     Color:       Pink                                                                     Learn more


                                                                                                                                  Quantity:   LJ            10 available
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                                                                                                                                                                                                                 shor,com2000 (Q2 * )
                                                                                                                                                                                                                 100% Positive feedback
                                                                                                                                  Price:   $35.00                                   Buy It Now

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                                                                                                                                              Located in: Fontana, Calrfornia, Unrf:ed States
                                                                                                                                                                                                                  Explore a related Store
                                                                                                                                  Delivery: Estimated between Sat, Mar 11 and Tue, Mar 14 0
                                                                                                                                                                                                                  113K items sold
                                                                                                                                   Returns: Seller does not accept returns. see details
                                                                                                                                                                                                                           lovelydeals2012      (   Visit store )
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    Hand held Electric Facial Cleansing                    Silicone Electric Face Cleansing                         lsd in Essent ial Cleansing Oil Based           Electric Face Cleansing Brush Ultra          Sonic Facial Cleansing Brush                    Fe
    Brush Tool Waterproof Silicone                         Brush Son ic Facial S k in C lean er                     Cleanser 200ml 6.76oz                           Sonic Facial Skin Silicone Cleane r          YUNCHI Food Grade Silicone
    Cleansing New                                          Heated Massager                                                                                          Massage r                                    Waterproof BLUE WC02_B
    New                                                    New                                                      New                                             New                                          New                                             N,

    $9.95                                                  $19.98                                                   $16.00                                          $7.49                                        $13.95                                          $
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    Free shipping                                          Free shipping                                                                                            Free shipping                                Free shipping                                   F,,
    74sold                                                 Seller 100% positive                                     + $12.00 shipping                                                                            Seller 99.9% positive                           38
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    FOREVER LINA T-Sonic mini Facial                       Flipping Octopus Flipping Octopus                        Offic ial Revers ible Mood Colo ur              Electric Face Clean sing Brush               Silicone Electric Face C leansing               Si
    Cleansing Device                                       Octopus Octopus Plush Toy                                Changing Octopus Plush Pre Loved                Silic one Massager Ultra Sonic               Brush Ultra Sonic Facial Skin                   Br
                                                           Flipping Doll Octopu                                     Soft Toys                                       Facia l Skin Cleane r                        C leaner Massager                               Cl
    New                                                    New                                                      Pre-owned                                       New                                          New                                             N,

    $12.99                                                 $24.69                                                   $4.74                                           $13.98                                       $34.99                                          $
    + shipping                                             $25995%off                                               + shipping                                      Free shipping                                Free shipping                                   $2
    Seller 100% positive                                   Free shipping                                            Seller100% positive                                                                                                                          Fro
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 39 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                              Subtotal (1 item)                            $35.00
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                       Add new card                                                                                               Tax*                                            $2.45
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                                                                                                                                  Order total                                 $37.45

          @            PayPa/                                                                                                        By placing your order, you agree to eBay's
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           Miami, FL 33133-2709
           United States
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           Review item and shipping

           Seller: shopcom2000              Message to seller

                                      Son ic Facial Cleansing Brush Heated, 3 Speed Silicone Face Cleansing
                                      Brush
                                      Coloc PinK

               • •.-                  $35.00


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                                      Delivery
                                      Free 2-4 day sh ipping
                                      Get it by Mar 11 - Mar 14
                                      USPS Priority Mail Flat Rate Envelope




           Gift cards, coupons, eBay Bucks




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           Donate to charity (optional) 0

           Girls MaKe Beats Inc
           Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity If
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DOE Number: 277
Seller Name: shopcrownhouse
Marketplace: eBay
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          v     Daily Deals Brend O utlet He lp & Contact
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[I]                                                                                                                        Borim Silicone Facial Cleaner Cleanser Device
                                                                                                                           BRM-5800 Electronic Face Massager
                                                                                                                                                                                                           Shop w ith conf idence
                                                                                                                                                                                                                    Top Rated Plus
                                                                                                                                                                                                                    Trusted seller, fast shipping, and
                                                                                                                               Condition: New
                                                                                                                                                                                                                    easy returns.

                                                                                                                                Quantity:   EJ         5available/2sold
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                                                                                                                                                                                                           Visit store
                                                                                                                                                                                                           See other items
                                                                                                                               ~    Breathe easy. Free shipping and returns.
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                                          $ Have one to sell?            Sell no w                                              Shipping: Free Standard Shipping. See details
                                                                                                                                            located in: Millersburg, Pennsylvania, United States
                                                                                                                                                                                                            Discover related items
                                                                                                                                Delivery: Est imated between Thu, Apr 20 and Sat, Apr 22 0                  278K items sold

                                                                                                                                Retu rns:   30 day returns. Seller pays for return shipping.
                                                                                                                                                                                                            ....~ ..... eaude luxe          ( Shop now)
                                                                                                                                            see details                                                                 In eBay Stores
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    Electric Face Cleansing Brush Ultra                   Electric Silicone Facial Cleansing                       Cleanser, face cleanser, face wash,         Silic one Electric Face Cleansing           Silicone Electric Face Cleansing                El•
    Son ic Facial Skin Silicone C leaner                  Brush Face Skin Care Deep Cleaner                        dr lift, jojoba, vitamin c                  Brush Sonic Facial Skin C leaner            Brush Ultra Sonic Facial Skin                   Br
    Massager                                               Massager                                                                                            Heated Massager                             C lea ner Massager                              M
    New                                                   New                                                      New                                         New                                         New

    $7.49                                                 $6.99                                                    $32.20                                      $19.98                                      $9.00                                           $
                                                                                                                   0bids
    Free shippi ng                                        Free shipping                                                                                        Free s hippi ng                             + shipping                                      $9
    6 wat chers                                           Seller wit h a 99.4% positive feedback                   + $5.99 shipping                            Seller with a 100% positive feedback        Seller with a 100% positive feedback            F,,
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        el::>ay   Checkout           368
                                                                                                                                     How do you like our checkout? Give us feedback

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           Pay with                                                                                                                   Subtotal (1 item)                               S8.99
                                                                                                                                      Shipping                                         Free
                  Add new card                                                                                                        Tax*                                            S0.63
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                   §1 ~         -       ~                                                                                             Order total                                    $ 9 .62

           @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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           Ship to                                                                                                                                         See details




           Miami, FL 33133-2709
           United States                                                                                                                                                                       Bill
           Changf                                                                                                                                                                               ?

           Review item and shipping

           Seller: shopcrownhouse             Message to seller

                                    Borim Silicone Facial Cleaner Cleanser Device BRM-5800 Electronic
                                    Face Massager
                                    $8.99


                                    [   ~uaatify




                                    Delivery

                                    @      Est delivery: Apr 21 - Apr 24
                                           USPS First Class
                                           Free

                                    0      Est delivery Apr 20 - Apr 22
                                           USPS Priority Mail Padded Flat Rate Envelope
                                           S10.40




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               r code: _ _]                               -




           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days after the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds lo a charity if the charily has lost lax exempt
           status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 278
Seller Name: sita-ram (22)
Marketplace: eBay
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0 SAVE UPTO 5% WHEN YOU BUY MORE
[t]                                                                                                                            AGARO CM2107 Sonic Facial Cleansing Massager
                                                                                                                               Silicone Facial Cleansing Brush
                                                                                                                                                                                                                   Shop w ith confidenc e

                                                                                                                                                                                                                           eBay Money Back Guarantee


          •                                                                                                                        C ondition:   New                                                                8      Get the item you ordered or get
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                                                                                                                                                                                                                           learn more
                                                                                                                                                       Buyl             Buy 2
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                                                                                                                                                     $23.49/ea        $23.02/ea
                                                                                                                                                                                                                   Seller information
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                                                                                                                                                                                                                    Discover related items


                                                                                                                                                                                                                           lovelyd eals2012       ( Visit store )
                                                                                                                                    Shipping: Free Standard Shipping. See details                                          In eBay Stores
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                                                                                                                                                 Located in: NOIDA, UTTAR PRADESH, India

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                                                                                                                                              See details

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         C leansing Brus h Son i c Face                        Brush Sonic Fac ial Ski n C l e aner                    dissolve Cleansing Oil FULL SIZE                                                            YUNCHI Food Grade Silicone                    Cl
         C leanser M assager                                   Heated Massager                                         3.4oz NEW                                                                                   Waterproof BLUE WC0 2_B                       Cl
         New                                                   New                                                     New                                           New                                           New                                           N,

         $12.93                                                $19.98                                                  $8.50                                          $14.99                                       $13.95                                        $
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         Sl&.M5%off                                            Free shipping                                                                                         Free shipping                                 Free shipping                                 $2
         Free shipping                                         Seller 100% positive                                    Free shipping                                 38 sol d                                      Seller 99.9% positr\le                        F,,
         6watchers                                                                                                     Seller99.8% positive




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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 45 of
        el::>ay   Checkout           368
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           Pay with                                                                                                                         Subtotal (1 item)                            $23.49
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                   Add new card                                                                                                             Tax•                                            S1.64
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           Ship to                                                                                                                                               See details




           Miami, FL 33133-2709
           United States
                                                                                                                                                                                                    Bill
           Changf                                                                                                                                                                                    ?


           Review item and shipping

           Seller: sita-ram         Message to seller

                                     AGARO CM2 107 Sonic Facial Cleansing Massager Silicone Facial
                                     Cleansing Brush
                                     $23.49


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                                     Delivery
                                     Est. delivery: Mar 21 - Apr 6
                                     Standard Shipping
                                     Free



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           Donate to charity (optional) 0

           Girls Make Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
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                                      368


DOE Number: 279
Seller Name: solyansoutlet
Marketplace: eBay
              Case     1:23-cv-23631-RNS                    Document 20-3 Entered on FLSD Docket 11/13/2023        Page  47 of
          v    Daily Deals Brend O utlet He lp & C o ntac t
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(     8.aick t o prev i ou s page I List ed in category: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                 Shar e I Add to Watchlist


                                                                                                                                Brush Ultrasonic Electric Silicone Skin Care Face
                                                                                                                                                                                                                  Shop with confidence
                                                                                                                                Facial Cleansing Washing Clean
                                                                                                                                                                                                                            eBay Money Back Guarantee

                                                                                                                                    Condition: New                                                                8 Get the item you ordered or get
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                                                                                                                                                                                                                  Seller information
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                                                                                                                                                                                                                  96.2% positive feed back

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                                                                                                                                                                                                                  Visit store
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                                                                                                                                Additional service available

                                                                                                                                0    ~=r1rotect ion Rian from Allstate - $1.99



                                                                                                                                    ~    Fast and reliable, Ships from United States.



                                                                                                                                     Shipping: Free Standard Shipping. See details
                                                                                                                                                 Located in: Long Beach, California, United States

                                           $ Have one to sell?              Sell now                                                 Delivery: Estimated between Wed, Apr26 and Mon, Mayl 0

                                                                                                                                     Returns: Seller does not accept returns. See details

                                                                                                                                    Payments:    l~ IGPayl§ I[               1-       ~ I
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                                                                                                                                                 Special f inancing available. See terms and "RR!~
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    Silicone Face Cleansing Brush                            Silicone Face Cleansing Brush                              NuFACE Trinity Advanced Facial              Elect ric Facial Cleansing Brush Set          Electric Face Cleansing Brush Ultra            Si
    Electric Facial Cleanser Washing                         Electric Facial Cleanser Washing                           Toning Device                               Face Body Exloliating Silicone                Sonic Facial Skin Silicone Cleaner             M
    Massager Scrubbe r                                       Massager Scrubber                                                                                      Waterproof US                                 Massager                                       E>
    New                                                      New                                                        New                                         New                                           New                                            Nf

    $7.59                                                    $6.99                                                      $95.00                                      $11.97                                        $Z49                                           $
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    Free shipping                                            Free shipping                                                                                          Free shi ppi ng                               Free shipping                                  fo
                                                             69sold                                                     Free shipping                               £+lTop Rated Plus                             5 wat chers                                    41
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    Related sponsored items                                                                                                                                                                                                            Feedback on our suggestions




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    Electric Face Cleansing Brush Ultra                      NuFACE Trinity Mic rocurrent Facial                        Foreo Luna Mini 2 Facial C leansing         C larisonic Mia 2 Sonic Skin                  New C larisonic Mia Fit Skin                   Fe
    Sonic Facial Skin Silicone C leaner                      Toning Device New Open Box                                 Brush ( Fuchsia ) ..New With case..         Cleansing System . WHITE NEW                  Clea ning Face Brush . WH ITE                  Br
    Massager                                                                                                                                                                                                                                                     c,
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 48 of
        el::>ay   Checkout           368
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           Pay with                                                                                                               Subtotal (1 item)                            $12.99
                                                                                                                                  Shipping                                        Free
                  Add new card                                                                                                    Tax*                                            $0.91
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                                                                                                                                  Order total                                 $13.90

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           Ship to                                                                                                                                    See details




           Palm Beach, FL 33480
           United States                                                                                                                                                                  Bill
           Changf



           Review item and shipping

           Seller: solyansoutlet        Message to seller

                                   Brush Ultrasonic Electric Silicone Skin Care Face Facial Cleansing
                                   Washing Clean
                                   $12.99


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                                   Delive ry
                                   Est delivery: A pr 26 - May 1
                                   USPS First Class
                                   Free



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           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charily no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
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           status. has closed, or no longer accepts funds from PPGF.


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DOE Number: 280
Seller Name: star61172
Marketplace: eBay
              Case     1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023         Page  50 of                                                                                                                                     s,O
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(     Back t o ho m e page I U sted in c at egory: Health& Seavty )              Sk in C are )    Extoliators&Scrubs                                                                                                                    Share I Add to Watchlist


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                                                                                                                               HLAIE Silicone Electric Face Cleansing BRUSH
                                                                                                                                                                                                                Shop w it h confidence
                                                                                                                               Sonic Facial Skin Cleaner Massager ft
                 Skincare Effect Increased                                                                                                                                                                                Top Rated Plus

                  by 2QQ /o
                                                                                                                                                                                                                          Trusted seller, fast shipping, and
                                                   0                                                                                Condition: New
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                                                                                                                                                                                                                          Learn more
                                                                                                                                                       Buyl           Buy2              Buy 3
                                                                                                                               Bulk saving s:
                                                                                                                                                     $19.98/ea      $17.98/ea         $16.98/ea
                  • Deep cleaning                                                                                                                                                                                         eBay Money Back Guarantee

                 • Open Pores                                                                                                                    4 or more for $15.98/ea                                        8         Get the item you ordered or get
                                                                                                                                                                                                                          your money back.

                 • Promote facial
                   absorption of essence
                                                                                                                                     Quantity:   LJ         More than l0availab le / 5sold
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                                                                                                                                                                                                                Seller information
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                                                   $ Have one to sell?           Sell now                                            Shipping: Free Standard Shipping. see details
                                                                                                                                                 Located in: New Port Richey, Florida, Unrted States             Shop related items
                                                                                                                                     Delivery: Estimat ed between Wed, Apr26 and Thu, Apr 27 0                  115K items sold

                                                                                                                                     Returns: 30 day returns. Seller pays for return shipping.                            lovelydeals2012      (   Visit store )
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    5-1 Multifunc tion Elect ronic Facial                            Silicone Face Cleansing Brush                     RODIAL Bee Venom Cleans ing                  Silicone Electric Fac ial Cleansing         Electric Silicone Facial Cleansing                Si
    Cleansing Face Massage Brush                                     Facial Cleanser Washing Massager                  Balm 3.4 fl oz New in Box $55 retail         Brush Face Exfoliator Rechargeable          Brush Face Exfoliator Cleanser                    Fe
    Skin Care Spa                                                    Sc rubber//                                                                                    5 Modes                                     Recha rgeable                                     R<
    New                                                              New                                               New                                          New                                         New

    $6.55                                                            $1.21                                             $9.99                                        $24.99                                      $24.99                                            $
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    Free shipping                                                    Free shipping                                                                                  Free shipping                               Free shipping                                     F,,
    2790sold                                                                                                           + shipping                                   Seller with a 100% positive feedback        Seller with a 100% positive feedback              Se
                                                                                                                       Seller with a 100% positive feedback




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           Pay wit h                                                                                                         Subtotal (1 item)                            $19.98
                                                                                                                             Shipping                                        Free
                  Add new card                                                                                               Tax•                                            S1.40
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                                                                                                                             Order total                                 $21.38

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           Miami, FL 33133-2709
           United States
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           Changf



           Review item and shipping

           Seller: stal61172       Message to seller

                                  HLAIE Silicone Electnc Face Cleansing BRUSH Sonic Facial Skin
                                  Cleaner Massager
                                  $19.98


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                                  Delivery
                                  Free 3-4 day shipping
                                  Get it by Apr 26 - Apr 27
                                  USPS First Class




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           Comic Relief Red Nose Day
           Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
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           receives your donation and grants 100% to a charily no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refUndable and typically tax
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                                                                                                                  HLAIE Silicone Electric Face Cleansing BRUSH
                                                                                                                                                                                                   Shop w ith confide nce
                                                                                                                  Sonic Facial Skin Cleaner Massager ft
                                                                                                                                                                                                             Top Rated Plus
                                     HL \IE                                                                                                                                                                  Trusted seller, fast shipping, and
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                                                                                                                                                                                                             Learn more
                                                                                                                                          Buyl           Buy2              Buy3
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                                                                                                                                                                                                             eBay Money Back Guarantee

                                                                                                                                    4 or more for $15.98/ea                                        8         Get the item you ordered or get
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                                                                                                                                                                                                   Seller information
                                                                                                                        Price: $19.98/ea                              Buy It Now
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                                                                                                                    'aJ Be the change. All net proceeds from this sale go to charity.
                                        $ Have one to sell?           Sell now                                          Shipping: Free 2-4 d ay ship ping
                                                                                                                                  Get it between Thu, Apr 20 and Sat, Apr 22. See                   Explore a related Store
                                                                                                                                  det ails
                                                                                                                                    Located in: New Port Richey, Florida, United States
                                                                                                                                                                                                   115K items sold

                                                                                                                         Returns: 30 day returns. Seller pays fo r return shipping.                          lovelyd eals2012      ( Shopnow)
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    Silicone Electric Face Cleansi ng                   5-1 Mult ifunc t ion Electronic Facial            Proactiv Pore Cleansing Charc oal            3inl Rechargeable Electric Facial           Silicone Electric Face Cleansing               Sl
    Brush Ultra Sonic Facial Skin                       Cleansing Face Massage Brush                      Infused Brush                                Cleansing Brush Set Face Body               Brush Facial Skin Cleaner Cleaning             El•
    C leaner Massager                                   Skin Care Spa                                                                                  Exfoliat ing IPX6                           Massager US                                    Cl
    New                                                 New                                               New                                          New                                         New

    $19.96                                              $6.55                                             $11.30                                       $14.97                                      $11.99                                         $
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    $249520%off                                         Free shipping                                                                                  Free shipping                               Free shipping                                  F,,
    Free shipping                                       2785 sold                                         + shipping                                   E+J Top Rated Plus                                                                         5,
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 53 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                                 Subtotal (1 item)                            $19.98
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                   Add new card                                                                                                      Tax•                                            S1.40
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                                                                                                                                     Order total                                 $21.38

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           Miami, FL 33133
           United States
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           Review item and shipping

           Seller: stal61172        Message to seller

                                    HLAIE Silicone Electnc Face Cleansing BRUSH Sonic Facial SKin
                                    Cleaner Massager
                                    $19.98


                                    [   ~uantify




                                    Delivery
                                    Free 2-3 day sh ipping
                                    Get it by Apr 20 - Apr 21
                                    USPS First Class



           Gift cards, coupons, eBay Bucks



           [ Entercode                               ]   -
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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
           safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charily no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refUndable and typically tax
           deductible. PPGF may be unable to grant runds to a charity ~ the chanty has lost tax exempt
           status. has closed. or no longer accepts funds from PPGF.


           Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 54 of
                                      368


DOE Number: 281
Seller Name: steffanief13
Marketplace: eBay
               Case     1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023        Page  55 of
           v    Daily Deals Brend Outlet Help & Contact
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 (     8-ack t o ho m e pag e I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                 Shar e I Add to Watchlist




[Cl]                                                                                                                      Silicone Facial Cleanser Brush Face Massager Sonic
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I                                                                                                                             Condition: New                                                              8 Get the item you ordered or get
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                                                                                                                                Price: $ 13.88                               Buy It Now
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     Similar sponsored items                                                                                                                                                                                                   Feedback on our suggestions




     Electric Face Cleansing Brush Ultra                   Silicone Electric Face Cleansing                         New Therat>ody TheraFace PRO               Silicone Electric Face Cleansing           Hand held Electric Facial Cleansing            UI
     Son ic Facial Skin Silicone C le aner                 Massager Facial Washing Brush                            Facial Massager - Black                    Brush Ultra Sonic Facial Skin              Brush Tool Waterproof Silicone                 Cl
     Massager                                              Scrubber C leanser                                                                                  C leaner Massager                          C lea nsing New                                Cl
     New                                                   New                                                      New                                        New                                        New                                            N,

     $7.49                                                 $11.89                                                   $8.50                                      $9.00                                      $9.95                                          $
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     Free shipping                                         Free shipping                                                                                       + $6.40 shipping                           Free shipping                                  $1<
                                                           6watchers                                                + $10.00 shipping                          Seller 100% positive                       74sold                                         F,,
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                                                                                                                    Seller 100% positive




     Sponsored it ems customers also boug ht                                                                                                                                                                                   Feedback on our suggestions




     Facial Cleansing Brush, 3-ln-l                        Cerave Hydrat ing Facial Cleanser
     Electric Silicone Face Scrubber,                      For Normal To Dry Skin - 16oz.
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 56 of
        el::>ay   Checkout           368
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           Pay with                                                                                                                  Subtotal (1 item)                            $13.88
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                   Add new card                                                                                                      Tax*                                            S1.33
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                   §1 ~         -     ~                                                                                              Order total                                 $20.31

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                                                                                                                                        Learn more
           0       Special financing available.
                   Apply now See terms
                                                                                                                                                      Pay with PayPal


           0       I G Pov l Google Pay                                                                                                      You'll finish checkout on PayPal



                                                                                                                                          ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                        See details




           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: stelfanief13        Message to seller

                                    Silicone Facial Cleanser Brush Face Massager Sonic Electric
                                    Waterproof PinK
                                    $13.88
                                    Quantity 1


                                    Delivery
                                    Est delivery: Mar 14 - Mar 18
                                    USPS First Class
                                    $5.10




           Gift cards, coupons, eBay Bucks




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           Donate to charity (optional) 0

           Girls MaKe Beats Inc
           Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
           the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 57 of
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DOE Number: 282
Seller Name: storageauctionpirate
Marketplace: eBay
               Case     1:23-cv-23631-RNS                     Document 20-3 Entered on FLSD Docket 11/13/2023         Page  58 of
          v     Daily Dea ls Brend O utlet He lp & C o ntac t
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                                                                                                                                  Price: $25.00                                        Buy It Now                   Selle r informatio n
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    Similar sponsored items                                                                                                                                                                                                              Feedback on our suggestions




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    Cleanse, Massage, Exfoliate. Brand                     Cleansing Device PINK - Line &                          Infused Brush                                       C leansing Device Soften Wrinkles            YUNCHI Food Grade Silicone                      Cl
    new sealed.                                            Wrinkle Reducer                                                                                             Lavender Purple                              Waterproof BLUE WC02_B
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    $24.00                                                 $21.96                                                  $11.30                                              $29.99                                       $13.95                                          $
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    Seller w ith a 100% posit ive f eedback                ~ Top Rated Plus                                        Seller with e 100% positive feedback




    Sponsored ite ms inspired by your views                                                                                                                                                                                              Feedback on our suggestions




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    Super Face Washing Machine                             Automatic Waterproof Chicken                            Automatic Chicken Coop Door                         Automatic Chicken Coop Door                  Creative Automatic C hicken Ho use              Al
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 59 of
        el::>ay   Checkout           368
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                                                                                                                                                                To add more items, go to cart



           Pay with                                                                                                                      Subtotal (1 item)                             $25.00
                                                                                                                                         Shipping                                        S9.03
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           0       Special financing available.
                   Apply now See terms
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           Ship to                                                                                                                                            See details




           Miami, FL 33133-2709
           United States                                                                                                                                                                         Bill
           Changf                                                                                                                                                                                 ?

           Review item and shipping

           Seller: storageaucL            Message to seller

                                     Pop Sonic Leaf Sonic Facial Cleansing Electric Device Light PinK New In
                                     Box
                                     $25.00
                                     Quantity 1


                                     @      Delivery
                                            Est delivery: Apr 21 - Apr 26
                                            USPS Parcel Select Ground
                                            $9.03

                                     O Pickup
                                            Contact seller aner checkout to arrange pickup



           Gift cards, coupons, eBay Bucks




           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt



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           status. has closed, or no ionger accepts funds from PPGF.


           Select amount




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DOE Number: 283
Seller Name: stylemebri
Marketplace: eBay
                     Case     1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023         Page  61 of
              v       Daily Deals Brend Outlet He lp & C o ntac t
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(        8.aick t o prev i ou s page I List ed in category: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                                            S ha re I Add to Watchlist




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                                                                                                                                             silicone electric facial cleansing brush for acne and
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                                                                                                                                                    Price:      $13.00                                     Buy It Now
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    Silicone Facial Cleansing Brush                                 Silicone Face Cleansing Brush                                   Differin Adapalene Gel Hugeeee                         Silicone Face Cle ansing Brush               Electric Facial Cleansing Brush Set                                El,
    Massage Electric Rechargeable                                   Electric Facial Cleanser Washing                                lot 0.1% Acne Treatment, please                        Elect ric Facial Cleanser Washing            Face Body Exfo liating Silic one                                   Br
    Exfoliate Clean                                                 Massager Scrubber                                               see description                                        Massager Scrubber                            Waterproof u s                                                     M
    New                                                             New                                                             New                                                    New                                          New                                                                NE

    $10.95                                                          $6.99                                                           $8.50                                                  $7.59                                        $11.97                                                             $
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    Free shipping                                                   Free shipping                                                                                                          Free shipping                                Free shipping                                                      Frc
    4lsold                                                          69sold                                                          + shipping                                                                                          E:1Top Rated Plus                                                  Se
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    Related sponsored items                                                                                                                                                                                                                                          Feedback on our suggest ions




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    NuFACE Trinity Microcurrent Facial                              Foree Luna Mini 2 Facial Cleansing                              Foree Luna Mini 2 Facial Cleansing                     Elect ric Face Cleansing Brush Ultra         Clarisonic Mia 2 Sonic Skin                                        NI
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 62 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                                      Subtotal (1 item)                            $13.00
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           0       Special financing available.
                   Apply now. See terms
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           Ship to                                                                                                                                             See details




           Palm Beach, FL 33480
           United States
                                                                                                                                                                                                  Bill
           Changf



           Review item and shipping

           Seller: slylemebri         Message lo seller

                                     silicone electric facial cleansing brush for acne and pores
                                     $13.00
                                     Quant~y 1


                                     @      Delivery
                                            Est. delivery: Apr 24 - Apr 26
                                            USPS First Class
                                            $12.55

                                     O Pickup
                                            Contact seller aner checkout to arrange pickup



           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a char~ no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity rrthe charity has lost tax exempt
           status. has closed, or no longer accepts funds from PPGF.


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DOE Number: 284
Seller Name: sunken_treasure
Marketplace: eBay
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           v     Daily Deals Brend O utlet He lp & C o ntac t
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                                                                                                                               POP SONIC LEAFLET Sonic Facial Cleansing Device
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                                                                                                                               PINK - Line & Wrinkle Reducer
                                                                                                                                                   Be th e first to write a review.
                                                                                                                                                                                                                                           Top Rated Plus
                                                                                                                                                                                                                                           Trusted seller, fast shipping, and
                                                                                                                                                                                                                                           easy returns.
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                                            $ Have one to sell?             Sell no w                                              ~         Fast and reliable. Ships from United States.

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                                                                                                                                      Shipping: Free 2- 4 d ay shipping                                                            278 K items sold
                                                                                                                                                Get it between Thu, Apr 20 and Sat, Apr 22. See
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                                                                                                                                                       located in: Lansing, Michigan, United States
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     Similar sponsored items                                                                                                                                                                                                                              Feedback on our sug~stions




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     Pink pop sonic leaf let Sonic Facial                    Pop Sonic strawberry 3 in l .                            Proactiv Pore C leansing Charcoal                     Sonic Facial Cleansing Brush                          Silicone Elect ric Face C leansing                 Pc
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     New(Other)                                              New                                                      New                                                   New                                                   New                                                N,

     $ 24.99                                                 $24.00                                                   $ 11. 30                                               $ 13.95                                              $ 19 .98                                           $
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     Free shipping                                           + $3.50 shipping                                                                                               Free shipping                                         Free shipping                                      Fr,
     Seller with a 100% positive feedback                    r:) Top Rated Plus                                       + shipping                                            Seller with a 99.9% positive feedback                 Seller with a 100% positive feedback               Se
                                                             Seller withe 100% positive feedback                      Seller with a 100% positive feedback




     Sponsored it ems customers also bought                                                                                                                                                                                                               Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 65 of
        el::>ay   Checkout           368
                                                                                                                                     How do you liKe our checkout? Give us feedback




           Pay with                                                                                                                   Subtotal (1 item)                            $21.96
                                                                                                                                      Shipping                                        Free
                  Add new card                                                                                                        Tax•                                            S1.54
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                                                                                                                                      Order total                                 $23.50

           @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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           0       Special financing available.
                  Apply now. See terms
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           0      IG Pay I Google Pay                                                                                                         You'll nnrsh checkout on PayPal


                                                                                                                                           ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                         See details




           Miami, FL 33133-2709
           United States
                                                                                                                                                                                              Bill
           Changf



           Review item and shipping

           Seller: sunken_trea...          Message to seller

                                    POP SONIC LEA FLET Sonic Facial Cleansing Device PINK - Line &
                                    Wrinkle Reducer
                                    $21.96
                                    S24c96
                                    auanrny 1


                                    Delivery
                                    Est. delivery: A pr 21 - Apr 24
                                    USPS First Class
                                    Free


                                    Save up to 12%



           Gift cards, coupons, eBay Bucks



           [ Entercode                                ]   -
           ------------


           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
           safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days after the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
           status, has closed, or no longer accepts funds from PPGF.


           Select amount       g

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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 66 of
                                      368


DOE Number: 285
Seller Name: sunlin1120
Marketplace: eBay
                Case      1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023        Page  67 of                                                                                                                              s,O
            v     Dai ly Deals Brand Outlet He lp & C o ntact
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                                                       Q Search for anything                                                                                                                    All Categories       V

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(      8.aick t o ho m e page I List ed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                       Shar e I Add to Watchlist


                                                                                                                             Silicone Electric Face Cleansing Brush Ultra Sonic
                                                                                                                                                                                                                 Shop w ith confidence
                                                                                                                             Facial Skin Cleaner Massager
                                                                                                                                                                                                                           eBay Money Back Guarantee

                                                                                                                                 C ondition: New                                                                 8 Get the item you ordered or get
                                                                                                                                                                                                                   your money back.
                                                                                                                             Actual Color:    Pink                                                                         Learn more


                                                                                                                                  Quantity:   LJ         Last One
                                                                                                                                                                                                                 Seller information
                                                                                                                                                                                                                 sunlin1120 (2)


[i]                                                                                                                               Price:    $16.49                                 Buy It Now
                                                                                                                                                                                                                 100% Posit ive feedback



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                                                                                                                                                         Returns accepted


                                                                                                                                  Shipping: Free SpeedPAK Standard . See details
                                                                                                                                              Located in: GUANGZHOU, China
                                           $ Have one to sell?             Sell now
                                                                                                                                  Delivery:   GI Estimated between Wed, Mar 22 and Mon, Mar
                                                                                                                                              27 0
                                                                                                                                              Please note the delivery estimate is greate r than 11
                                                                                                                                              business days.
                                                                                                                                              Please allow additional time if international delive ry is
                                                                                                                                              subject to customs processing.


                                                                                                                                   Returns: 30 day returns. Buyer pays for return shipping.
                                                                                                                                            See details



                                                                                                                                              PayPal CREDrr
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                                                                                                                                                      eBay Mastercard®. Learn more

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    Similar sponsored items                                                                                                                                                                                                        Feedback on our suggestions




    Ultrasonic Silicone Elect ric Facial                   Silicone Elect ric Face C leansing                        Kiehl's 4 .2 Oz ULTRA FACIAL Oil-             Silicone Electric Face C leansing             Electric Face C leansing Brush Ultra          Si
    Cleansing Brush Sonic Face                             Brush Sonic Facial Ski n Cleaner                          Free Gel Cream NEW                            Brush Facial Skin Cle aner Cleaning           Sonic Facial Skin Silicone C leaner           Br
    Cleanser Massager                                      Heated Massager                                                                                         Massager                                      Massager                                      M
    New                                                    New                                                       New                                           New                                           New                                           NE

    $12.93                                                 $19.98                                                    $10.00                                        $12.19                                        $Z49                                          $
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    ~5%off                                                 Free shipping                                                                                           Free shipping                                 Free shipping                                 Fri
    Free shipping                                          Seller 100% positive                                      Free shipping                                 21sold                                                                                      21
    6 watchers                                                                                                       Seller 100% positive




    Sponsored ite ms inspired by your v iews                                                                                                                                                                                       Feedback on our suggestions


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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 68 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                                   Subtotal (1 item)                            $16.49
                                                                                                                                       Shipping                                        Free
                   Add new card                                                                                                        Tax•                                            S1.15
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                                                                                                                                       Order total                                 $17.64

           @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                          User Agreement and Prtva91: Notice.
                                                                                                                                          *We're required by law to collect sales tax and


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                                                                                                                                          Learn more
           0       Special financing available.
                   Apply now. See terms
                                                                                                                                                        f\1, 1•,,th PayPal



           0       IGPavl GoogtePay                                                                                                            You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                          See details




           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: sunlin1120         Message to seller

                                    Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                    Massager
                                    Actual Color PinK
                                    $16.49
                                    Quantity 1


                                    Delivery
                                    Est. delivery: Mar 22 - Mar 27
                                    SpeedPAK Standard
                                    Free




           Gift cards, coupons, eBay Bucks




           Donate to charity (optional) 0

           Girls MaKe Beats Inc.
           Girls Make Beats empowers the next generation of female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aff:er the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



                               a
           the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


           Select amount




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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 69 of
                                      368


DOE Number: 286
Seller Name: taiyuanhuiguaisaish-0
Marketplace: eBay
              Case     1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023        Page   70 of
          v    Daily Deals Brend Outlet Help & Co ntac t
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ebay                          Shop by v
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(     8.aick t o ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Fac ial Ol ean.sing Dev ic es                                                                                                                     Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                           Electric Silicone Facial Cleansing Brush Face Skin
                                                                                                                                                                                                                Shop w ith confidence
                                                                                                                           Care Deep Cleaner Massager

□
                                                                                                                                                                                                                       eBay Money Back Guarantee
                                                                                                                               Condition: New                                                                   8      Get the item you ordered or get
                                                                                                                                                                                                                       your money back.
                                                                                                                                                                                                                       Learn more
                                                                                                                                                    Buy l          Buy 2             Buy3
                                                                                                                           Bulk savings:
                                                                                                                                                  $6.99/ea       $6.29/ea           $5.94/ea
                                                                                                                                                                                                                Seller information
                                                                                                                                              4 or more for$5.59/ ea                                            !fily:uanhuiguaisaish-0 {m * )

                                                                                                                                Quantity:     LJ         9available /2 sold
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                                                                                                                                Price:    $6.99/ea                                Buy It Now
                                                                                                                                                                                                                Contact seller
                                                                                                                                                                                                                See other items

                                                                                                                                                                                  Add to cart


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                                                                                                                           0     ~=12rotection Rian from Allstate - $1.99
                                                                                                                                                                                                                 278K items sold


                                                                                                                               ~     Fast and reliable. Ships from United States.
                                                                                                                                                                                                                 ..Jz-. eaudeluxe
                                                                                                                                                                                                                       In eBay Stores
                                                                                                                                                                                                                                            (   Visit store )
                                         $ Have one to sell?             Sell now
                                                                                                                                                                                                                       Sponsored

                                                                                                                               ~     Breathe easy. Returns acc epted.



                                                                                                                                Shipping: Free eBay Express. See details
                                                                                                                                              located in: Ontario, California, United States

                                                                                                                                Delivery: Est imated between Thu, Apr 20 and Mon, Apr 24 0

                                                                                                                                 Returns:     30 day returns. Buyer pays for return shipping.
                                                                                                                                              See details

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    Electric Face Cleansing Brush Ultra                   Silicone Electric Face Cleansing                         Proactiv Pore Cleansing Charcoal               Silicone Face Cleansing Brush                 Sonic Facial Cleansing Brush                 El•
    Sonic Facial Skin Silicone C leaner                   Brush Sonic Facial Skin C lean er                        Infused Brush                                  Electric Facial C leanser Washing             YUNCHI Food Grade Silicone                   Br
    Massager                                              Heated Massager                                                                                         Massager Scrubber                             Waterproof BLUE WC02_B                       Sc
    New                                                   New                                                      New                                            New                                           New                                          N,

    $7.49                                                 $19.98                                                   $11.30                                         $6.99                                         $13.95                                       $
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    Free shipping                                         Free shipping                                                                                           Free shipping                                 Free shipping                                $'<
    6watchers                                             Seller withe 100% positive feedback                      +shipping                                      67 sold                                       Seller with a 99.9% positive feedback        F«
                                                                                                                   Seller with a 100% positive feedback                                                                                                      ~




    Sponsored items customers also bought                                                                                                                                                                                         Feedback on our suggestions




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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 71 of
        el::>ay   Checkout           368
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           Pay wit h                                                                                                                  Subtotal (1 item)                               $6.99
                                                                                                                                      Shipping                                        Free
                  Add new card                                                                                                        Tax•                                            $049
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                                                                                                                                      Order total                                   $7.48

           @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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                                                                                                                                         Learn more
           0       Special financing available.
                  Apply now. See terms
                                                                                                                                                      Pay with PayPal


           0      IG Pay I Google Pay                                                                                                         You'll nnrsh checkout on PayPal



                                                                                                                                           ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                         See details




           Miami, FL 33133-2709
           United States
                                                                                                                                                                                              Bill
           Changf



           Review item and shipping

           Seller: taiyuanhuig..         Message to seller

                                    Electric Silicone Facial Cleansing Brush Face SKin care Deep Cleaner
                                    Massager
                                    $6.99


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                                    Delivery

                                    @      Est. delivery Apr 24 - Apr 25
                                           eBay Standard
                                           Free

                                    O Est. delivery: Apr 21 - Apr 24
                                           eBay Express
                                           $1.00




           Gift cards, coupons, eBay Bucks




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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charily no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity rrthe charity has lost tax exempt
           status, has closed, or no longer accepts funds from PPGF.


           Select amount       B
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 72 of
                                      368


DOE Number: 287
Seller Name: tandzik9
Marketplace: eBay
               Case     1:23-cv-23631-RNS                    Document 20-3 Entered on FLSD Docket 11/13/2023         Page  73 of
          v     Daily Deals Brend O utlet He lp & C o ntac t
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ebay                             Shop by v
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(      8.aick t o prev i ous page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evices                                                                                                                 Shar e I Add to Watchlist



                                                                       IF YOU CAN PLAN A WEDDING
                                                                       YOU CAN PLAN FOR A NATURAL DISASTER                                                                     ~            0          ~
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[I]                                                                                                                              Mini Silicone Electric Face Cleansing Brush Facial
                                                                                                                                 Skin Cleaner Massager Tool
                                                                                                                                                                                                                    Shop wit h conf idence

                                                                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                                                                                                                           Get the item you ordered or get
                                                                                                                                     Condition: New                                                                 8      your money back.
                                                                                                                                                                                                                           Learn more

                                                                                                                                       Price:   $15.00                              Buy It Now
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                                                                                                                                                                                                                    tandzik9 (!_Q] * l
                                                                                                                                                                                   Add to cart
                                                                                                                                                                                                                    10 0% posit ive feedback



                                                                                                                                        Best                                                                        <:;) Saveseller
                                                                                                                                                                                    Make offer
                                                                                                                                       Offer:                                                                       Contact seller
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                                                                                                                                                                                                                    115K items sold

                                                                                                                                       Shipping: Free Standard Shipping. See details                                       lovelydeals2012        ( Shopnow)
                                                                                                                                                                                                                           In eBay Stores
                                            $ Have one to sell?               Sell now                                                            located in: l as Vegas, Nevada, United States
                                                                                                                                                                                                                           Sponsored

                                                                                                                                       Delivery: Est imat ed between Sat, Apr 22 and Tue, Ap r 25 0

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    Sponsored items inspired by your views                                                                                                                                                                                            Feedback on our suggestions




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    Ultrasonic Electric Silicone Facial                       Silicone Facial Cleansing Brush                            Pop Sonic The Leaflet Sonic Facial
    Cleansing Brush Sonic Face                                Electric Sonic Vibration Deep Pore                         Cleansing Device "Gray" NIB
    Massager, Pink                                            Skin Cleaner
    New                                                       New                                                        New

    $19.99                                                    $8.99                                                          $119.99
    Free shipping                                             Free shipping                                              Free shipping
    Seller with a 100% positive feedback                                                                                 Ext ra 7%off




    About this item               Shipping, returns & payments                                                                                                                                                                                    ~12:ort this item



      Selle r assu mes all responsibility for this listing.                                                                                                                                                            eBay item number: 264731975661



           Item specifics
           Condition            New: A b rand -new, unused, unopened, und amaged item in its o rig inal                                          Brand         Jiari
                                packaging (where packaging is applicable). Packaging should be the same as
                                   .              ..           ..                                .
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 74 of
        el::>ay   Checkout           368
                                                                                                                                      How do you liKe our checkout? Give us feedback

                                                                                                                                                             To add more items, go to cart



           Pay with                                                                                                                    Subtotal (1 item)                             $15.00
                                                                                                                                       Shipping                                         Free
                  Add new card                                                                                                         Tax*                                            $1.05
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                   §1 ~         -     ~                                                                                                Order total                                  $16.05

           @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                          User Agreement and Prtva91 Notice.
                                                                                                                                          ~w e're required by law to collect sales tax and
                   ~~;;                                                                                                                   applicable fees for certain tax authorities.
                                                                                                                                          Learn more
           0       Special financing available.
                  Apply now See terms
                                                                                                                                                       Pay with PayPal


           0       I G Pov l Google Pay                                                                                                        You'll finish checkout on PayPal



                                                                                                                                           ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                          See details




           Miami, FL 33138-4055
           United States                                                                                                                                                                       Bill
           Changf



           Review item and shipping

           Seller: tandziK9         Message to seller

                                     Mini Silicone Electric Face Cleansing Brush Facial Skin Cleaner
                                     Massager Tool
                                     $15.00
                                    Quantity 1


                                     Delivery
                                     Est. delivery: A pr 22 - Apr 26
                                     USPS First Class
                                     Free




           Gift cards, coupons, eBay Bucks




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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
           status. has closed, or no longer accepts funds from PPGF.


           Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 75 of
                                      368


DOE Number: 288
Seller Name: tdbsmarketplace
Marketplace: eBay
               Case     1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023        Page  76 of
          v     Daily Deals Brend Outlet Help & Co ntac t
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(      8.aick t o ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es                                                                                                                Shar e I Add to Watchlist


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                                               Pay over time with PayPal Credit
                                               Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                               Etlds 4/20, 11:59pm PT. Min. purchase required.




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                                                                                                                         Xpreen Facial Cleansing Brush Skin Rechargable
                                                                                                                                                                                                         Shop with confide nce
                                                                                                                         Waterproof Electric Face Body
                                                                                                                                                                                                                eBay Money Back Guarantee
                                                                                                                                                                                                                Get the item you ordered or get
                                                                                                                             Condition: New                                                              8      your money back.
                                                                                                                                                                                                                Learn more

                                                                                                                               Price:   $9.99                               Buy It Now
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                                                                                                                                                                           Add to cart
                                                                                                                                                                                                         99.1% positive feedback



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                                                                                                                         Additio nal service available

                                                                                                                         0      ~~Rrotect ion Rian from Allstate - $1.99


                                                       Hover to zoom
                                                                                                                             ~      Fast and re liable, Ships from United States.
                                                                                                                                                                                                         Explore a related Store
                                                                                                                                                                                                         278K items sold
                                                                                                                             ~      Breathe easy. Returns accepted.
                                          $ Have one to sell?            Se ll now                                                                                                                       ....! .-. eaudeluxe           (     Visit store )
                                                                                                                                                                                                                   In eBay Stores
                                                                                                                               Delivery: Varies                                                                    Sponsored

                                                                                                                                Returns: 30 day returns. Buyer pays for return shipping.
                                                                                                                                         See details



                                                                                                                                            PayPa/ CREDIT
                                                                                                                                            Special financing available. See terms and agQly:
                                                                                                                                            now

                                                                                                                                                    Earn up to 5x points when you use your
                                                                                                                                                    eBay Mastercard®. Learn more

                                                                                                                                            -



    Sponsored ite ms inspired by your views                                                                                                                                                                                  Feedback on our suggestions




    LUCE 180 Anti-Ag ing Ultra Sonic                      Silicone Electric Face Cleansing                         Electric Silicone Facial Cleansing         Super Face Washing Machine                 Automatic Waterproof Chicken                     Al
    Technology Device & Facial                            Brush Ult ra Sonic Facial Skin                           Bru sh Face Skin Care Deep C leane r       Elect ric Soft Silicone Facial Br ush      Coop Door With Light Sensor                      01
    Cleanser BNIB black                                   C leaner Massager                                        Massage r                                  C leanser Massage                          Poultry Gate Hen House                           D,
    New                                                   New                                                      New                                        New                                        New                                              N,

    $20.00                                                $9.00                                                    $6.99                                      $8.98                                      $24.00                                           $
    + $4.00 shipping                                      +shipping                                                Free shipping                              $9;96l0%off                                Free shipping                                    F,,
    Seller with a 100% positive feedback                  Seller with a 100% positive feedback                     Seller with a 99.4% positive feedback      Free shipping                              9watchers                                        Se
                                                                                                                                                              ~ Top Rated Plus




    About t his item             Ship ping1 ret urns & payments                                                                                                                                                                            .RgP-ort this item



      Selle r assumes all responsib ility for this listing.                                                                                                                                                eBay item number: 385155759279



           Item specifics
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 77 of
        el::>ay   Checkout           368
                                                                                                                                      How do you liKe our checkout? Give us feedback

                                                                                                                                                             To add more items, go to cart



           Pay with                                                                                                                    Subtotal (1 item)                               S9.99
                                                                                                                                       Shipping                                        S5.70
                  Add new card                                                                                                         Tax*                                            S1.10
           0
                   §1 ~         -     ~                                                                                                Order total                                 $16.79

           @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                          User Agreement and Prtva91 Notice.
                                                                                                                                          ~we're required by law to collect sales tax and
                   ~~;;                                                                                                                   applicable fees for certain tax authorities.
                                                                                                                                          Learn more
           0       Special financing available.
                  Apply now See terms
                                                                                                                                                       Pay with PayPal


           0       I G Pov l Google Pay                                                                                                        You'll finish checkout on PayPal



                                                                                                                                           ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                          See details




           Miami, FL 33133-2709
           United States                                                                                                                                                                       Bill
           Changf                                                                                                                                                                               ?

           Review item and shipping

           Seller: tdbsmarl<etp..

                                    Xpreen Facial Cleansing Brush SKin Rechargable Waterproof Electric
                                    Face Body
                                    $9.99
                                    Quantity 1


                                    Delivery
                                    Est delivery: A pr 21 - Apr 25
                                    USPS First Class
                                    $5.70




           Gift cards, coupons, eBay Bucks




           [~_E_n_te_r _co
                         _d_e_: - - - - - - ~ ]           -




           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
           safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity rr the chanty has lost tax exempt
           status. has closed, or no longer accepts funds from PPGF.


           Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 78 of
                                      368


DOE Number: 289
Seller Name: teresbenedic5
Marketplace: eBay
              Case     1:23-cv-23631-RNS                    Document 20-3 Entered on FLSD Docket 11/13/2023         Page  79 of
          v    Daily Dea ls Brend O utlet Help & C o ntac t
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ebay                           Shop by v
                               category          I    Q Search for anything                                                                                                               All Categories       V

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(     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                  Shar e I Add to Watchlist


                                                                                                                           Silicone Facial Cleanser Brush Face Massager Sonic
                                                                                                                                                                                                           Shop w ith confidence
                                                                                                                           Electric Waterproof Pink
                                                                                                                                                                                                                    eBay Money Back Guarantee

                                                                                                                               Condition: New                                                              8 Get the item you ordered or get
                                                                                                                                                                                                             your money back.
                                                                                                                                                                                                                     Learn more

                                                                                                                                Price: $12.48                                 Buy It Now
                                                                                                                                                                                                           Seller information
                                                                                                                                                                                                           teresbenedic5 ~ * J
                                                                                                                                                                              Acldtocart
                                                                                                                                                                                                           99.1% Posit ive feed back


              <                                                                                                                 Best                                                                       0       SaveSeller
                                                                                                                                                                              Make offer
                                                                                                                               Offer:                                                                      Contact seller
                                                                                                                                                                                                           Visit store
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                                                                                                                           Additional service available

                                                                                                                           O    ~l'llfil.J;lrotection r;ilan from Allstate - $1.99


                                                                                                                                                   Ships from United States


                                                                                                                                Shipping:   us $5.70 Standard Shipping . See details
                                                                                                                                            located in: Oxford, Michigan, United States
                                         $ Have one to sell?             Sell now
                                                                                                                                Delivery: Est imated between Mon, Mar 13 and Tue, Mar 14
                                                                                                                                          to33133 0

                                                                                                                                Returns: Seller does not accept returns. See details

                                                                                                                               Payments: l~        IG Payl   § II• 1- [:';;I
                                                                                                                                            PayPal CREDIT
                                                                                                                                            Special f inancing available. See terms and aRR!Y.
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                                                                                                                                                    Earn up to 5x points when you use your
                                                                                                                                                    eBay Mastercard®. Learn more

                                                                                                                                            -


    Similar sponsored items                                                                                                                                                                                                 Feedback on our suggestions




    Elect ric Face Cleansing Brush Ultra
    Sonic Facial Skin Silicone C leaner
    Massager
                                        --                Silicone Electric Face C leansing
                                                          Brush Sonic Facial Skin Cleaner
                                                          Heated Massager
                                                                                                                   7 C olors LED Light Phot on Face
                                                                                                                   Neck Mask Rejuvenation Facial
                                                                                                                   Therapy Wrinkle us
                                                                                                                                                               Silicone Electric Face C leansing
                                                                                                                                                               Brush Ultra Sonic Fac ial Skin
                                                                                                                                                               C leaner Massager
                                                                                                                                                                                                           Hand held Electric Facial Cleansing
                                                                                                                                                                                                           Brush Tool Waterproof Silicone
                                                                                                                                                                                                           Clea nsing New
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    New                                                   New                                                      New                                         New                                         New                                          N,

    $7.49                                                 $19.98                                                   $16.50                                       $9.00                                      $9.95                                        $
                                                                                                                   0bids
    Free shipping                                         Free shipping                                                                                         + S6.40 shipping                           Free shipping
                                                          Seller 100% positive                                     + $5.17 shipping                            Seller 100% positive                        74 sold
                                                                                                                   Sellerl00% positive




    Sponsored items inspired by your views                                                                                                                                                                                  Feedback on our suggestions




    Silicone Electric Face C leansing                     PleasingCare Silicone Sonic Facial                       NEW Sonic Facial Cleansing Brush            SILICONE ELECTRIC Facial Skin               SONIC SILICONE FACE BRUSH                    Fe
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 80 of
        el::>ay   Checkout           368
                                                                                                                                    How do you liKe our checkout? Give us reedbacK

                                                                                                                                                           To add more items, go to cart



           Pay with                                                                                                                  Subtotal (1 item)                            $12.48
                                                                                                                                     Shipping                                        S5.70
                   Add new card                                                                                                      Tax*                                            S127
           0
                   §1 ~         -     ~                                                                                              Order total                                 $19 .45

           @       PayPa/                                                                                                               By placing your order, you agree to eBay's
                                                                                                                                        User Agreement and Prtva~ Notice.
                                                                                                                                        ~we're required by Jaw to collect sales tax and
                   ~~r;;                                                                                                                applicable fees for certain tax authorities.
                                                                                                                                        Learn more
           0       Special financing available.
                   Apply now See terms
                                                                                                                                                      Pay with PayPal


           0       I G Pov l Google Pay                                                                                                      You'll finish checkout on PayPal



                                                                                                                                          ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                        See details




           Miami, FL 33133-2709
           United States

           Changf



           Review item and shipping

           Seller: teresbenedic5          Message to seller

                                    Silicone Facial Cleanser Brush Face Massager Sonic Electric
                                    Waterproof PinK
                                    $12.48
                                    Quantity 1


                                    Delivery
                                    Est. delivery: Mar 13 - Mar 14
                                    USPS First Class
                                    $5.70




           Gift cards, coupons, eBay Bucks




           [~_E_n_te_r _co
                         _d_e_: - - - - - - ~ ]          -




           Donate to charity (optional) 0

           Girls MaKe Beats Inc
           Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month in which the donation is made. Donations are
           non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
           the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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                                      368


DOE Number: 290
Seller Name: theezay
Marketplace: eBay
                Case     1:23-cv-23631-RNS                Document 20-3 Entered on FLSD Docket 11/13/2023          Page   82 of
          v      Daily Deals Brend Outlet Help & Contac t
                                                                        368
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ebay                             Shop by v
                                 category
                                                     I    Q Search for anything                                                                                                                                All Categories     V

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(      8.aick t o prev i ou s page I List ed in c at egory: H ealt h & Bec1ut y ) Skin Care ) Fac ial C l eans ing D evic es                                                                                                                             Shar e I Add to Watchlist


                                                                                                                                                                                                                         m
                                                                             ~                            Learn how to earn a $50 statement credit ~
                                                                                                 •        With a new eBay Mastercard• . Ends 4/25



                                                                                                                                  Facial Cleansing Brush Silicone Sonic Waterproof
                                                                                                                                                                                                                                Shop w it h c o nfid ence
                                                                                                                                  Rechargeable Massager Electric
                                                                                                                                                                                                                                        eBay Money Back Guarantee

                                                                                                                                       Conditio n: New                                                                          8       Get the item you ordered or get
                                                                                                                                                                                                                                        your money back.

                                                                                                                                        Quantity:        LJ          More than 10 avail ab le
                                                                                                                                                                                                                                        Learn more



                                                                                                                                                                                                                                Seller info rmation
                                                                                                                                        Pric e :
                                                                                                                                                   AU                                          Buy It Now                       theeza¥ (Q]

                                                                                                                                                   $105.00
                                                                                                                                                   Approximately                              Add to cart                       <v Saveseller
                                                                                                                                                   us $70.59                                                                    Contact seller




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                                                                                                                                        Ship ping: AU $120,90 (approx US $81.28) A ust ralia Post
                                                                                                                                                         Internat iona l Expre ss. S e e d etails
                                                                                                                                                         International shipment of items may be subject to
                                                                                                                                                                                                                                                   .... 1- i
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                                                                                                                                                                                                                                                           ··=~· :---
                                                                                                                                                         customs processing and addit ional charges.
                                                                                                                                                         Located in: Macquarie Park, Australia
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                                                                                                                                            De livery:   GI Est imated b etween Wed, A p r 26 and M o n,
                                                                                                                                                         Maya (D                                                                115K ite ms sold
                                                                                                                                                         Please note t he delivery estimate is greater than 4
                                                                                                                                                         business days.                                                                 lovelydeals2012          (      V i s it store )
                                                                                                                                                                                                                                        In eBay Stores
                                                                                                                                                         Please allow addit ional t ime if internati onal delivery is
                                                                                                                                                                                                                                        Sponsored
                                             $ Have one to sell?               Sell now                                                                  subject to c ustoms processing.

                                                                                                                                            Returns:     Seller does not acce p t returns. See d e t ails


                                                                                                                                       Payments: l~             IG Payl § .11           I-

                                                                                                                                                                  Earn up to 5x points when you use your
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    Similar sponsored items                                                                                                                                                                                                                        Feedback on our suggestions




    Electric Facial C leansing Brush                           Plum Beauty Compact Sonic Facial                            Waterproof Electric Silicone Smart                 Waterproof Electric Silicone Smart                Silicone Elect ric Face C leansing                     Sc
    Silicone Face S kin Massage Tool                           C leansing & Refreshes Brush -                              Facial C leaning Brus h Sonic                      Facial C le aning Brus h Sonic                    Massager Fac ial Washing Brush                         Si
    W aterproof                                                                                                            V ib ration Massage                                V ib rat io n Massage                             Scrub b e r C l e anser                                w
    New                                                        New                                                         New                                                New                                               New                                                    N,

    $14.63                                                     $3.99                                                       $18.66                                              $18.66                                           $12.09                                                 $
                                                                                                                           ($18.66/ Unit)                                     ($18.66/Unit)
    Free shipping                                              + $3.99 shipping                                                                                                                                                 Free shipping                                          Fr,
    18watchers                                                 Seller wit h a 99.5% positive feedback                      + $18.68 s hipping                                 + S18.68 shipping                                 6 watchers                                             La
                                                                                                                           Seller with e 99.3% positive feedback              Seller with a 99.3% posit ive feedback




    Re lated sponsored items                                                                                                                                                                                                                       Feedback on our suggestions



                                                                                                                                                                                                                                                     0




    ECO FRIENDLY DUAL-ACTION                                   ReFa MTG CLEAR Face Wash Brush                              GALA OR PB: DUAL-ACTION                             Rachel & Jen Skin Care Handheld                  HT-101 Blackhead Remover Vacuum                        Cl
    FAr.lAI r.1FANSINCl RRIISH                                 '.ln Sonir. Ion TP.r.hnolonv K11mflnO                       FAC::IAI r.:1FANSIN(-} RRIISH.                     T- Rflr FIP.r.trir. V ihrAtino                    S11r.t io n RP.r.hfl rnP.AhlP. FAr.ifll Skin           F?.
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 83 of
        el::>ay   Checkout           368
                                                                                                                                          How do you like our checkout? Give us feedback




           Pay with                                                                                                                        Subtotal (1 item)                       AU $105.00
                                                                                                                                           Shipping                                AU $120.90
                   Add new card                                                                                                            Tax•                                     A U $15.81
           0
                   ~~-                                                                                                                     Order total                             AU $24 1.71

           @       PayPa/                                                                                                                  Order total in USD                         $168.86
                   Current exchange rate: $1 = AU $1 43145
                   Change currencv.                                                                                                           current conversion rate: $1 = AU
                                                                                                                                              $1.43145

                       PoyPal                                                                                                V
                   •   CREDIT                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                              User Agreement and Prtvagv. Notice.
                                                                                                                                              ~w e're required by law to collect sales tax and
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           0       IGPov l Google Pay                                                                                                         Learn more


                                                                                                                                                            Pay with PayPal
           Ship to
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           Boca Raton, FL 33433                                                                                                                 ebay MONEY BACK GUARANTEE
           United States                                                                                                                                        See details                      Bill
           Changf                                                                                                                                                                                 ?

           Review item and shipping

           Seller: theezay         Message to seller

                                     Facial Cleansing Brush Silicone Sonic Waterproof Rechargeable
                                     Massager Electric
                                     AU $105.00


                                     [   ~uaatify




                                     Delivery
                                     Est. delivery: A pr 27 - May 8
                                     Australia Post International Express
                                     AU S120.90




           Gift cards, coupons, eBay Bucks




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               Case     1:23-cv-23631-RNS                Document 20-3 Entered on FLSD Docket 11/13/2023        Page  84 of
          v     Daily Deals Brend Outlet He lp & Contact
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ebay                           Shop by v
                               category          I    Q Search for anything                                                                                                                   All Categories     V

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(      Back t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                        Share I Add to Watchlist


                                                                                                                        Facial Cleansing Brush Silicone Sonic Waterproof
                                                                                                                                                                                                               Shop with conf idence
                                                                                                                        Rechargeable Massager Electric
                                                                                                                                                                                                                       eBay Money Back Guarantee

                                                                                                                               Condit ion: New                                                                 8 Get the item you ordered or get
                                                                                                                                                                                                                 your money back.
                                                                                                                                Quantity:    EJ         More than 10 available                                         Learn more


                                                                                                                                                                                                               Seller information
                                                                                                                                Pric e:   AU                                     Buy It Now                    theezay (QJ

                                                                                                                                          $105.00
                                                                                                                                                                                Add to cart                    <:::;:) Save Seller
                                                                                                                                          Approximately
                                                                                                                                          us $70.70                                                            Contact seller
                                                                                                                                                                                                               See other items
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                                                                                                                                                                                                s t_ _ )


                                                                                                                                Shipping: AU $120.90 (appmx us SBl.41) Australia Post
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                                                                                                                                          International Exp ress. See details
                                                                                                                                             located in: Macquarie Perk, Australia

                                                                                                                                Delivery:    GI Estimated between Mon, Mar 20 and Mon, Apr
                                                                                                                                                                                                                                                   ffiffi
                                                                                                                                             100                                                               Shop a related Store
                                                                                                                                             Please note the delivery estimate is greater than 10
                                                                                                                                             business days.
                                                                                                                                                                                                               113K items sold
                                                                                                                                             Please allow additional time if international delivery is
                                                                                                                                             subject to customs processing.                                            lovelydeals2012        ( Shopnow)
                                                                                                                                                                                                                       In eBay Stores
                                                                                                                                                                                                                       Sponsored
                                          $ Have one to sell?            Sell now                                                Returns: Seller does not accept returns. See details

                                                                                                                               Payments: l~         IGParl § .11           Im
                                                                                                                                                     Earn up to 5x points when you use your
                                                                                                                                                     eBay Mastercard®. Learn more

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    Similar sponsored items                           Se e all >                                                                                                                                                                 Feedback on our suggestions




                                                                                                                      2 in 1




    Waterproof Electric Silicone Smart                    Waterproof Electric Silicone Smart                      Silicone Electric Face Cleansing               Electric Facial Cleansing Brush               Facial Cleansing Brush Sonic                 El•
    Facial Cleaning Brush Sonic                           Facial Cleaning Brush Sonic                             Brush Waterproof Facial Skin                   Face Skin Deep C leaner Massager              Vibrat ion Mini Face Cleane r                Si
    Vibration Massage                                     Vibration Massage                                       Cleane r Massager                              Waterproof USB                                Electric Silicone Deep                       w
    New                                                   New                                                     New                                            New                                           New                                          N,

    $18.03                                                $18.03                                                  $13.13                                          $35.01                                       $19.99                                       $
    {$18.03/Unit)                                         {$18.03/Unit)
                                                                                                                  $139i'6%off                                     + $2.02 shipping                             Free shipping                                Fr<
    + $18.05 shipping                                     + $18.05 shipping                                       + $2.69 shipping                                                                             9watchers                                    16
    Seller 99.2% positive                                 Seller99.2% positive




    Sponsore d items inspired by your v ie ws                                      See all >                                                                                                                                     Feedback on our suggestions




                                                                                                                                          ••••


    Facial Cleansing Brush Waterproof                     Ult rasonic Silicone Electric Facial                    Extra Thick Yoga Mat Non Slip
    Silicone Sonic Face Brush                             C leansing Brush Sonic Face                             Thick Exercise Mat Wide TPE 12mm
    Hand held C leaning                                   C leanser Massager                                      Eco
    New                                                   New                                                     New

    $ 33.37                                               $14.16                                                  $66.15
    Free shipping                                         Free shipping                                           + shipping
    Seller 100% positive
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 85 of
        el::>ay   Checkout           368
                                                                                                                             How do you like our checkout? Give us feedback




           Pay with                                                                                                           Subtotal (1 item)                       AU $105.00
                                                                                                                              Shipping                                AU $120.90
                  Add new card                                                                                                Tax•                                     AU $15.81
           0
                  ~~-                                                                                                         Order total                             AU $24 1.71

           @      PayPa/                                                                                                      Order total in USD                         $169.79
                  Current exchange rate: $1 = AU $1 42359
                  Change currency                                                                                                current conversion rate: $1 = AU
                                                                                                                                 $1.42359

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                  •   CREDIT                                                                                                     By placing your order, you agree to eBay's
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                                                                                                                                 ~w e're required by law to collect sales tax and
                                                                                                                                 applicable fees for certain tax authorities.
           0      IGPov l Google Pay                                                                                             Learn more


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           Ship to
                                                                                                                                      You'll finish checkout on PayPal


           Miami, FL 33133-2709                                                                                                   ebay MONEY BACK GUARANTEE
           United States                                                                                                                          See details                       Bill
           Changf                                                                                                                                                                    ?


           Review item and shipping

           Seller: theezay       Message to seller

                                  Facial Cleansing Brush Silicone Sonic Waterproof Rechargeable
                                  Massager Electric
                                  AU $105.00


                                  [   ~uaatify




                                  Delivery
                                  Est. delivery: Mar 13 - Mar 23
                                  Australia Post International Express
                                  AU S120.90




           Gift cards, coupons, eBay Bucks




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                         _d_e_: - - - - - - ~ ]        -




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DOE Number: 291
Seller Name: thetajan
Marketplace: eBay
               Case     1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023         Page   87 of
          v     Daily Deals Brend O utlet Help & Contac t
                                                                        368
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ebay                           Shop by v
                               category
                                                  I   Q Search for anything                                                                                                                    All Categories     V

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(      8.aick t o ho m e page I Listed in cat egory: Health & Seavty ) Sk in Oare ) Facial Ol ean.sing Dev ic es                                                                                                                     Shar e I Add to Watchlist




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                                                                      Donate pet food                                                                                          PetsAndPeopleTogetherors

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                                                                                                              Pop Sonic The Leaflet Sonic Facial Cleansing Device
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                                                                                                              Purple NIB
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    n e w sealed.                                                                                                                                                Wrinkle Reducer                                Waterproof Rechargeable NIB                  lff
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    a Top Rated Plus                                      Seller withe 100% positive feedback                      + shipping                                    Free shipping                                  Seller with a 100% positive feedback         Se
    Seller with a 100% positive f eedback                                                                          Seller with a 100% positive feedback          EiJTop Rated Plus




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           United States                                                                                                                                                             Bill
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           Seller: thetajan


            ~
                                  Pop Sonic The Leaflet Sonic Facial C leansing Device Purple NIB

                                  $36.99
            ~                     Quantityl


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                                         Est. delivery: Apr 22 - Apr 26
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                                         Contact seller after checkout to arrange pickup



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           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up
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           Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
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                                                                                                                                   POP SONIC SPADE Face And Neck Sonic Beauty
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                                                                                                                                   Device GREEN FLORAL FACTORY NEW BOX
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                                                                                                                                         Price :   $37.59                             Buy It Now
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                                                                                                                                              Fast and reliable. Ships from United States.


                                                                                                                                                                                                                     CHASE0
                                                                                                                                         Ship ping: u s $9.99 Expedited Shipping. See details
                                                                                                                                                     Located in: Bronx. New York, United States
                                                                                                                                                                                                                     and unlimited 2%
                                                                                                                                         Delivery: Est imat ed between Thu, Apr 20 and Fri, A pr 21 0                cash back on all
                                                                                                                                          Returns: Seller does not accept returns. See details
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    Popsonic Spade Face & Neck                                 Popsonic Spade Face & Neck                                  Lot Of 8 Clairsonic Brus h Heads Fo r        Popsonic Spade Face & Neck                  Fo reo luna play plus 2 mint cool              N•
    Sonic Beauty C leansing Device                             Sonic Beauty C leansing Device                              Mia smart plus device & c harger             Sonic Beauty C leansing Device              Silicone Facial C leansing Brush               Cl
    Infuse Massage - Purple                                    Infuse Massage - White                                                                                   Infuse Massage - Blue                       Face Exfoliator                                DI
    New                                                        New                                                         Pre-owned                                    New                                         Pre-owned                                      N,

    $39.95                                                     $35.95                                                      $19.99                                       $49.95                                      $22.49                                         $
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    Seller w ith a 100% posit ive feedback                     Sel ler with a 100% positive feedback                       + shipping                                   Seller with a 99.8% posit ive feedback      Free shipping                                  Se
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    LUCE 180 Ant i-Ag ing Ultra Sonic                          Silicone Electric Face Cleansing                            Electric Silicone Facial Cleansing           Super Face Washing Machine                  Aut omatic Waterproof Chicken                  Al
    Tec hnology Device & Facial                                Brush Ultra Sonic Facial Skin                               Brush Face Skin care Deep Cleane r           Elect ric Soft Silicone Facial Brush        Coop Door Wit h Lig ht Sensor                  01
    Cleanser BNIB black                                        C leaner Massager                                           Massager                                     C leanser Massage                           Poultry Gate Hen House                         D,
    New                                                        New                                                         New                                          New                                         New
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 90 of
        ebay      Checkout           368
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           Pay wi t h                                                                                                      Subtotal 0 item)                          $37.59
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                                  POP SONIC SPADE Face And Neck Sonic Beaut y Device GREEN
                                  FLORAL FACTORY NEW BOX
                                  $37.59
                                  Quantityl


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                                  Est. delivery: Apr 21 - Apr 24
                                  USPS Priority Mail
                                  $9.99



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           healthy, sale, educated & empowered so they can locus on being kids. PayPal Giving
           Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
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DOE Number: 293
Seller Name: triciatre_4
Marketplace: eBay
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(      8.aick t o ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Ex f oliators & Sc rubs                                                                                                                Shar e I Add to Watchlist




8                                                                                                                     LUXSIO Sonic Facial Cleansing Brush Massager 3-
                                                                                                                      in-l Exfoliating Face Skin NIB✓
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                                                                        g Brush
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    5-1 Multifunction Elect ronic Facial                        3-1 Multi Interchangeable Facial              lsd in Essent ial Cleansing Oil Based     Silicone Elect ric Face Cleansing          5 in l Deep Clean Face Skin Elect ric         4
    Cleansing Face Massage Brush                                Cleansing Sp in Face Massage                  Cleanser 200ml 6.76oz                     Brush Ultra Sonic Facial Skin              Facial Cleaner Care Brush                     Cl
    Skin Care Spa                                               Brush Skin Care Spa                                                                     Cleaner Massager                           Massager Scrubber                             E>
    New                                                         New                                           New                                       New                                        New                                           NE

    $6.55                                                       $19.99                                        $16.00                                    $19.96                                     $5.99                                         $
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    Free shipping                                               Free shipping                                                                          $24:9520%off                                Free shipping                                 fo
    2742 so ld                                                  27 so ld                                      + $12.00 shipping                        Free shipping                               4 0 sold                                      31
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    Sonic Facial Cleansing Brush                                FOREVER LINA T-Sonic mi ni Facial             Flipping Octopus Flipping Octopus         Official Reversible Mood Co lour           Electric Face Cleansing Brush                 Si
    Heated, 3 Sp eed Silicone Face                              C leansing Device                             Octopus Octopus Plush Toy                 Chang ing Octopus Plush Pre Loved          Silicone Massager Ultra Sonic                 Br
    C leansing Brush                                                                                          Flipping Doll Oc topu                     SoftToys                                   Facial Skin C leaner                          Cl
    New                                                         New                                           New                                       Pre+owned                                  New                                           N,

    $35.00                                                      $12.99                                        $24.69                                    $4.74                                      $13.98                                        $
    Free shipping                                               +shipping                                     $2&995%off                                +shipping                                  Free shipping                                 F,,
    Seller 100% positive                                        Seller 100% positive                          Free shipping                             Seller 100% positive
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 93 of
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           Pay with                                                                                                                 Subtotal (1 item)                           $20.99
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                  Add new card                                                                                                      Tax*                                           S2.00
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           Miami, FL 33133-2709
           United States

           Changf



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           Seller: triciatre_4         Message to seller

                                    LUXSIO Sonic Facial Cleansing Brush Massager 3-in-1 Exfoliating Face
                                    SKin NI B✓
                                    $20.99


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                                    Delivery
                                    Est delivery: Mar 13 - Mar 14
                                    USPS Parcel Select Ground
                                    $7.56




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           Girls Make Beats Inc
           Girls MaKe Beats empowers the next generation or female music producers, DJs, and audio
           engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
           no later than 30 days aner the end of the month ,n which the donation is made. Donations are
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                                      368


DOE Number: 294
Seller Name: unixskin
Marketplace: eBay
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(      8-ack to ho m e page I List ed in c at egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                     Shar e I Add to Watchlist


                                                                                                                           Sonic Facial Cleansing Brush electric, Waterproof,
                                                                                                                                                                                                             Shop w ith c o nfide nc e
                                                                                                                           Sk:in Massager, Heating mode

[]J                                                                                                                          Condit io n: New                                                                8 Get
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                                                                                                                               Price:    $43.99                                Buy It Now
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                                                       Hover to zoo m                                                                          Je rsey, United States. See details                           Shop related items
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    Silicone Electric Face C leansing                     Son ic Facial C leansing Brush                           Tresor Rare ULTIMATE PEARL                   Sonic Facia l C leansing Brush,              Sonic Facia l C leansing Brush,                Sc
    Br ush Sonic Facial Skin C leaner                     YUNCHI Food Grade Silicone                               C leansing and Revitalizing Mousse           Waterproof Electric Face C leansi ng         Water p roof, Skin Massager,                   w
    Heated Massager                                       Waterproof BLUE WC02_B                                   5.1oz - New                                  Brush Device                                 Heating mode_PINK                              Br
    New                                                   New                                                      New                                          New(Other}                                   New                                            N,

    $19.98                                                $13.95                                                   $50.00                                       $29.16                                       $43.99                                         $
                                                                                                                   0bids
    Free shipping                                         Free shipping                                                                                         Free shipping                                + shipping                                     F,,
    Seller with a 100% positive feedback                  Seller with a 99.9% positive feedback                    Free shipping                                a  Top Rated Plus                            Seller with a 100% positive feedback           ~
                                                                                                                                                                Seller with a 100% positive feedback




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    Super Face Washing Machine                             Electric Silicone Facial C leansing                     Sil icone Elect ric Facial C leansing        Sonic Facia l C leansing Brush               Su per Face Washing Machine                    Fe
    Electric Sof t Silicone Facial Brush                   Brush Face Exfoliator Cleanser                          Brush Face Exfoliator Rechargeable           Y UNCHI Food Grad e Silicone                 Electric Soft Silicone Facial Brush            Si
    C leanser Massage                                      Rechargeable                                            5 Modes                                      Waterproof BLUE WC02_B                       C leanser Massage                              M
    New                                                   New                                                      New                                          New                                          New                                            N,

    $8.98                                                 $24.99                                                   $24.99                                       $13.95                                       $17.59                                         $
    S9:9810%off                                           Free shipping                                            Free shipping                                Free shipping                                Free shipping
    Free shippina                                         Seller with a 100% positive feedback                     Seller with a 100% POsitive feedback         Seller with a 99.9% positive feedback        5watchers
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 96 of
        el::>ay   Checkout           368
                                                                                                                               How do you liKe our checkout? Give us reedbacK




           Pay wit h                                                                                                            Subtotal (1 item)                           $43.99
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                                                                                                                                               Pay with PayPal


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                                                                                                                                    ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                  See details




           Miami, FL 33133
           United States
                                                                                                                                                                                       Bill
           Changf



           Review item and shipping

           Seller: unixskin        Message to seller

                                    Son ic Facial Cleansing Brush electnc, Waterproof, SKin Massager,
                                    Heating mode
                                    $43.99
                                    Quanmy 1


                                    @    Delivery
                                         Est delivery Apr 21 - Apr 24
                                         USPS Priority Mail
                                         S10.95

                                    O PicKup
                                         Contact seller after checkout to arrange pickup



           Gift cards, coupons, eBay Bucks




           [~_E_n_te_r _co
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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children racing poverty resources needed to grow up healthy.
           safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charity no later than 30 days aner the end of the
           month in which the donat,on is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charity ~ the chanty has lost tax exempt
           status. has closed. or no longer accepts funds from PPGF.


           Select amount      g
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 97 of
                                      368


DOE Number: 295
Seller Name: useeisell
Marketplace: eBay
                Case      1:23-cv-23631-RNS                    Document 20-3 Entered on FLSD Docket 11/13/2023          Page   98 of
            v     Dai ly Deals Brand O utle t Hel p & Contac t
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(      8-ack t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Devic es                                                                                                                         Shar e I Add to Watchlist


0 SAVE UPTO 8 % WHEN YOU BUY MORE
                                                                                                                          Face Skin Care Wash Cleansing Brush Device
                                                                                                                                                                                                                 Shop w ith confide nce
                                                                                                                          Beauty Facial Deep Washer C leaner
                                                                                                                                                                                                                         eBay Money Back Guarantee
                                                                                                                              Condition: New                                                                     e       Get the item you ordered or get
                                                                                                                                                                                                                         your money back.
                                                                                                                                    Color:        Blue                                                                   Learn more


                                                                                                                                                     Buyl            Buy2               Buy3
                                                                                                                          Bulk savings:                                                                          Seller information
                                                                                                                                                   $12.99/ea       $12.73/ea          $12.47/ ea
                                                                                                                                                                                                                 useeisell (2l!;l * l
                                                                                                                                                                                                                 100% posit ive feedback
                                                                                                                                              4 or more for $11.95/ea


                                                                                                                               Quantity:      LJ           More than 10 available/ 27 sold                       <v Saveseller
                                                                                                                                                                                                                 Contact seller
                                                                                                                                                                                                                 See other items
                                                                                                                               Price:    $12.99/ea                                Buy It Now




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                                                       Hover to zoom                                                                                                                                              Explore a related Store
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                                                                                                                                                                                                                 115K items sold
                                                                                                                          O     ~l'llfil.J;lrotec t ion Qian from Allstate - $1.99
                                                                                                                                                                                                                         lovelydeals2012      ( Visit store )
                                                                                                                                                                                                                         In eBay Stores
                                          $ Have one to sell?            Sell now
                                                                                                                                                                                                                         Sponsored
                                                                                                                              Lb,      This one's trending. 27 have already sold.


                                                                                                                              ~        Fast and reliable. Ships from United States.



                                                                                                                               Shipping: Free Standard Shipping. See details
                                                                                                                                              Located in: Anaheim, Cal ifornia, United States

                                                                                                                                Delivery: Est imated between Fri, Apr21 and Mon, Apr24 0

                                                                                                                                Returns: 30 day returns. Buyer pays for return shipping .
                                                                                                                                         See details



                                                                                                                                              PayPal CREDIT
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                                                                                                                                                         Earn up to 5x points when you use your
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    Similar sponsored items




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    Silicone Electric Face C leansing
    Brush Sonic Fac ial Skin C leaner
    Heated Massager
                                                          Electric Face Cleansing Brush Ultra
                                                          Sonic Facial Skin Silicone Cleaner
                                                          Massager
                                                                                                --                Proac tiv Pore C leansing Charcoal
                                                                                                                  Inf used Brush
                                                                                                                                                                  Elec t ric Facial Cleansing Brush Set
                                                                                                                                                                  Fac e Bo dy Exloliating Silico ne
                                                                                                                                                                  Waterproof us
                                                                                                                                                                                                                 Facial Cleansing Brush                       5
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    $19.98                                                $ 7.49                                                  $11.30                                          $11.97                                         $14.99                                       $
                                                                                                                  0bids
    Free shipping                                         Free shipping                                                                                           Free shipping                                  Free shipping                                $1,
    Seller with a 100% positive feedback                  6 watche rs                                             + shipping                                      a  Top Rated Plus                              40 sold                                      F«
                                                                                                                  Seller w ith a 100% positive feedback           10% off 3 -+ wit h c oupon                                                                  Se




    Sponsored items inspired by your vie ws                                                                                                                                                                                        Feedback on our suggestions



                                                                      Facial CINnst,g Brush For
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 99 of
        el::>ay   Checkout           368
                                                                                                                                        How do you liKe our checkout? Give us reedbacK




           Pay wit h                                                                                                                    Subtotal (1 item)                            $12.99
                                                                                                                                        Shipping                                        Free
                   Add new card                                                                                                         Tax•                                            S0.91
           0
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                                                                                                                                        Order total                                 $13.90

           @       PayPa/                                                                                                                  By placing your order, you agree to eBay's
                                                                                                                                           User Agreement and Prtva91: Notice.
                                                                                                                                           *We're required by law to collect sales tax and


                   ·~~
                                                                                                                                           applicable fees for certain tax authorities
                                                                                                                                           Learn more
           0       Special financing available.
                   Apply now. See terms
                                                                                                                                                         Pay with PayPal


           0       I G Pav l Googte Pay                                                                                                          You'll nnrsh checkout on PayPal



                                                                                                                                             ebay MONEY BACK GUARANTEE
           Ship to                                                                                                                                           See details




           Miami, FL 33133
           United States
                                                                                                                                                                                                Bill
           Changf



           Review item and shipping

           Seller: useeisell        Message to seller

                                     Face SKin Care Wash Cleansing Brush Device Beauty Facial Deep
                                     Washer Cleaner
                                     Coloc Blue
                                     $12.99


                                     [   ~uantify




                                     Delivery
                                     Est. delivery: A pr 21 - Apr 24
                                     USPS First Class
                                     Free




           Gift cards, coupons, eBay Bucks



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           Donate to charity (optional) 0

           Comic Relief Red Nose Day
           Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
           safe. educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
           receives your donation and grants 100% to a charily no later than 30 days aner the end of the
           month in which the donation is made. Donations are non-refundable and typically tax
           deductible. PPGF may be unable to grant funds to a charily rrthe charity has lost tax exempt



                                a
           status. has closed. or no longer accepts funds from PPGF.


           Select amount




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                                       368


DOE Number: 296
Seller Name: vallimerick
Marketplace: eBay
             Case     1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023         Page     101 of                                                                                                                               s,O
            v  Dai ly Deals Brand Out let Help & C ontact
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(      8.aick t o ho m e page I List ed in c at egory· Health & Beauty ) Sun Prot ec t io n & Tanning ) Sunscreen                                                                                                                          Shar e I Add to Watchlist


                                                                                                                          MINTSONIC Silicone Sonic Face Cleanser Anti-Age
                                                                                                                                                                                                                   Shop w ith confide nc e
                                                                                                                          Foree Bear Dupe!!
                                                                                                                                                                                                                             eBay Mone y Back Guarantee
                               ~ MINTSonic
                                                                                                                              Condit ion:       New                                                                 8 Get the item you ordered or get
                                                                                                                                                                                                                      your money back.
                                                                                                                                                                                                                             Learn more

                                                                                                                                 Price :
                                                                                                                                           20.00                                    Buy It Now
                                                                                                                                                                                                                   Seller information
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                                                                                                                                                                                    Acldtocart
                                                                                                                                                                                                                   100% Posit ive feed back



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                                                                                                                                 Offer:                                                                            C ontact selle r
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                                                                                                                                  Shipping: $10.59 (approx us Sl 0.55) An Post Inte rnational. See
                                                                                                                                            details
                                                                                                                                                International shipment of rf:ems may be subject to
                                                                                                                                                customs processing and addrtional charges. (D
                                                                                                                                                located in: Tipperary, Ireland

                                                                                                                                  Delivery: Est imated between Fri, Mar l 7 and Tue, Mar 21 0
                                                                                                                                                Seller ships within I day after receiving c leared ~v.ment.
                                                                                                                                                Please allow additional time if international delivery is
                                          $ Have one to sell?            Sell now                                                               subject to customs processing.

                                                                                                                                   Retu rns :   Seite r d o e s not acce p t returns. See d etails


                                                                                                                                 Payment s:     l~ IGPayl§ ll• I-
                                                                                                                                                        Earn up to 5x points when you use your
                                                                                                                                                        e Bay M aste rcard®. Lea rn more

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    Similar sp onsored items                                                                                                                                                                                                          Feedback on our suggestions




                         O HUI
                                                                                                                                                                                                                              365




    OHUI Perfect Sun Water C leanser                      NEUTROGENA Deep C lean                                    Trader Joe's Daily Facial Su nscreen            NEUTROGENA Oil-f ree Acne Wash                 ROUND LAB 365 TONE-UP Sun                     NI
    300ml O HUI + FREE SAMPLES!!                          Brighten i ng Foam in g C leanser Face                    SPF 40. Invisib le Gel SUPERGOOP                Facial C leanser Q75 ml)                       C ream 50ml + Dokdo C leanser                 Fa
                                                          WashQOO g)                                                Dupe Free SH                                                                                   40ml Set SPF50 +/PA++ +
    New                                                   New                                                       New                                             New                                            New                                           N,

    $22.34                                                $15.30                                                    $16.82                                           $22.30                                        $28.80                                        $
    + $3.99 shipping                                      Free shipping                                             $2½:0220%off                                    Free shipping                                  + $2.00 shipping                              F,,
    9watchers                                                                                                       + shipping                                                                                     Seller 100% positive
                                                                                                                    Seller99.7% positive




    Sp onsored items inspired by your v ie ws                                                                                                                                                                                         Feedback on our suggestions


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    Stuffed Octopus, Reversib le                          40cm x 20cm Large Reversible                              Sonic Facial C leansing Brush                   FOREVER LINA T-Sonic mini Facial               Flipping Octopus Flipping Octopus             0
    Octopus Doll, Flip Plush Toy,                         Octopus Plushie XXL Cute Double-                          Heated, 3 Speed S il icone Face                 C lean s ing Dev ice                           Octopus Octopus Plush Toy                     Cl
    Double Sided Flip Doll                                Sided Flip Soft Toy                                       C leansing Brush                                                                               Flipping Doll Octopu                          Sc
    New                                                   New                                                       New                                             New                                            New                                           Pro

    $32.50                                                $10.64                                                    $35.00                                           $12.99                                        $24.69                                        $
    Free shipping                                         +shipping                                                 Free shipping                                   +shipping                                      $25995%off                                    +,
    Seller 100% oositive                                  Seller 99.1% oosrf:ive                                    Seller 100% oositive                            Seller 100% oositive                           Free shicoinc                                 Se
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 102 of
         el::>ay  Checkout            368
                                                                                                                                       How do you liKe our checkout? Give us reedbacK




            Pay with                                                                                                                    Subtotal (1 item)                            $21.19
                                                                                                                                        Shipping                                     $10.59
                    Add new card                                                                                                        Tax•                                            S2.22
            0
                    ~~-                                                                                                                 Order total                                  $3401

            @       PayPa/                                                                                                              Order total in USD                          $35.26
                    Current exchange rate: $1 = €0 9103
                    Change currency                                                                                                        current conversion rate: $1 = $0.96


                                                                                                                                           By placing your order, you agree to eBay's
                        Po yPol                                                                                            V
                    •   CREDIT                                                                                                             User Agreement and Prtva~ Notice.
                                                                                                                                           ~w e're required by law to conect sales tax and
                                                                                                                                           applicable fees for certain tax authorities.
                                                                                                                                           Learn more
            0       IGPov l Google Pay

                                                                                                                                                        Pay with PayPal

            Ship to
                                                                                                                                                You'll finish checkout on PayPal



            Miami, FL 33133-2709
                                                                                                                                            ebay MONEY BACK GUARANTEE
            United States

            Changf



            Review item and shipping

            Seller: vallimericK

                                     MINTSONIC Silicone Sonic Face Cleanser Anti-Age Foreo Bear Dupe!!
                                     $21.19
                                     Quantity 1


                                     Delivery
                                     Est. delivery: Mar 17 - Mar 21
                                     An Post International
                                     $10.59




            Gift cards, coupons, eBay Bucks



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                                       368


DOE Number: 297
Seller Name: vmotorv
Marketplace: eBay
            Case     1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023         Page   104 of
           v  Dai ly Deals Brand Outle t Hel p & Contact
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ebay                           Shop by v
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                                                      Q Search for anything                                                                                                                    All Categories     V

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(     8-ack t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                     Shar e I Add to Watchlist


0 SAVE UPTO 7% WHEN YOU BUY MORE

 ••                                                                                                                         Sonic Facial Cleansing Brush YUNCHI Food Grade
                                                                                                                            Silicone Waterproof BLUE WC02_B
                                                                                                                                                                                                                Shop w ith confidence

                                                                                                                                                                                                                       eBay Money Back Guarantee

[I]                                                                                                                              Condition: New                                                                  e     Get the item you ordered or get
                                                                                                                                                                                                                       your money back.
                                                                                                                                                                                                                        Learn mo re
                                                                                                                                                    Buyl            Buy2               Buy3
                                                                                                                            Bulk savings:
                                                                                                                                                  $13.95/ea       $13.25/ea          $13.11/ea
                                                                                                                                                                                                                Seller information
                                                                                                                                  Quantity:   LJ         3 available/ 14 sold                                   vmotorv (39473 ;'ill
                                                                                                                                                                                                                99.7% p ositive f eedbac k



                                                                                                                                  Price :   $13.95/ea                            Buy It Now
                                                                                                                                                                                                                <v Saveseller
                                                                                                                                                                                                                Contact selle r
                                                                                                                                                                                                                Visit store
                                                                                                                                                                                Add to cart
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                                                                                                                                                                                                                 Shop related items
                                                                                                                                ~      Breathe easy. Free shipping and returns.                                  115K items sold

                                          $ Have one to sell?             Sell now                                                                                                                                      lovelydeals2012      ( Shop now)
                                                                                                                                       Fast and reliable. Ships from United States.                                     In eBay Stores
                                                                                                                                                                                                                        Sponsored


                                                                                                                                  Shipping : Free Standard Shipping. see details
                                                                                                                                              Located in: Ontario, California, United States

                                                                                                                                   Delivery: Estimated between Fri, Apr 21 and Mon, Apr 24 0

                                                                                                                                   Returns: 30 day returns. Seller pays fo r return shipping .
                                                                                                                                            See details

                                                                                                                                 Payments: l~        IG Payl   § II• 1- ~ I
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                                                                                                                                              Special f inancing available. See terms and aRR!.Y
                                                                                                                                              now

                                                                                                                                                      Earn up to 5x points when you use your
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    Similar sponsored items                                                                                                                                                                                                       Feedback on our sug~stions




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    Electric Face Cleansing Brush Ultra                   Silicone Electric Face C leansing                         Proactiv Pore C leansing Charcoal             Elect ric Facial C leansing Brush Set         Ultrasonic Silicone Elect ric Facial        Fe
    Sonic Facial Skin Silicone C leaner                   Brush Sonic Facial Skin Cleaner                           Infused Brush                                 Face Body Exfoliating Silicone                Cleansing Brush Sonic Face                  Si
    Massager                                              Heated Massager                                                                                         Waterproof us                                 C leanser Massager                          M
    New                                                   New                                                       New                                           New                                           New                                         N,

    $7.49                                                 $19.98                                                    $11.30                                        $11.97                                        $12.93                                      $
                                                                                                                    0bids
    Free shipping                                         Free shipping                                                                                           Free shipping                                 $1&.615%off
    6watchers                                             Seller with a 100% positive feedback                      + shipping                                    Ei) Top Rated Plus                            Free shipping
                                                                                                                    Seller with a 100% positive feedback          10% off 3+ with coupon                        9 watchers




    Sponsored items customers also bought                                                                                                                                                                                         Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 105 of
         el::>ay  Checkout            368
                                                                                                                                 How do you liKe our checkout? Give us feedbacK




            Pay with                                                                                                             Subtotal (1 item)                            $13.95
                                                                                                                                 Shipping                                        Free
                   Add new card                                                                                                  Tax•                                            S0.98
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                                                                                                                                 Order total                                 $14 .93

           @       PayPa/                                                                                                           By placing your order, you agree to eBay's
                                                                                                                                    User Agreement and Prtva91: Notice.
                                                                                                                                    *We're required by law to collect sales tax and


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                                                                                                                                    applicable fees for certain tax authorities
                                                                                                                                    Learn more
           0       Special financing available.
                   Apply now. See terms
                                                                                                                                                 Pay with PayPal


           0       I G Pav l Googte Pay                                                                                                  You'll nnrsh checkout on PayPal



                                                                                                                                      ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                  See details




            Miami, FL 33133
            United States
                                                                                                                                                                                         Bill
            Changf



            Review item and shipping

            Seller: vmotorv         Message to seller

                                     Son ic Facial Cleansing Brush YUNCHI Food Grade Silicone Waterproof


                        I
                                     BLUE WC02_ B
                                     $13.95


                                     [   ~uantify




                                     Delivery

                                     @      Froo 2-4 day shipping
                                            Get it by A pr 20 - Apr 22
                                            USPS First Class

                                     0      Est. delivery Apr 20 - Apr 22
                                            USPS Priority Mail
                                            S15.99




            Gift cards, coupons, eBay Bucks



           [~_E_n_te_r _co
                         _d_e_· _ _ _ _ _ _]            -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charily if the charity has lost tax exempt



                               a
            status, has closed, or no longer accepts funds from PPGF.


            Select amount




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DOE Number: 298
Seller Name: w20836
Marketplace: eBay
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                                      368
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                                      368
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          v     Daily Dea ls Brend O utlet He lp & Contact
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(     8-ack to ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in O are ) Fac ial C l eansing Dev ic es                                                                                                                    Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                           Facial Cleansing Brush, Sonic Silicone Scrubber,
                                                                                                                                                                                                             Shop w ith confidence
                                                                                                                           Face Vibrating Massager
                                                                                                                                                                                                                      Top Rated Plus
                                                                                                                                                                                                                      Trusted seller, fast shipping, and
                                                                                                                               Condition: New
                                                                                                                                                                                                                      easy returns.
                                                                                                                                                                                                                      Learn more
                                                                                                                                                   Buyl          Buy2              Buy3
                                                                                                                           Bulk savings:
                                                                                                                                                 $6.00/ea       $5.40/ea          $5.10/ea
                                                                                                                                                                                                                      eBay Money Back Guarantee

                                                                                                                                             4 or more for $4.80/ea                                          8        Get the item you ordered or get
                                                                                                                                                                                                                      your money back.

                                                                                                                                Quantity:    LJ          More than 10 available/13 sold
                                                                                                                                                                                                                       Learn more



                                                                                                                                                                                                             Seller information
                                                                                                                               Price:     $6.00/ea                             Buy It Now
                                                                                                                                                                                                             w20836 @ * )
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                                                                                                                           Additional service available

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                                                                                                                                                         Ships from United
                                                                                                                                Free returns                                           5watchers
                                                                                                                                                              States
                                         $ Have one to sell?             Sell now                                                                                                                             Explore a related Store
                                                                                                                               Shipping: US $5.85 Standard Shipping. See details                             113 K items sold
                                                                                                                                             located in: Pteasenton, California, United States
                                                                                                                                                                                                                       lovelydeals2012     ( Visit store )
                                                                                                                                Delivery: Est imated between Sat, Marn and Mon, Marl3 to                               In eBay Stores
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    Hand held Electric Facial C leansing                  Silicone Electric Face C leansing                        O N LABS Blackhead Deep                      Facial C leansing Brush, 3-ln-l              Electric Face C leansing Brush Ultra          Si
    Brush Tool Waterproof Silicone                        Brush Sonic Facial Skin Cleaner                          Cleansing Nose Pore Strips 6 Str ips         Elect ric Silicone Face Scrubber,            Sonic Facial Skin Silicone C leaner           M
    C leansing New                                        Heated Massager                                          (LOT O F3)                                   Vibrating Massag                             Massager                                      E>
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    74sold                                                Seller 100% positive                                     + $4.50 shipping                             Seller 100% positive                                                                       41
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    Sponsore d it ems customers also boug ht                                                                                                                                                                                   Feedback on our suggestions
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            Miami, FL 33133-2709
            United States

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            Review item and shipping

            Seller: w20836           Message to seller

                                      Facial Cleansing Brush, Sonic Silicone Scrub ber, Face Vibrating
                                      Massager
                                      $6.00


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                                      Delivery
                                      Est. delivery: Mar 11 - Mar 13
                                      USPS First Class
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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
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(      8-ack to ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Fac ial C l eansing Devic es                                                                                                                        Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                         Facial Cleansing Brush, Sonic Silicone Scrubber,
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                                                                                                                                                                                                                       Top Rated Plus
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    Facial Cleansing Brush, Sonic                         Electric Face Cleansing Brush Ultra                    Proactiv Pore C leansing Charcoal               Elect ric Facial Cleansing Brush Set        Silicone Facial C leansing Brush                 s,
    Silicone Scrubber, Face Vibrat ing                   Son ic Facial Sk in Silicone Cleane r                   Infused Brush                                   Face Body Exfoliating Silicone              Massage Electric Rechargeable                    YI
    Massager NEW                                          Massager                                                                                               Waterproof us                               Exfoliate Clean                                  w
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    Seller with a 100% positive feedback                                                                         Seller with a 100% positive feedback           10% off 3+ with coupon




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            Pay with                                                                                                                     Subtotal (1 item)                               $6.00
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            Miami, FL 33133
            United States
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            Review item and shipping

            Seller: w20836           Message to seller

                                      Facial Cleansing Brush, Sonic Silicone Scrub ber, Face Vibrating
                                      Massager
                                      $6.00


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                                      Delivery
                                      Est. delivery: Apr 21 - Apr 24
                                      USPS First Class
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
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            month in which the donation is made. Donations are non-refundable and typically tax
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DOE Number: 299
Seller Name: waggcomputer
Marketplace: eBay
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                                                                                                                                                   located in: Waterbury, Connecticut, United States
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    Facial Cleaner C are Brush                          Brush Ult ra Sonic Facial Skin                        Sprayer for Disinfecting & Face                             Brush Silic one Face Skin Massager             Electric Sonic Vibration Deep Pore                     Br
    Massager Scrubber                                   Cleaner Massager                                      Hydration us                                                Skin care                                      Skin Cleaner                                           lo
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            Miami, FL 33133-2709
            United States
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            Review item and shipping

            Seller: waggcomputer           Message to seller

                                    Sonic Facial Cleansing Brush Massager: 3-in-1 Rechargeable Electnc
                                    Silicone RED
                                    $14.99
                                    Quanrny 1


                                    Delivery
                                    Est. delivery: Apr 26 - Apr 28
                                    USPS First Class
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
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                                                                                                                    Rechargeable Electric Silicone RED
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                                                                                                                          Ships from United States                     Returns accepted                    Visit store
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    USB Elec t ric Sonic Face C leansing                   USB Electric Sonic Face C leansing                 New Therabody TheraFace PRO                 Super Face Washing Machine                       Silicone Facial C leansing Brush                          S<
    Silicone Brush Facial Skin C leaner                    Silicone Brush Facial Skin C leaner                Facial Massager - Black                     Elect ric Soft Silicone Facial Br ush            Electric Sonic V ibrat io n Deep Pore                     W
    Massager                                               Massager                                                                                       C leanser Massage                                Skin C leaner                                             Cl
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    SILICONE ELECTRIC Facial Skin                          SONIC SILICONE FACE BRUSH                          Facial C leansing Br ush, Sonic             Sonic Face. Sc rubber.silicone                   Facial Cleansing Brush, Sonic                             Fe
    C leaner Super Soft Sonic C EPILLO                     ANTI AGE BLACK HEADS FINE                          Sil icone Scrubbe r, Face V ib rating       Facial C leaning Brus h USB                      Silicone Scr ubber, Face V ib rating                      Si
    FACIA FACE BRUSH                                       LINES DEEP C LEAN ACNE                             Massager                                    Rechargable,for Face Exf                         Massager                                                  M
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    $12.99                                                 $16.31                                             $6.00                                       $15.00                                           $6.00                                                     $
    + $5.85 shipping                                       $2-r.T525%off                                      + $5.85 shipping                            Free shipping                                    + $5.85 shipping                                          F,,
    Seller 99.7% positive                                  Free shipping                                                                                  Last one                                                                                                   Se
                                                           Seller l00% positive
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 117 of
         el::>ay  Checkout            368
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            Pay wit h                                                                                                                   Subtotal (1 item)                            $14.99
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            Review item and shipping

            Seller: waggcomputer            Message to seller

                                     Son ic Facial Cleansing Brush Massager: 3-m-1 Rechargeable Electnc
                                     Silicone RED
                                     $14.99
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Mar 13 - Mar 15
                                     USPS First Class
                                     Free



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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
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             Case    1:23-cv-23631-RNS                 Document 20-3 Entered on FLSD Docket 11/13/2023        Page  118 of
            v  Daily Deals Brand Outlet Help & Contact
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                                                                                                                    Sonic Facial Cleansing Brush Massager: 3-in-1
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                                                                                                                    Rechargeable Electric Silicone RED
                                                                                                                                                                                                                    eBay Money Back Guarantee

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                                                                                                                          Pric e :   $14.99                               Buy It Now
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                                                                                                                          Shipping : Free Standard Shipping. See details                                   111 I~

                                                                                                                                        Located in: Waterbury, Connecticut, United States

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    Facial C leansing Brush Silicone                      Pulsaderm SONIC WASHCLOTH 2                       Electric Facial Cleansing Brush,               Toys Importers Pack of 2                    Nail Boss Hoodie Hoody
    Face Scrub Brush Manual                               speed Silicone Face Brush PINK                    FBFL Sonic Silic one Face Brush &              Reversible O ctopus Mood Plush - l          Technician Beautician Acrylic Gel
    Exfoliating Brush                                     waterproof                                        Pink                                           x 7.9in Blue                                Art Beauty c ute
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 119 of
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: waggcomputer            Message to seller

                                     Son ic Facial Cleansing Brush Massager: 3-m-1 Rechargeable Electnc
                                     Silicone RED
                                     $14.99
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                                     Est. delivery: Apr 21 - Apr 24
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            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       368


DOE Number: 300
Seller Name: wallscloset04
Marketplace: eBay
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                Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023
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                                                                           Get 12.99% APR with 12 or 24 Easy Payments on eBay.
                                                                           Ends 4/20, 11:59pm PT. Min. purchase required.



                                                                                                                              Mycarbon facial cleaning brushes Face Scrubber
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                                                                                                                              Waterproof
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                                                                                                                                   Price: $15.99                                     Buy It Now
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                                                                                                                                              United States. See details

                                                                                                                                   Shipping: Free Standard Shipping. See details
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    Brush Exfol iator Waterproof Face                                                                                 Piece Moisturizing Facial Skin Care         Sonic Facial Skin Silicone C leane r      Face Brush Skin Cle ansing Scrub             S<
    Scrubber Massage                                                                                                  Kit                                         Massager                                  with 4 Heads                                 w
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    f3 Top Rated Plus                                                                                                 Seller with a 99.4% positive feedback                                                 Seller w ith a 100% positive feedback




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            Miami, FL 33133-2709
            Unit ed States                                                                                                                                                           Bill
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            Review item and shipping

            Seller: wallscloseto4         Message to seller

                0                  Mycarbon f acial cleaning b rushes Face Scrubber Waterproof
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            G ift cards, coupon s, eBay Bucks




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            Donate t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day p rovide chi ldren lacing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can locus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and g rants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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DOE Number: 301
Seller Name: watchbandspot
Marketplace: eBay
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          v     Daily Deals Brend O utlet He lp & C o ntac t
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                                                                                                                                   Ultrasonic Facial Cleansing Brush Silicone Electric
                                                                                                                                                                                                                        Shop with confidence
                                                                                                                                   Sonic Face Skin Massager
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    Silicone Electric Face Cleansing                      Ult rasonic Silicone Elect ric Facial                            Elemis Pro -collagen Cleansing                Silicone Electric Face C leansing              Silicone Facial C leansing Brush             El•
    Brush Sonic Facial Skin Cleaner                       C leansing Brush Sonic Face                                      Balm - 3.05 oz                                Brush Ultra Sonic Facial Skin                  Waterproof Device Clean                      s,
    Heated Massager                                       C leanser M assager                                                                                            C leaner Massager                              Massager Rechargeable                        M
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    $19.98                                                $12.93                                                           $30.00                                        $34.99                                         $35.00                                       $
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    Seller with a 100% positive feedback                  Free shipping                                                    + shipping                                    Seller with a 100% positive feedback           last one                                     La
                                                          9watchers                                                        Seller with a 100% positive feedback




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           Ship t o                                                                                                           ebay MONEY BACK GUARANTEE
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           Boca Raton, FL 33433
           United States                                                                                                                                                       Bill
           Chang!l



           Review item and shipping

           Seller: watchbandspot           Message to seller

                                  Ultrasonic Facial Cleansing Brush Silicone Electric Sonic Face Skin
                                  Massager
                                  Color: Pink
                                  $48.99
                                  Quantityl


                                  Delivery
                                  Est. delivery: May 12 - Jul 11
                                  Economy Shipping from Greater China to worldwide
                                  Free



           G ift card s, coupons, eBay Bucks




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           Donate t o c harity (optiona l) 0

           Soles4Souls, Inc.
           Donate to help Soles4Souls provide shoes to children experiencing homelessness.
           Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving
           Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
           after the end of the month in which the donation is made. Donations are non-
           refundable and typically tax deductible. PPGF may be unable to grant funds to a
           charity ii the charity has lost tax exempt status, has closed, or no longer accepts
           funds from PPGF.


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                                                                                                                                     Electric Facial C leansing Brush Silicone Vibration
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                                           $ Have one to sell?             Sell now                                                        Delivery:   Iii Estimated between Fri, Mayl2 and Tue, Jul 11 0
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     Silicone Electric Facial Cleansing                     Silicone Electric Face Clea nsing                                Elemis Pro -collagen Cleansing                  Ultrasonic Silicone Electric Facial                Ultrasonic Silicone Elect ric Facial        Si
     Brush Face Massager Deep Clean                         Brush Sonic Facial Skin Cleaner                                  Balm - 3.05 oz                                  Cleansing Brush Sonic Face                         Clea nsing Brush Sonic Face                 Br
     Pores vibrate                                          Heated Massager                                                                                                  Cleanser Massager                                  Clea nser Massager                          Cl
     New                                                    New                                                              New                                             New                                                New                                         N,

     $17.49                                                 $19.98                                                           $30.00                                          $12.93                                             $13.19                                      $
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     Seller w ith a 100% posit ive f eedback                Sel ler wit h e 100% positive feedback                           + shipping                                      Fr ee s hippi ng                                                                               Se
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            Pay wit h                                                                                                          Subtotal 0 item)                             $35.99
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                   Add new card                                                                                                Tax·                                           $2.52
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            Ship to                                                                                                                ebay MONEY BACK GUARANTEE
                                                                                                                                                  See details


            Palm Beach, FL 33480
            United States
                                                                                                                                                                                      Bill
            Chang,1



            Review item and shipping

            Seller: watchbandspot           Message to seller

                                   Electric Facial Cleansing Brush Silicone Vibration Massager
                                   Blackhead Remover
                                   Color: MR662G
                                   $35.99
                                   Quantityl


                                   Delivery
                                   Est. delivery: May 12 - Jul 11
                                   Economy Shipping from Greater China to worldwide
                                   Free



            Gift cards, coupons, eBay Bucks



            [ Entercode:                            ]   -
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            Donate to charity (optional) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to chi ldren experiencing homelessness.
            Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving
            Fund (PPGF) receives your donation and g rants JOO% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductib le. PPGF may be unable to grant funds to a
            charity if the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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(      Back t o ho m e page I Listed in cat egory: He alth & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                         Share I Add to Watchlist


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                                            eBay stands with Turkiye and Syria                                                                                                                         ~
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                                                                                                                          Ultrasonic Facial Cleansing Brush Silicone Electric
                                                                                                                                                                                                                 Shop with confidence
                                                                                                                          Sonic Face Skin Massager
                                                                                                                                                                                                                         eBay Money Back Guarantee
                                                                                                                                                                                                                         Get the item you ordered or get
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                                                                                                                                       worldwide. See details
                                                                                                                                          located in: Shanghai, Chine


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    Silicone Facial C leansing Brush                      Silicone Electric Face C leansing                       Sunday Riley c.e.o. c + E Micro-              Facial Cleansing Brush, 3-ln-l                   Sonic Facial C leansing Brush                 Fe
    Waterproof Device C lean                              Brush Sonic Facial Skin C leaner                        dissolve Cleansing Oil FULL SIZE              Elect ric Silicone Face Scrubber,                electric, Waterproof, Skin                    Br
    Massager Rechargeable                                 Heated Massager                                         3.4oz NEW                                     Vibrating Massag                                 Massager, Heating mode                        Sc
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    Sponsored it ems inspired by your v ie ws                                      See all >                                                                                                                                         Feedback on our suggestions
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            Pay wit h                                                                                                         Subtotal (1 item)                            $48.99
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            Ship to                                                                                                                               See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                      Bill
            Changf



            Review item and shipping

            Seller: watchbandspot         Message to seller

                                   Ultrasonic Facial Cleansing Brush Silicone Electric Sonic Face Skin
                                   Massager
                                   Coloc Blue
                                   $48.99
                                   Quantity 1


                                   Delivery
                                   Est. delivery: Mar 27 - May 19
                                   Economy Shipping from Greater China to wor1dwide
                                   Free




            Gift cards, coupons, eBay Bucks




            Donate to charity (optional) 0

            Girls Make Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if



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            the charity has lost tax exempt status. has closed. or no longer accepts funds from PPGF.


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DOE Number: 302
Seller Name: wellnesseer
Marketplace: eBay
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             v  Dai ly Deals Brand Outlet Hel p & Contact
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0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                      Super Face Washing Machine Electric Soft Silicone
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                                                                                                                                               $8.98/ ea          $8.08/ea           $7.63/ea
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                                                                                                                                          4 or more for $7.18/ea


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                                                                                                                                                                                                              Visit store



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    2 Pack Face Washing Machine                            Rechargeable Ult rasonic Facial                    Serious Skincare EGG Microc ur+                     Super Face Washing Machine                  5 In l Face Brush Silicone Facial              Si
    Elect ric Soft Silicone Facial Brush                   Skin Scrubber Face Spatula                         Facial Toning w2 Conduc t-Gel                       Electric Soft Silicone Facial Brush         Electric Wash Face Machine Deep                El,
    C leanser Massage                                      Blackhead Remover                                  Tubes NEW/ C-DETAILS!                               C leanser Massage                           Clea ning Pore                                 s~
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 132 of
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            Pay wit h                                                                                                                    Subtotal (1 item)                              $8.98
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            Ship to                                                                                                                                          See details




            Miami, FL 33133
            United States
                                                                                                                                                                                                Bill
            Changf



            Review item and shipping

            Seller: wellnessseer          Message to seller

                                     Super Face Washing Machine Electnc Son Silicone Facial Brush
                                     Cleanser Massage
                                     colour Blue
                                     $8.98
                                     59,98



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                                     Delivery
                                     Free 2-3 day shipping
                                     Get it by Apr 20 - A pr 21
                                     USPS First Class



                                     Save up to 10%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


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DOE Number: 303
Seller Name: wellnessseer
Marketplace: eBay
               Case     1:23-cv-23631-RNS                   Document 20-3 Entered on FLSD Docket 11/13/2023          Page  134 of
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0 SAVE UPTO 20% WHEN YOU BUY MORE
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                                                                                                                                                                                                                  Trusted seller, fast shipping, and
                                                                                                                       Condition: New                                                                   II        easy returns.
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                                                                                                                         Shipping: Free Standard Shipping. See details
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                                                                                                                                       located in: Meadow lands, Pennsylvania, United States             278K items sold

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    2 Pack Face Washing Machine                           Rechargeable Ult rasonic Facial                   Serious Skincare EGG Microcur+                5 in l Electric Facial Cleanser Wash          Super Face Washing Machine                     SL
    Electric Soft Silicone Facial Brush                   Skin Scrubber Face Spatula                        Facial Toning w2 Conduct-Gel                  Face Beauty Cleansing Massager                Electric Soft Silicone Facial Brush            El,
    C leanser Massage                                     Blackhead Remover                                 Tubes NEW/C-DETAILS!                          Machine Home                                  C lea nser Massage                             Cl
    New                                                   New                                               New                                           New                                           New                                            N,

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            Pay with                                                                                                                   Subtotal (1 item)                               $8.98
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                   Add new card                                                                                                        Tax•                                            $0.63
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                                                                                                                                       Order total                                   $9.61

            @       PayPa/                                                                                                                By placing your order, you agree to eBay's
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            Ship to                                                                                                                                         See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                               Bill
            Changf                                                                                                                                                                              ?

            Review item and shipping

            Seller: wellnessseer          Message to seller

                                     Super Face Washing Machine Electnc Son Silicone Facial Brush
                                     Cleanser Massage
                                     colour Blue
                                     $8.98
                                     59,98



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                                     Delivery
                                     Free 2-3 day shipping
                                     Gel it by Apr 20 - Apr 21
                                     USPS First Class



                                     Save up to 10%



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
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DOE Number: 304
Seller Name: wenfindsmore
Marketplace: eBay
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                                                                                                                                Silicone Elect ric Face C leansing Brush Ult ra Sonic
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                                                                                                                                Facial Skin Cleaner Massager
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                                                                                                                                    ~        Fast and reliable. Ships from United States.
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    Silicone Electric Face C leansing                      Ult rasonic Silicone Electric Facial                          NEW belif Hydrators-On-The-Go 5              Elec t ric Face Cleansing Brush Ultra                Electric Face Cleansing Brush Ultra               El,
    Brush Sonic Fac ial Skin C leaner                      C leansing Brush Sonic Face                                   Piece Moisturizing Facial Skin Care          Sonic Facial Skin Silicone C leane r                 Sonic Facial Skin C leaner Massager               Sc
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    New                                                    New                                                           New                                          New                                                  New                                               NE

    $19.98                                                 $12.93                                                        $9.95                                        $7.49                                                $7.89                                             $
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    Free shipping                                          $¼&.615%off                                                                                                Free shipping                                        Free shipping                                     fo
    Seller with a 100% positive feedback                   Free shipping                                                 + $1.9 5 shipping                            l ast one                                            l ast one
                                                           9watc hers                                                    Seller w ith a 99.4% positive feedback




    Sponsored items inspired by your views                                           See all       >                                                                                                                                            Feedback on our suggestions




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    Silicone Electric Facial Cleansing                     Silicone Electric Face Cleansing                              Automatic Chicken Coop Door                  Automatic Chicken Coop Door                          NEW AUTOMATIC Opener Chicken                      u1
    Brush Face Exfoliator Rechargeable                     Brush Ult ra Sonic Facial Skin                                Opener Light Sensor Automatic                Opener Light Sensor Control Auto                     Coop Sunlig ht Sensor+Timer AUTO                  Be
    5 Modes                                                C leaner Massager                                             Chicken House Door US                        Pet Door Waterproof                                  Opener&Closer Chick                               B<
    New                                                    New                                                           New                                          New                                                  New                                               N,
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 138 of
         el::>ay  Checkout            368
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            Pay with                                                                                                                  Subtotal (1 item)                               $9.00
                                                                                                                                      Shipping                                        $640
                   Add new card                                                                                                       Tax•                                            $1.08
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                                                                                                                                           ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf



            Review item and shipping

            Seller: wenfindsmore          Message to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial Skin Cleaner
                                     Massager
                                     $9.00
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 29 - May 4
                                     USPS First Class
                                     S6.40



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]            -




            Donate to charity (optional) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness. Every
            donation goes towards a pair of new branded sneakers 4EveryKid_PayPal Giving Fund
            (PPGF) receives your donation and grants 100% to a charity no later than 30 days after the
            end of the month in which the donation is made. Donations are non-refundable and typically
            lax deductible. PPGF may be unable to grant funds lo a charity if the charrty has lost lax
            exempt status, has closed, or no longer accepts funds from PPGF.


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            v     Daily Dea ls Brend O utlet He lp & Contact
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(       8-ack to ho m e page I Listed in cat egory· Health & Beauty ) Sk in Oare ) Fac ial C l eansing Dev ic es                                                                                                                   Shar e I Add to Watchlist


                                                                                                                         Silicone Electric Face Cleansing Brush Ultra Sonic
                                                                                                                                                                                                           Shop w ith conf idence
                                                                                                                         Facial Skin Cleaner Massager
                                                                                                                                                                                                                     eBay Money Back Guarantee

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                                                                                                                               Price:     $9.00                                Buy It Now
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                                                                                                                               Shipping:    us $6.40 Standard Shipping. See details
                                                                                                                                            located in: Houston, Texas, United States
                                                                                                                                                                                                                     lovelydeals2012      ( Visit store )
                                                                                                                                                                                                                     In eBay Stores
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                                                                                                                               Delivery: Estimated between Tue, Marl4 and Sat, Marl8 to
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    Hand held Elect ric Facial Cleansing                       Silicone Electric Face C lea nsing                  New Therabody TheraFace PRO                 Electric Face Cleansing Brush Ultra         Sonic Facial Cleansing Brush                  Fe
    Brush Tool Waterproof Silicone                             Brush Sonic Facial Skin Cleaner                     Facial Massager - Black                     Sonic Facial Skin Silicone C leane r        YUNCHI Food Grade Silicone                    Si
    Cleansing New                                              Heated Massager                                                                                 Massager                                    Waterproof BLUE WC02_B                        M
    New                                                        New                                                 New                                         New                                         New                                           N,

    $9.95                                                      $19.98                                              $8.50                                        $7.49                                      $13.95                                        $
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    Free shipping                                              Free shipping                                                                                   Free shipping                               Free shipping
    74sold                                                     Seller 100% positive                                + $10.00 shipping                                                                       Seller 99.9% positive
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    Sponsored it ems inspired by your v ie ws                                                                                                                                                                                Feedback on our suggestions




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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 140 of
         el::>ay  Checkout            368
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            Pay wit h                                                                                                                   Subtotal (1 item)                               $9.00
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                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States

            Changf



            Review item and shipping

            Seller: wenfindsmore           Message to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                     Massager
                                     $9.00
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: Mar 14 - Mar 18
                                     USPS First Class
                                     S6.40



            Gift cards, coupons, eBay Bucks



            [~_E_n_te_r _co
                          _d_e_: _ _ _ _ _ _]              -




            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charity if
            the charity has lost tax exempt status. has closed, or no longer accepts funds from PPGF.


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                                                                                                                           Silicone Electric Face Cleansing Brush Ultra Sonic
                                                                                                                                                                                                             Shop with confidence
                                                                                                                           Facial Skin Cleaner Massager
                                                                                                                                                                                                                       eBay Money Back Guarantee

                                                                                                                                Condition: New                                                               8 Get the item you ordered or get
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                                                                                                                                 Price:    $9.00                               Buy It Now
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    Silicone Electric Face C leansing                     Electric Face C leansing Brush Ultra                     Proactiv Pore C leansing Charcoal            Ultrasonic Silicone Electric Facial          Electric Silicone Facial C leansing                Sc
    Brush Sonic Fac ial Skin Cleaner                      Sonic Facial Skin Silicone C leaner                      Infused Brush                               Cleansing Brush Sonic Face                    Brush Face Skin care Deep Cleaner                  YI
    Heated Massager                                       Massager                                                                                             C leanser Massager                            Massager                                           w
    New                                                   New                                                      New                                         New                                           New                                                NE

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    Seller with a 100% positive feedback                  6watche rs                                               + shipping                                  Free shipping                                 Seller with a 99.4% positive feedback              Se
                                                                                                                   Seller with a 100% positive feedback        9watchers




    Sponsored items customers also bought                                                                                                                                                                                         Feedback on our sug~stions




    Ultrasonic Silicone Electric Facial                   Silicone Electric Facial Cleansing
    Cleansing Brush Sonic Face                            Brush Vibration Face Cleaner Ski n
    C leanser Massager                                    care Tool
    New                                                   New
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 142 of
         el::>ay  Checkout            368
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            Pay with                                                                                                                  Subtotal (1 item)                               $9.00
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                   Add new card                                                                                                       Tax•                                            $1.08
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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf                                                                                                                                                                             ?

            Review item and shipping

            Seller: wenfindsmore          Message to seller

                                     Silicone Electric Face Cleansing Brush Ultra Sonic Facial SKin Cleaner
                                     Massager
                                     $9.00
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 22 - Apr 27
                                     USPS First Class
                                     S6.40



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co_d_e_: _ _ _ _ _ _]            -




            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy,
            safe, educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


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                                       368


DOE Number: 305
Seller Name: wisithuru_product
Marketplace: eBay
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                                                                                                                                  Electric Facial Cleansing Brush Silicone Ultrasonic
                                                                                                                                                                                                                          Shop wit h confidence
                                                                                                                                  Vibration Face Washing Skin
                                                                                                                                                                                                                                   eBay Money Back Guarantee
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                                                                                                                                      Price:   $19.99                                    Buy It Now
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                                                                                                                                                                                        Add to cart
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                                                                                                                                      ~    Fast and reliable, Ships from United States.
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                                                                                                                                      ~    Breathe easy. Returns accepted.
                                            $ Have one to s ell?              Sell now                                                                                                                                             lovelydeals2012           ( Shop now)
                                                                                                                                                                                                                                   In eBay Stores
                                                                                                                                      Shipping:    us $4.99 Economy Shipping. See details                                          Sponsored
                                                                                                                                                   Located in: New York, New York, United States

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    Electric Silicone Facial Brush
    Cleansing Skin Massager Face
                                         •                    Silicone Face Cleansing Brush
                                                              Electric Facial Cleanser Washing
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                                                                                                                          Toning Device
                                                                                                                                                                       Silicone Electric Face Cleansing
                                                                                                                                                                       Brush Sonic Facial Skin Cleaner
                                                                                                                                                                                                                         Ultrasonic Silicone Electric Facial
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    Brush Vibration                                           Massager Scrub ber                                                                                       Heated Massager                                   Clea nser Massager                                 M
    New                                                       New                                                         New                                          New                                               New

    $19.99                                                    $6.99                                                       $95.00                                       $19.98                                            $12.93                                             $
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    Seller with a 100% positive feedback                      69sold                                                      Free shipping                                Seller with a 100% positive feedback              Free shipping
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    Relat ed sponsored items                                                                                                                                                                                                                      Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 145 of
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            Pay wi th                                                                                                         Subtotal 0 item)                            $19.99
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            Ship t o                                                                                                              ebay MONEY BACK GUARANTEE
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            Miami, FL 33138-4 0 55
            United States                                                                                                                                                            Bill
            Chang!l



            Review item and shipping

            Seller: wisithuru_p...       Message to seller

                                   Electric Facial Cleansing Brush Silicone Ultrasonic Vibration Face
                                   Washing Skin
                                   $19.99
                                   Quantityl


                                   Delivery

                                   @     Est. delivery: Apr 24 - Apr 28
                                         USPS Parcel Select Gro und
                                         $ 4.99

                                   0     Est. delivery: Apr 24 - Apr 27
                                         Expedited Shipping
                                         $ 2 9.99




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            Donat e t o c harity (optiona l) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children lacing poverty resources needed to grow up
            healthy, safe, educated & empowered so they can locus on being kids. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
            charity ii the charity has lost tax exempt status, has closed, or no longer accepts
            funds from PPGF.


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(      Back t o ho m e page I List ed in c at egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Devic es                                                                                                                        Share I Add to Watchlist


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                                                                     eBay stands with Turkiye and Syria                                                                          ~
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                                                                                                                          Electric Facial Cleansing Brush Silicone Ultrasonic
                                                                                                                                                                                                                Sho p w ith confidence
                                                                                                                          Vibration Face Washing Skin
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                                                                                                                               Price :   $19.99                                Buy It Now
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                                          $ Have one to sell?            Sell now                                                                                                                                       lovelydeals2012      ( Shop now)
                                                                                                                                                                                                                        In eBay Stores
                                                                                                                               Ship ping:   us $4.99 Economy Shipping. See details                                      Sponsored
                                                                                                                                            Located in: New York, New York, United States


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    Hand held Electric Facial Cleansing                   Facial Cleansing Brush, 3-ln-1                          Sunday Riley c.e .o. c + E Micro-             Facial Cleansing Brush, 3-ln-l                  Silicone Face Cleansing Brush                    El•
    Brush Tool Waterproof Silicone                        Electric Silicone Face Scrubber,                        d issolve Cleansing Oil FULL SIZE             Electric Silicone Face Scrubber,                Electric Facial Cleanser Washing                 Cl
    C leansing New                                        Vibrating Massag                                        3.4oz NEW                                     Vibrating Massag                                Massager Scrubber                                Br
    New                                                   New                                                     New                                           New                                             New                                              N,

    $9.95                                                 $23.67                                                  $8.50                                         $28.99                                          $10.56                                           $
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    Fr ee shipping                                        Free shipping                                                                                         Fr ee s hippi ng                                Free shipping                                    F,,
    72 sold                                               Sel ler 100% positive                                   Free shipping                                 Seller 100% positive                            Seller 100% positive                             Se
                                                                                                                  Seller99.8% positive




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            Pay wit h                                                                                                                Subtotal (1 item)                           $19.99
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                   Add new card                                                                                                      Tax•                                           $1.75
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            Ship to                                                                                                                                      See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                            Bill
            Changf



            Review item and shipping

            Seller: wisithuru_p...       Message to seller

                                     Electric Facial Cleansing Brush Silicone Ultrasonic Vibration Face
                                     Washing Skin
                                     $19.99
                                     Quanrny 1


                                     Delivery

                                     @     Est. delivery Mar 11 - Mar 16
                                           USPS Parcel Select Ground
                                           S4.99

                                    O Est. delivery: Mar 10 - Mar 13
                                           Expedited Shipping
                                           S29.99




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            Donate to charity (optional) 0

            Girls Make Beats Inc
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days aner the end of the month in which the donation is made. Donations are
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            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


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                     Tips: Power supply: l*AAA battery (not included)
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                                         $ Have one to sell?           Sell now

                                                                                                                            Ship ping: US $4.99 Economy Shipping. See details
                                                                                                                                         Located in: New York, New York, United States

                                                                                                                            Delivery:    GI Estimated between Mon, Aprl7 and Fri, Apr 21 0
                                                                                                                                         Includes 4 b usiness days handling t ime after receipt of
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    Silicone Face Sonic Vibration                       Electric Facial Cleanser Washing                       Skin Care System EXTRA HEAD                   Brush Sonic Facial Skin Cleaner              Sonic Facial Skin Silicone Cleaner              Br
    Remover Rechargeable                                Massager Scrubber                                      facial cleansing brush                        Heated Massager                              Massager                                        Pc
    New                                                 New                                                    New                                           New                                          New                                             NE

    $14.99                                              $ 7.59                                                 $17.99                                        $19.98                                       $7.12                                           $
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    Free shipping                                       Free shipping                                                                                        Free shipping                                $,¼95%off                                       Fri
    Seller with a 99.2% positive feedback                                                                      + $8.00 shipping                              Seller with a 100% positive feedback         Free shipping                                   Se
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         el::>ay  Checkout            368
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            Pay with                                                                                                             Subtotal (1 item)                            $19.99
                                                                                                                                 Shipping                                        $4.99
                   Add new card                                                                                                  Tax•                                            $1.75
            0      ~ ~ -              151
                                                                                                                                 Order total                                 $26.73

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            Ship to                                                                                                                                  See details




            Palm Beach, FL 33480
            United States
                                                                                                                                                                                         Bill
            Changf



            Review item and shipping

            Seller: wisithuru_p...      Message to seller

                                    Electric Facial Cleansing Brush Silicone Ultrasonic Vibration Face
                                    Washing Skin
                                     $19.99
                                    Quantity 1


                                     Delivery

                                    @     Est. delivery Apr 17 - Apr 21
                                          USPS Parcel Select Ground
                                          S4.99

                                    O Est. delivery: Apr 17 - Apr 20
                                          Expedited Shipping
                                          S29.99




            Gift cards, coupons, eBay Bucks




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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group. individual & family therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days aner the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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            status. has closed. or no longer accepts funds from PPGF.


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DOE Number: 306
Seller Name: wow-shoppers-llc
Marketplace: eBay
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           v     Daily Deals Brend O utlet He lp & C o ntac t
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                                              ~                           Learn how to earn a $50 statement credit                                                                                                           ~
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                                                                                                                                    Facial Cleansing Brush, 3-ln-l Electric Silicone Face
                                                                                                                                                                                                                              Shop with confidence
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r,!
.,..,                                                                                                                                              Be t he firs t t o w rite a review.
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                                                                                                                                          Price: $24.74                                        Buy It Now
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                                                                                                                                          Shipping: Free 2-4 day shipping
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                                                                                                                                                    Get it between Wed, Apr 26 and Fri, Apr 28. See
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                                          $ Have one to sell?             Sell now
                                                                                                                                                      Located in: Denver, Colorado, Unrf:ed States
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     Facial Cleansing Brush 3-ln-l                         Facial Cleansing Brush, 3-ln-l                                   Elemis Pro -collagen Cleansing                     Silicone Electric Face Cleansing               Facial Cleansing Brush Silicone               El•
     Electric Silicone Face Scrubber                       Electric Silicone Face Scrubber,                                 Balm - 3.05 oz                                     Brush Sonic Facial Skin C leaner               Electric Face Scrubber and                    Br
     Vibrat ing Massag                                     Vibrating Massag                                                                                                    Heated Massager                                C lea nser                                    s,
     New                                                   New                                                              New                                                New                                            New                                           N,

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            Pay wi th                                                                                                          Subtotal Q item)                               $24.74
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                   Add new card                                                                                                Tax•                                              $1.73
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            Ship t o                                                                                                               ebay MONEY BACKGUARANTEE
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            Boca Raton, FL 33433
            United States                                                                                                                                                                Bill
            Chang,1



            Review item and shipping

            Seller: wow-shopper...           Message to seller

                                    Facial Cleansing Brush, 3-ln-1 Electric Silicone Face Scrubber,
                                    Vibrat ing Massag
                                    $ 24.74
                                    Quantityl


                                    Delivery
                                    Free 2-3 d ay ship pi ng
                                    Get it by Apr 26 - Apr 27
                                    Expedited Shipping



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            Donate t o c harity (optiona l) 0

            Soles4Souls, Inc.
            Donate to help Soles4Souls provide shoes to children experiencing homelessness.
            Every donation goes towards a pair of new branded sneakers 4EveryKid. PayPal Giving
            Fund (PPGF) receives your donation and grants 100% to a charity no later than 30 days
            after the end of the month in which the donation is made. Donations are non-
            refundable and typically tax deductible. PPGF may be unable to grant funds to a
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DOE Number: 307
Seller Name: yanksfan12345
Marketplace: eBay
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                                                                                                                      Pop Sonic Leafbud Facial Cleansing Device Pink
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                                                                                                                                    Price:   $38.00                                    Buy It Now
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    PopSonic Leafbud Sonic Facial                              Pop Sonic strawberry 3 in 1.                                Proactiv Pore C leansing Charcoal              Pop Sonic Leafbud Facial                   New Pop Sonic Face & Body                           Pt
    C leansing Device Soften Wrinkles                          Cleanse, Massage, Exfoliate. Brand                          Infused Brush                                  C leansing Device Orange                   C lea nsing Tool G reen- Unisex New                 D,
    Lavender Purple                                            new sealed.                                                                                                Waterproof Rechargeable NIB                Lite green rechargeble
    New                                                        New                                                         New                                            New                                        New{0ther)                                          N,

    $29.99                                                     $24.00                                                      $11.30                                         $18.00                                     $39.95                                              $
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    Free shipping                                              + $3.50 shipping                                                                                           +shipping                                  Free shipping                                       +!
    Seller with a 99.8 % positive feedback                     £':3 Top Rated Plus                                         + shipping                                     Seller with a 100% positive feedback       Seller with a 100% positive feedback                Se
                                                               Seller with a 100% positive feedback                        Seller with a 100% positive feedback




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    LUCE 180 Anti-Ag ing Ultra Sonic                           Silicone Electric Face C leansing                           Electr ic Silicone Facial C leansing           Super Face Washing Machine                 A utom atic Waterproof Chicken                      Al
    Technology Dev ice & Facial                                Brush Ult ra Sonic Facial Skin                              Brush Face Skin care Deep Cleane r             Electric Soft Silicone Facial Brush        Coop Door With Lig ht Senso r                       01
    Cleanser BNIB black                                        C leane r Massager                                          Massager                                       C leanser Massage                          Poultry Gate Hen House                              D•
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 155 of
         el::>ay  Checkout            368
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            Pay with                                                                                                                  Subtotal (1 item)                            $38.00
                                                                                                                                      Shipping                                        $5.70
                   Add new card                                                                                                       Tax•                                            $3.06
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                                                                                                                                      Order total                                 $46.76

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            Ship to                                                                                                                                        See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                              Bill
            Changf                                                                                                                                                                             ?

            Review item and shipping

            Seller: yanKsfan12345            Message to seller

                                     Pop Sonic Leafbud Facial Cleansing Device PinK Waterproof
                                     Rechargeable New In Bo
                                     $38.00
                                     Quanmy 1


                                     Delivery
                                     Est. delivery: A pr 22 - Apr 27
                                     USPS First Class
                                     S5.70



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources needed to grow up healthy.
            safe. educated & empowered so they can focus on being Kids PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds lo a charity if the charity has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 156 of
                                       368


DOE Number: 308
Seller Name: yolandlor-0
Marketplace: eBay
             Case     1:23-cv-23631-RNS                  Document 20-3 Entered on FLSD Docket 11/13/2023         Page    157 of
            v  Dai ly Deals Brand Out let Help & Contact
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(      8.aick t o ho m e page I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                             Shar e I Add to Watchlist


0 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                            FOREVER LINA T-Sonic mini Facial Cleansing
                                                                                                                                                                                                                      Shop w ith confidence
                                                                                                                            Device
                                                                                                                                                                                                                                eBay Money Back Guarantee

                                                                                                                                Condit ion: New                                                                       e         Get the item you ordered or get
                                                                                                                                                                                                                                your money back.
                                                                                                                                    Color:    Yel lo w                                                                          Learn more


                                                                                                                                                     Buy l             Buy2              Buy3
                                                                                                                            Bulk savings:                                                                             Seller information
                                                                                                                                                  $12.99/ea          $11.69/ea         $11.04/ea
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                                                                                                                                             4 or more for$10.39/ea

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                                                                                                                                 Price:   $12.99/ea                                  Buy It Now


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                                                                                                                                  Returns: Seller does not accept returns. See details

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    Similar sponsored it ems                                                                                                                                                                                                             Feedback on our suggestions




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    FOREVER LI NA T-Sonic mini Facial                     Elect ric Face C leansing Brush Ultra                    ON LABS Blackhead Deep                            Electric Face C leansing Brush Ultra             Luxsio Sonic Beauty Facial                      Pc
    Cleansing Device                                      Sonic Facial Skin Silicone Cleaner                       Cleansing Nose Pore St rips 6 St rips             Sonic Facial Skin Cleaner Massager               C lea nsing Brush 3-in-l Skincare               Cl
                                                          Massager                                                 (LOT O F3)                                        Silicone                                         Solution NEW Pink
    New                                                   New                                                      New                                               New                                              New

    $12.99                                                $7.49                                                    $0.99                                             $7.89                                            $16.99                                          $
                                                                                                                   0bids
    + shipping                                            Free shipping                                                                                              Free shipping                                    Free shipping                                   $8
    Seller 100% positive                                                                                           + $4.50 shipping                                                                                   Seller 99.6% positWe                           F,,
                                                                                                                   Seller 100% positWe                                                                                                                               l'i'I



    Sponsored items inspired by your views                                                                                                                                                                                               Feedback on our suggestions
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 158 of
         el::>ay  Checkout            368
                                                                                                                                       How do you liKe our checkout? Give us reedbacK




            Pay wit h                                                                                                                   Subtotal (1 item)                            $12.99
                                                                                                                                        Shipping                                        $5.85
                   Add new card                                                                                                         Tax•                                            $1.32
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                                                                                                                                        Order total                                 $20.16

            @       PayPa/                                                                                                                 By placing your order, you agree to eBay's
                                                                                                                                           User Agreement and Prtva91: Notice.
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            0       Special financing available.
                   Apply now. See terms
                                                                                                                                                        Pay with PayPal


            0       I G Pav l GoogtePay                                                                                                         You'll finish checkout on PayPal



                                                                                                                                            ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                          See details




            Miami, FL 33133-2709
            United States
                                1
            Changf



            Review item and shipping

            Seller: yolandlor-0          Message to seller

                                     FOREVER LI NA T-Sonic mini Facial Cleansing Device
                                     Color Yellow
                                     $12.99


                                     [   ~uantify




                                     Delivery
                                     Est. delivery: Mar 11 - Mar 14
                                     USPS First Class
                                     S5.85



            Gift cards, coupons, eBay Bucks



            [~_E_n_ie_r _co
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            Donate to charity (optional) 0

            Girls MaKe Beats Inc.
            Girls Make Beats empowers the next generation of female music producers, DJs, and audio
            engineers. PayPal Giving Fund (PPGF) receives your donation and grants 100% to a charity
            no later than 30 days after the end of the month in which the donation is made. Donations are
            non-refundable and typically tax deductible. PPGF may be unable to grant funds to a charily if
            the charity has lost tax exempt status, has closed, or no longer accepts funds from PPGF.


            Select amount       g
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            Case      1:23-cv-23631-RNS              Document 20-3 Entered on FLSD Docket 11/13/2023        Page   159 of
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(     Back to ho m e pag e I Listed in cat egory: Health & Seavty ) Sk in O are ) Fac ial Olean.sing Dev ic es                                                                                                            Shar e I Add to Watchlist




     People who viewed this item also viewed




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                                                                           [i
                          Forever Lina Mini T



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                          Sonic Facial C leansing
                          Device
                          Sponsored
                          $ 39.99
                          + $6.25 shi ppi ng
                                                                                               Facial C leansing
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                                                                                               $18.95
                                                                                               + S5.00 shipping                     i                 Facial C leansing
                                                                                                                                                      Device t EAL -NEW IN ...
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                                                                                                                                                                                                             Electric Device Pink...
                                                                                                                                                                                                             $19.99
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8 SAVE UPTO 20% WHEN YOU BUY MORE
                                                                                                                  FOREVER LINA T-Sonic mini Facial Cleansing
                                                                                                                                                                                                    Shop w ith confidence
                                                                                                                  Device
                                                                                                                                                                                                           eBay Money Back Guarantee
                                                                                                                     Condition: New                                                                 8 Ge t the ite m you ordered or get
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                                                                                                                           Color:       Blue                                                               Learn mo re

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                                                                                                                                        $12.99/ea        $11.69/ea         $11.04/ea
                                                                                                                                                                                                    yolandlor-0 ® * l
                                                                                                                                                                                                    10 0% positive feedback
                                                                                                                                    4 or more for $10.39/ea


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                                                                                                                            Fast and re liable. Ship s from United States.


                                                                                                                            People are checking this out. 7 have added this to their
                                                                                                                            watchlist.


                                                                                                                      Shipping : Will ship to United States. Read item description
                                                                                                                                 or contact seller for shipping options. See details
                                                                                                                                 Located in: Los Angeles, California, United States

                                                                                                                       Delivery: Varies

                                                                                                                         Returns: Seller does not accept returns. See details




                                                                                                                                    PayPal CREDIT
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                                                                                                                                               Earn up to 5x points when you use your
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    About t his item           Ship ping, ret urns & payments                                                                                                                                                                    .RgP-o rt this item



     Selle r assumes all responsib ility for this listing.                                                                                                                                           eBay item number: 255304 564093
     Last upd ated o n Aug 31, 2022 07:40:38 PDT View all revisions




     Item specifics
     Condition                             New : A brand -new, unused, unopened, undamaged item in                                        Model                           FOREO LUNA mini 2
                                           its original packag ing (where packaging is applicable}.
                                           Packag ing should be t he same as what is found in a retail
                                           store, unless the item is hand made or was p ackaged by the
                                           manufacturer in non-retail packaging, such as an unprinted
                                           box or p lastic bag. See t he seller"s listing for full details. See
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 160 of
         el::>ay  Checkout            368
                                                                                                                                          How do you like our checkout? Give us feedback




            Pay with                                                                                                                       Subtotal (1 item)                            $12.99
                                                                                                                                           Shipping                                        $5.85
                    Add new card                                                                                                           Tax•                                            $1.32
            0
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                                                                                                                                           Order total                                 $20.16

            @       PayPa/                                                                                                                    By placing your order, you agree to eBay's
                                                                                                                                              User Agreement and Prtva91: Notice.
                                                                                                                                              *We're required by law to collect sales tax and


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                                                                                                                                              applicable fees for certain tax authorities
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            0       Special financing available.
                    Apply now. See terms
                                                                                                                                                            Pay with PayPal


            0       IG Pay I Google Pay                                                                                                            You'll nnrsh checkout on PayPal



                                                                                                                                                ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                             See details




            Miami, FL 33133-2709
            United States
                                                                                                                                                                                                   Bill
            Changf                                                                                                                                                                                  ?

            Review item and shipping

            Seller: yolandlor-0           Message to seller

                                      FOREVER LI NA T-Sonrc mini Facial Cleansing Device
                                      Color Blue
                                      $12.99


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                                      Delivery
                                      Est. delivery: A pr 19 - Apr 21
                                      USPS First Class
                                      S5.85



            Gift cards, coupons, eBay Bucks



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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & famity therapy for families with kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible. PPGF may be unable to grant funds to a charity if the charily has lost lax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount        g
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DOE Number: 309
Seller Name: yyi89578
Marketplace: eBay
                Case    1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023        Page    162 of
               v  Daily Deals Brand Outlet Help & Contact
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(         8-ack t o ho m e pag e I List ed in cat egory: Health & Beauty ) Sk in O are ) C le ans ers & Toners                                                                                                                     Shar e I Add to Watchlist


                                                                                                                         Super Face Washing Machine Electric Soft Silicone
                                                                                                                                                                                                           Shop w ith conf ide nc e
                                                                                                                         Facial Brush Cleanser Massage
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[i]                                                                                                                               Type:    black                                                                     Learn more


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                                                                                                                             Q uantity:               2 available / 13 sold
                                                                                                                                                                                                           Seller information
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                                                                                                                                                                                                           98.9% positive feed back
· =
                                                                                                                             Price :   $1Z59                                  Buy It Now

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                                                                                                                           ~       Breathe easy. Returns acce pted.



                                                                                                                             Shipping: Free Economy Shipping. See details                                   Explore a related Store
                                                                                                                                          Located in: Hacienda Heights, California, United States           115K items sold
                                                                                                                              Delivery: Estimated b etween Fr i, Apr 21 and Mon, Apr24 ©
                                             $ Have one to sell?             Sell now                                                                                                                                lovelydeals2012      (   Visit store )
                                                                                                                                                                                                                     In eBay Stores
                                                                                                                              Returns: 14 day returns. Buye r pays fo r ret urn shipping. See                        Sponsored
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    Super Face Washing Machine                                Su per Face Washing Machine                        NEW belif Hydrators-On-The-Go 5              2 Pack Face Washing Machine                  5 In 1 Face Brush Silicone Facial               5
    Electric Soft Silicone Facial Brush                       Electric Soft Silicone Facial Brush                Piece Moistu rizing Facial Skin care         Electric Soft Silicone Facial Brush          Electric Wash Face Machine Deep                 Fe
    C leanser Massage                                         C leanser M assage                                 Kit                                          C leanser Massage                            Cleaning Pore                                   M
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                                                              r:J Top Rated Plus                                 Seller with a 99.4% posit ive feedback       Seller with a 99.5% positive feedback        6watchers                                       53




    Sponsored items inspired by your views                                                                                                                                                                                      Feedback on our suggestions



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                                                                           c~~!'!!~..!nng




    Facial C leansing Brush, Sonic                            HLA IE Silicone Ele ct ric Face                    Facial C le ansing Br ush, Sonic             Silicone Electric Face C leansing            Electric Facial C leansing Brush Set            Fe
    Silicone Scrubber, Face Vibrat ing                        Cleansing B~USH Sonic Facial Skin                  Silicone Scrubbe r, Face Vibrating           Brush Ultra Sonic Facial Skin                Face Body Exfo liat ing Silicone                Cl
    Massager                                                  C leaner Massager                                  Massager NEW                                 C leaner Massager                            Waterproof u s
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 163 of
         el::>ay  Checkout            368
                                                                                                                                         How do you liKe our checkout? Give us feedbacK

                                                                                                                                                                To add more items, go to cart



            Pay with                                                                                                                     Subtotal (1 item)                             $17.59
                                                                                                                                         Shipping                                         Free
                    Add new card                                                                                                         Tax *                                           $1.23
            0
                    §1 ~         -       ~                                                                                               Order total                                  $18.82

            @       PayPa/                                                                                                                  By placing your order, you agree to eBay's
                                                                                                                                            User Agreement and Prtva~ Notice.
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                    ~~r;;                                                                                                                   applicable fees for certain tax authorities.
                                                                                                                                            Learn more
            0       Special financing available.
                    Apply now See terms
                                                                                                                                                          Pay wilh PayPal


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                                                                                                                                              ebay MONEY BACK GUARANTEE
            Ship to                                                                                                                                           See details




            Miami, FL 33133
            United States                                                                                                                                                                        Bill
            Changf



            Review item and shipping

            Seller: yyi89578

                                      Super Face Washing Machine Electric Soft Silicone Facial Brush
                                      Cleanser Massage
                                     Type: blacK
                                      $17.59


                                     [   ~uaatify




                                      Delivery
                                      Est delivery: A pr 21 - Apr 24
                                      USPS Parcel Select Ground
                                      Free



            Gift cards, coupons, eBay Bucks



            [ Enter code                               ]   -
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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children facing poverty resources nee<Jed to grow up healthy,
            safe, e<Jucate<J & empowered so they can focus on being Kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
            deductible PPGF may be unable to grant funds to a charity if the charity has lost tax exempt
            status, has closed, or no longer accepts funds from PPGF.


            Select amount        g

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DOE Number: 310
Seller Name: zongtian
Marketplace: eBay
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(     Back t o ho m e page I Listed in cat egory: Health & Beauty )   Sk in Care )   Facial C l eansing Dev ic es                                                                                                                        Share I Add to Watchlist


                                                                                                                            Silicone Face Cleansing Brush Electric Facial
                                                                                                                                                                                                                  Shop w ith conf idence
                                                                                                                            Cleanser Washing Massager Scrubber
                                                                                                                                                                                                                           eBay Money Back Guarantee

                                                                                                                                Condition: New                                                                    8        Get the item you ordered or get
                                                                                                                                                                                                                           your money back.
                                                                                                                                     Color:                                                                                 Learn more


                                                                                                                                 Quantity:    LJ         Last One / 1sold
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                                                                                                                                                                                                                  91.3 % p osit ive feedbac k
                                                                                                                                 Pric e :   $10.56                                 Buy It Now

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                    Tips: Power supp Hover to zoom ?ry (not included)                                                            Shipping: Free SpeedPAK Standard . See details
                                                                                                                                              International shipment of items may be subject to                   Shop related items
                                                                                                                                              customs processing end additional charges.       ©
                                                                                                                                                                                                                  115K items sold
                                                                                                                                              Located in: YJWU, Chine

                                       $ Have one t o sell?           Sell now                                                   Delivery:    II Estimated between Mon, May 8 and Mon, May                                  lovelydeals2012     ( Visit store )
                                                                                                                                                                                                                            In eBay Stores
                                                                                                                                              22©
                                                                                                                                                                                                                            Sponsored
                                                                                                                                              This item has an extended handling time and a delivery
                                                                                                                                              estimate g reater than 12 business days.
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                                                                                                                                              subject to customs processing.


                                                                                                                                  Returns: Seller does not accept returns. See details

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    Silicone Face Cleansing Brush                      Silicone Face C leansing Brush                               Cetaphil daily facial cleanser16oz            5inl Electric Face Facial C leaner              Silicone Facial C leansing Brush              UI
    Electric Facial Cleanser Washing                   Electric Facial Cleanser Washing                             & Cetaphil Moisturizing Cream                 Brushes Deeply Cleansing                        Massage Electric Rechargeable                 Cl
    Massager Scrubber                                  Massager Scrubber                                            03oz Bund le                                  Massager Scrubber                               Exfoliate Clean                               Cl
    New                                                New                                                          New                                           New                                             New                                           N,

    $7.59                                              $6.99                                                        $28.50                                         $6.99                                          $10.95                                        $
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 166 of
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            Pay wit h                                                                                                                Subtotal (1 item)                            $10.56
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            Ship to                                                                                                                                       See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                    Bill
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            Review item and shipping

            Seller: zongtian        Message to seller

                                     Silicone Face Cleansing Brush Electric Facial Cleanser Washing
                                     Massager Scrubber
                                     Coloc 1
                                     $10.56
                                     Quantity 1


                                     Delivery
                                     Est. delivery: May 8 - May 22
                                     SpeedPAK Standard
                                     Free



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            Donate to charity (optional) 0

            Comic Relief Red Nose Day
            Help Red Nose Day provide children racing poverty resources needed to grow up healthy,
            safe, educated & empowered so tlley can focus on being kids. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
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(      Back t o ho m e pag e I Listed in cat egory: Health & Beauty ) Sk in Oare ) Facial C l eansing Dev ic es                                                                                                                            Share I Add to Watchlist


                                                                                                                          Silicone Face Cleansing Brush Electric Facial
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                                                          57 sold                                                 Seller w ithe 100% positive feedback            5 wat chers




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            Ship to                                                                                                                                        See details




            Palm Beach, FL 33480
            United States                                                                                                                                                                     Bill
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            Review item and shipping

            Seller: zongtian         Message to seller

                                     Silicone Face Cleansing Brush Electric Facial Cleanser Washing
                                     Massager Scrubber
                                     Coloc 1
                                     $10.56
                                     Quantity 1


                                     Delivery
                                     Est. delivery: A pr 27 - May 10
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            Donate to charity (optional) 0

            Nova Ukraine
            Donate to Nova Ukraine to help fund group, individual & family therapy for families with Kids
            who have experience severe trauma & loss due to the War. PayPal Giving Fund (PPGF)
            receives your donation and grants 100% to a charity no later than 30 days after the end of the
            month in which the donation is made. Donations are non-refundable and typically tax
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Brush Waterproof Face Scrubber       Brush Ultra Sonic Facial Skin      Nights Sonic lear Petit e                       Set Face Body Exfoliating Sil icone       Silicone Scrubber, Face Vi brating              Fi
for Deep C leansing                  C leaner Massager                  Antim ic robial Skin C leansing                 Waterproo f us                            Massager                                        El
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           Ship to



           Miami. f l 33131-2124




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           Seller. zongtian         Message to seller

                                     Silicone Face Cleansing Brush Electric Facial Cleanser Washing
                                     Massager Scrubber
                                     COior. 1
                                     $10.56
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           Donate to charity (optional) 0

           Alzheimer's Associ ation
           Support the Alzheimer's Association, the leading voluntary health organizat10n in Alzheimer's
           care, support and research. PayPal Giving Fund (PPGF) receives your donation and grants
           100% to a cnarny no later than 30 days afier tne end 01 tne month In which the donation Is
           maoe. Donations are noo-rerunoaoIe ana typ;ca11y tax aeaucuoIe. PPGF may oe unaoie to
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                        Thanks for shopping with us!

                        You should get your order by Oct 17.



                       Order total: $11.30

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                                              Silicone Face Clea nsing Brush Electric Facial Cleanser Was ...
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                       See order details


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       Silic one Facial C leansing                        scrubber face massager              Sonic Silicone Scrubber,
       Brush Massager                                     pore brush Face Cleanser            Fac e Vibrat ing Massager
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       Facial Massager Brush                              Electric Facial C leansing          lpc Double Head Face
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       Electric Scrubber Skin ...                         Exfoliating Silicone ...            Facial Cleanser Wash Brus...
       New                                                New                                 New
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Massage Electric Rechargeable          Brush Ultra Sonic Facial Skin      Vit ami n C Facial Skin Moi sturizer       Brush Powered Face Skin                 Brush Sonic Facial Skin Cleaner                81
Face C leaner Pink                     Cleaner Massager                   1.7 11OZ, NIB                              scrubbers Facial care roo1              Heatea Massager                                M
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 174 of
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           Ship to



           Miami. FL 33131-2124
           Unit ed S1ates




           Review item and shipping
           Seller. tandzik9         IAessage to seller

                                     Mini Silicone Electric Face Cleansing BrtBh Facial Skin Cleaner
                                     Massager Tool
                                     $15.00
                                     Quant~y 1


                                     Delivery
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           Donate to charity (optional) 0
           Alzheimer's Association
           Support the Alzheimer's Association, the leading voluntary health organization in Alzheimer's
           care, support and research. PayPal Giving Fund (PPGF) receives your donation and grants
           100% to a cnarry no later than 30 aays arer tne eno 01 tne month 1n Which ine donation Is
           made. Donations are non-refundable and typ;cally tax deductible. PPGF may be unable to
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       Electric Scrubber Skin ...          Facial Skin C leaner...              Exfoliating Silicone ...
       New                                 Nevv                                 Nevv
       $13.81                              $18.95                               $13.97
       ~8%off                              Free shipping                        Free shipping
       Free shipping                       Last one                             9' Top Rated Plus
       12% off 2+ with coupon                                                   14 watche1s




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              Ship to



              Miami, FL33131 -2124
              United States




              Review item and shipping

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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 200 of
                                       368


DOE Number: 311
Seller Name: ArzariBeauty
Marketplace: Etsy
  Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 201 of
Etsy ( Search for anything              368                             0
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Related searches                                                                                                                                    Ant i-Bact e ria l Silicone: W ith ul t ra -soft Ant i -Bacterial
                                                                                                                                                    Silicone m at e rial, t hat is bact eria resistant and f ar
                                                                                                                                                    more hyg ie ni c than nylon b r ushes, the massager
                                                                                                                                                    gently exfoliat es t he ski n an d removes d ead ski n cel ls.
skincare tool      silicone          tallow        electric          eyelash         shine           skincare     silicone face
                    brush           skincare        facial...        cleanser       skincare          bottle          brush
                                                                                                                                                    Gent le Cleansing: Having u lt ra -soft b rist les, it p rovides

0 shop reviews                  *****                                                                       Sort by: Suggested ,..                  t he softest a nd gen t lest cleansi ng an d massage t o
                                                                                                                                                    you r face an d is suit a b le fo r all types o f skin: sensit ive,
                                                                                                                                                    oi ly, d ry, and com b inat ion.


                                                                                                                                                    USB Rechargeable: Conven ie nt USB cha rg ing, you can
                                                                                                                                                    easily charge t his massager anyt i me and anywhere,
                                                                                                                                                    you can use a powe r bank or mob i le p hone charger o r
                                                                                                                                                    d irectly p lug it in to the USB port o f t he comput er for
                                                                                                                                                    cha rg ing.


                                                                                                                                                    3-speed vibrat ion: It a lso feat u res up t o 3 adj ust a b le
                                                                                                                                                    vi bration speed settings. W ith 3 d ifferent v ib ra t ion
                                                                                                                                                    speed modes, you can control t he i nt e nsity o f your
                                                                                                                                                    c leansi ng and c reate t he perfect cleanse for your
                                                                                                                                                    f ace.


                                                                                                                                                    C lean and Radia nt Ski n: The exfoliation p rocess g ives
                                                                                                                                                    you c lear ski n thus leavi ng a silky rad iance. The
                                                                                                                                                    massager not only cleans the skin but a lso en hances
cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 P
   Enter an address         368
   Country *

     United States


   Full name *




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     Florida


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                                          Electr ic Silicone Facial Cleansing Massag er Brush I U ...                                  $30.00
                                                                                                                                                             ltem(s) t ot a I                                           $30.00

                                                                                                                                                             Shi pping                                                    FREE
                                          Save for later      Remove                                                                                         (To United States 33133)

                                                                                                                                                             Total (1 item)                                             $30.00


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DOE Number: 314
Seller Name: JFieldsCo
Marketplace: Etsy
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Etsy ( Search for anything              368                             0
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Similar items                                                                                                                                                                                                        Seemore ➔




Try Me Skin Care Syst...    Brillance Oil-Free Gel...     Advanced Facial Clea...    Facial Elect ric Cleansi...     Blue Silicone Face Br ...   Silicone Waterproof S...    Eczema & Psoriasis R...     Face Mask Brush I Nyl...
JFieldsCo                   JFieldsCo                     Ad by pursonicusa          Ad by BioMarineFrance           BellesSecrets               DigitalBlondeShop           JFieldsCo                   JFieldsCo
$45.00                      $6.50                         $18.99                     $92.28                          $22.90                      $10.00                      $10.00                      $6.00
FREE shipping                                              FREE shippi ng             FREE shipping




                                                                                                                                                          $49.00
                                                                                                                                             0
                                                                                                                                                          Facia l Cleansing Brush I Ult rasonic Rechargeable
                                                                                                                                                          C leansing Br ush I Silicone Waterp roof
                                                                                                                                                          by JFieldsCo

                                                                                                                                                          Color*


                                                                                                                                                            Select an o p t ion



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                                                                                                                                                                 Arrives by Apr 19 -26 if you orde r today.
                                                                                                                                                          ...,Ip Hooray!  This item ships free to the us.




                                                                                                                                                          Highlights

                                                                                                                                                          ~    Handm ade


                                                                                                                                                          Description


                                                                                                                                                          Th is facia l cleansing t ool is a n ult rasonic rechargeable
Related searches                                                                                                                                          silicone brush. It helps to eliminate im purities a nd

  .,~               ~
                                                                                                                                                          deep ly cleanse t he ski n w it hout b ei ng harsh on t he

   ;., ,            --;;~
                                                                                                                                                          skin. It is wat erproof and o ne c harge can last many
                                                                                                                                                          uses.
     facial     tumeric face        tallow          silicone           shine         clarisonic          lash             facial
 cleansing...      wash            skincare          brush            skincare      facial brush      cleansing...      cleansing...
                                                                                                                                                          It is g reat for a ll skin types Normal, Dry, Combinat ion,

33 shop reviews** * **                                                                                       Sort by: Most recent ,..                     and Oily!



*****
Purchased item: Deeg Pore & Purifying Cleanser I..Q!v.colic Cleanser I Acne Skin
                                                                                                                                                          It is an amazing t ool for reduc ing t he app earance o f
                                                                                                                                                          fine lines and w rinkles, pores, d ullness and uneven
 I      mma'(.berry.11 Sep 18, 2021                                                                                                                       texture .


.. Helpful?
                                                                                                                                                          Th is cleansi ng device deep ly c lean ses w it h up t o
                                                                                                                                                          8,000 sonic p u lsat ions pe r mi nu te channeled t hrough
*****
One of t he very b est oil free moist u rizers for o ily ski n. It helps to keep a matte f in ish w ithout t he
                                                                                                                                                          silicone touc h-points for ref ined, clea r, and pu rified
                                                                                                                                                          skin. It has severa l intensit ies fo r customized
d ry and t ight feeli ng. W ill be o rd e ring agai n and agai n
                                                                                                                                                          c leansi ng.
Purchased item: Brillance Oil-Free Gel Facial Moisturizer

 It TanY.a Hailstorks Apr 19, 2021                                                                                                                        Th is cleansi ng tool is very-hygienic because it is made
                                                                                                                                                          w it h silicone and is nonporous to resist bacte ria
.. Helpful?
                                                                                                                                                          build u p. It is 35X more hygienic than st andard
                                                                                                                                                          c leansi ng b rushes.
*****
Thi s is a wonderful p roduct. Af t er just a few uses my congest ed ski n is as smoo th as a
                                                                                                                                                          Direct ions: Wet face slightly. App ly c leanser t o face,
baby's .......... .Wi ll d ef in it e ly p u rchase t his again and again
   Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 206 of
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    G      JFieldsCo                                                                                                             Contact shop
                                                                                                                                                          0       VISA

    You d id it! Enjoy free shipping on items from this sho p.
                                                                                                                                                          0
                                        Facial Cleansing Brush I Ultrasonic Rechargeable Cle ...                                    $49.00                0      G Pay
                                        Color: Fuchsia                                                                                                           Kknna.




                                                                                                                                                          ltem(s) t ota l                                           $ 4 9.00
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    + Add a note to JfieldsCo                                                   (Apr 19 -2 6, Free shi p p ing (USPS First-C lass T
                                                                                                                                                          f) Apply Etsy coupon code
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                                                                                                                         from United States




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 Facial Cleansing Brush I Ultrasonic Re...   Eczema & Psoriasis Relief Soap I Heali...    Nourishing Gentle Cleanser                   Brillance O il-Free Gel Facial Mo isturizer   Exfoliat ing Facial Creme I Face Wash
 JFieldsCo                                   JFieldsCo                                    JFieldsCo                                    JFieldsCo                                     JFieldsCo
 $49.00                                      $10.00                                       $23.50                                       $6.50                                         $16.00
  FREE shipping                              Free shipp ing eligible                      Free shipping eligible                       Free shipping eligible                        Free shipping eligible


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DOE Number: 315
Seller Name: Lucky Lemon Market
Marketplace: Etsy
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Similar items                                                                                                                                                                                             Seemore ➔




3pcs Asian Exfoliating Wash cl...   7PCS Powd er Puff Soft Triang l...    Silicone Face cleansing Brush      Amor Sonic Mini Facial Cleansi...   Manual Facial Clea nsing Brush...    Silicone Facial Scrubber Brush...
Ad by RESO RTPOPO                   Ad by GlobalWebArt                    BADDIEGoods                        BareMeSkin                          HairGastronomy                       DorEvelors
$7.80                               $28.80                                $7.00                              $24.99                              $6.00                                $10.00
FREE shipping                       ~(10%off)
                                     FREE shipping




                                                                                                                                                 $18.99
                                                                                                                                                 Lucky Lemon 3 -i n -1 Soft Silicone Facial Cleansi ng
                                                                                                                                                 Brush, Waterproof Electric Vi brating Face Scrubber for
                                                                                                                                                 Deep Clea nse, Makeup Remover
                                                                                                                                                 by LuckyLemonMarket

                                                                                                                                                 Quantity




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                                                                                                                                                 Highlights

                                                                                                                                                 "' Handmade


                                                                                                                                                 Description

Related searches
                                                                                                                                                 <::?Deep c leanse your po res whi le improvi ng acne wit h
                                                                         ...,                                                                    t he ease and comfortability o f t his facial c lea nsi ng
                                                                                                                                                 b rush.
   facial         makeup         rose water        shine           organic         exfoliati ng   silicone        facial                         Can be used in the showe r and bath.
 cleansing...     remover...    facial spray      skincare         makeup...         brush         brush        cleansing...

                                                                                                                                                 <::? Electric Silicone Facial Cleansing Brush: The Lucky
0 shop reviews *****                                                                                      Sort by: Suggested "'
                                                                                                                                                 Lemon sil icone facial scrubber is made w it h a sof t ,
                                                                                                                                                 silicone b rush head t hat w ill give you t he softest and
                                                                                                                                                 gentlest facial c leansi ng exp erience fo r a ll skin types.
                                                                                                                                                 Deep c leanse your pores whi le improvi ng acne wit h
                                                                                                                                                 t he ease and comfortability o f t his facial clea nsi ng
                                                                                                                                                 b rush.


                                                                                                                                                 <::? Skin Radiance: Gain confide nce i n you r clea ne r,
                                                                                                                                                 younger and more radiant complexion w ith the
                                                                                                                                                 rechargeable Lucky Lemon facia l c leansi ng b rush. The
                                                                                                                                                 facia l c leansi ng b rush is used in combinat ion w it h the
                                                                                                                                                 facia l c leanser fo r a deeper cleani ng effect . This easy
                                                                                                                                                 t o use, gent le b rush removes stubborn makeup and
                                                                                                                                                 deep cleans pores with visible reduct ion in
                                                                                                                                                 b lac kheads. The facial b rush w i ll c leanse soft ly wit h
                                                                                                                                                 maximum power and m inimal effort so that you can be
   Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 210 of
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                                       Lucky Lemon 3 ~in-1 Soft Silicone Facial Cleansing Br...                                       $18.99
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    + Add a note to LuckylemonMarket                                           $5.44 (Apr 19 -26, USPS First -Class Mai l)
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DOE Number: 316
Seller Name: PaintByNumberUK
Marketplace: Etsy
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Similar items                                                                                                                                                                                                                                                      Seemore                ➔




3 in 1 USB Ca mping Li ...   Beauty Bar, 24k Gold e ...       Silicone Face cleansi...   Lucky Lemon 3 -in-1 S ...   Lucky Lemon 3 -in-1 S ...    Portable Mini Stick V i...                           2pcs Soft Microfiber ...                   Kit Microscope Toy S ...
PaintByNumberUK              PaintByNumberUK                  Ad by BADDIEGoods          Ad by LuckyLemonMark        LuckylemonMarket             LJaysUK                                              PaintByNumberUK                            PaintByNumberUK

$16.98                       $ 11.75                          $7.00                      $ 18.99                     $18.99                       $19.61                                               $10.44                                     $24.82
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Related searches
     lfv
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    facial
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  cleanser         cleansing ...       cleaning        cleansing ...    cleansing ...     brush          soap              facial ...

                                                                                                                                                                                                                  See more items ➔
339 shop reviews                       *****                                                                    Sort by: Suggested •




*****
Q u ick d e livery and happy w it h t his p u rc hase. Gave it to m y daug hter w ho says it works wel l and
                                                                                                                                                               Highlights

                                                                                                                                                               ~           Hand m ade
as she has very sensit ive skin bei ng able to use different levels o f v ib ratio n fo r t he se lec t ed
areas o f her face is wonderf u l
                                                                                                                                                               Description
Purchased item: Silicone Electric Face Cleansing Brush Facial Cleaner Cleanin ...

4IIII   elizabeth ~ May 18, 2022                                                                                                                               Diffe rent Nursi ng Mo d es • Th e top coarse b ru sh
                                                                                                                                                               effe c t ive ly reaches ha rd t o cle an are as like t he sides o f
.. Helpful?
                                                                                                                                                               you r nose, ears, T·zone, he lps remove b lackheads an d
                                                                                                                                                               whit e heads. Ba ck coa rse b rush is suit able for
*****
Purchased item: Silicone Electric Face Cleansing Bru sh Facial Cleaner Cleanin ...
                                                                                                                                                               Co mp re hensive deep clea nsi ng of la rg e areas o f skin
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 t      Heidi May 18, 2022                                                                                                                                     ,....; r ,...., ol <:> t i ,...,n   T i n" h r , , c-h ru::• nth, l"'l o<:>n rl o l i ,....<:> t o c- l,i n   <:> r o<:>
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    + Add a note to PaintByNumbe rUK                                                                                          Shi p p ing: $ 26 .14
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                                                                                                                                                                    The Uplift Fund sup ports no nprofit s that
                                                                                                                                                                    provid e resou rc es to creativ e entrep reneurs in
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 Silicone Electric Face Clea nsing Brus...        Beaut y Bar, 24k Gold en Pu•lse Fac ial ..   2pc s Soft Mic rofiber Quic k Dry Hair D ...     3 in 1 USB Camping Lig ht Po rtable Bu ...     Brifit Dig ital Kitc hen Scale, 11Ib/5kg , L. ..
 PaintByNumber UK                                 PaintByNumberUK                              PaintByNumberUK                                  PaintByNumberUK                                Paint ByNumberUK

 $13.06                                           $11.75                                       $10.44                                           $16.98                                         $16.98
 Free ship ping eligib le                         Free shipping elig ible                      Free shipping elig ible                          Free ship ping eligible                        Free shipping eligible

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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 215 of
 Etsy 0 Secure checkout               368
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 216 of
                                       368


DOE Number: 317
Seller Name: SkinAngelLLC
Marketplace: Etsy
  Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 217 of
Etsy ( Search for anything              368                             0
Home Favorites         Jewelry & Accessories      Clothing & Shoes          Home& Living   Wedding & Party      Toys & Entertainment      Art & Collectibles        Craft Supplies      Gifts & Gift Cards



+- Back to search results                                                                                                              ~ $15.00 $59c99(75%0ff)
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88 shop reviews                   *****                                                         Sort by: Most recent "'
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                                                                                                                                       IP Deep Cleansi ng & Massage: Th is u nique SkinAngel
*****
Works awesome!!! Thank you! !! It's all about long t erm st orage of ACTUAL food now! Hig h ly
                                                                                                                                       Bamboo Charcoal Silicone face c leaner can clean t he
                                                                                                                                       oi l and d irt on your f ace w ith p u lse vibration deeply, as
recommend !!
                                                                                                                                       w e ll as d ead skin and cosmetic residu es. The vibrating
Purchased item:Mason Jar Vacuum sealer with Regular&Wid e Mouth Jar Vac...
                                                                                                                                       p late can p romote b loo d c ircu lat ion in t he w ri nkle area
 •       Kimberly: Mar 1, 2023
                                                                                                                                       by massage, thereby rest o ri ng skin fir mness and
.. Helpful?                                                                                                                            e lasticit y .
                                                                                                                                       sf Vibration Techno logy & Negative Ion: 3 modes and

*****
Purchased item:Skin Angel IPL Permanent Laser Hair Removal for Women &
                                                                                                                                       5 vibrati on le ve ls The Ski nA ngel Face vibrating brush
                                                                                                                                       p rovid es ap p roxi mat e ly 8,000 pulsat io ns per minute

 '9 P-:riana jones Nov 5, 2021                                                                                                         for deep penetrat ion i nto the ski n for powerf ul
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.. Helpful?                                                                                                                            absorb the nutrients in the essence o r cream,
                                                                                                                                       d im inishes the dark c ircles, better to achieve anti-

*****
I love it ! Wo rks absolutely perfect
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                                                                                                                                       IP Food-Grade Material: Made of food -g rad e silicone
Purchased item:SkinAngel Facial Cleanser scrager Skin Scrubber Ultrason ic ...                                                         mat e rial, this facia l c leaning b rush is super sof t ,
         Amethyst Wilkinson Oct 16, 2021                                                                                               comfortable and easy to clea n. It is lightweight and
                                                                                                                                       compact; thus it can be placed in t he suitcase or
.. Helpful?
                                                                                                                                       backpack easily w h en you are t raveli ng o r on a
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*****
Purchased item:Skin Angel IPL Permanent Laser Hair Removal for Women & ...
                                                                                                                                       sf Advanced & Anti -Ag ing: Bamboo Cha rcoa l Si licone
                                                                                                                                       Face massage every time you use you r waterproof
 4IIII   @ylaizawsum Sep 25, 2021                                                                                                      Ski nAngel face c leaner t o c lean while it i ncreases
                                                                                                                                       col lagen & boosts the flow o f oxyge n. Reduces fine
.. Helpful?
                                                                                                                                       lines & wrinkles, restores skin's fi rmness
                            22     ..                                                                                                  IP BEAUTY GIFT SET: Use the soft silicone Bamboo
                                                                                                                                       C harcoa l Silicone face cleanser b rush to cleanse,
                                                                                                                                       apply your f avorite serums and c reams and use t he
Phot os f rom reviews                                                                                                                  skin ca re booster fo r better absorpt ion, wat erp roof
                                                                                                                                       design, you can use t his silicon massager in showers,
                                                                                                                                       face washes and even swimming . Please contact us
   Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 218 of
 Etsy ( Search for anything              368                             0
  Hom e Favorit es       Jew elry & Accessories        Clothing & Shoes         Home & Living          Wedd ing & Part y        Toys & Ent ertainment         Art & Collectibles       Craf t Supplies       Gifts & Gift Cards




 1 item in your cart                                                                                                                                                                                          Keep shopping



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            SkinAngelLLC                                                                                                             Contact shop
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                                          SkinAngel Electric Silicone Cleanser Massager Deep ...


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     + Add a note to SkinAngelLLC                                                                                            Ship p i ng: FREE               Shi ppin g                                                   FREE
                                                                                                                 Estimated delivery: Apr 20-26               {To Un ited States 33133)
                                                                                                                           from Unit ed States
                                                                                                                                                             Total (1 item)                                            $15.00


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  SkinAngelLLC                                 SkinAngelLLC                                 SkinAngelLLC                                   SkinAngelLLC                                 SkinAngelLLC

  $15.00                                       $84.99                                       $9.99                                          $7.50                                        $15.00
 $59'99 {75%off)                               ~        {50% off)                           ~       (50%off)                               $29a99 {75%off)                              $59'99 (75% off)
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 220 of
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         Purchase evidence –
             Etsy sellers
                Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 221 of
                                                      368
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     item in your cart
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DigitalBlondeShop
Local seller
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Contact shop
You're .$.25.00 away; from getting free shipping from this shop.




       X Remove
      Save for later
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 222 of
                                                               368Rechargeable Electric Massage Cleansing Brush
Silicone Waterproof Sonic Facial Cleansing Brush, 3-in-1 Ultrasonic

r "•w l
$10.00

+ Add a note to DigitalBlondeShop

G:47 (Sep 23-3~, USPS First-Class Mail)
Estimated delivery: Sep 23-30
from United States
0 This order is a gift
     Prices will not be shown on packing slip CJ Apply shop coupon codes

How you'll pay
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       Klarna.   4 interest-free installments

      $50.00 product minimum applies
        ltem(s) total             $10.00
          Shipping                $6.47
(To United States 3313])
        Total (1 item)            $16.47

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Etsy, Inc., USA 117 Adams Street Brooklyn, NY 11201 Etsy Ireland UC 66/ 67 Great Strand Street Dublin 1
        Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 223 of
                                              368
Etsy a           Secure checkout

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Double check your order details
By clicking Place your order to Miami, you agree to Etsy's Terms of Use and PrivacY. PolicY.
Shipping and payment
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Payment method
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Dig ita I BlondeShop
Ships from United States




Silicone Waterproof Sonic Facial Cleansing Brush, 3-in-1 Ultrasonic Rechargeable Electric Massage Cleansing Brush



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$10.00
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        Prices will not be shown on packing slip

(} Apply shop coupon codes


[ Add an optional note to the seller


Choose a shipping method

0       USPS First-Class Mail $6.47
        Estimated delive ry: Sep 23-30
0       USPS Priority Mail $6.83
        Estimated delive ry: Sep 23-28
Q       USPS Priority Mail Express $27.55
        Estimated delive ry: S~p 23-25
Order total (1 item)
$17.62
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 224 of
                                          368

Shippi ng                                                                      $6.47



Sales t ax                                                                     $1.15




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and location of the payment instrument issuance. See EtsY. PaY.ments Polic','..
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      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 225 of
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 226 of
                                       368


DOE Number: 318
Seller Name: Acme Approved
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 227 of
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               Beauty:     Skin Care   Face Cleansers      Facial O eaM ing Brushes




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                                                                                                                                                      Varasa Beauty Sonic Facial Massager
                                                                                                                                                      Brush USB Charging Facial Massager Skin
                                                                                                                                                      Care Pink 1PC

                                                                                                                                                      $19.90
                                                                                                                                                      Pric e whe n purchas.e d onlin.e (D



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                Varasa Beauty Sonic
                Facial Massager Brush
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                                                                                                                   Facial Cleansing Brush,
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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 228 of
(                                         368
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                                                                                                                                                                                        Sub total (1 item)                               $19.90

                   a             1. Free shipping, arrives by Tue, Mar 21                                                                                                               Shipping                                            Free

                                                                                                                                                                                        Est imated taxes                                   $1.39


                                                                                                                                                                                Edit    Estimated total                                 $21.29
                                                 Miami, FL 33133

                                                                                                                                                                                        Have a promo code?                                    V


               Delivery instructions                                                                                                                                           Add


               Add gate codes or other useful informat ion.




               Items details
               Arrives by Tue, Mar 21 (1 ite m)


               Sold and shipped by Acme Approved

                                       Va ra sa Beauty Sonic Facia l Massager Brush USB C harging Facial                                           Qty1                     $19.90
                                       Massager Skin Care Pink 1PC




                   LJ 2. Payment method                                                                                                                                       0

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               learn more about g!yment methods we ac cept.



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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 229 of
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DOE Number: 319
Seller Name: AIIYME Store
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 230 of
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Q How do you want your items?       v   I0                           Q M1am1Supercenter                                      Deals         Mother's Day   Grocery & essentials        Fashion      Home      Tech      Auto   Regist,y   Walmart+


                Beauty:    Skin Care     Face Cleansers    Facial O eaM ing Brushes




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                                                                                                                                                                 Silicone Face Cleanser Brush Portable
                                                                                                                                                                 Face Cleaning Massager Exfoliating
                                                                                                                                                                 Blackhead Electric Facial Washing
                                                                                                                                                                 Machine Acne Vibration Skin Care

                                                                                                                                                                 $15.49
                                                                                                                                                                Price whe n purchated onlirw ©




                                                                                                                                                                Actual Color: Pink

                                                                                                                                                                          Pink
                                                                                                                                                                      $15.49



                                                                                                                                                                ~         Free shipping, arrives by Mon, Apr 24 t o

                                                                                                                                                                      More OP-l ions

                                                                                                                                                                 ~    Sold and shipped by AIIYME Sto re
                                                                                                                                                                          ***** 8 seller rev iews
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                Top picks to explore


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                Check out these related products

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                $17.25                            $14 .43 $16,93                      Fr om $4.91                       $8.23 $16'66
                A sdomo Facial                     Papaba Cleansing                   Silicone Facial                   Worallymy Silicone
                Cleansing                          lnst rument,Cleansi ng             Cleansing Brush Ant i-            Facial Cleansing Brush
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                 3 - day shipping                  3- day shippins                    3 - day shippins                   3- day shipping
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 231 of
(                                         368
                                         Checkout




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                                                                                                                                                                                  Sub total (1 item)                               $15.49

                a                1. Free shipping, arrives by Mon, Apr 24                                                                                                         Shipping                                            Free

                                                                                                                                                                                  Est imated taxes                                  $1.08


                                                                                                                                                                          Edit    Estimated total                                 $16.57
                                                Miami, FL 33133

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               Delivery instructio ns                                                                                                                                    Add


               Add gate codes or other useful information.




               It e m s details                                                                                                                                 Hide d etails

               Arr ives by Mon, Apr 24 (1 it em)


               Sold and shipped by AlrYME Store

                                      Silicone Face Cleanser Brush Portable Face Cleaning M assager                                           Qty 1                   $15.4j
                                      Exfoliating Blackhead Electric Facial Washing Machine Acne...
                                      Actual Color: Pink




               LJ 2. Payment method
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               learn more about J;!aymen.t m e t hods w e a<::cept.



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                  Pay with PayPal                                                              Pay in mont hly installme nt s wit h Affirm

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      © 2023 W;ilmart. All Rights Reserved.                                                          GrYe feedback          CA Privacy Rig hts         CZD Your Privacy Choices   Request My Personal Informat ion   California Supply Chains Act
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 232 of
                 •.. .
                                            368
                                                                             Sear c h e ve rything at W a lmart o nline and in store                                  Q,



Q How do you want your items? v I 0                             CJ Miami Supercenter         Deals     Grocery & Essentials     4th of July Prep   Cooling          Pride & Joy         Back to School          National Candy Month


     Beauty:       Skin C are   Face Cleanser s   Facial Cleansing Brushes




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                                                                                                                                                    Silicone Face Cleanser Brush Portable
                                                                                                                                                    Face Cleaning Massager Exfoliating
                                                                                                                                                    Blackhead Electric Facial Washing
                                                                                                                                                    Machine Acne Vibration Skin Care

                                                                                                                                                    $15.49
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                                                                                                                                                    (     Buy now          )   E#li..l\•9
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                                                                                                                                                             Pink
                                                                                                                                                          $15.49



                                                                                                                                                    l;b      Free shipping, arrives by Wed, Jul 12 to


                                                                                                                                                          Mor e ogtions

                                                                                                                                                    ~     Sold and shipped by AIIYME Store
                                                                                                                                                             *****     12 seller reviews
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                                                                        Roll ove r im age t o zoom in
            0                                                                         ®                                                             Q        Free 30-day returns Details



     About t his it em                                                                                                                              Q     Add to list             dll     Add t o reg ist[)'.




       Prod uc t d etails                                                                                                                           Protect your purchase
                                                                                                                                                    Get the best value o n product protect ion inc luding fast
       Features:                                                                                                                                    repairs or replacements.
       - Natural pine production, good texture, and durable.
       - Promote blood circulation, relieve skin pressure, promote absorption.                                                                      @ Add Walmart Prot ection Plan by Allst at e Details
       - To promote the absorption of skin care ingredients, effectively enhance the effectiveness of ski n care p roducts.
       - Deep clean pores, effectively prevent blackhead, mild exfoliating skin smooth and tender skin color, compact skin, V face lift,                  0 2-Year plan - $2.00
       compact skin.
                                                                                                                                                          0 3-Year plan - $3.00
       Specifications:
       Charging voltage: SV-1A
                                                                                                                                                          @ I don't need protection at this time
       Battery: 3.7 I 200mah
       Site: 1S0 * SO * 30mm
       Material: Silicone • ABS
       Waterproof rating : IPX7


       Package Included:
       1 x User Manual
       1 x Cleaner
       1 x Cable


       Notes:
       1. Manual measuring, please allow 1 - 3mm er ror, thank you.
       2. Due to the difference between different monitors, the pictur e may n ot reflect the actual color of the item. We guarantee the
       style is the same as shown in the picture.e

       Silicone Face C leanser Brush Portable Face Cleaning Massager Exfoliating Blackhead Electric Facial Washing Machine Acne
       Vibrat ion Skin Care

       <D W e aim to show you accurate product information. M anufact urers, suppliers and others provide what you see here, and we
              have not verified it. See our disclaimer




       Specific at ion s


       Brand
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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 233 of
<                                         368
                                         Checkout




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      11111:. 1. Free shipping, arrives by Wed, Jul 12                                                                                       Shipping                   Free

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                               Miami, FL 33138

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      Delivery instructions                                                                                                          Add


     Add gate codes or other useful information.




     Items details                                                                                                            Hide details

     Arrives by Wed, Jul 12 (1 item)


     Sold and shipped by AIIYME Store

                              Silicone Face C leanser Brush Portable Face Cleaning Massager                                       $15.49
                              Exfoliating Blackhead Electric Facial Washing Machine Acne...
                              Actual Color: Pink

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      Pay with card



      Learn more about IMY.ment methods. we accept



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         Other ways to pay


         Pay wit h PayPal                                                  Pay in monthly installme nt s wit h Af firm

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         (                              PayPal                        )                               affQ




    Walmart+     i:ree 3 0 -day trial

    Save with free delivery + so much more
    Restrict ions. apply.

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     ry Walmart + free for 30 da¥S
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       0 3. Mobile contact
     We'll contact yo u in case anyt hing co mes. up wit h your o rd er.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 234 of
                 •.. .
                                            368
                                                                          Search everything at Walmart online and in store



Q How do you want your items? v I 0                            [:::J Miami Supercenter    Deals     Gr ocery & Essentials     4th of July Prep   Cooling          Pride & Joy           Back to School          National Candy Month


     Beauty:     Skin Care   Face Cleansers    Facial Cleansing Brushes




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                                                                                                                                                  Silicone Face Cleanser Brush Portable
                                                                                                                                                  Face Cleaning Massager Exfoliating
                                                                                                                                                  Blackhead Electric Facial Washing
                                                                                                                                                  Machine Acne Vibration Skin Care

                                                                                                                                                  $15.49
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     About t his it em                                                                                                                            Q     Add to list             l'1il     Add t o reg ist[)'.




       Prod uc t d et ails                                                                                                                        Protect your purchase
                                                                                                                                                  Get the best value on product protection including fast
       Features:                                                                                                                                  repair s or replacements.
       - Natural pine production, good texture, and durable.
       - Promote blood circulation, relieve skin pressure, promote absorption.
       - To promote the absorption of skin care ingredients, ef fectively enhance the effectiveness of ski n care products.
       - Deep clean pores, ef fectively prevent blackhead, mild exfoliating skin smooth and tender skin color, compact skin, V face lift,
       compact skin.


       Specifications:
       Charging voltage: SV-1A
       Battery: 3.7 / 200mah
       Site: 1S0 * SO * 30mm
       Material: Silicone + ABS
       Waterproof rating: IPX7


       Package Included:
       1 x User Manual
       1 x Cleaner
       1 x Cable


       Not es:
       1. Manual measuring, please allow 1 - 3mm er ror, thank you.
       2. Due to the difference between different monitors, the picture may not reflect the actual color of the item. We guarantee the
       style is the same as shown in the picture.e

       Silicone Face C leanser Brush Portable Face Cleaning Massager Exfoliating Blackhead Elect ric Facial Washing Machine Acne
       Vibrat ion Skin Care

       © We aim t o show you accurate product information. M anufacturers, suppliers and ot hers provide what you see here, and we
           have not verified it. See our disclaimer




       Spec ific at ions


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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 235 of
<                                         368
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      Ill:. 1. Free shipping, arrives by Thu, J ul 13                                                                                      Shipping                   Free

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                                                                                                                                   Edit    Estimated total          $16.57
                             Miami, FL 33138

                                                                                                                                           H av e a p romo cod e?       V


     Delivery instructions                                                                                                         Add


     Add gate codes or other useful information.




     Items details                                                                                                         Hide det ails

     A rrives by Th u, Jul 13 (1 it em)


     Sold and shipped by AIIYME St ore

                            Silicone Face C leanser Brush Portable Face Cleaning Massager                                      $15.49
                            Exf oliating Blackhead Elect ric Facial Washing Machine Acne...
                            Actual Color: Pink

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      Cg 2. Payment method
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      Pay with card



     Learn more ab out IMY.ment methods. w e accept



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     I El       Card number'




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         Other ways to pay


         Pay with Pay Pal                                                Pay in monthly installme nts with Affirm

         m Remember my PayPal account details                            Items in your cart are not elig:ble for Affirm.

         (                           PayPal                         )                              affim,J




    wa1mart+     Fr ee 30-daytrlal

    Save with free delivery + so much more
    Restrictions. apply.

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     ry Walmart+ free for 30 da¥S
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      0 3. Mo bile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 236 of
                 •.. .
                                            368
                                                                          Search everything at Walmart online and in store



Q How do you want your items? v I 0                            [:::J Miami Supercenter     Deals    Gr ocery & Essentials     4th of July Prep   Cooling          Pride & Joy           Back to School          National Candy Month


     Beauty:     Skin Care   Face Cleansers    Facial Cleansing Brushes



                                                                                Walmart+   Ship free, no order min• As often as you need.                                                                             Sponsored




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                                                                                                                                                  Silicone Face Cleanser Brush Portable
                                                                                                                                                  Face Cleaning Massager Exfoliating
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                                                                                                                                                  Machine Acne Vibration Skin Care

                                                                                                                                                  $15.49
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                                                                                                                                                  Actual Color : Pink

                                                                                                                                                           Pink
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     About t his it em                                                                                                                            Q     Add to list             l'1il     Add t o reg ist[)'.




       Prod uct d etails                                                                                                                          Protect your purchase
                                                                                                                                                  Get the best value on product protection including fast
       Features:                                                                                                                                  repair s or replacements.
       - Natural pine production, good texture, and durable.
       - Promote blood circulation, relieve skin pressure, promote absorption.
       - To promote the absorption of skin care ingredients, ef fectively enhance the effectiveness of ski n care products.
       - Deep clean pores, ef fectively prevent blackhead, mild exfoliating skin smooth and tender skin color, compact skin, V face lift,
       compact skin.


       Specifications:
       Charging voltage: SV-1A
       Battery: 3.7 / 200mah
       Site: 1S0 • SO • 30mm
       Material: Silicone + ABS
       Waterproof rating: IPX7


       Package Included:
       1 x User Manual
       1 x Cleaner
       1 x Cable


       Not es:
       1. Manual measuring, please allow 1 - 3mm er ror, thank you.
       2. Due to the difference between different monitors, the picture may not reflect t he actual color of the item. We guarantee the
       style is the same as shown in the picture.e

       Silicone Face C leanser Brush Portable Face Cleaning Massager Exfoliating Blackhead Electric Facial Washing Machine Acne
       Vibrat ion Skin Care

       © We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what you see here, and we
           have not verified it. See our disclaimer




       Specificat ions


       Brand
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 237 of
<                                         368
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      Ill:. 1. Free shipping, arrives by Thu, J ul 13                                                                                      Shipping                   Free

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                             Miami, FL 33138

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     Delivery instructions                                                                                                         Add


     Add gate codes or other useful information.




     Items details                                                                                                         Hide det ails

     A rrives by Th u, Jul 13 (1 it em)


     Sold and shipped by AIIYME St ore

                            Silicone Face C leanser Brush Portable Face Cleaning Massager                                      $15.49
                            Exf oliating Blackhead Elect ric Facial Washing Machine Acne...
                            Actual Color: Pink

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      Cg 2. Payment method
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      Pay with card



     Learn more ab out IMY.ment methods. w e accept



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         Other ways to pay


         Pay with Pay Pal                                                Pay in monthly installme nts with Affirm

         m Remember my PayPal account details                            Items in your cart are not elig:ble for Affirm.

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    Save with free delivery + so much more
    Restrictions. apply.

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     ry Walmart+ free for 30 da¥S
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     We'll contact yo u in case anyt hing comes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 238 of
                                       368


DOE Number: 320
Seller Name: Ankang
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 239 of
  a mart ,._l,,
 WI
                DD
                   Departments
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Q How do you want your items?          v   I0                        Q M1am1Supercenter                                          Deals     Mother's Day       Grocery & essentials      Fashion        Home   Tech      Auto   Regist,y   Walmart+


                Beauty:      Skin Care      Face C leansers   Facial O eaM ing Brushes




                                                                                                                                                                                                                               Q
                       0                                                                                                                                             KLZO

                                                                                                                                                                     Klzo Sonic Facial Cleansing Brush Silicone
                                                                                                                                                                    Waterproof Rechargeable Facial Cleanser
                                                                                                                                                                     Face Scrub Brushes for Cleansing
                                                                                                                                                                     Exfoliating Massaging
                                                                                                                                                                     ***** {5.0) 3 reviews
                                                                                                                                                                     $15.99
                                                                                   -■

                       •                                                                                                                                            Price when purcha-;.ed online (D



                                                                                                                                                                    (    Buy now        >EMF♦
                                                                                                                                                                    Actual Color. Blue




                            -
                                                                                                                                                                            Blue                Pink
                                                                                                                                                                         $15.99                $15.99




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                                                                                                                                                                    ~     Free shipping, arrives by Wed, Apr 26 to


                                                                                                                                                                          More OP.l ions

                                                                                                                                                                     ~    Sold and shipped by Ankang
                                                                                                                                                                          *-crtl**    1 seller review
                                                                                     Ro ll over image t o zoom in                                                         View seller information

                                                                                                  ®                                                                 E)    Free 30-day returns Details


                About this it e m
                                                                                                                                                                    0     Add to list


                    Product det ails                                                                                                                      A
                                                                                                                                                                     Pr otect y o ur p u r chase                               A
                    Matet"ial: silicone and ABS                                                                                                                     Get the b est value on product protection including fast
                    Cleaning Modes: 5                                                                                                                               repairs or replacements.
                    Function: cleansing exfoliating massaging
                                                                                                                                                                    Q     Add Walmart Prot ect ion Plan by Allstate Det ails
                    Voltage and current: SV/1A
                    Battery capacity: 300mAh                                                                                                                             Q 2-Year plan - $2.00
                    Waterproof rating: IPX6
                    Size: 188.Y36.5*22.3mm                                                                                                                               Q 3-Year plan - $3.00
                    Weight: 130g

                        The facial cleansing brush wit h high frequency ultrasonic technology and high quality silicone mat erial, can deeply cleanse
                        your skin without harming it and can effectively solve your skin problems.
                        The sonic facial cleansing brush has 5 different cleaning modes. You can choose the cleaning mode according to your skin
                        sensit ivity.
                        The facial cleanser also has a massage funct ion, When used with t he serum, it can effectively absorb and make your skin firm,
                        rosy and g lowing.
                        The face cleansing brush is made of silicone and ABS material, safe and no n-irritat ing. The soft cleansing brush is used for
                        cleansing and exfoliating and is more comfortable for your skin.
                        Portable facial cleansing brush, convenient to carry for t ravel, business t rip and play in outside. The best g ift for your mom,
                        wife or friend.

                    CD We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here, and we
                        have not verified it See our disclaimer



                    Spe cifications


                    Bran d

                    KLZO

                    M anufacturer Par t N u mber
                    Klzo-U -00200G

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                    W arning s
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                    &, WARNI NG . C ali fornia Pro position 6S
                    WAANING: This product may contain chemicals known t o t he Stat e of California to cause cancer and birth defects or other
                    reproductive harm.



                0     ~P-Qrt incorrect P-fOduct informat ion
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 240 of
(                                         368
                                         Checkout




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                                                                                                                                                                                  Subtotal (1 item)                                  $15.99

                   a              1. Free shipping, arrives by Wed, Apr 26                                                                                                        Shipping                                             Free

                                                                                                                                                                                  Est imated taxes                                     $1.12


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                                                Miami, FL 33133

                                                                                                                                                                                  Have a promo code?                                      V


               Delive ry inst ructions                                                                                                                                   Add


               Add gate codes or other useful information.




               Items details                                                                                                                                     Hide d etails

               Arrives by Wed, Apr 26 (I it em)


               Sold and shipped by Ankang

                                        Klzo Sonic Facial C leansing Brush Silicone Water proof                                                Qty I                  $1S.99
                                        Rechargeable Facial C leanser Face Scrub Brushes for C leansing...
                                      Actual Color: Blue




                   LJ 2. Payment method
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                   Pay with card



               learn more about J;!ayme n.t m e thods w e a<::cept.



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               I El          Card number •




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                      Pay with PayPal                                                          Pay in mont hly installme nts wit h Affirm

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                                       368


DOE Number: 321
Seller Name: AutmorDirect.us
Marketplace: Walmart
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                 •.. .
                                            368
                                                                               Sear c h e ve rything at W a lmart o nline and in store                                Q,



Q How do you want your items? v I 0                               CJ Miami Supercenter         Deals     Grocery & Essentials     4th of July Prep   Cooling        Pride & Joy           Back to School         National Candy Month


     Beauty:     Skin C are   Face Cleanser s       Facial Cleansing Brushes




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                                                                                                                                                      Silicone Face Washing Machine
                                                                                                                                                      Ultrasonic Vibration Waterproof Facial
                                                                                                                                                      Cleansing Brush,Pink

                                                                                                                                                      $13.98
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                                                                                           Hand wash cleansing
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                                                                                                                                                              *****        235 seller reviews
                                                                                                                                                              V iew seller information

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            0                                                                           ®
                                                                                                                                                              Free 30.day returns Det ails



                                                                                                                                                      Q       Add to list         cl!'l     Add t o reg ist[Y.
     About this item

                                                                                                                                                      Protect your purchase                                               A
       Prod uc t d et ails                                                                                                                   A        Get t he best value on product protection including fast
                                                                                                                                                      repairs or replacements.
       Specifications:
       Type:Facial cleansing brushes                                                                                                                  @ Add Walmart Prot ection Plan by Allst at e Details
       Material:Silicone
       Sk in Type:AII skin types                                                                                                                              0    2-Year plan • $2.00
       Country/ Region of Manufacture:China
       Gender:Unisex                                                                                                                                          0    3-Year plan • $3.00

       Package Size:15" 4 .3" 2.7cm/ 5.91"1.69"1.06"
       Charging Method:USB charging
                                                                                                                                                              @ I don't need prot ection at this t ime
       Package included:
       1 x Facial Cleansing Brush
       1 x Usb Cable
       Not e:
       1.Please allow 1-3mm d iffers due to manual measurement.
       2.Due to t he different display and d ifferent light,the p icture may not reflect t he actual color of t he item.
       thanks for your understand ing .

        •   Made of ant ibact erial and ult ra -soft medical-grade silicone material which is saf e and none- irrit ate on delicate facial skin
            c ompared to nylon bristles.
        •   It 's nonporous, quick-drying, hypoallergenic, and free of phthalates and BPA. For t he most sensit ive skin, it's a highly
            recommended dermatologist.
        •   Help to unclogs pores, removal blackheads, reduce acne, massage your face, promote abso rpt ion of essence cream. as well as
            t he reductio n of fine lines, wrinkles, leaves t he skin looking fir m and lifted.
        •   Perfect size and ergonomic design fit nicely in your hand. honeycomb texture on t he surface, that will avoid creeping down
            when face cleansing or shower.
        •   Come with a convenient t ravel pouch, take it anywhere and use it anyt ime

       CD We aim to show you accurat e product inf ormation. M anufact urers, suppliers and ot hers provide what y ou see here, and we
            have not verified it. See our disclaimer




       Specificat ion s


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       Aut mor
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 243 of
<                                         368
                                         Checkout




                                                                                                                                     •
                                                                                                                                             Subtotal (1 it em)      $13.98
      11111:. 1. Free shipping, arrives by Thu, Jul 13                                                                                       Shipping                  Free

                                                                                                                                             Estimated taxes          $0.98


                                                                                                                                      Edit   Estimated total         $14.96
                               Miami, FL 33138

                                                                                                                                             Hav e a p romo cod e?       V


      Delivery instructions                                                                                                           Add


     Add gate codes or other useful information.




      Items details                                                                                                          Hide det ails

     Arrives by Thu, Jul 13 (1 it em)


     Sold and shipped by AutmorDirect.us

                              Silicone Face Washing Machine Ult rasonic Vibrat ion Waterproof                                       $13.98
                              Facial C leansing Brush,Pink:
                              Actual Color: Pink

                                                                                                           Remove                     +




      ['.g 2. Payment method
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      Pay with card



      Learn more about IMY.ment methods. we accept



      • Required field




     I E:I       Card number'




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         Other ways to pay


         Pay wit h PayPal                                                 Pay in mont hly installme nt s wit h Affi rm

         m Remember my PayPal account details                             Items in your cart are not elig:ble for Af firm.

         (                              PayPal                       )                                affQ




    Walmart+     i:ree 3 0 -day trial

    Save with free delivery + so much more
    Restrict ions. apply.

    l_ry Walmart + free for 30 da¥S
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       0 3. Mobile contact
     We'll contact yo u in case anyt hing comes. up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 244 of
                                       368


DOE Number: 322
Seller Name: Beautiful & Bold Aesthetics LLC
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 245 of
                 •.. .
                                            368
                                                                                Search e ve rything at Wa lmart online and in store                                        Q,



Q How do you want your items? v I 0                                 CJ Miami Supercenter          Deals      Grocery & Essentials       4th of July Prep   Cooling      Pride & Joy          Back to School       National Candy Month


     Beauty:      Skin C are    Face Cleanser s     Facial Cleansing Brushes




                                                                                                                                                                                                                          Q
                                                                                                                                                            Beaut iful & Bold Aesthetics




         ••                                                                                                                                                 Deep Cleaning Silicone Facial Cleansing
                                                                                                                                                            Brush Electric Massage Brush

                                                                                                                                                            $19.00
                                                                                                                                                            Prlc e when purchased online (D




                                                                                                                                                            (     Buy now       )   ♦#UH•+
                                                                                                                                                            l;Q   Free shipping, arr ives by Fr i, Jul 7 to
                                                                                                                                                                  More OP-t ions

                                                                                                                                                            ®     Sold and shipped by Beauti ful & Bold Aesthetics
                                                                                                                                                                  LLC
                                                                                                                                                                  V iew seller information

                                                                                                                                                            Q     Free 30.day returns Details



                                                                                                                                                            Q     Addto list           dll     Add to reg istc;



                                                                                                                                                                                               Sponsored

                                                                                                                                                                                               $17.75
                                                                                                                                                                                               FunnyFairy Sonic Facial
                                                                                                                                                                                               Cleansing Brush, Silicone...




     About this item


         Product det ails

         Deep Cleansing Facial Brush Mater ial: Safety & Food Grade Silicone Size: 8*8 1 2.9cm Power By:150mAh battery, USB charging
         Waterproof: I PX7

         •    Deep Cleaning, exfoliator, black head remover.
         •    The sonic face brush is made of food-grade silicone, skin -friendly and non- irritation.
         •    It is suit able for all skin t ypes: dry, oily, normal and sensitive skin. The other end is also a good choice for face massaging to
         •    reduce fine lines and wrinkles, to restore skin's firmness.
         •    It has adjustable vibratio n speed; you can press the but ton of +/- to adjust the suitable strength for yourself (depending on
              how
         •    sensit ive your skin is).
         •    With 30s pause and 90s shut off automat ically.
         •    Sonic vibratio n can effectively remove cosmetics residues, remove, dead skin cells, acnes and dark head
         •    It can help to diminish pores, enhances skin's abilit y to absorb skincare products.
         •    D im light.

         <D We aim to show you accurate product information. M anufact urers, suppliers and others provide what you see here, and w e
              have not verified it. See our disclaimer




         Specificat ions

         Brand
         Beautiful & Bold Aesthetics



     0       &P.:ort incorrect 12roduct information



     Check out these related products




                                   Q
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 246 of
<                                         368
                                         Checkout




                                                                                                                                  •
                                                                                                                                          Subtotal (1 it em)       $19.00

      11111:.        1. Free shipping, arrives by Fri, Jul 7                                                                              Shipping                   Free

                                                                                                                                          Estimated taxes           $1.33


                                                                                                                                  Edit    Estimated total         $20.33
                              Miami, FL 33138

                                                                                                                                          Hav e a p romo cod e?        V


     Delivery instructions                                                                                                        Add


     Add gate codes or other useful information.




     Items details                                                                                                         Hide details

     A rrives by Fri, Jul 7 (1 it em)


     Sold and shipped by Beaut iful & Bold Aesthetics LLC




      ••
                             Deep C leaning Silicone Facia l C leansing Brush Electric Massage                                 $19.00
                             Brush

                                                                                                         Remove                    +




      Cg 2. Payment method
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     Pay with card



     Learn more about ~ y:ment method~ we accept



     • Required field




     I El       Card number•




         Other ways to pay


         Pay with PayPal                                                 Pay in monthly inst allme nts with Affirm

        m Remember my PayPal account details                             Items in your cart are not elig:ble for Affirm.

        (                             PayPal                        )                              affQ




    wa1mart+    i=r ee 30-day trlal

    Save with free delivery + so much more
                                                                                                                             ..
    Restrictions apply_

    l_ry Walmart + free for 30 da¥s                                                                                               -
      0 3. Mobile contact
     We'll contact you in case anyt hing co mes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 247 of
                                       368


DOE Number: 323
Seller Name: Billbianc
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 248 of
                 •.. .
                                            368
                                                                              Sear c h e ve rything at W a lmart o nline and in store                                     Q,



Q How do you want your items? v I 0                               CJ Miami Supercenter          Deals      Grocery & Essentials       4th of July Prep   Cooling       Pride & Joy          Back to School          National Candy Month


     Beauty:    Skin C are    Face Cleanser s     Facial Cleansing Brushes




                                                                                                                                                                                                                            Q
                                                                                                                                                          Billbianc

                                                                                                                                                          Soft Silicone Cleansing Brush - Gentle
                                                                                                                                                          Sonic C leansing Brush - Waterproof
                                                                                                                                                          Cleansing Brush Rechargeable Electric



        r                                                                                                                                                 Cleansing Brush with Soft and
                                                                                                                                                          Comfortab le Bristles

                                                                                                                                                          $13.99



            •
                                                                                                                                                          Pr ice when purc hased onlin e   (D


                                                                                                                                                          (    Buy now )          @-fhi..l\•8
                                                                                                                                                          Actual Color: Red

                                                                                                                                                                 Pink                      Red
                                                                                                                                                                $13.99                 $13.99



                                                                                                                                                                More 012t ions

                                                                                                                                                          fl    So ld and shipped by Billbianc
                                                                                                                                                                *****        33 seller r eviews
                                                                                                                                                                V iew seller informat ion
                                                                           Ro ll o v e r im age t o zoom in
                                                                                                                                                          E)    Free 30-day returns Det ails

                                                                                        ®
                                                                                                                                                          Q     Add to list           dll       Add to reg ist cy
     About this item


       Prod uc t d et ails
                                                                                                                                                          Protect your purchase
                                                                                                                                                          Get t he best value on product protection inc luding fast
                                                                                                                                                          repair s or replacements.
       1. Soft silicone bristles containi ng t he active ingredient of bamboo charcoal. It brings stronger cleaning effect and stronger
       ant ibacterial ability than ord inary high-density brushes, and has the super adsorption capacity of bamboo charcoal.                              0     Add Walmart Protection Plan by Allst at e Details
       2. Abundant fine bristles, suitable for general facial cleaning, high-density bristles on the top, precise cleaning of hard -to-reach
       areas, massage function on the wavy area on the back, special negative ion sensing f unction of the metal coating on the bottom                         0      2-Year plan - $2.00
       to promote nutrit ion when applying serum or mask Absorbed area.
       3. High frequency vibration. For different skin sensitivit ies, it has a smart memory f unction - automatically remembers the                           0 3-Year plan - $3.00
       frequency of your last use. Unique noise reduction design. In addit ion, compared to rotation, vibration is less damaging to the
       skin while promoting better skin movement.
       4. Real IPX7 f ull body waterproof, no cutout, safer to use and easier to clean.                                                                        @ I don't need protect ion at t his t ime
       5. Small and portable. Palm-siied, easy to carry in a tote, gym or travel bag. The perfect gift for your wife, gir lfriend, sister or
       female friend at a reasonable price, especially when it is well packaged.

        • 1. Soft silicone brist les containing the act ive ingred ient of bamboo c harcoal. It brings strong er cleaning effect and stro nger
            antibact erial abilit y t han ordinary high-densit y brushes, and has the super adsorption capacit y of bamboo charcoal.
        •   2. Abundant fine br istles, suitable for ge neral fac ial cleaning, high-de nsit y bristles on the to p, precise c leaning of hard -to-
            reach areas, massage funct ion on t he wavy area on the bac k, spec ial negative ion sensing function of t he met al coating on the
            bottom t o promote nutrition when applying serum o r mask Absor bed area.
        •   3. High frequency vibration. For d if ferent skin sensitivities, it has a smart memory function - automat ically reme mbers the
            frequency of your last use. Unique noise reduction design. In addit ion, compared to rotat ion, vibrat ion is less damaging to t he
            skin while promot ing bet t er skin movement.
        •   4. Real IPX7 full body waterproof, no cutout, safer to use and easier t o clean.
        •   5. Small and portable. Palm-sized, easy to carry in a tote, gym or trav el bag. The perfect gift for your wif e, girlfriend, sister or
            female friend at a reasonable price, especially when it is well packaged.

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            have not verified it . See our disclaimer




       Spec ific at io ns

       Br and
       Bil lbianc

       M an uf acture r Par t N umber
       CPB- DE-LYY247-2

       M an uf ac ture r
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 249 of
<                                         368
                                         Checkout




                                                                                                                                    •
                                                                                                                                            Subtotal (1 it em)           $13.99
      11111:.        1. Shipping, a rrives by Wed, Jul 19                                                                                   Seller shipping              $5.00


                                                                                                                                            Estimated taxes               $1.33


                                                                                                                                     Edit
                                                                                                                                            Estimated total             $20.32
                             Miami, FL 33138


                                                                                                                                            Hav e a p ro m o c o d e?        V


     Delivery instructions                                                                                                           Add


     Add gate codes or other useful information.




     Items details                                                                                                          Hide det ails

     Arrives by Wed, Jul 19 (1 it em)


     Sold and shipped by Billbianc
     $5.00 Freight shipping

                             Soft Silicone C leansing Br ush - Gentle Sonic C leansing Br ush -                                    $13.99
                             W at e r p roof C lea nsing Brush Rechar geab le Electric C leansing Brus ...
                             Actual Color: Red

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      C'.9 2. Payment method
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      Pay with card



     Learn more about ~ y:ment m etllods w e accept



     • Required field




     I E:I Card number•



         Other ways to pay


         Pay wit h Pay Pal                                               Pay in monthly inst allme nt s wit h Af firm

        PJ Remember my PayPal account details                            Items in your cart are not elig:ble for Affir m.

        (                            PayPal                         )                                affQ




    wa1mart+    Fr ee 30-day trial

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    Restrict ioM apply.

    Icy: Walmart+ free for 30 dav.s
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      0 3. Mobile cont act
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 250 of
                 •.. .
                                            368
                                                                              Sear c h e ve rything at W a lmart o nline and in store                                     Q,



Q How do you want your items? v I 0                               CJ Miami Supercenter          Deals      Grocery & Essentials       4th of July Prep   Cooling        Pride & Joy         Back to School         National Candy Month


     Beauty:    Skin C are    Face Cleanser s     Facial Cleansing Brushes




                                                                                                                                                                                                                           Q
                                                                                                                                                          Gukom

                                                                                                                                                          Soft Silicone Cleansing Brush - Gentle
                                                                                                                                                          Sonic C leansing Brush - Waterproof
                                                                                                                                                          Cleansing Brush Rechargeable Electric
                                                                                                                                                          Cleansing Brush with Soft and
                                                                                                                                                          Comfortable Bristles

                                                                                                                                                          $13.99
                                                                                                                                                          Pr ice when purc hased onlin e   (D


                                                                                                                                                          (    Buy now )          @-fhi..l\•8
                                                                                                                                                          Actual Color: Blue

                                                                                                                                                                 Blue
                                                                                                                                                                $13.99



                                                                                                                                                                More 012t ions

                                                                                                                                                          fl    So ld and shipped by Billbianc
                                                                                                                                                                *****        33 seller r eviews
                                                                                                                                                                V iew seller informat ion
                                                                           Roll ove r image t o zoom in
                                                                                                                                                          E)    Free 30-day returns Det ails

                                                                                        ®
                                                                                                                                                          Q     Add to list           dll       Add to reg istcy
     About this item


       Prod uc t d et ails
                                                                                                                                                          Protect your purchase
                                                                                                                                                          Get t he best value on product protection inc luding fast
                                                                                                                                                          repair s or replacements.
       1. Soft silicone bristles containi ng the active ingredient of bamboo charcoal. It brings stronger cleaning effect and stronger
       antibacterial ability than ord inary high-density brushes, and has the super adsorption capacity of bamboo charcoal.                               0     Add Walmart Protection Plan by Allstat e Details
       2. Abundant fine bristles, suitable for general facial cleaning, high-density bristles on the top, precise cleaning of hard-to-reach
       areas, massage function on the wavy area on the back, special negative ion sensing f unction of the metal coating on the bottom                         0      2-Year plan - $2.00
       to promote nutrit ion when applying serum or mask Absorbed area.
       3. High frequency vibration. For different skin sensitivit ies, it has a smart memory function - automatically remembers the                            0 3-Year plan - $3.00
       frequency of your last use. Unique noise reduction design. In addit ion, compared to rotation, vibration is less damaging to the
       skin while promoting better skin movement.
       4. Real IPX7 full body waterproof, no cutout, safer to use and easier to clean.                                                                         @ I don't need protection at this time
       5. Small and portable. Palm-siied, easy to carry in a tote, gym or travel bag. The perfect gift for your wife, gir lfriend, sister or
       female friend at a reasonable price, especially when it is well packaged.

        • 1. Soft silicone bristles containing the act ive ingred ient of bamboo c harcoal. It brings stronger cleaning effect and stro nger
            antibact erial abilit y t han ordinary high-densit y brushes, and has the super adsorption capacit y of bamboo charcoal.
        •   2. Abundant fine br istles, suitable for ge neral fac ial cleaning, high-de nsit y bristles on the to p, precise c leaning of hard -to-
            reach areas, massage funct ion on t he wavy area on the back, spec ial negative ion sensing function of t he met al coating on the
            bottom t o promote nutrition when applying serum o r mask Absor bed area.
        •   3. High frequency vibration. For d ifferent skin sensitivities, it has a smart memory function - automat ically reme mbers the
            frequency of your last use. Unique noise reduction design. In addit ion, compared to rotation, vibrat ion is less damaging to t he
            skin while promot ing bett er skin movement.
        •   4. Real IPX7 full body waterproof, no cutout, safer to use and easier t o clean.
        •   5. Small and portable. Palm-sized, easy to carry in a tote, gym or trav el bag. The perfect gift for your wif e, girlfriend, sister or
            female friend at a reasonable price, especially when it is well packaged.

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            have not verified it . See our disclaimer




       Specific at io ns

       Brand
       Gukom

       Manuf acturer Par t Number
       CPB- DE-LYY247-4

       Manuf acturer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 251 of
<                                         368
                                         Checkout




                                                                                                                                  •
                                                                                                                                          Subtotal (1 it em)          $13.99
      11111:.        1. Shipping, a rrives by Fri, Jul 14                                                                                 Seller shipping             $5.00


                                                                                                                                          Estimated taxes              $1.33


                                                                                                                                   Edit
                                                                                                                                          Estimated total            $20.32
                             Miami, FL 33138


                                                                                                                                          Hav e a p ro mo c o d e?        V


     Delivery instructions                                                                                                         Add


     Add gate codes or other useful information.




     Items details                                                                                                        Hide det ails

     Arrives by Fri, Jul 14 (1 item)


     Sold and shipped by Billbianc
     $5.00 Freight shipping

                            Soft Silicone C leansing Br ush - Gentle Sonic C leansing Br ush -                                   $13.99
                            W ater p roof C lea nsing Brush Rechar geab le Electric C leansing Brus ...
                            Actual Color: Blue


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      C'.9 2. Payment method
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      Pay with card



     Learn more about ~ y:ment m etllods w e accept



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     I E:I Card number•



         Other ways to pay


         Pay wit h PayPal                                              Pay in monthly installme nts wit h Af firm

        PJ Remember my PayPal account details                          Items in your cart are not elig:ble for Affir m.

        (                            PayPal                       )                               affQ




    wa1mart+    Fr ee 30-day trial

    Save with free delivery + so much more
    Restrict ioM apply.

    Icy: Walmart+ free for 30 dav.s
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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 252 of
                                       368


DOE Number: 324
Seller Name: BOTE LLC
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 253 of
                 •.. .
                                            368
                                                                           Search everything at Walmart online and in store                                       Q,



Q How do you want your items? v I 0                                          ~ Miami Supercent er                    Deals    Mother's Day     Grocery & essentials        Fashion      Home      Tech    Auto     Registry


     BeautY.     Skin Care   Face Cleansers     Facial Cleansing Brushes



                                                                         Walmatt+     Ship free, no order min* As often as yo u need. l earn more

                                                                                                                                                                                                             Spon~ored

                                                                                                                                                                                                               Q
                                                                                                                                                    BOTE LLC




           I                                                                                                                                        Facial Cleansing Brush USB Rechargeable
                                                                                                                                                    Rotation And Sonic Vibrating

                                                                                                                                                    $12.49
                                                                                                                                                    Pr ice when purcha5ed online (D



                                                                                                                                                    (    Buy now       )   @#fi..l\•9
                                                                                                                                                    Actual Color : Green

                                                                                                                                                         Green
                                                                                                                                                         $12.4j



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                                                                                                                                                    ~    So ld and shipped by BOTE LLC
                                                                                                                                                         *****        2 seller reviews
                                                                                                                                                         V iew seller information

                                                                                                                                                    E)   Free 30-day returns Det ails



                                                                                                                                                    Q    Add to list
                                                                        Roll o v e r image t o zoom in

                                                                                     ®                                                              Protect your purchase
                                                                                                                                                    Get t he best value on product protection including fast
     About this item
                                                                                                                                                    repairs or replacements.

                                                                                                                                                    ©    Add Walmart Prot ection Plan by Allst at e Details
       Product d etails
                                                                                                                                                         0     2-Year plan - $2.00
       Facial Cleansing Brush USB Rechargeable Rotation And Sonic Vib rating
       Features:                                                                                                                                         0 3-Year plan - $3.00
        [Facial Cleansing Brush]    - The Facial Cleansing Brush consists of a gentl e silicone gel head. The skin is thoroughly cleansed by
       vert ical sound waves and high frequency vib ration technology. Safe and skin-friendly, it promot es blood microcireulation,
       shr inks pores and r educes wr inkles Choose a professional facial cl eansing brush to make your skin healt hier.
                                                                                                                                                         @ I don't need prot ection at this t ime
       Vibration frequency: 6000 t imes/min
        [ USB rechargeable and IPX7 waterproof ] - Equipped with USB charging cable, design with IPX7 waterproof, rechargeable and
       practical for a long usage t ime. (NOTE: Be sur e to cover t he waterproof connector of the charging p ort fir mly when using the                                              Sponsored
       device.)
                                                                                                                                                                                      Now$8.99 $1&.99
        [Enjoy your beaut iful life] - Compact facial cleansing br ush wit h stand for easy storage. You ean easily take t hem with you
                                                                                                                                                                                      Mieauty Sin1 Multifunction
       when you t ravel or at home. With our facial care set, you can enjoy spa q uality skin car e at any time.
       Note:
       Please allow slight 1-3cm difference due to manual measurement and a lit t le color variation for di fferent display setting
       Package Included:
       1 x Facial Cleansing Brush

        • The perfect beauty product, a must•hav e for your home travel, use it to decorate yourself
        • Does not contain any harmful substances, yo u can use it wit h confidence
        • The qualit y of the product is guaranteed, and it is made of high -qualit y raw mat erials
        • Product Dimensions(l><W><H):7.87"3.94 "2.36"

       CD We aim to show you accurate product information. M anufact urers, suppliers and ot hers provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specific at io ns

       Brand
       BOTE LLC

       Assembled Product Weight
       0.29 1b

       M anufacturer
       BOTE LLC
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 254 of
<                                         368
                                         Checkout




                                                                                                                                                        •
                                                                                                                                                                 Subtotal (1 it em)         $12.49

     II:, 1. Shipping, arrives by Mon, May 8                                                                                                                     Seller shipping            $0.99


                                                                                                                                                                 Est imated taxes           $0.94


                                                                                                                                                          Edit
                                                                                                                                                                 Estimated total           $14.42
                                               M iami, FL 33133


                                                                                                                                                                 Hav e a p ro m o cod e?        V


     Delivery instructions                                                                                                                               Add


     Add gate codes or other u seful information.




     Items details                                                                                                                               Hide det ails

     A rrives by Mon, M ay 8 (1 it em)


     Sold and shipped by BOTE LLC
     $0.99 Freight shipping

                           Facia l C leansing Brush USB Rechargeable Rotat ion And Sonic                                        Qty l                 $12.49


            I              Vi brating
                           Actual Color: Green




     (:g 2. Payment method
                                                                                                                                                        •
     Pay with card



     Leam more about P-2Y.ment methods we accept.



     • Required field




     I E:I      Card number•




                                                                                                                                      -11;.;:;9
        Other ways to pay


        Pay wit h PayPal                                                           Pay in mont hly installme nt s wit h Affirm

        m     Remember my PayPal account details                                   Items in your cart are not eligible for Affirm.

        (                            PayPal                                 )                                   affimll




      0 3. Mobile contact
     We'll cont act yo u in case anyt hing comes up w it h your o rd er.

     •Required field

        Phone number (10 d igit s ) · - - - - - - - ~

        (646) 4 36 -9839                                               m        I want to receive text updates about t he status of my order.

     Mess.age a"ld data ,.ates rray ap:)ry. Nurrber and -'requency o"' autorrated texts may va,y ~a,ed on your o,.der. Cons.ent 'lot required for purchase. By
     con~·nuing. you agree to our ,\o\obite A rert Ter ms.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 255 of
                 •.. .
                                            368
                                                                          Search everything at Walmart online and in store



Q How do you want your items? v I 0                           [:::J Miami Supercenter      Deals   Gr ocery & Essentials   4th of July Prep   Cooling      Pride & Joy          Back to School           National Candy Month


     Beauty:    Skin Care    Face Cleansers    Facial Cleansing Brushes




                                                                                                                                                                                                                 Q
                                                                                                                                               V EN USY

                                                                                                                                               Silicone Facial Cleaning Brush Skin Care
                                                                                                                                               Wash Cleansing Device Beauty Facial

                                                                                                                                               Now $7.29 $&.89©
                                                                                                                                               Pr ic e when purchased online   (D


                                                                                                                                               (    Buy n ow       )   @·fhi-Pl•-
                                                                                                                                               Actual Color: Pink




                                                                                                                                               ~     Sold and shipped by BOTE LLC
                                                                                                                                                     *****        8 seller reviews
                                                                                                                                                     V iew seller information

                                                                                                                                               8     Free 30-day returns Details


                                                                       Ro ll ove r image t o zoom in
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                                                                                       ®
                                                                                                                                                                                    Sponsored
     About this item
                                                                                                                                                                                    $24.99
                                                                                                                                                                                    SLF Facial Cleansing Massager,

       Prod uc t d et ails                                                                                                                                                          Rechargeable Face and Skin...

                                                                                                                                                                                    ***** •
                                                                                                                                                                                     3+ day shipping
       Silicone Facial Cleaning Brush Skin Care Wash Cleansing Device Beauty Facial
       About the Product:
       1.Super hygienic and resist bacteria build-up to keep skin f resh and clean.                                                                                                          +Add
       2.Designed to provide a p rofessional standard of skincare.
       3.Helping to clear and clarify for a more luminous complexion.
       4.Adj ustable intensit ies allow you to customise your c leansing experience.
       5.Suitable for all skin types.
       Why choose us:
       Multi-purpose machine:Cleaning + massage
       High frequency sound wave vibration
       3-speed regulation
       The mode has a memory function to remember your cleaning habits.
       Feature:
       Vibration Frequency: 6000
       Operation Interface: Rotary
       Waterproof Rating: IP7
       Material: Silicone
       Size: 144.5 x 38.S x 30.5mm
       Power: AA Batery 1.SV {NO Includes)
       Product Included:
       1 x Facial Cleansing Device
       Usage:
       1.First make a bubble;
       2.Select the appropriate gear to start cleaning;
       3.Acoustic vibration, gently rub;
       4.Wash with water.
       Notes:
       1.Due to the difference between different monitors,the picture may not reflect the actual color of the item. We guarantee t he
       style is the same as shown in the pictures.
       2.Due to t he manual measurement and different measurement methods, please allow 1-3cm deviation.Thanks!

        • Best price, Easy transaction, Excellent buying experience
        • Low carbon, Environmental protection, No pollut ion and du rable
        • A oreat and economical wav to clean o r decorate vour room
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 256 of
<                                         368
                                         Checkout




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                                                                                                                                      Subtotal (1 item)    $&.89
      ~               1. Shipping, a rrive s by Thu, J ul 20                                                                          Savi ngs             -$1.60

                                                                                                                                                            $7.29


                                                                                                                                      Seller shipping       $1.99
                                                                                                                              Edit
                              Miami, FL 33138
                                                                                                                                      Estimated taxes       $0.65



                                                                                                                                      Estimated total      $9.93
     Delivery instructions                                                                                                    Add


     Add gate codes or other u seful information.                                                                                     Have a promo code?       V




     Items details                                                                                                    Hide det ails

     A rrives by Th u, Jul 20 (1 it em)


     Sold and shipped by BOTE LLC
     $1.99 Freight shipping

                             Silicone Facial Cleaning Brush Skin Care Wash C leansing Device                                 $7.29
                             Beaut y Facial                                                                                  5'Hl9

                             Actual Color: Pink


                             $1.60 from savings

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      Pay with card



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         Other ways to pay


         Pay with PayPal                                            Pay in monthly installme nt s with Affirm

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    Walmart+     Fr ee 30-daytr ial

    Save with free delivery + so much more
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    Re,strictions apply.

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     r y Walmart+ free for 30 da:,,s                                                                                         -
      0 3. Mobile contact
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 257 of
                                       368


DOE Number: 325
Seller Name: CDJLYUS Co. Ltd.
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 258 of
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Q How do you want your items?       v   I0                             Q M1am1Supercenter                                       Deals         Mother's Day   Grocery & essentials      Fashion         Home   Tech      Auto       Regist,y   Walmart+


                Beauty:    Skin Care     Face Cleansers      Facial O eaM ing Brushes



                                                                                    WMNrt•          Ship free, no order min• As of t en as yo u need. Learn more


                                                                                                                                                                                                                           Sponsored

                                                                                                                                                                                                                               Q




                     I                                                                                                                                             Smrinog Men Silicone Face Cleansing
                                                                                                                                                                   Brush 5 Mode Electric Facial Cleanser
                                                                                                                                                                   (Black)

                                                                                                                                                                    $15.19
                                                                                                                                                                   Pric e when purchas.ed onlin.e (D




                                                                                                                                                                   (     Buy now       >+toe+
                                                                                                                                                                   Actual Color. Black




                                                                                                                                                                   l;O   Free shipping, arrives by Wed, Apr 26 to

                                                                                                                                                                         More OP-lions

                                                                                                                                                                    e Sold and shipped by CDJLYUS Co. ltd
                                                                                                                                                                         View seller information

                                                                                   Ro ll ov er im age t o zoom in                                                  E)    Free 30-day returns Details

                                                                                                  ®                                                                Q     Add to list
                Check out these related products

                                                                                                                                                                   Pr o t ect your p u r c hase                            A
                                                                                                                                                                   Get the best value on product protection including fast
                                             Q                                 Q                                   Q                                     Q         repairs or replacements.

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                -
                $13.79
                Smrinog Wate rproof
                Facial C leaner Brush
                Face C leansing ...
                                                  $13.99
                                                  A lloet M en Silicone
                                                   Face C leansing Brush 5
                                                  Mod e Electric Facial...
                                                                                        $13.25
                                                                                        5 in 1 Electric Face
                                                                                        Cleanser Brush Skin
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                                                                                                                            Fjof pr Sonic Facial
                                                                                                                           Cleansing Brush M ade
                                                                                                                           Wit h Ultra Hygienic...
                 3 - day shipping                  3- day shipping                      3 - day shipping
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                Popular items in this category
                Best selling items that customers love

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                $7.98                             $13.12                                $24.99                             $29.98
                Clio Facial C leansing            True Glow by Conair                   Facial Cleansing Brush,            Jessica Simpson
                Syste m, Pink, Wate r              Facial Cleansing Brush               Electric Face Brush                 Recharg eable Sonic
                Resist ant, Facial...              Battery Operated, 3...               Scrubber ...                        Facial Brush, 2 Br ush ...

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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 259 of
(                                         368
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                                                                                                                                                                                   Subtotal (1 item)                                  $15.19

                   a              1. Free shipping, arrives by Wed, Apr 26                                                                                                         Shipping                                             Free

                                                                                                                                                                                   Est imated taxes                                    $1.06


                                                                                                                                                                          Edit     Estimated total                                  $16.25
                                                Miami, FL 33133

                                                                                                                                                                                   Have a promo code?                                      V


               Delive ry inst ructions                                                                                                                                    Add


               Add gate codes or other useful informat ion.




               Items details                                                                                                                                     Hide d etails

               Arrives by Wed, Apr 26 (I it em)


               Sold and shipped byCDJLYUS Co. Ltd




                    t
                                      Smrinog M en Silicon e Face C leansing Brush 5 Mode Elect ric Facial                                     Qty I                   $15.1 j
                                      Cleanser (Black)
                                      Actual Color: Black




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               learn more about J;!aymen.t methods w e a<::cept.



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                    Other ways to pay


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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 260 of
                                       368


DOE Number: 326
Seller Name: Childlike Innocence
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 261 of
                 •.. .
                                            368
                                                                             Search everything at Walmart online and in store



Q How do you want your items? v I 0                               [:::J M iami Supercenter   Deals    Gr ocery & Essentials   4th of July Prep   Cooling     Pride & Joy         Back to School    National Candy Month


     Beauty:   Skin Care      Face Cleansers    Facial Cleansing Brushes




                                                                                                                                                                                                             Q


          •                                                                                                                                       Hand held Rechargeable Acoustic Wave
                                                                                                                                                  Facial Cleanser, Waterproof Electric
                                                                                                                                                  Household Po rtable Cleaning Facial
                                                                                                                                                  Cleanser, Used for Deep Cleaning, Gentle
                                                                                                                                                  Exfoliation, Massage

                                                                         ,...   .            ,....,
                                                                                                                                                  *****
                                                                                                                                                  $18.99
                                                                                                                                                             ($.0) 2 r eviews




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                                                                                                                                                  (    Buy n ow      )   ♦#PA•&
                                                                                                                                                  Actual Color : Green

                                                                                                                                                       Green                     Pink
                                                                                                                                                       $18.99                   $13.19

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                I"
                                                                                             ...u                                                 ~    Free shipping, arrives by Tue, Jul 18 t o
                                                                                                                                                       M ore OP-t ions

                                                                                                                                                  ~    So ld and shipped by Childlike Innocence
                                                                          Roll ove r image t o zoom in                                                 *****        5 seller reviews
          0                                                                            ®
                                                                                                                                                       V iew seller information

                                                                                                                                                  E)   Free 30-day returns Det ails

     About this item
                                                                                                                                                  Q    Add to list


       Prod uct d etails

                                                                                                                                                  Protect your purchase
       Nam e: face cleaner                                                                                                                        Get the best value on product protection including fast
                                                                                                                                                  repairs or replacements.
       Mat erial: silicone
                                                                                                                                                  @    Add Walmart Prot ection Plan by Allst at e Det ails
       Color : pink/green
                                                                                                                                                       0     2-Year plan - $2.00
       Si te: 7.42 inches

       Weight : 130g
                                                                                                                                                       0 3-Year plan - $3.00
       Vibration frequency: 8000/ min
                                                                                                                                                       @ I don't need protection at this t im e
       Rated voltage: 3.7 V

       Charging t ime: about 2 hours
                                                                                                                                                                                     Sponsored
       Continuous use t ime after full charge: about 3 hours
                                                                                                                                                                                    S24.99
       Charging indicator : red light is on when charging, and green light is on when fully charged

       characteristic:

       Handheld design, easy to operate. Hands should not be di rty.

       Full body IPX6 waterproof design, easy to c lean.

       Five gears meet different cleaning requi rements.

       long battery life, durable battery sui table for travel.

       Fashion, our ultrasonic cleaning brush is a new fashion choice for cleani ng skin.

       instructions:

       1. Char ging indicator :

       The red light is on when charging, and the green light is on when fully charged.

       2. Charging t ime: 2 hours, use t ime: 2 hours
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 262 of
<                                         368
                                         Checkout




                                                                                                                                  •
                                                                                                                                           Subtotal (1 it em)        $18.99
      Ill:. 1. Free shipping, arrives by Wed, Jul 19                                                                                       Shipping                    Free

                                                                                                                                           Estimated taxes            $1.33


                                                                                                                                   Edit    Estimated total          $20.32
                             Miami, FL 33138

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     Delivery instructions                                                                                                         Add


     Add gate codes or other useful information.




     Items details                                                                                                         Hide det ails

     A rrives by Wed, Jul 19 (1 it em)


     Sold and shipped by Childlike Innocence

                            Handheld Rechargeable Acoustic Wave Facia l Clea nser, Waterproof                                  $18.99
                            Electric Household Portable C lea ning Facial C leanser, Used for...
                            Actual Color: Green


                                                                                                         Remove                    +




      Cg 2. Payment method
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      Pay with card



     Learn more about IMY.ment methods. w e accept



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         Other ways to pay


         Pay with PayPal                                                 Pay in monthly installme nt s with Affirm

         m Remember my PayPal account details                            Items in your cart are not elig:ble for Affirm.

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    wa1mart+     Fr ee 30-daytrlal

    Save with free delivery + so much more
    Restrictions. apply.

    l_ry Walmart+ free for 30 da¥S
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      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 263 of
                                       368


DOE Number: 327
Seller Name: CkeyiN Official
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 264 of
                 •.. .
                                            368
                                                                            Search everything at Wa lmart online and in store



Q How do you want your items? v I 0                                    c:.:J Miami Supercenter    Deals    Flash Picks    Mother's Day      Grocery & essentials         Fashion        Home        Tech   Auto        Walmart+


     Beauty:   Skin Care     Face Cleanser s    Facial Cleansing Brushes




                                                                                                                                                                                                                  Q
          0
                                                                                                                                                  CkeyiN Electric Silicone Facial Cleansing
                                                                                                                                                  Brush High-Frequency Vibrating
                                                                                                                                                  Cleansing Instrument, 8-speed 6-mode
                                                                                                                                                  Sonic Facial Cleanser Waterproof Brush
                                                                                                                                                  Pink

                                                                                                                                                  $16.99
                                                                                                                                                  Pr ice when purchased online     (D


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               •,                                                                                                                                 Cb    Free shipping, ar r ives by Thu, May 4 to


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       o••••o
                                                                                                                                                  ~     So ld and shipped by CkeyiN Official
                                                                                                                                                        *****       15 seller reviews
                                                                                                                                                       V iew seller information

                                                                                                                                                  E)    Free 30-day returns Det ails




                                                                         Ro ll ove r image t o zoom in
                                                                                                                                                  Q    Add to list            d!l       ~ gist [\/


                                                                                        ®                                                                                               Sponsored


     About this item                                                                                                                                                                    $19.99
                                                                                                                                                                                        EZBASICS Sonic Facial
                                                                                                                                                                                        Cleansing Brush made with...

       Prod uc t d et ails



       Food- grade silicone brush head, S-6mm super long and soft bristles, deep cleaning, safe and soft, no ir ritation, no skin damage.

       12,000 t imes/min high-frequency sonic vibration technology, 6 cleaning modes, 8-gears adjustable vibration frequencies, you
       can adjust to the appropriate level accor ding to your needs.

       IPX7 waterproof design, the whole body is washable, easier to clean and more hygienic.

       Double-sided brush head, the front is used to clean the face, deep clean the skin, remove facial dirt, oil and make-up residue,
       and the other side is used to massage and lift the face, promote b lood circulation and sk in metabolism, and better absorb skin
       care products.

       Mini sire, user-friendly handle design, prevent slipping when cleaning; USB charging design, easy to use and carry.

       Specifications:

       Name: Pink Sonic Silicone Cleansing Brush High- Frequency V ibrating Cleansing Massager

       Type: Cleansing Brush, Silicone Clea nsing Brush

       Power: 1W

       Weight: 70g

       Vibrat ion frequency: 12000 t imes/min

       Charging voltage: 5V

       Bat tery capacity: 300mAh

       Charging met hod: USB

       Mater ial grade: Food grade silicone

       Waterproof grade: IPX7

       Power cord lengt h: 30cm

       Power-on method: Physical button, long press for 1.3 seconds Battery indicator: red flashes when the battery is low

       Charging indication: Charging blue light flashes, full blue light is always on

       Co lor: Pink
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 265 of
<                                         368
                                         Checkout




                                                                                                                                                          •
                                                                                                                                                                   Subtotal (1 it em)       $16.99

      lfll:. 1. Free shipping, arrives by Thu, May 4                                                                                                               Shipping                   Free

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                                                                                                                                                            Edit   Estimated total          $18.18
                                     M iami, FL 33133

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     Delivery instructions                                                                                                                                  Add


     Add gate codes or other u seful information.




     Items details                                                                                                                                 Hide det ails

     A rrives by Thu, May 4 (1 it em)


     Sold and shipped by CkeyiN Official

                           C keyiN Electric Silicone Facial Cleansing Brush High-Frequency                                       Qty 1                  $16.99
                           Vibrating Cleansing Inst rument, 8 -spe ed 6 -mode Sonic Facial...




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     Learn more about P-2Y.ment met hods. we accept.


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        Other ways to pay


        Pay with PayPal                                                            Pay in monthly installme nts with Affirm

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      0 3. Mobile contact
     We'll contact yo u in case anyt hing co mes up wit h your o rd er.

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                                       368


DOE Number: 328
Seller Name: E-Commerce Hong Kong Corporation
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 267 of
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Q How do you want your items?       v   I0                                   Q M1am1Supercenter                                 Deals         Mother's Day   Grocery & essentials        Fashion          Home   Tech      Auto   Regist,y   Walmart+


                Beauty:    Skin Care     Face Cleansers       Facial O eaM ing Brushes




                                                                                                                                                                                                                                  Q



                     I                                                                                                                                             Alloet Men Silicone Face Cleansing Brush
                                                                                                                                                                    S Mode Electric Facial Cleanser (Black)

                                                                                                                                                                    $13.99
                                                                                                                                                                   Price ·..nle n purchas.ed onlirte (D




                                                                                                                                                                   Size: One Size

                                                                                                                                                                        One Size
                                                                                                                                                                         $13,99

                                                                                                                                                                   Actual Color. Black




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                                                                                                                                                                         More ogt ions


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                                                                                                                                                                    e Sold a nd shipped by Joybuy
                                                                                                                                                                         ***** 51729 selle r revie ws
                                                                                                       ®                                                                 View seller informat ion

                                                                                                                                                                   E) Free 30-day returns Details
                Top picks to explore
                                                                                                                                                                   Q     Add t o llSt
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                Now$7.59 ~                         Now$4.69 $6m                            $7.85 $9E                    $4.74 $5,33
                                                   +$1.99 shipping
                10 Pcs Silicone Face                                                       Manual Silicone Face         N IC EXMA S 2pcs
                Cleanser and Body                 Silicone Face Wash                       Brush fo r Facial            Silicone Face Scrubber
                Scrubber Set,...                   Brush Double Sided                      Scrubber Pads for ...        Brush Facial Cleans.in ...
                                                  Skin Care Washing ...
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                Check out these related products



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                From $15.19                        From $15.11                             $19.66                       $19.61
                Smrinog Men Silicone              JuJiay Facial C leansing                 ManMan Facial                ManMan Silicone
                Face C leansing Brush 5           Brush Gentle                             Cleansing Brush              Electric Ult rasonic
                Mode Elect ric Facial...           Exfoliat ing Por e...                   Gentle Exfoliating ...       Face C leansing Wash...

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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 268 of
(                                         368
                                         Checkout




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                                                                                                                                                                                   Subtotal (1 item)                                   $13.99

                   a              1. Free shipping, arrives by Wed, Apr 26                                                                                                         Shipping                                              Free

                                                                                                                                                                                   Est imated taxes                                    $0.98


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                                                Miami, FL 33133

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               Delivery instructions                                                                                                                                      Ad d


               Add gate codes or other useful informat ion.




               Items details                                                                                                                                     Hide d etails

               Arrives by Wed, Apr 26 (I it em)


               Sold and shipped byJoybuy




                    t
                                      A lloet Men Silicone Face Cleansing Brush 5 Mode Electric Facial                                         Qty I                  $13.99
                                      Cleanser (Black)
                                      Size: One size, Actual Color: Black




               LJ 2. Payment method
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                   Pay with card



               learn more about J;!ayme n.t m e thods w e a<::cept.



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                    Other ways to pay


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               CQn: ruing, you agree to our Mobile A lert Terms




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                                       368


DOE Number: 329
Seller Name: Electronicsonic.com
Marketplace: Walmart
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Q How do you want your items?          v   I0                              Q M1am1Supercenter                                             Deals      Mother's Day         Grocery & essentials       Fashion          Home        Tech     Auto      Regist,y   Walmart+


                Beauty:        Skin Care      Face Cleansers      Facial O eaM ing Brushes




                                                                                                                                                                                                                                                  Q




                     I                                                                                                                                                           Pursonic FC2OOPK Silicone Facial
                                                                                                                                                                                 Brush&#44; Pink

                                                                                                                                                                                 $11.77
                                                                                                                                                                                Price ·..nlen purchas.ed onlirte (D




                                                                                                                                                                                t:Q   Free shipping, arrives by Fri, Apr 21 to

                                                                                                                                                                                      More OP-l ions

                                                                                                                                                                                 ~    Sold a nd shipped by Electronicsonic.com
                                                                                                                                                                                      *****       216 seller re views
                                                                                                                                                                                      View seller information

                                                                                                                                                                                6)    Free 30-day returns Details



                                                                                                                                                                                Q     Add t o llst



                                                                                                                                                                                                                      Sponsored

                                                                                                                                                                                                                      $4.97 16.6 ~/ea
                                                                                                                                                                                                     I                Burt's Bees Sensitive Facial
                                                                                                                                                                                                                      Cleanser Wipes, 30 Count

                                                                                                                                                                                                                      *****317




                                                                                                                                                                                                                      -
                About t his it e m                                                                                                                                                                                    Piclcup Deliv,e.ry



                    Product det ails                                                                                                                                  A


                    Enjoy a fu ll skin care routine wherever you are, without compromise The Pursonic FC200 delivers full cleansing and anti-aging
                    routines for superior skin care at home or on the go. It channels Sonic pulsations to help remove & dirt and oil. Made of silicone
                    to help you enjoy unlimited uses. There is no need to replace facial brush heads as the unit can we washed and cleansed for reuse.

                    Features

                           Silicone Facial Brush
                           Powered by 2 AA batteries

                    Specifications

                           Color: Pink
                           Product Dimension: 1x 3.25 x 4 M

                    - SKU, SMSNT1199

                           This silicone face brush scrub fit for a ll skin types, especially for sensit ive skin, Mild, anti-sensit ive , and non-abraStve design.
                           This silicone facial brush is gent le a nd effective , wit hout the irritat ion, redness and d iscomfort. It rid off c logged pores and
                           blackheads, it a lso gent ly e xfoliat es. Helps reduce fine lines, wrinkles and fight acne. Using t his product will have a
                           considerable improvement in t he texture of your skin, st imulates collagen production, make your make up goes on much
                           smoot her.It enhance yo ur skins ability to absorb product a nd increases t he effective ness of t he product.
                           Cleanse your face ofa ll dirt, reduce pore size, erase fine lines, a nd exfoliate your skin wit h a single handhe ld device
                           Powere d by 2 AA batt e ries. (Batteries not include d)

                    © We aim to show you accurate product information. Manufacturers, suppliers and others provide what you see here , and we
                           have not ve rified it See our disclaimer



                    Specifications

                    Brand
                    Pursonic

                    Manufacturer Par t Number
                    FC200PK

                    Assembled Product Weight
                    1 lb

                    Manufacturer
                    Pursonic



                    Warnings

                    & WARNI NG - California Proposit ion 6S
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 271 of
(                                         368
                                         Checkout




                                                                                                                                                                         •
                                                                                                                                                                                  Subtotal (1 item)                                 $11.77
                  a              1. Free shipping, arrives by Fri, Apr 21                                                                                                         Shipping                                            Free

                                                                                                                                                                                  Est imated taxes                                  $0.82


                                                                                                                                                                          Edit    Estimated total                                 $12.59
                                                Miami, FL 33133

                                                                                                                                                                                  Have a promo code?                                    V


               Delivery instructions                                                                                                                                     Add


               Add gate codes or other useful information.




               Items details                                                                                                                                     Hide d etails

               Arr ives by Fri, Apr 21 (1 it em)


               Sold and shipped by Electronicsonic.com




                  I
                                      Pursonic FC200PK Silicone Facial Brush&#44; Pink                                                         Qty1                    $11.77




                  LS 2. Payment method


                  Pay with card



               Le-arn more about ~yment methods we accept.



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              I El        Card number·




                   Other ways to pay


                   Pay with PayPal                                                             Pay in monthly inst allme nt s wit h Affirm

                   II Remember my PayPal account details                                       Items in your cart are not eligible for Affirm.

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                  0 3. Mobile contact
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               con: nu'n<3. you agre-e to our Mobile Ale-rt Te-rms.




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      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 272 of
                 •.. .
                                            368
                                                                               Search everything at Walmart online and in store



Q How do you want your items? v I 0                              [:::J Miami Superce nter     Deals     Grocery & Essentials       4th of July Prep   Cooling      Pride & Joy         Back to School        National Candy Month


     Beauty:      Skin Care     Face Cleansers     Facial Cle ansing Brushes




                                                                                                                                                                                                                        Q
                                                                                                                                                       Pursonic



         I                                                                                                                                             Pursonic Waterproof Advanced Silicone
                                                                                                                                                       Exfoliating Facial Cleansing Brush, Blue

                                                                                                                                                       $11.95
                                                                                                                                                       Pr lc e when purchased online   (D


                                                                                                                                                       (     Buy now )        E#IIH•+
                                                                                                                                                       l;b   Free shipping, arrives by Tue, Jul 4 to
                                                                                                                                                             More 0P-t ions

                                                                                                                                                       ~     So ld and shipped by Electronicsonic.com
                                                                                                                                                             *****       224 seller reviews
                                                                                                                                                             View seller information

                                                                                                                                                       E)    Free 30-day returns Det ails


                                                                                                                                                       Q     Add to list



                                                                                                                                                                                            Sponsored

                                                                                                                                                                                            $19.94
                                                                          Roll ove r im age t o zoom in
                                                                                                                                                                                            True Glow by Conair Battery
                                                                                                                                                                                            O perated Facial Cleansing ...
                                                                                       ®                                                                                                    ***** 166
                                                                                                                                                                                            t-day shipping
     About this item
                                                                                                                                                                                                    +Add

       Prod uct d etails


       This silicone face brush scrub fit for all skin types, especially for sensit ive skin.Mild, anti-sensit ive, and non-abrasive design.This
       silicone facial brush is gentle and effective, without the irritation, redness and discomfort.Gets rid off clogged pores and
       blackheads, it also gently exfoliates.Helps reduce fine lines, wrinkles and fight acne.It enhance your skins ability to absorb
       product and increases the effectiveness of the product.Cleanse your face of all dirt, reduce pore size, erase fine lines, and
       exfoliate your skin with a single handheld devicePowered by 2 AA batteries. (Batteries not included)Enjoy a full skin care routine
       wherever you are, without compromise The Pursonic FC200 delivers full cleansing and anti-aging routines for superior skin care
       at home or on the go. It channe ls Sonic pulsations to help remove & d irt a nd oil. Made of silicone to help you enjoy unlimited
       uses. There is no need to replace facial brush heads as the unit can we washed and cleansed for reuse

       Pursonic FC20 0 Blue Silicone Facia l Cleaner

       CD We aim to show you accurate product information. Manufact ure rs, suppliers and othe rs provide what you see he re, and we
              have not ve rified it. See our disclaimer



       Specificat io ns


        Brand
       Pursonic

       Manufactu rer Part Number
       FC200

       Assembled Product Weight
       1 lb

       Manufacturer
       Pursonic



       W arnings

       6 WARNING - California Proposition 65
       WARNING: This product contains che micals known to t he Stat e of California to cause cancer andbirth defects or other
       reproductive harm.
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 273 of
<                                         368
                                         Checkout




                                                                                                                                   •
                                                                                                                                           Subtotal (1 it em)          $11.95
      Ill:. 1. Free shipping, arrives by Wed, Jul 5                                                                                        Shipping                     Free

                                                                                                                                           Estimated taxes             $0.84


                                                                                                                                    Edit   Estimated total            $12.79
                              Miami, FL 33138

                                                                                                                                           H av e a p ro m o cod e?        V


     Delivery instructions                                                                                                          Add


     Add gate codes or other useful information.




     Items details                                                                                                         Hide det ails

     Arrives by Wed, Jul 5 (1 it em)


     Sold and shipped by Electronicsonic.com

                             Pursonic Waterproof Advanced Silicone Exfoliating Facial C le ansing                                 $11.95

        I                    Brush, Blue


                                                                                                           Remove                   +




     Cg 2. Payment method
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     Pay with card



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     I El       Card number•




         Other ways to pay


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        m Remember my PayPal account details                             Items in your cart are not elig:ble for Affirm.

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    Restrictions apply_

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     ry Walmart+ free for 30 da¥s                                                                                                 -
      0 3. Mobile contact
     We'll contact you in case anyt hing co mes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 274 of
                                       368


DOE Number: 330
Seller Name: Eryuan Network Technology Co., LTD
Marketplace: Walmart
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                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                             [:::J Miami Supercenter        Deals     Gr ocery & Essentials      4th of July Prep   Cooling      Pride & Joy                 Back to School         National Candy Month


     Beauty:   Skin Care     Face Cleansers      Facial Cleansing Brushes



                                                                                   Walmart+    Ship free, no order min• As often as you need.                                                                                Sponsored




                                                                                                                                                                                                                               Q
                                                                                                                                                        Wonderland Wig~

                                                                                                                                                        Facial Cleansing Brush, Waterproof
                                                                                                                                                        Vibrating and Heating Face Brush for
                                                                                                                                                        Deep Cleansing, Gentle Exfoliating and
                                                                                                                                                        Massager
                                                                                                                                                        ***** (5.0) 122 reviews
                                                                                                                                                        Now $19.99 $Tfr.99CD
                                                                                                                                                        Price when purchased online (D



                                                                                                                                                        (    Buy now          )     Eflfi..lj•-



                                                                                                                                                        Actual Color : Pink 2

                                                                                                                                                             Black                        Purple                   Pink 2
                                                                                                                                                             $18.99                       $25.99                   $19.99



                                                                                                                                                        Ol   Shipping, arrives by Wed, Jul 5 to

                                                                                                                                                        ®    Sold by Eryua n Network Technology Co., LTD
                                                                                                                                                             8 Pro Seller
                                                                                                                                                              Fulfilled by Walmart
                                                                         Roll ove r im age t o zoom in                                                        * **** 2 seller reviews
                                                                                                                                                             V iew seller information
                                                                                      ®                                                                 E)    Free 90-day returns Details

     About this item
                                                                                                                                                        Q    Add to list                 dl'i     Add t o reg istc,,


       Prod uct d etails
                                                                                                                                                        Walmartt      Get f ree delivery, shipping and more•

       Our facial cleaning brushes are extremely soft with short, flex ible bristles t hat f eel nice on the skin and safe. It is much easier t o       "Restrictions apply       St art 30 -day free t1"i al

       use these when washing your face as opposed to your hands. They create a M UCH better lather so you can actually use less of
       your c leansing product! If you're looking for a product t hat really gives a deep clean to clogged pores, blackheads.and deadsk in,
       I recommend this handy ex foliating cleansing br ush.                                                                                            Protect your purchase
                                                                                                                                                        Get the best value on product protection including fast
       [Distinctive Facial Cleansing Brush]: The exterior of the silicone face sc rubber is made of Ultra Hygienic Soft Silicone Rubber,
                                                                                                                                                        repairs or replacements.
       providing the softest and gentlest face cleansing and massage for all normal skin types..

       Glowing Skin: Gain vibrant confidence in your face wit h a deeper, cleaner, younger, more beautiful complexion by using t he
                                                                                                                                                        @ Add Walmart Prot ection Plan by Allstate Details
       EZBASICS facial c leansing brush. The facial c leansing brush gent ly remove stubborn makeup, deep clean pores, reduce blackheads
       wit h maximum power minimal effort so that you can brim with confidence wit h fresh, glowing skin.                                                    0     2-Year plan - $2.00

       [Portable Induction Charging]- Shaped as a oval, handy design makes the facial cleansing brush easier to hold and conv enient to
       carry. Facial c leansing with a single hand held device, nev er need t o change the face cleansing brush head. The silicone face
                                                                                                                                                             0     3-Year plan - $3.00

       scrubber is equipped with a professio nal induction charging equipment. Full charge takes 3 hours and can be used 200 times.

       [Facial Massager watertight ness]: The face cleansing brush is IPX7 wat ert ight ness, can be used in the shower and bath.Face                        @ I don't need prot ection at t his time
       massage every time you use your watertight ness sonic face cleaner to clean while it increases collagen boosts circ ulat ion. The face
       cleansing brush effect ively reduces fine lines wrinkles, restores skin's firmness.




       CD We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specific at io ns


       Features
       Partner Toys

       Brand
       Wonderland Wigs

       Manuf acturer Par t Number
       SH D-S088-PK
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 276 of
<                                         368
                                         Checkout




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                                                                                                                                     Subtot al (1 it em )                   $16:99
      Ill:. 1. Shipping, a rrives by Thu, Jul 6                                                                                      Savi ngs                              -$59.00

                                                                                                                                                                             $19.99

                                                                                                                                     Shipping (below $35 o rder minimum)      $6.99
                                                                                                                              Edit
                             Miami, FL 33138                                                                                         Estimated taxes                          $1.89



                                                                                                                                     Estimated total                       $28.87
     Delivery instructions                                                                                                    Add

                                                                                                                                     H av e a p ro m o c o d e?                  V
     Add gate codes or ot her u seful informat ion.




     Items details                                                                                                   Hide det ails

     A rrives by Thu, Jul 6 (1 it em)


     Sold by Eryuan Network Technology Co., LTD0 Pro Seller
     Fulfilled by Walmart

                            Facia l C leansing Brush, Waterproof Vibrating and Heating Face                                 $19.99
                            Brush for Deep Cleansing, Gentle Exfoliating and Massager                                       $'ft99
                            Actual Color: Pink 2


                            $59.00 from savings

                                                                                                   Remove                     +




      C'.9 2. Payment method
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     Pay with card



     Leam more about ~r.ment method~ we accept



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     I E:I      Card number•




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         Other ways to pay


         Pay with PayPal                                           Pay in monthly installme nts with Af firm

        ~ Remember my PayPal account details                       Items in your cart are not elig:ble for Affirm.

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    warm.art+   Fr ee 30-daytri.al

    Skip the $6.99 shipping fee & save wit h Walmart+
                                                                                                                       ..
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    Lry Walm art+ free for 30 da¥s
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      0 3. Mobile contact
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 277 of
                                       368


DOE Number: 331
Seller Name: Good Choice
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 278 of
                 •.. .
                                            368
                                                                           Search everything at Walmart online and in store



Q How do you want your items? v I 0                                  c:.:J Miami Supercenter       Deals     Flash Picks     Mother's Day   Grocery & essentials      Fashion          Home         Tech   Auto   Walmart+


     Beauty:    Skin Care    Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                  Q
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                                                                                                                                                  Fjofpr Silicone Electric Facial Cleanser
                                                                                                                                                  Face Massage Brush Skin Cleansing Brush
                                                                                                                                                  Electric Face Cleansing Skin Deep
                                                                                                                                                  Washing Healthy Choice

                                                                                                                                                  $9.77
                                                                                                                                                  Pr ice when purchased online   (D




                                                                               0  C)
                                                                                                                                                  (    Buy now )


                                                                                                                                                  Actual Color : Blue5596
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                                                                                                                                                  ®     So ld and shipped by Good Choice
                                                                                                                                                        *****       3 seller reviews
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                                                                                                                                                  E)    Free 30-day retur ns Details
                                                                                   ®
                                                                                                                                                  Q    Add to list           i'l!l    Add t o reg ist[\I
     About this item

                                                                                                                                                                                      Sponsored

        Product det ails                                                                                                                                                              $33.99



                                                                                                                                                                                      .....
                                                                                                                                                                                      PoeticEHome Soft Dry Wipes
       Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing
                                                                                                                                                                                      600CT Cotton Face Tissue,...
                                                                                                                                                                                               +

       Features:
       Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through                                                                  ,
       the surface layer of t he skin to the deep layer, deep cleansing pores and impurit ies, fir ming and whitening skin
                                                                                                                                                                                       2-day ,shipping
       Three Areas C leaning: Thr ee kinds of thick and thin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone
       conrrugation relieve facial fatigue
                                                                                                                                                                                                   +Add
       Perfectly removes sebum and cleanses skin,purifies skin and deep cleanses pores,removes the dead cells,let skin white and
       delicate.
       R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the pr oblem of lar ge blackhead pores
       Full Body Water proof Design: H idden charging port design, safe to use even in the bath
       Product Description:
       Packing list:
       1x Face Massage Brush

        •   health by habit
        •   health & household healt h care products health by habit health/beauty beauty t ools beauty tools + accessories beauty &
            personal care

       <D We aim to show you accurat e product information. M anufacturers, suppliers and ot hers provide what y ou see here, and we
            have not verified it. See our disclaimer




       Specificat ions

       Br and
       Fjofpr




       Warnings

       & WARNING • Califo rnia Proposit ion 65
       None
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 279 of
<                                         368
                                         Checkout




                                                                                                                                                           •
                                                                                                                                                                    Subtotal (1 it em)           $9.77

      lfll:. 1. Shipping, arrives by Sat, May 13                                                                                                                    Seller shipping              $2.99


                                                                                                                                                                    Est imated taxes             $0.89


                                                                                                                                                             Edit
                                                                                                                                                                    Estimated total             $13.65
                                      M iami, FL 33133


                                                                                                                                                                    Hav e a p ro m o c o d e?       V


     Delivery instructions                                                                                                                                   Add


     Add gate codes or other u seful information.




     Items details                                                                                                                                 Hide det ails

     A rrives by Sat , May 13 (1 it em)


     Sold and shipped by Good C hoice
     $2.99 Freight shipping

                            Fjofpr Silicone Electric Facial C le anser Face Massage Brush Skin                                    Qty 1                    $9.77
                            C leansing Brush Electric Face Cleansing Skin Deep Washing ...
                            Actual Colo r: Blue5596




     (:g 2. Payment method
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     Pay with card



     Leam more about P-2v.ment methods we accept



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     I E:I      Card number•




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        O t he r ways t o pay


        Pay with PayPal                                                            Pay in monthly installme nt s with Affirm

        m Remember my PayPal account details                                       Items in your cart are not elig:ble for Affirm.

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      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

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     con::·nuing. you agree to our Mobile A rert Ter ms.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 280 of
                 •.. .
                                            368
                                                                           Search everything at Walmart online and in store



Q How do you want your items? v I 0                           [:::J Miami Supercenter              Deals     Flash Picks     Mother's Day   Grocery & essentials      Fashion          Home        Tech    Auto        Walmart+


     Beauty:    Skin Care    Face Cleansers     Facial Cleansing Brushes




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                                                                                                                                                  Fjofpr Silicone Electric Facial Cleanser
                                                                                                                                                  Face Massage Brush Skin Cleansing Brush
                                                                                                                                                  Electric Face Cleansing Skin Deep
                                                                                                                                                  Washing Healthy Choice

                                                                                                                                                  $9.77
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                                                                                0                                                                 (    Buy now )


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                                                                                                                                                        *****       3 seller reviews
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                                                                       Ro ll ove r im age t o zoom in
                                                                                                                                                  E)    Free 30-day retur ns Details
                                                                                    ®
                                                                                                                                                  Q    Add to list          i'l!l     Add t o reg ist[\I
     About this item

                                                                                                                                                                                      Spons.ored

       Prod uct d etails                                                                                                                                                              $24.99
                                                                                                                                                                                      SLF Facial Cleansing Massager,
       Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electr ic Face Cleansing Skin Deep Washing
                                                                                                                                                                                      Rechargeable Face and Skin ...
       Features:
       Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through                                                     3+ day shipping
       the surface layer of t he skin to the deep layer, deep cleansing pores and impurit ies, fir ming and whitening skin
       Three Areas C leaning: Thr ee kinds of thick and thin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone
                                                                                                                                                                                               +Add
       conrrugation relieve facial fatigue
       Perfectly removes sebum and cleanses skin,purifies skin and deep cleanses pores,removes the dead cells,let skin white and
       delicate.
       R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the pr oblem of lar ge blackhead pores
       Full Body Water proof Design: H idden charging port design, safe to use even in the bath
       Product Description:
       Packing list:
       1x Face Massage Brush

        •   health/beauty
        •   health & household healt h care products health by habit health/beauty beaut y t ools beauty tools + accessories beauty &
            personal care

       <D We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what y ou see here, and we
            have not verified it. See our disclaimer




       Specificat io ns


        Brand
       Fjofpr




       W arning s


       & WARNING • California Proposit ion 65
       None
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 281 of
<                                         368
                                         Checkout




                                                                                                                                                                  •
                                                                                                                                                                           Subtotal (1 it em)           $9.77

      lfll:. 1. Shipping, arrives by Sat, May 13                                                                                                                           Seller shipping              $2.99


                                                                                                                                                                           Est imated taxes             $0.89


                                                                                                                                                                    Edit
                                                                                                                                                                           Estimated total             $13.65
                              Miami, FL 33138


                                                                                                                                                                           Hav e a p ro m o c o d e?       V


     Delivery instructions                                                                                                                                          Add


     Add gate codes or other u seful information.




     Items details                                                                                                                                        Hide det ails

     A rrives by Sat , May 13 (1 it em)


     Sold and shipped by Good C hoice
     $2.99 Freight shipping


       ..                    Fjofpr Silicone Electric Facial C le anser Face Massage Brush Skin
                             C leansing Brush Electric Face Cleansing Skin Deep Washing...
                                                                                                                                        Qty l                     $9.77

                             Actual Color: Pink5597




     (:g 2. Payment method
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     Pay with card



     Leam more about P-2v.ment methods we accept



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     I E:I      Card number•




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        O t he r ways t o pay


        Pay with PayPal                                                                Pay in monthly installme nt s with Affirm

        m Remember my PayPal account details                                           Items in your cart are not elig:ble for Affirm.

        (                              PayPal                                    )                                      affimll




      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

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        Phone number (10 d igit s ) ' - - - - - - - ~

                                                                            LI! I want t o receive text updates about the status of my order.
     M essage a'"l::l data ,.ates rray ap!)ry. Nurrb-er and "'" equency o" aut orrate::l texts may "a'Y :,a;;ed on you" or-d er. Consent '"lot requi"ed fo" purchase. By
     con::·nuing. you agree to our Mobile A rert Ter ms.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 282 of
                                       368


DOE Number: 332
Seller Name: Good Day
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 283 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                                ~ C oconut Creek Supercenter                  Deals     Flash Picks    Mother's Day       Grocery & essentials          Fashion           Home   Tech   Auto


     Beauty:    Skin Care     Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                    Q
                                                                                                                                                   WMYBD

                                                                                                                                                   WMYBD Gifts,Silicone Electric Fac ial
                                                                                                                                                   Cleanser Face Massage Brush Skin
                                                                                                                                                   Cleansing Brush Electric Face Cleansing
                                                                                                                                                   Skin Deep Washing

                                                                                                                                                   $7.50
                                                                                                                                                   Pr ice when purchased online   (D




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                                                                       Ro ll ove r image t o zoom in
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                                                                                                                                                   E)    Free 30-day retur ns Details



                                                                                                                                                   Q     Add to list          i'l!l    Add t o reg ist [\I
     About this item

                                                                                                                                                                                       Sponsored

       Prod uc t d et ails                                                                                                                               0                             $24.99

       Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing                               0                             Facial Cleansing Brush,
                                                                                                                                                                                       Electric Face Brush Scrubber...
       Features:
       Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through
                                                                                                                                                         0
                                                                                                                                                                                       **** 11 10
       the surface layer of the skin to the deep layer, deep cleansing pores and impurit ies, firming and whitening skin
                                                                                                                                                                                        2-day ,shipping
       Three Areas C leaning: Thr ee kinds of thick and thin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone
       conrrugation relieve facial fatigue
                                                                                                                                                                                                 +Add
       Perfectly removes sebum and cleanses skin,purifies skin and deep cleanses pores,removes the dead cells,let skin white and
       delicate.
       R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the pr oblem of lar ge blackhead pores
       Full Body Water proof Design: H idden charging port design, safe to use even in the bath
       Product Description:
       Packing list:
       1x Face Massage Brush

        •  [ Safety standards] : Our products meet safety standards. We consider t he safety of your use from the mater ial and t he w ay
          of use to ensure the comfort of your use of t he product!
        •  [ Perfect gift] : products are committed to creat ing good products that can serve human beings. O ur aim is to hope t hat
          products can bring more conve nience to human beings, so that people can enjoy the fun of lif e, so t hat it can be a perfect
          gif t. Giv e it to your loved ones and share t he surprises in life together!
        •  [ Fit for you ] A good prod uct is worth having, please take it home!
        •  [ Best Service] We respect and c herish every c ustomer. If you hav e any questions before or af ter ordering, please feel free
          to contact us. We striv e to provide servic es that meet your requirements. If you hav e any questions about our product s, please
          feel free to contact us dir ectly. We will rep ly and solve your problem wit hin 24 hours. Happy shopping for you!

       <D We aim to show you accurate product informat ion. M anufact urers, suppliers and others provide what y ou see here, and we
            have not verified it . See our disclaimer




       Spec ificat io ns


       Br and
       WMYBD

       Manuf actu re r Par t N um ber
       gif ts for women
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 284 of
<                                         368
                                         Checkout




                                                                                                                                                                 •
                                                                                                                                                                          Subtotal (1 it em)         $7.50

      lfll:. 1. Shipping, arrives by Tue, May 16                                                                                                                          Seller shipping            $2.99


                                                                                                                                                                          Est imated taxes           $0.73


                                                                                                                                                                   Edit
                                                                                                                                                                          Estimated total           $11.22
                                    Boca Rat on, FL 33433


                                                                                                                                                                          Hav e a p ro m o cod e?       V


     Delivery instructions                                                                                                                                         Add



     Add gate codes or other useful information.




     Items details                                                                                                                                       Hide det ails

     A rrives by Tue, May 16 (1 it em)


     Sold and shipped by Good Day
     $2.99 Freight shipping

                            WMYBD Gifts,Silicone Electric Facial Clea nser Face Massage Brush                                          Qty l                    $7.50
                             Skin C leansing Bru sh Electric Face C lean sing Ski n Deep Washing
                            Actual Color: Bluel




     (:g 2. Payment method
                                                                                                                                                                 •
     Pay with card



     Leam more about P-2v.ment methods we accept



     • Required field




     I E:I      Card number•




                                                                                                                                              -11;.;:;9
        Other ways to pay


        Pay with PayPal                                                               Pay in monthly installme nt s with Affirm

        m Remember my PayPal account details                                          Items in your cart are not elig:ble for Affirm.

        (                              PayPal                                   )                                      affimll




      0 3. M obile contact
     We'll contact you in case anyt hing comes up wit h your o rd er.

     •Required field

        Phone number (10 d igit s ) ' - - - - - - - ~

        (646) 4 36 -9839                                                   LI! I want to receive text updates about the status of my order.
     M essage a'"l::l data ,.ates rray ap!)ry. Nurrb-er and "''"equency o" autorrate::l texts may "a'Y :,a;;ed on you" or-der. Consent '"lot requi'"ed fo" purchase. By
     con::·nuing. you agree to our Mobile A rert Ter ms.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 285 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                                  c:.:J Miami Supercenter      Deals     Flash Picks     Mother's Day       Grocery & essentials         Fashion       Home        Tech   Auto     Walmart+


     Beauty:    Skin Care     Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                    Q
                                                                                                                                                     WMYBD

                                                                                                                                                     WMYBD Gifts,Silicone Electric Fac ial
                                                                                                                                                     Cleanser Face Massage Brush Skin
                                                                                                                                                     Cleansing Brush Electric Face Cleansing
                                                                                                                                                     Skin Deep Washing

                                                                                                                                                     $7.50
                                                                                                                                                     Pr ice when purchased online (D




                                                                                0   C)
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                                                                                                                                                     Actual Color : Pink1
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                                                                                                                                                     E)   Free 30-day returns Details



                                                                                                                                                     Q    Add to list            i'l!l   Add to reg ist[\I
     About this item

                                                                                                                                                                                         Sponsored
       Prod uc t d et ails                                                                                                                                0                              $24.99
       Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing                                0                              Facial Cleansing Brush,
                                                                                                                                                                                         Electric Face Brush Scrubber...
       Features:
       Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through
                                                                                                                                                          0
                                                                                                                                                                                         **** 11 10
       the surface layer of the skin to the deep layer, deep cleansing pores and impurit ies, firming and whitening skin
                                                                                                                                                                                          2-day ,shipping
       Three Areas C leaning: Thr ee kinds of thick and thin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone
       conrrugation relieve facial fatigue
                                                                                                                                                                                                   +Add
       Perfectly removes sebum and cleanses skin,purifies skin and deep cleanses pores,removes the dead cells,let skin white and
       delicate.
       R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the pr oblem of lar ge blackhead pores
       Full Body Waterproof Design: H idden charging port design, safe to use even in the bath
       Product Description:
       Packing list:
       1x Face Massage Brush

        •  [ Safety standards] : Our products meet safety standards. We co nsider t he safety of your use from the mat er ial and t he w ay
          of use to ensure the comfort of your use of t he product!
        •  [ Perfect gift] : products are committed to creat ing good products that can serve human beings. O ur aim is to hope t hat
          produc ts can bring more conve nience to human beings, so that people can enjoy the fun of lif e, so t hat it can be a perfect
          gif t. Giv e it to your loved ones and share t he surprises in life together!
        •  [Fit for you ] A good prod uct is worth having, please take it home!
        •  [ Best Service] We respect and c herish every c ustomer. If you hav e any questions before or af ter ordering, please feel free
          to contact us. We striv e to provide servic es that meet your requirements. If you hav e any questions about our product s, please
          feel free to contact us dir ectly. We will rep ly and solve your problem wit hin 24 hours. Happy shopping for you!

       <D We aim t o show you accurate product information. M anufact urers, suppliers and others provide what y ou see here, and we
            have not verified it . See our disclaimer




       Spec ificat io ns


       Brand
       WMYBD

       Man uf actu re r Par t N um ber
       gif ts for women
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 286 of
<                                         368
                                         Checkout




                                                                                                                                                           •
                                                                                                                                                                    Subtotal (1 it em )       $7.50

      lfll:. 1. Shipping, arrives by Tue, May 16                                                                                                                    Seller shipping           $2.99


                                                                                                                                                                    Est imated taxes          $0.73


                                                                                                                                                             Edit
                                                                                                                                                                    Estimated total          $11.22
                                    , M iami, FL 33133


                                                                                                                                                                    Hav e a pro m o cod e?       V


     Delivery instructions                                                                                                                                   Add



     Add gate codes or other useful information.




     Items details                                                                                                                                 Hide det ails

     A rrives by Tue, May 16 (1 it em)


     Sold and shipped by Good Day
     $2.99 Freight shipping


       ..                   WMYBD Gifts,Silicone Electric Facial Cle anser Face Massage Brush
                            Skin C leansing Bru sh Elect ric Face C lean sing Ski n Deep Washing
                                                                                                                                  Qty 1                    $7.50

                            Actual Colo r: Pink1




     (:g 2. Payment method
                                                                                                                                                           •
     Pay with card



     Leam more about P-2v.ment methods we accept



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     I E:I      Card number•




                                                                                                                                         -11;.;:;9
        Other ways to pay


        Pay with PayPal                                                            Pay in monthly installme nt s with Affirm

        m Remember my PayPal account details                                       Items in your cart are not elig:ble for Affirm.

        (                            PayPal                                  )                                     affimll




      0 3. M obile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

     •Required field

        Phone number (10 d igit s ) ' - - - - - - - ~

                                                                        LI! I want to receive text updates about the status of my order.
     Message a"ld data ,.ates rray ap!)ry. Nurrb-er and "''"equency o" aut orrated texts may "a'Y :,a;;ed on you" or-der. Consent 'lot requi'"ed fo" purchase. By
     con::·nuing. you agree to our Mobile A rert Ter ms.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 287 of
                                       368


DOE Number: 333
Seller Name: Heldig
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 288 of
                 •.. .
                                            368
                                                                            Search everything at W a lmart online and in store                                       Q,



Q How do you want your items? v I 0                             CJ Miami Supercenter          Deals      Grocery & Essentials      4th of July Prep   Cooling      Pride & Joy         Back to School         National Candy Month


     Beauty:   Skin Care     Face Cleansers      Facial Cleansing Brushes




                                                                                                                                                                                                                      Q
                                                                                                                                                       Heldig

                                                                                                                                                       Facial Cleansing Brush, Electric Face
                                                                                                                                                       Cleansing Brush with 5 Adjustable Speed,
                                                                                                                                                       IPX6 Waterproof Silicone Face Brush,
                                                                                                                                                       Rechargeable Hand-Held Cleansing



                                                                                   -.
                                                                                                                                                       Instrument for Deep Cleansing and
                                                                                                                                                       Massaging (Pink)

                                                                                                                                                       Now $6.99 %99 <D
                                                                                                                                                       Pr lc e when purchased online (D




                                                                                                                                                       (    Buy now       )   ♦#UH•+
                                                                                                                                                            Mor e OQtions

                                                                                                                                                       fl   Sold and shipped by Holdig
                                                                                                                                                             ***11*      17 seller reviews
               ')                                                                                                                                           V iew seller information



        ~
                                                                                                                                                       Q     Free 30.day returns Details



                                                                                                                                                       Q    Add to list          dll      Add to reg ist['/
                                                                         Roll ove r im age t o zoom in
          0                                                                           ®                                                                                                   Sponsored

                                                                                                                                                                                          $17.75
     About this item                                                                                                                                                                      FunnyFairy Sonic Facial
                                                                                                                                                                                          Cleansing Brush, Silicone...

       Prod uc t d etails                                                                                                                                                                  3+ day shipping



       "A Perfect Hand-Held Cleansing Instrument: A water proof facial cleansing brush with silicone br ush head and five adjustable                                                               +Add
       speed, give you the full range of cl eansing, from a gentle cleansing to vigorous deep-cleansing. Suitable for all skin typ es, even
       for sensit ive skin, safe and comfortable.


       Different Internal and External Silicone Brush Head: T-zone cleaning brush, conforming to the contour of the T zone, easier to
       clean the nose, chin, deep cleansing of facial stains, keep the skin delicate and shiny. The inner circle has a dot-like texture to
       quickly remove the dirt and dirt on the surface of the facial skin, and the facial foundation is dean.


       S-Speed Adjustment: The face cleansing mode has 5 adjustable speeds, suitable for different needs, can meet all skin types.
       Cleansing instrument using intelligent high frequency vibration technology to effectively remove dirt. And you can choose the
       appropriate speeds you need when using.


       Rechargeable and Safe: Hand-held cleansing instrument adopts DC char ging interface mode, can run for more than a month
       after full charging. Made with food gr ade soft silicone, won't damage your facial skin, and does not contain any chemically
       har mful substances. Very safe and practical hand-held powered cleansing brush.


       IPX6 Waterproof Silicone Brush Device: Special IPX6 waterproof design, safe to take it in shower or bath without worry. facial
       cleansing brush makes it convenient and affordable to get a facial spa. Light weight and portable design allows you to carry it
       everywhere, keep your face radiant even when you are t raveling."

        • A Perfect Hand- Held Cleansing Inst rument: A waterproof facial cleansing brush wit h silicone brush head and five adjustable
          speed, give you the full range of cleansing, from a gent le c leansing to vigoro us deep-c leansing. Suitable for all skin t ypes, even
          for sensitive skin, safe and comfortable.
        • Different Int ernal and External Silicone Brush Head: T-zone cleaning brush, conforming to t he contour of t he T zone, easier to
          clean the nose, chin, deep cleansing of f acial stains, keep t he skin delicate and shiny. The inner circle has a dot-like t exture to
          quickly remove t he dirt and dirt on the surface of the facial skin, and the facial foundation is dea n.
        • 5-Spee<I Adj ustment: The face cleansing mode has 5 adjustable speeds, suitable for different needs, can meet all skin t ypes.
          Cleansing instrument using intelligent high frequency vibration technology to effectively r emove dirt. And you can choose
          the appropriate speeds you need when using.
        • Rechargeable and Saf e: Hand-held cleansing instrument adopts DC charging interface mode, can run for more t han a mont h
          after full charging. Made with food grade soft silicone, won't d amage your facial skin, and does not contain any chemically
          harmful substances. Very safe and practical hand-held powered cleansing brush.
        • IPX6 Waterproof Silicone Brush Device: Special IPX6 water proof design, safe to take it in shower o r bat h without wor ry. facial
          cleansing b rush makes it convenient and affordable to get a facial spa. light weight and portable design allows you to carry it
          everywhere, keep your face radiant even when you are trav eling.

       <D We aim to show you accurate product information. M anufact urers, suppliers and ot hers provide what you see here, and w e
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 289 of
<                                         368
                                         Checkout




                                                                                                                               •
                                                                                                                                       Subtotal (1 item)     $16:99

      Ill:.          1. Shipping, arrives by Wed, Aug 2                                                                                Savings              -$10.00

                                                                                                                                                              $6.99


                                                                                                                                       Seller shipping        $7.00
                                                                                                                                Edit
                              M iami, FL 33138
                                                                                                                                       Estimated taxes        $0.98



                                                                                                                                       Estimated total      $14.97
     Delivery instructions                                                                                                      Add


     Add gate codes or other useful information.                                                                                       Have a promo code?        V




     Items details                                                                                                      Hide details

     Arrives by Wed, Aug 2 (1 it em)


     Sold and shipped by Heldig
     $7.00 Freight shipping

                            Facia l C leansing Brush, Electric Face Cleansi ng Brush w ith 5
                            Adj ustable Speed, IPX6 Waterproof Silicone Face Brush,...


                             $10.00 from savings
                                                                                                                               -
                                                                                                                               $6.99




                                                                                                       Remove                   +




      ~ 2. Payment method                                                                                                      0

     Pay with card



     Learn more about P-2.Y.ment methods. we accept.


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     I E:I      Card number'




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         O t her ways to pay


         Pay wit h PayPal                                             Pay in mont hly installme nt s wit h Affirm

        m Remember my PayPal account details                          Items in your cart are not elig:ble for Affirm.

        (                             PayPal                     )                               affQ




    wa1ma11:+   i:r ee 30-day trial

    Save with free delivery + so much more
    Restrictions apply.

    l_ry Walmart+ free for 30 da,-s
                                                                                                                          w,

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      0 3. Mobile contact
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 290 of
                                       368


DOE Number: 334
Seller Name: IOCOCEE
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 291 of
                 •.. .
                                            368
                                                                           Sear c h e ve rything at W a lmart o nline and in store                                     Q,



Q How do you want your items? v I 0                                          ~ Miami Supercent er                    Deals     Mother's Day     Grocery & essentials             Fashion        Home        Tech   Auto       Registry


     BeautY.    Skin C are   Face Cleanser s    Facial Cleansing Brushes



                                                                         Walmatt+    Ship free, no order min* As often as you need. l earn more

                                                                                                                                                                                                                     Spon~ored

                                                                                                                                                                                                                       Q
                                                                                                                                                      IOCOCEE

                                                                                                                                                      IOCOCEE Facial Cleansing Brushes,
                                                                                                                                                      Electric Cleaning Massage 2-in-1 Silicone
       I
                                                                                                                                                      Facial Washing Waterproof Brush, Deep
                                                                                                                                                      Cleaning Blackhead Removal, Four
                                                                                                                                                      Brushes, USB Charging
                                                                                                                                                      ***** (5.0) 3 reviews
                                                                                                                                                      $21.99
                                      Turn on/off ------,
                                                                                                                                                      Prlc e when purchased online (D




                                                                                                                                                      (       Buy now       )    ♦#UH•+
                                                                                                                                                      l;Q     Shipping, arr ives by Wed, Apr 19 to



                                                                                                                                                      f!!l)   Sold by IOCOCEE 8 Pro Seller
                                                                                                                                                              Fulfilled by Walmart
                                                                                                                                                              ***** 32 seller r eviews
                                                                                                                                                              V iew seller information

                                                                                                                                                      Q       Free 90-day returns Details


                                                                        Roll ove r im age t o zoom in
            0                                                                       ®
                                                                                                                                                      Q       Add to list



                                                                                                                                                      Walmart+        Get free delivery, shipping and more*
     About this item
                                                                                                                                                  ~       Restrictions apply ~             Y. free tr ial
                                                                                                                                                                                                                    ............
       Prod uct d etails                                                                                                                    A         Protect your purchase                                               A
                                                                                                                                                      Get the best value on product protection including fast
       Are you still troubled by dull skin,large pores and bl ackheads caused by improper cleaning? El ectric cleansing brush, cleaning               repair s or replacements.
       vibration massage 2-in-1 silicone face wash waterproof brush, deep c leaning to remove blackheads, there are five brushes
                                                                                                                                                      ©       Add Walmart Protection Plan by Allstate Details
       suitable for all skin types, sensitive skin can also be used normally, the daily cleaning effect is better than the effect of hand
       cleaning alone? t i mes for a cleaner, smoother, softer, brighter complexion with a relaxing facial massage. Don't hesitate any
       longer and t ake it home!
                                                                                                                                                              0    2-Year plan • $3.00


        •   BEN EFITS: The Electric Facial Cleansing Brush removes dirt, oil and makeup residue and unclogs pores. Meanwhile, an anti-
                                                                                                                                                              0 3-Year plan • $3.50
            aging massage boost s circulation with a silicon ridge on t he back. Regular use will brighten and firm the skin.
        •   4 cleansing brushes: including two cleansing brushes, makeup sponge brush, silicone brush. Replaceable brush heads meet all
            cleaning needs. Suit able for all skin types, even sensitive skin.                                                                                @ I don't need prot ection at this t ime
        •   360° Rotating Cleansing Brush: A technologically advanced rotat ing brush t hat provides superio r cleansing for difficult -to-
            remove skin, yet is gentle enough for everyday use on even t he most sensitive skin.
        •   IPX7 Water proof: This product is made of IPX7 water proof material, t he whole body can be fully immer sed in water. Suitable
            for use in the shower or bathtub. Enj oy the highest quality skin care rotary brush at home.
        •   USB Charging Stand: USB charging cable, easy to carry and charge. A 2-3 hour c harge can last up to 20 days. Convenient
            storage, you can take it wit h you when t raveling or at home.

       (D We aim t o show you accurat e product information. M anufacturers, suppliers and others provide what you see here, and we
            have not verified it. See our disclaimer




       Specific at io ns


       Brand
       IOCOCEE

       Manuf acturer Part Numbe r
       YN -0410

       Manuf acturer
       IOCOCEE




       W arnings


       & WARNI NG• Cali f ornia Proposit ion 65
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 292 of
<                                         368
                                         Checkout



                                                                                                                                                                     Subtotal (1 item)                    $21.99

         1111: 1. Shipping, arrives by Wed, Apr 19                                                                                                                   Shipping (below $35 order minimum)    $6.99

                                                                                                                                                                     Estimated taxes                       $2.03



                                                                                                                                                              Edit   Estimated total                      $31.01
                                                Miami, FL 33133

                                                                                                                                                                     Have a promo code?                       V



     Delivery instructions                                                                                                                                   Add



     Add gate codes or other useful information.




     Items details                                                                                                                                  Hide details

     Arrives tomorrow {1 item)


     Sold by IOCOCEE(i} Pro Seller
     Fulfilled byWalmart

                            IOCOCEE Facial Cleansing Brushes, Electric Cleaning Massage 2-                                         Qty1                   $21.99
                            in-1 Silicone Facial Washing Waterproof Brush, Deep Cleaning ...

     •

     [:g 2. Payment method                                                                                                                                   •
     Pay with card


     Learn more about �v.ment methods we accept.



     • Requ;red field




     I    EJ Card number•


                                                                                                                                          Eii+i♦
          Other ways to pay


          Pay with PayPal                                                           Pay in monthly installments with Affirm

          PJI Remember my PayPal account details                                    ltefl'Js in your cart are not elig:bie for Affirm.

                  PayPal                                                                                           affQ
          (�----------------�)




         0 3. Mobile contact
     We'll contact you in case anything comes up with your order.

     ·Required field


         Phone number (10digits)· --------7

                                                                          PJI   I want to receive text updates about the status of my order.

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     Me%age a'lO d:!ita ,,ates rray ap.: y N1.;rroer and frequency o autorrated texts may ',:i-y �ased O'l yot.:" or i::er. Consef't '10t rec\wed f;y purchase. Ev
     con-: <\U n;i. you agree to our Mobile Alert Terms.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 293 of
                                       368


DOE Number: 335
Seller Name: Jones N Panda Corp
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 294 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                                  c:.:J Miami Supercenter                       Deals       Easter   Grocery & essentials          Home    Tech         Fashion     Auto         Walmart+


     BeautY.   Skin Care       Face Cleansers    Facial Cleansing Brushes




                                                                                                                                                                                                              Q
                                                                                                                                              TOPWONER

                                                                                                                                              Anlan MiniUSB Face Facial Brush
                                                                                                                                              Foreoing Silicone Sonic Deep Pore Face
                                                                                                                                              Scrubber

                                                                                                                                              $13.74
                                                                                                                                              Pr ice when purc hased online (D



                                                                                                                                              (    Buy now        )    E#li..l\•&



                                                                                                                                              Actual Color : Green


       • •       Q




               •
                                                                                                                                              ~     Free shipping, arrives by Mon, Mar 27 to


                                                                                                                                                    Mor e ogt ions

                                                                                                                                              ®     So ld and shipped by Joybuy Express
                                                                                                                                                    ***11*      17887 seller reviews
                                                                                                                                                   V iew seller information
                                                                        Roll o v e r im age t o zoom in
          0                                                                         ®                                                         Q     Free 30.day returns Details


     About t his it em                                                                                                                        Q    Add to list



       Prod uc t d et ails

                                                                                                                                              Protect you r purchase
       Specification:
                                                                                                                                              Get t he best value on product protect ion including fast
       Power supply: USB cable charging
                                                                                                                                              repair s or replacements.

       Output power : SV/1A                                                                                                                   0    Add Walmart Prot ection Plan by Allst ate Details


       Battery capacity: 200mAh                                                                                                                    0        2-Year plan - $2.00


       Product si1e: 10.5*6.5*2.Scm                                                                                                                0        3-Year plan - $3.00


       Product material: silicone +ABS
                                                                                                                                                   @ I don't need prot ect ion at t his t ime
       Waterproofing level: IPX7


       Packing list: face cleaner *1 data line *1 instruction *1                                                                                                                  Spons.ored

                                                                                                                                                                                  $19.99
       Product si1e: 10.S*6.S*2.Scm
                                                                                                                                                                                  Facial Cleansing Brush,Electric
                                                                                                                                                                                  Face Exfoliator Brush,IPX-7 ...
       Package si1e: 13*9*3.Scm.


       Type:Facial Cleansing Brush
                                                                                                                                                  .......
                                                                                                                                                  C>
                                                                                                                                                                                  3+ day shipping


       Gender: Women's
       Color :4 colors
       Material:Silica gel
       Skin t ype suitable for:AII type
       How to use:Apply d irectly
       Aller gy information:Does not cause allergies
       Stor age instr uctions:Store in a cool place away from d irect sunlight
       Shelf life:3. S years
       Made in China
       Package include:



       1' Facial Cleansing Brush
       1* USB cable
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 295 of
<                                         368
                                         Checkout




                                                                                                                                                          •
                                                                                                                                                                   Subt ot al (1 it em)      $13.74

      lfll:. 1. Free shipping, arrives by Mon, Mar 27                                                                                                              Shipping                    Free

                                                                                                                                                                   Estimated taxes           $0.96



                                                                                                                                                            Edit   Estimated total          $14.70
                                     Miami, FL 33133

                                                                                                                                                                   H av e a p romo cod e?        V


     Delivery instructions                                                                                                                                 Add


     Add gate codes or ot her useful information.




     Items details
     Arrives by Mon, Mar 27 (1 it e m)


     Sold and shipped by Joybuy Express

                           Anlan MiniUSB Face Facial Brush Foreoing Silicone Sonic Deep                                          Qty 1                  $13.74
                            Pore Face Scrubber
                           Actual Color: Green




     C'.9 2. Payment method
                                                                                                                                                          •
     Pay with card



     Learn more about ~y:ment methods w e accept



     • Required field




     I E:I      Card number•




        Other ways to pay


        Pay with PayPal                                                              Pay in monthly installme nt s with Af firm

        PJ Remember my PayPal account details                                        Items in your cart are not eligible for Affirm.

        (                            PayPal                                  )                                    affQ




      0 3. Mobile contact
     We'll contact you in case anyt hing comes up wit h your o rd er.

     "Required field


        Phone number (10 d igit s ) • - - - - - - - ~

        (646) 4 36 -9839                                                m want toI         receive tex t updates about the status of my order.

     M essage and data rates rT'ay ap~ly_ N1,.rT'ber and frequency o"' autorT'ated texts may "a<y oased on yo1,.• order. Consen.t 'lot requi•ed fo• purchase. By
     cort •iuing. you agree to our Mobile A fert Terms.
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 296 of
                 •.. .
                                            368
                                                                                Search everything at Walmart online and in store



Q How do you want your items? v I 0                                        c:.:J Miami Supercenter                           Deals    Easter     Grocery & essentials         Home   Tech         Fashion     Auto         Walmart+


     BeautY.    Skin Care       Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                     Q
                                                                                                                                                       TOPWONER

                                                                                                                                                       Anlan MiniUSB Face Facial Brush
                                                                                                                                                       Foreoing Silicone Sonic Deep Pore Face
                                                                                                                                                       Scrubber

                                                                                                                                                       $12.90
                                                                                                                                                       Pr ice when purchased online (D



                                                                                                                                                       (    Buy now       )    E#li..l\•&
                                                                                                                                                       Actual Color : Gray


       • •        Q




               •
                                                                                                                                                       ~     Free shipping, arrives by Mon, Mar 27 to


                                                                                                                                                             More ogtions

                                                                                                                                                       ®     Sold and shipped by Joybuy Express
                                                                                                                                                             ***11*      17887 seller reviews
                                                                                                                                                            V iew seller information
                                                                             Ro ll o v e r im age t o zoom in
           0                                                                              ®                                                            Q     Free 30.day returns Details



     Check out these related products                                                                                                                  Q    Add to list




                                  Q                                    Q                                   Q                                 Q         Protect your purchase                                           A
                                                                                                                                                       Get the best value on product protection including fast



                                                                                                                                      0
                                                                                                                                                       repair s or replacements.

                                                                                                                                                       0    Add Walmart Prot ection Plan by Allstate Details

                                                                                                                                                           0 2-Year plan - $2.00

                                         GIH♦                                   Gi-1:i♦                         GIH♦                                       0 3-Year plan - $3.00
                                                                •                                                                                          @ I don't need prot ect ion at t his t ime
      $11.97                              $11.99                                $11.45                          $19.29
      M ini U SB Electric Face            Facial C leansing Brush.              Kernelly Mini USB               Facial C leansing Br ush ,
      Facial C lean sing Bru sh           3 -in-1 Electric USB                  Electric Face Facial            3 - in-1 Electric Silicone                                               Sponsored
      Fo reo ing Silicone ...             Rechargeble Silic one ...             C leansing Br ush ...           Face Scru bber, Sonic ...
                                                                                                                                                                                         $19.99
      3• day shipping                     3• day shipping                        3• doy shipping                3• day sh·pping                                                          Facial Cleansing Brush,Electric
                                                                                                                                                                                         Face Exfoliator Brush,IPX-7 ...

                                                                                                                                                           .......
                                                                                                                                                           C>
                                                                                                                                                                                         3+ day shipping




     Popular items in this category
     Bestselling items that customers love


                                          50• bought since yesterday


                                  Q                                    Q                                                                     Q


                                                                                                                                      0
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 297 of
<                                         368
                                         Checkout




                                                                                                                                                          •
                                                                                                                                                                   Subt ot al (1 it em)     $12.90

      lfll:. 1. Free shipping, arrives by Mon, Mar 27                                                                                                              Shipping                   Free

                                                                                                                                                                   Estimated taxes           $0 .90



                                                                                                                                                            Edit   Estimated total          $13.80
                                     Miami, FL 33133

                                                                                                                                                                   H av e a p romo cod e?        V


     Delivery instructions                                                                                                                                 Add


     Add gate codes or ot her useful information.




     Items details
     Arrives by Mon, Mar 27 (1 it e m)


     Sold and shipped by Joybuy Express

                           Anlan MiniUSB Face Facial Brush Foreoing Silicone Sonic Deep                                          Qty 1                  $12.90
                            Pore Face Scrubber
                           Actual Color: Gray




     C'.9 2. Payment method
                                                                                                                                                          •
     Pay with card



     Learn more about ~y:ment methods w e accept



     • Required field




     I E:I      Card number•




        Other ways to pay


        Pay with PayPal                                                              Pay in monthly installme nts with Af firm

        PJ Remember my PayPal account details                                        Items in your cart are not eligible for Affirm.

        (                            PayPal                                  )                                    affQ




      0 3. Mobile contact
     We'll contact you in case anyt hing comes up wit h your o rd er.

     "Required field


        Phone number (10 d igit s ) • - - - - - - - ~

        (646) 4 36 -9839                                                m want toI         receive tex t updates about t he status of my order.

     M essage and data rates rT'ay ap~ly_ N1,.rT'ber and frequency o"' autorT'ated texts may "a<y oased on yo1,.• order. Consen.t 'lot requi•ed fo• purchase. By
     cort •iuing. you agree to our Mobile A fert Terms.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 298 of
                                       368


DOE Number: 336
Seller Name: JT Home Store
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 299 of
                 •.. .
                                            368
                                                                                Search everything at Walmart online and in store



Q How do you want your items? v I 0                                    c:.:J Palm Springs Supercenter                     Deals     Flash Picks         Mother's Day       Grocery & essentials       Fashion     Home      Tech    Auto


     Beauty:       Skin Care     Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                             Q

                                                                                                                                                                 Massage tools & equipment,Massage
                                                                                                                                                                 supplies professional,Massage tools &
                                                                                                                                                                 equipment,Silicone Electric Facial
                                                                                                                                                                 Cleanser Face Massage Brush Skin
                                                                                                                                                                 Cleansing Brush Electric Face Cleansing
                                                                                                                                                                 Skin Deep Washing

                                                                                                                                                                 $12.52
                                                                                                                                                                 Price when purchased online (D



                                                                                                                                                                 (     Buy now       )   E#IIH•+
                                                                                                                                                                 Actual Color: Blue
                                                                                          M
                                                                                                                                                                        Blue                 Pink
                                                                                                                                                                       $12.52               $12.52
                                                                                                       •
                                                                               I                                                                                 l;b   Free shipping, arrives by Wed. May 10 to


                                                                                                                                                                       Mor e ogtions

                                                                                                                                                                 fl    Sold and shipped by JT Home Store

              0
                                                                             Roll ove r im age t o zoom in
                                                                                                                                                                       *****        1 seller review

                                                                                          ®                                                                            V iew seller information

                                                                                                                                                                Q      Free 30-day retur ns Details
     About t his item

                                                                                                                                                                 Q     Add to list

         Prod uc t d et ails


         Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing                                     Protect your purchase
         Features:                                                                                                                                               Get the best value on product protection including fast
         Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through                             repairs or replacements.
         the surface layer of the skin to the deep layer, deep cleansing pores and impurities, fir ming and whitening skin
         Three Areas Cleaning: Thr ee kinds of t hick and t hin brush head design, T-area, nose, c heek, etc. for cleaning.Massage silicone
                                                                                                                                                                 @ Add Walmart Prot ection Plan by Allst at e Details
         conrrugation relieve facial fatigue
         9-gear vibr ation intensity: one key to adjust the vibr ation intensit y, soft to strong, sensit ive to oily skin, and take care of all skin
                                                                                                                                                                       0     2-Year plan - $2.00

         types
         R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the problem of large blackhead pores
                                                                                                                                                                       0 3-Year plan - $3.00
         Full Body Waterproof Design: Hidden charging port design, safe to use even in the bath
         Product Description:                                                                                                                                          @ I don't need protection at this time
         Packing list:
         1x Face Massage Brush

          •    Silicone Electric Facial C leanser Face Massage Brush Skin Cleansing Brush                                                                                                          Sponsored
          •    Electric Face Cleansing Skin Deep Washing Features: Skin Penetra
          •    tion Sound Wav e, Dual Pulsation Technology: A pproximately 6,000 sonic pulses per minute are t
                                                                                                                                                                                                   $19.99
          •    ransmit ted through t he surface layer of the skin to the deep layer, deep cleansing po                                                                                             Rockville Jawline Exerciser
          •    res and impurit ies, firming and whitening skin Three A reas Cleaning: Three kinds oft                                                                                              Coffee Chocolate - Improve ...

         <D We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what y ou see here, and we
               have not verified it . See our disclaimer




         Specificat io ns


         Assembled Product Weight
         0.28 lb

         Assembled Prod uct Dimension s ( L x W x H )
         5.07 x 3.12 x 1.95 Inches



     0        &R:ort incorrect R:roduct information
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 300 of
<                                         368
                                         Checkout




                                                                                                                                                           •
                                                                                                                                                                    Subtotal (1 it em)        $12.52

      lfll:. 1. Free shipping, arrives by Wed, May 10                                                                                                               Shipping                    Free

                                                                                                                                                                    Estimated taxes           $0.88


                                                                                                                                                             Edit   Estimated total          $13.40
                                 Palm Beach, FL 33480

                                                                                                                                                                    H av e a p romo cod e?        V


     Delivery instructions                                                                                                                                  Add



     Add gate codes or other u seful information.




     Items details                                                                                                                                 Hide det ails

     A rrives by Wed, May 10 (1 it em )


     Sold and shipped by JT Home Store

                            Massage tools & equipment.Massage supplies professional.Massage                                       Qty 1                  $12.52
                            t ools & equipment,Silicone Electr ic Facial C leanser Face M assage...
                           Actual Colo r: Blue




     C'.9 2. Payment method
                                                                                                                                                           •
     Pay with card



     Leam more .about !Nr.ment method!. we accept



     • Req uired field




     I E:I      Card number •




                                                                                                                                         Eiii:h♦
        Other ways to pay


        Pay with PayPal                                                            Pay in monthly installme nts with Af firm

        LI Remember my PayPal account details                                      Items in y our cart are not elig:ble for Af firm.

        (                            PayPa/                                  )                                    aff(n;;\




      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

     ·Required field


        Phone number (10dlgits)· - - - - - - - ~

                                                                        fl I want to receive text updates about the status of my order.
     M essage and data rates rray ap:> y. N1..rrber and "requency o.,, autorrate::I texts may vary oased on yo1.,• order. Consent 'lot requl•ed fa• purchase. By
     cor:: 'lUing. you agr ee to our M obile A fert Terms
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 301 of
                 •.. .
                                            368
                                                                                Search everything at Walmart online and in store



Q How do you want your items? v I 0                                     ~ C oconut Creek Supercenter                      Deals     Flash Picks         Mother's Day     Grocery & essentials         Fashion         Home   Tech   Auto


     Beauty:       Skin Care     Face Cleansers     Facial Cleansing Brushes




                                                                                                                                                                                                                             Q

                                                                                                                                                                 Professional massage
                                                                                                                                                                 equipment,Massage stones set with
                                                                                                                                                                 warmer kit ,Massage kit ,Silicone Electric
                                                                                                                                                                 Facial Cleanser Face Massage Brush Skin
                                                                                                                                                                 Cleansing Brush Electric Face Cleansing
                                                                                                                                                                 Skin Deep Washing Pink

                                                                                                                                                                 $12.52
                                                                                                                                                                 Price when purchased online (D



                                                                                                                                                                 (     Buy now      )   E#IIH•+
                                                                                                                                                                 Actual Color: Pink
                                                                                          M
                                                                                                                                                                        Blue                 Pink
                                                                                                                                                                       $12.52                $12.52
                                                                                                       •
                                                                               I                                                                                 l;b   Free shipping, arrives by Wed. May 10 to


                                                                                                                                                                       Mor e ogtions

                                                                                                                                                                 fl    Sold and shipped by JT Home Store

              0
                                                                             Ro ll ove r im age t o zoom in
                                                                                                                                                                       *****       1 seller review

                                                                                          ®                                                                            View seller information

                                                                                                                                                                 Q     Addto list         i'!ll   Add to regist c;
     About this item

                                                                                                                                                                 Protect your purchase
         Prod uct d etails                                                                                                                          A            Get the best value on product protection including fast
                                                                                                                                                                 repair s or replacements.
         Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing
         Features:                                                                                                                                               @     Add Walmart Prot ection Plan by Allstate Details
         Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through
         the surface layer of the skin t o the deep layer, deep cleansing pores and impurit ies, fir ming and whitening skin                                           0 2-Year plan - $2.00
         Three Areas Cleaning: Thr ee kinds of thick and thin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone
         conrrugation relieve facial fatigue                                                                                                                           0 3-Year plan - $3.00
         9-gear vibr ation intensity: one key to adjust the vibr ation intensit y, soft to strong, sensit ive to oily skin, and take care of all skin
         types
         R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the pr oblem of lar ge blackhead pores                                      @ I don't need prot ection at this time
         Full Body Waterproof Design: Hidden charging port design, safe to use even in the bath
         Product Description:
         Packing list:                                                                                                                                                                            Sponsored
         1x Face Massage Brush
                                                                                                                                                                                                  $24.99
          •    Silicone Electr ic Facial C leanser Face Massage Brush Skin Cleansing Brush                                                                                                        SLF Facial Cleansing Massager,
          •    Electr ic Face Cleansing Skin Deep Washing Features: Skin Penetra                                                                                                                  Rechargeable Face and Skin ...
          •    tion Sound Wave, Dual Pulsation Technology: A pproximately 6,000 sonic pulses per minute are t
          •    ransmit ted through the surface layer of the skin to t he deep layer, deep cleansing po                                                                                              3+ day shipping
          •    res and impurit ies, firming and whitening skin Three A reas Cleaning: Three kinds of t

         <D We aim to show you accurate product information. M anufacturers, suppliers and others provide what you see here, and we
               have not verified it . See our disclaimer




         Specific at io ns


         Assembled Product Weight
         0.28 lb

         Assembled Product Dimensions ( L x W x H )
         5.07 x 3.12 x 1.95 Inches



     0        &R:ort incorrect R:roduct informat ion
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 302 of
<                                         368
                                         Checkout




                                                                                                                                                              •
                                                                                                                                                                      Subtotal (1 it em )       $12.52

      lfll:. 1. Free shipping, arrives by Wed, May 10                                                                                                                 Shipping                    Free

                                                                                                                                                                      Estimated taxes           $0.88



                                                                                                                                                               Edit   Estimated total          $13.40
                                    Boca Raton, FL 33433

                                                                                                                                                                      H av e a p romo cod e?        V


     Delivery instructions                                                                                                                                     Add



     Add gate codes or other u seful information.




     Items details                                                                                                                                    Hide det ails

     A rrives by Wed, May 10 (1 it em )


     Sold and shipped by JT Home Sto re

                            Professio nal m assage equ ipment.Massage stone s set w i t h warmer                                    Qty l                   $12.52
                            kit.Massage kit ,Silicone Electric Facial C leanser Face Massage Bru ...

            w               Actual Colo r: Pink




     C'.9 2. Payment method
                                                                                                                                                             •
     Pay with card



     Leam more .about !Nr.ment method!. we accept



     • Req uired field




     I E:I      Card number•




                                                                                                                                            Eiii:h♦
        Other ways to pay


        Pay with PayPal                                                              Pay in monthly installme nt s with Af firm

        LI Remember my PayPal account details                                        Items in y our cart are not elig:ble for Af fir m.

        (                             PayPa/                                  )                                     aff(n;;\




      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

     ·Required field


        Phone number (10dlgits)· - - - - - - - ~

        (646) 4 36 -9839                                                 fl I want to receive tex t updates abou t t h e statu s of my order.
     M essage and data rat es rray ap:> y. N1..rrber and "requency o.,, autorrate::I texts may vary oased on yo1.,• order. Consent 'lot requl•ed fa .. purchase. By
     c or:: 'lUing. you agree to our M obile A fert Ter m s
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 303 of
                                       368


DOE Number: 337
Seller Name: Kikuu
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 304 of
         ._l,  DD
  a mart , .,. ca Departments 88 Services
 WI
                                          • 368                         O My Items 8 Account
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G, How do you want your items? v I 0                                   Q M1am1Supercenter                                                          Deals   Easter     Grocery & essentials         Home          Tech     Fashion    Auto   Walmart+


               Beauty:        Skin Care   Face Cleansers       Facial O eaM ing Brushes




                                                                                                                                                                                                                               Q


                                                                                                                                                               Sonic Facial Cleansing Brush - Soft
                                                                                                                                                               Silicone Water-Proof Face Scrubber
                                                                                                                                                               Exfoliator Brush For Deep Cleansing
                                                                                                                                                               Gent le Exfoliating And Massaging

                                                                                                                                                               $56.99
                                                                                                                                                               Price when purcha$.ed onlirw   ©

                                                                                                                                                               (     Buy now        :,   EMF♦
                                                                                                                                                               Size: NoSize

                                                                                                                                                                     NoSize
                                                                                                                                                                     $56,99

                                                                                                                                                               Actual Color. light Pink

                                                                                                                                                                    Light Pink



                                                                                                                                                               ~      Free shipping, arrives by Mon, Mar 20 to
                                                                                                                                                                     2665 SW 37t h Avenue
                                                                                                                                                                     More ORt ions

                        0                                                                                                                                      e Soldand shipped by Kikuu
                                                                                                                                                                     View seller information

                                                                                                                                                               6)     Free 30-day returns Details
                Popular items in this category
               Bestselling items that customers love
                                                                                                                                                               Q     Add t o list        ffl'.l   Add t o regfil._
                                                                                                                                                                                                                 ry



                                             Q                                   Q
                                                                                                                                 0                             Protect you r p u rchase                                         A

                                                                                                                                 0                             Get the best value on product protection including fast
                                                                                                                                                               repairs or replacements.

                                                                                                                                 0


                                                                                                                         -
                                                                                                                                                               0     Add Walmart Prot ect ion Plan by Allstate Det ails

                                                                                                                                                                     Q 2-Year plan - $6.00
                                                                                                                                                                     Q 3-Year plan - $100
                                                                                                                          Spof!sored

                $7,98                                $13.12                               Now $5.66 $HS                   $24.99                                     @ I don·t need prot ection at t his time
                Clio Facial C leansing               True Glow by Conair                  3 Pac k Silicone Face           Facial Cleansing Brush,
                Syst em, Pink, Wat er                Facial Cleansing Brush               Scrubbers Exfoliator            Electric Face Brush
                Resistant, Facial...                 Batter y operat ed, 3 ...            Brush- Facial C leansin ...     Scrubber...                                                             SponSOt""ed

                ***** t12                            ••••tr m                             ***tI* 10                       ***** 9                                                                 $44.95
                    Pickup   Delive ry                Pickup   Delive ry                  3 - day sh·pping                 2-d ay shippifl9                                                       MyboClean Daily Eyelid
                                                                                                                                                                                                  Cleansing Brush for Sensitive...
                1-day shippin<J                       1-day shippin9



               About this item


                     Prod uct det ails


                     Item id: BH01n1Copy

                     Product Attributes: Alcohol Free

                     Sonic Facial Cleansing Brush - Soft Sil icone Wat er-Proof Face Scrubber Exfoliator Brush For Deep Cleansing Gent le Exfoliat ing
                     And Massaging

                     © We aim to show you accurate product information. Manufacturers, suppliers and ot hers provide what you see here, and we
                         have not verified it See our disclaimer



                     Specificat ions

                     Brand
                     Seven
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 305 of
(                                         368
                                         Checkout




                                                                                                                                                                           •
                                                                                                                                                                                      Sub total (1 item)                              $56.99

                  a              1. Free shipping, arrives by Mon, Mar 20                                                                                                             Shipping                                            Free

                                                                                                                                                                                      Est imated taxes                                  $3.99


                                                                                                                                                                             Edit     Estimated total                                $60.98
                                                 Miami, FL 33133

                                                                                                                                                                                      Have a promo code?                                    V


               Delivery instruct ions                                                                                                                                       Add


               Add gate codes or other useful information.




               Items details
               Ar rives by Mon, Mar 20 (1 item)


               Sold and shipped by Kikuu

                                      Sonic Facial Cleansing Brush - Soft Silicone Water-Proof Face                                              Qty1                   $S6.99
                                      Scrubber Exfoliator Brush Fo r Deep Cleansing Gent le Exfoliating...
                                      Size: NoSize, Actual Color: Light Pink




                  LJ 2. Payment method

                  Pay with card



               Le-am more about ~ }m@nt met hods we accept.



               • Required field



              I El        Card number •




                                                                                                                                                        Eii:1119
                   Ot her ways to pay


                   Pay with PayPal                                                               Pay in mont hly installme nt s wit h Affirm

                   ■ Remember my PayPal account det ai ls                                       It ems in your cart are not eligible for Affirm.

                   (                             PayPal                                   )                                      affQ
                       - - - - - - - - - - - - - - --




                  0 3. Mobile contact
               We'll cont act you in case anything comes up wit h your order.

               ·Required field

              [    Pho~ oombec (10 dig;t,)'

                                                                                     ■ I want t o receive text updat es about t h e st atus of my ocder.

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               con: nu·ng. you agree to our Mobile Alert Terms.




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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 306 of
                                       368


DOE Number: 338
Seller Name: kunminghuireng Co. ltd
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 307 of
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G, How do you want your items? v I 0                                     Q M1am1Supercenter                                                                Deals   Easter    Grocery & essentials            Home        Tech      Fashion   Auto   Walmart+


               Beauty:      Skin Care     Face Cleansers      Facial O eaM ing Brushes




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                                                                                                                                                                       Mini Electric Facial Cleansing Brush




                        '                                                                                                                                              Waterproof Silicone Sonic Face Brush
                                                                                                                                                                       Handheld Cleaning Device Rechargeable
                                                                                                                                                                       Pore Cleaner, Rose Red

                                                                                                                                                                       $19.98
                                                                                                                                                                       Pric e whe n purcha$.ed onlirw   ©

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                                                                                                                                                                            Rose Red
                                                                                                                                                                             $19,98




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                Check out these related products



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                $23.77                                $24.99                              $27.34                              $25.99
                Perye rana                            DTOWER                              Electric Facial                     Morease 4 IN 1 Facial
                                                                                                                                                                                                            Sponsored
                360°Rotating Elect ric                360°Rotat ing Electric              Cleansing Brush                     Cleansing Brush Sonic
                Facial Cleansing Brus...              Facial Cleansing Brus...            Automat ic Spin Face...             V ibration M ini Face...                                                      $19.94
                                                                                                                                                                                                            True Glow byConair Batte ry
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               About this item


                    Prod uct det ails


                    Features:

                    3 Int ensity Levels: 3 intensity adjustment , comfortable mode for facial massage, and facial cleaning mode for intensive and
                    thorough face cleaning.

                    3 Zones Brush Bristles: The front side wit h gentle and fine brush brist le for soft cleaning, back side with t h ick bristle for
                    inten sive cleaning, side brist le for nose wings cleaning.

                    Package Included:

                    1 x Facial Cleaner

                    1 x USB Cable

                    Mini Electric Facial Cleansing Brush Wa t erproof Silicone Sonic Face Brush Hand held Clea ning Device Re chargeable Pore Cle aner,
                    Rose Re d

                    © We aim to show you accurate product information. Manufa cturers, suppliers a nd ot hers provide what you see here , and we
                        have not ve rified it. See our disclaimer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 308 of
(                                         368
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                                                                                                                                                                            •
                                                                                                                                                                                       Sub total (1 item)                               $19.98
                  a              1. Free shipping, arrives by Tue, Mar 21                                                                                                              Shipping                                            Free

                                                                                                                                                                                       Est imated taxes                                  $1.40


                                                                                                                                                                              Edit     Estimated total                                 $21.38
                                                 Miami, FL 33133

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               Delivery instructions                                                                                                                                         Add


               Add gate codes or other useful informat ion.




               Items details
               Ar rives by Tue, Mar 21 (1 item)


              Sold and shipped by kunminghuireng Co. ltd




                       1..
                                       Mini Elect r ic Facial Cleansing Brush Waterproof Silicone Sonic Face                                      Qty1                    $19.98
                                       Brush Handhe ld Clea ning Device Rechargeable Pore C leaner, Ro s...
                                      Actual Color: Rose Red




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                  Pay with card



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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 309 of
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DOE Number: 339
Seller Name: Li HB Store
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 310 of
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Q How do you want your items?         v    I0                         Q M1am1Supercenter                                      Aash Picks      Mother's Day       Grocery & essentials      Fashion         Home        Tech   Auto      Regist,y   Walmart+


                Beauty:        Skin Care    Face Cleansers    Facial O eaMing Brushes




                                                                                                                                                                                                                                        Q

                                                                                                                                                                       Silicone Electric Facial Cleanser Face
                                                                                                                                                                        Massage Brush Skin Cleansing Brush
                                                                                                                                                                        Electric Face Cleansing Skin Deep
                                                                                                                                                                       Washing Healt h and Beauty Cleansing
                                                                                                                                                                        Instrument Pink

                                                                                                                                                                        $13.17
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                                                                                                                                                                       Actual Color. Pink




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                About this it em
                                                                                                                                                                                                           Sponsored
                                                                                                                                                                                                           $13.99
                    P roduct det ails                                                                                                                        A                                             Face Wipes, Retinal Facial
                                                                                                                                                                                                           Clea nsing and Gentle Make U...
                    Silicone Electric Facial Cleanser Face .Y.assage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing
                    Features:                                                                                                                                                                              ***** 2
                    Skin Penetration Sound Wave, Dual Pulsat ion Technology: Approximately 6,000 sonic pulses per minute are transmitted through                                                           2-day shipping
                    the surface layer of the skin to the deep layer, deep cleansing pores and impurities, firming and whitening skin
                    Three Areas Cleaning: Three kinds of t hick and t hin brush head design, T-area, nose, c heek, etc. for deaning.Massage silicone
                    conrrugat ion relieve facial fat igue
                    9-gear vibration intensity: one key to adjust the vibration intensity, soft to strong, se nsitive to oily skin, and t ake care of all skin
                    types
                    R Angle Design, Oean And No Dead Ends: Solve t he hard-to-dean areas and improve the problem of large blackhead pores
                    Full Body Waterproof Design: Hidden charging port design, safe to use even in t he bat h
                    Product Description:
                    Packing list:
                    1x Face Massage Brush

                         Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Clean sing Sk
                         in Deep Washing Feat ures: Skin Penet ration Sound Wave , Dual Pulsation Techno logy: Approximat e ly 6,0
                         00 sonic pulses pe r minute are transmitted t hrough the suiface layer of the skin to t he deep layer,
                         dee p cleansing pores and impurit ies., firming and whitening skin Three Areas O eaning: Three kinds o
                         f t hic k a nd t hin brush head design, T-area, nose, cheek, etc. for c leaning./Y\assage silicone conrrugat

                    Q) We aim to show you accurate product information. Manufacture rs, supplie rs and others provide what you see here , and we
                         have not verified it. 5ee our disclaimer



                    Specifications

                    Features
                    personal care product s;beauty & personal care;best skin care products for wome n

                    Assembled Product Weight
                    0.28 1b

                    Assembled Product Dimensions (L x W x H)
                    5.07 x 3.12 x 1.95 Inches



                    Warnings

                    8 WARNING - California Proposit ion 6S
                    None



                0       fkP-Qrt incorrect ~oduct information
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 311 of
(                                         368
                                         Checkout




                                                                                                                                                             •
                                                                                                                                                                          Subtotal (1 item)                                $13.17

                  a              1. Shipping, arrives by Tue, May 9                                                                                                       Seller shipping                                  $5.00


                                                                                                                                                                          Estimated taxes                                   $1.27

                                                                                                                                                               Edit
                                              Miami, FL 33133                                                                                                             Estimated total                                $19.44


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               Delive ry inst ructions                                                                                                                        Add



               Add gate codes or other useful information.




               It e ms d e t a ils                                                                                                                    Hide d etails

               Arr ives by Tue, May 9 (1 item)


              Sold and shipped by Li HB Store
              $5.00 Freight shipping

                                     Silicone Electric Facial C leanser Face M assage Br ush Skin C leansing                         Q t y1                 $13.17
                                     Brush Electr ic Face Cleansing Skin Deep Washing H ealt h and ...
                                     Actual Color: Pink
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                  LJ 2. Payment method

                  Pay with card



               learn more about P-jyment methods we aoecept.



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                   Other ways to pay


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      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 312 of
                 •.. .
                                            368
                                                                             Search everything at Walmart online and in store



Q How do you want your items? v I 0                                     c:.:J Miami Supercenter         Deals     Flash Picks     Mother's Day       Grocery & essentials           Fashion         Home   Tech   Auto   Walmart+


     Beauty:       Skin Care   Face Cleansers    Facial Cleansing Brushes




                                                                                                                                                                                                                         Q

                                                                                                                                                           Silicone Electric Facial Cleanser Face
                                                                                                                                                           Massage Brush Skin Cleansing Brush
                                                                                                                                                           Electric Face Cleansing Skin Deep
                                                                                                                                                           Washing Health and Beauty Cleansing
                                                                                                                                                           Instrument Blue

                                                                                                                                                           $15.19
                                                                                                                                                           Pr ic e when purcha5ed online      (D




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                                                                                                                                                           (      Buy now       )    @dfi..l\•8
               ,,                                                                                                                                          Actual Color: Blue


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                                                                                                                                                                   Blue
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     About this item
                                                                                                                                                           Protect your purchase
                                                                                                                                                           Get the best value on product protection including fas.t
       Prod uct d etails


       Silicone Electric Facial Cleanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Skin Deep Washing
       Features:
       Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,000 sonic pulses per minute are transmitted through
       the surface layer of the skin to the deep layer, deep cleansing pores and impurities, fir ming and whitening skin
       Three Areas Cleaning: Three kinds of t hick and t hin brush head design, T-area, nose, c heek, etc. for cleaning.Massage silicone
       conrrugation relieve facial fatigue
       9-gear vibration intensity: one key to adjust the vibr ation intensit y, soft to strong, sensit ive to oily skin, and take care of all skin
       types
       R Angle Design, Clean And No Dead Ends: Solve the hard-to-clean areas and improve the problem of large blackhead pores
       Full Body Waterproof Design: Hidden charging port design, safe to use even in the bath
       Product Description:
       Packing list:
       1x Face Massage Brush

        •   Silicone Electr ic Facial C leanser Face Massage Brush Skin Cleansing Brush Electric Face Cleansing Sk
        •   in Deep Washing Features: Skin Penetration Sound Wave, Dual Pulsation Technology: Approximately 6,0
        •   00 sonic pulses per minut e are transmitted through t he surface layer of t he skin to the deep layer,
        •   deep cleansing pores and impurit ies, firming and whitening skin Thr ee Areas Clea ning: Three kinds o
        •   fthick and t hin brush head design, T-area, nose, cheek, etc. for cleaning.Massage silicone conrrugat

       <D We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what y ou see here, and we
            have not verified it . See our disclaimer




       Specific at io ns


       Features
       personal care products;beauty & personal care;best skin care prod uct s for women

       Assembled Product Weight
       0.28 lb

       Assembled Product Dimensions ( L x W x H )
       5.07 x 3.12 x 1.95 Inches
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 313 of
<                                         368
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      lfll:. 1. Shipping, arrives by Tue, May 16                                                                                                                           Seller shipping         $5.00


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                                       M iami, FL 33133


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     Delivery instructions                                                                                                                                          Add


     Add gate codes or other u seful information.




     Items details                                                                                                                                        Hide det ails

     A rrives by Tue, May 16 (1 it em)


     Sold and shipped by Li HB Store
     $5.00 Freight shipping

                             Silicone Electric Facial C leanser Face Massage Brush Skin C leansing                                      Qty 1                    $15.19
                             Brush Electric Face C leansing Skin Deep Washing Hea lth and ...
                             Actual Color: Blue




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        Other ways to pay


        Pay with PayPal                                                                Pay in monthly installme nt s with Affirm

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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 314 of
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Q How do you want your items?       v   I0                            Q M1am1Supercenter                                      Deals         Mother's Day   Grocery & essentials           Fashion     Home          Tech   Auto     Regist,y   Walmart+


                Beauty:    Skin Care     Face Cleansers     Facial O eaM ing Brushes




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                                                                                                                                                                 Silicone Electric Facial Cleanser Face
                                                                                                                                                                 Massage Brush Skin Cleansing Brush
                                                                                                                                                                 Electric Face Cleansing Skin Deep
                                                                                                                                                                 Washing Cleansing Inst rument Pink

                                                                                                                                                                  $7.75
                                                                                                                                                                 Pric e whe n purchas.ed on.line (D



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                                                                                             0                                                                   (       Buy now


                                                                                                                                                                 Actual Color. Pink

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                                                                                                                                                                 8        Free 30-day returns Details

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                                             Q                                 Q                                                                      Q                  0            \               Electric Face Brush Scrubber ...

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                                                                                                                                                                         0            ~\              2-day shipping

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                From $10.37                       $10.19 +$5.00 sh;pp;ng               $9.55                              $9.71
                +$3.00 shipping
                                                  Silicone Electric Facial             Silicone Facial                    Mini Electr ic Cleansing
                Silicone Electric Facial          Clea nser Face Massage               Cleaning Br ush Skin               Brush Silicone Sonic
                Cleanser Face Massage              Brush Skin C leansing...            Care Wash Cleansing...             Electric Cleansing Mi...
                Brush Skin Cleansing...
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                Popular items in this category
                Best selling items that customers love


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                $7.98                             $13.12                               $24.99                             $29.98
                Clio Facial C leansing            True Glow by Conair                  Facial Cl eansing Brush,           Jessica Simpson
                System, Pink, Water                Facial Cleansing Brush              Electric Face Brush                Recharg eable Sonic
                Resist ant, Facial...              Batt ery Operated, 3...             Scrubbe r...                       Facial Brush, 2 Br ush...

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    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 315 of
(                                         368
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                                                                                                                                                                         Subtotal (1 item)                                $7.75
                  a              1. Shipping, arrives by Mon, May 1                                                                                                      Seller shipping                                  $3.00


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                                              Miami, FL 33133                                                                                                            Estimated total                                 $11.SO


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               Delive ry instructions                                                                                                                         Add


               Add gate codes or other useful information.




               It e ms details                                                                                                                       Hide d etails

               Arr ives by Mon, May 1 (1 it em)


              Sold and shipped by Li HB Store
              $3.00 Freight shipping

                                     Silicone Electric Facial C leanser Face Massage Br ush Skin C leansing                          Qty1                   $7.7S
                                     Brush Electric Face Cleansing Skin Deep Washing C leansing ...
                                    Actual Color: Pink




                  LJ 2. Payment method


                  Pay with card



               learn more about P-jyment met hods we aoecept.



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                   Other ways to pay


                   Pay with PayPal                                                      Pay in monthly installment s wit h Affirm

                   II Remember my PayPal account details                                Items in your cart are not eligible for Affirm.

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               We'll cont act y ou in case anything comes up wit h y our or der.

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                                       368


DOE Number: 340
Seller Name: LonRon Co.Ltd
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 317 of
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Q How do you want your items?       v   I0                          Q M1am1Supercenter                                       Deals     Mother's Day       Grocery &essentials        Fashion       Home   Tech     Auto     Regist,y   Walmart+


                Beauty:     Skin Care      Face Cleansers    Facial O eaMing Brushes




                                                                                                                                                                                                                            Q
                                                                                                                                                                LTESDTRAW




                      I                                                                                                                                         Ltesdtraw Men Silicone Face Cleansing
                                                                                                                                                                Brush 5 Mode Electric Facial Cleanser
                                                                                                                                                                (Black)

                                                                                                                                                                $14.38
                                                                                                                                                                Price when purchas.ed onlin.e (D



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                                                                                                                                                                Size: One Size

                                                                                                                                                                      One Size
                                                                                                                                                                       $14 .38

                                                                                                                                                                Actual Color. Black

                                                                                                                                                                       Black



                                                                                                                                                                O>     Free shipping, arrives by Thu, Apr 27 to
                                                                                                                                                                       2665 SW 37t h Avenue
                                                                                                                                                                       More OP-l ions

                                                                                   Ro ll over image t o zoom in
                                                                                                                                                                e Soldand shipped by LonRon Co.Ltd
                                                                                                                                                                       ***i:t* 10 selle r reviews
                                                                                               ®                                                                       View seller information

                                                                                                                                                                E) Free 30~day returns Details
                About this it e m

                                                                                                                                                                Q      Add to list

                    Product det ails                                                                                                                  A

                    Men Silicone Face Oeansing Brush S Modes Vibration Electric Facial Cleanser Cleansing Skin Deep Washing Massage Brush                       Pr otect y o ur p u r c hase                              A
                    Feature:                                                                                                                                    Get the b est va lue on product protection including fast
                    Wat erproof design.                                                                                                                         re pairs or replaceme nts.
                    5 Modes Vibration.
                                                                                                                                                                (;I    Add Walmart Prot ect ion Plan by Allstate Det ails
                    Skin friendly silicone.
                    One button swit ch.

                    Specific ation:
                    Matet"ial: high quality silicone
                    Size: 130 * 70 * 30mm/5.1t*2.75*1.18""
                    Color. Navy Blue, Army Green, Black
                    Mode:
                    Deep mode: 4-5 mode, strong acoust ic pulse, deep cleaning
                    Cleaning mode: 2-3 mode, daily cleaning control, facial cleaning and skin care
                    Soft mode: 1 mode, suitable for sensitive muscles and first t ime users

                    Note:
                    Due to the different monitor and light effect, the actual color of the it em might be slightly d ifferent from the color showed on
                    the pictures. Thank you!
                    Please allow 1-2cm measuring deviation due to manual measurement.
                    Included: 1 X Electric Facial Oeanser
                    1X USB Cable
                    1 X User Manual

                        Wat e rproof d esign
                        Skin frie ndly silic one
                        5 Modes Vibration
                        One button swit ch

                    Q) We aim to show you accurate product infonnation. Manufacture rs, suppliers a nd ot hers provide what you see here , and we
                        have not ve rified it. See our disclaimer



                    Specificat ions

                    Brand
                    LTESDTRAW

                    M anufacturer Part Number
                    4 rc8nf4gq4jx3ar4 D03

                    Assembled Product Weight
                    1899

                    Ma nufacturer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 318 of
(                                         368
                                         Checkout




                                                                                                                                                                         •
                                                                                                                                                                                   Subtotal (1 item)                                  $14.38

                   a               1. Free shipping, arrives by Thu, Apr 27                                                                                                        Shipping                                              Free

                                                                                                                                                                                   Est imated taxes                                     $1.01


                                                                                                                                                                          Edit     Estimated total                                   $15.39
                                                 Miami, FL 33133

                                                                                                                                                                                   Have a promo code?                                       V


               Delivery instructions                                                                                                                                      Ad d


               Add gate codes or other useful information.




               Items details                                                                                                                                     Hide d etails

               Arrives by Thu, Apr 27 (1 item)


               Sold and shipped by LonAon Co.Ltd




                    t
                                      ltesdtr aw Men Silicone Fac e Cleansing Brush 5 Mode Electric Facial                                     Qty1                   $14.38
                                      Cleanser (Black)
                                      Size: One size, Actual Color: Black




               LJ 2. Payment method
                                                                                                                                                                        •
                   Pay with card



               learn more about J;!ayme n.t m e t hods w e a<::cept.



               • Require d field



               I El       Card number •




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                    Other ways to pay


                    Pay with PayPal                                                            Pay in mont hly installme nt s wit h Affirm

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               CQn: ruing, you agree to our Mobile A lert Terms




      © 2023 W;ilmart. All Rights Reserved.                                                          GrYe feedback          CA Privacy Rig hts          CZD Your Privacy Choices    Request My Pe rsonal Informat ion   California Supply Cha ins Act
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 319 of
                                       368


DOE Number: 341
Seller Name: LotusHaze
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 320 of
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  a mart , .,. ca Departments 88 Services
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               Beauty:      Skin Care     Face Cleansers      Facial O eaM ing Brushes




                                                                                                                                                                                                                                       Q



                        I                                                                                                                                               Soft Silicone Cleansing Brush - Gentle
                                                                                                                                                                        Sonic Cleansing Brush - Waterproof
                                                                                                                                                                        Cleansing Brush Rechargeable Electric




                        •
                                                                                                                                                                        Cleansing Brush with Soft and
                                                                                                                                                                        Comfortable Bristles

                                                                                                                                                                        $20.99

                    "''I
                                                                                                                                                                        Price whe n purchased onlin.e (D


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                                                                                                                                                                        Actual Color. Ye llow

                                                                                                                                                                               Red                 Yellow
                                                                                                                                                                              $20.99               $20.99




                                                                                                                                                                        e Soldand shipped by LotusHaze
                                                                                                                                                                              *fr'CI** 1 seller review
                                                                                                                                                                              View sel!er information
                                                                                       Ro ll over image t o zoom in                                                     E)    Free 30-day returns Details

                                                                                                     ®
                                                                                                                                                                        Q     Add t o list
               About this it em


                    Product det ails
                                                                                                                                                                        Pr otect you r purchase
                                                                                                                                                                        Get the best value on product protection including fast
                    1. Soft silicone bristles containing the active ingredient of bamboo charcoal. It brings stronger cleaning effect and stronger
                                                                                                                                                                        repairs or replacements.
                    antibacterial ability than ordinary high-density brushes, and has the super adsorption capacity of bamboo charcoal.
                    2. Abundant fine bristles., suitable for general facial cleaning, high-densit y bristles on the top, precise cleaning of hard-to-reach              16)   Add Walmart Prot ection Plan by Allstate Det ails
                    areas, massage function on the wavy area on t he back. special negative ion sensing function of the metal coating on the bottom
                    to promote nutrition when applying serum or mask Absorbed area.                                                                                           0 2-Year plan - $3.00
                    3. High frequency vibration. For different skin sensitivities, it has a smart memory funct ion - automatically remembeJ"S the
                    frequency of your last use. Unique noise reduction design. In addition, compared to rotation, vibration is less damaging to the                           0 3-Year plan - $3.50
                    skin while promoting better skin movement.
                    4 . Real IPX7 full body watet"proof, no cutout, safer to use and easiet" to clean.
                    5. Small and portable. Palm-sized, easy to carry in a tote, gym or travel bag. The perfect gift for your wife, girlfriend, sister or
                                                                                                                                                                              @ I don·t need protection at this time
                    female friend at a reasonable price, especially when it is well packaged.

                        1. Soft silicone bristles containing t he active ingredie nt of bamboo c ha rcoal. It brings stronger deaning effect a nd strongef'
                                                                                                                                                                                                           Sponsored
                        ant ibacterial ability t han o rdinary hig h-densrty brushes, and has t he super adsorpt ion capacity of bamboo cha rcoal.
                        2. Abundant fine bristles, suitable for gene ral facial d eaning, high-de nsity bristles on the top, precise cleaning of hard-to-                                                  $44,95
                        reach areas, massage fu nction o n the wavy area on t he back, special negative io n sensing function ofthe me tal coating on t he
                                                                                                                                                                                                           MyboClean Dally Eyelid
                        bot t om to promot e nutrit ion when applying serum or mask Absorbed area.
                        3. High frequency vibration. For different skin sensitivities, it has a smart memory function - automat ically remembers the                                                       Cleansing Brush for Sensitive...
                        freq uency of your last use. Unique noise reduction design. In addit ion, compared to rotat ion, vibration is less damaging to t he
                        skin while promoting better skin move ment                                                                                                                                         3+ day shippin<J
                        4 , Real IPX7 full body waterproof, no cutout, safer to use and easier to clean.
                        5. Small and portable. Palm-sized, easy to carry in a tote, gym or t rave l bag. The perfect gift for your wife, girlfrie nd, sister o r
                        fe male frie nd at a reasonable price, especially whe n it is we ll pac kaged.
                        I.DURABLE & LONG-LASTING lv\ATERIAL - Made of soft and durable P E mat e rial, t his upgraded ve rsion clear garment bags
                        for storage a re washable, lightweight, breathable and built to last Dustproof a nd wa t er-resistant plast ic garment bags protect
                        your delicate clothes a ga inst dampness, dust, pe t ha ir, a nd keep t he m fresh and wrinkle free!
                        2.TRANSPARENT DESIGN - The clear design of small garment bags fo r hanging clot hes eliminates the guess work of trying to
                        figure out what's inside! It perfect for storing small shirt, faux fur coat, T-shirts, winte r sweater, short jacket, uniforms, winte r
                        coat, pure silk clot hes etc.
                        3.EXCELLENT COST EFFICTIENCY - You will receive 6 pcs of peva garment bags. These suit bags for closet storage a re
                        washable and t hus you can easily clean t hem and reuse t hem for a long period of t ime.
                        4 .Suitable for most Clot hes - Suitable fo r short t ops such as childre n's clothes and T-shirt. Suitable for short tops such as surts,
                        jackets, sweaters, etc. Suitable for medium t ops, such as me n·s windbreaker, ladies· skirts, e tc. Suitable for length-to-ankle
                        clot hes such as dresses, gowns, tuxedos, d ance costumes, e tc.

                    (D We aim t o show you accurate product information. Manufact urers, suppliers a nd others provide what you see here, and we
                        have not ve rified it. See our disclaimer



                    Specificat io ns

                    Brand
                    Heopbird

                    Manufacturer Part Number
                    CPB-DE-LYY247-3

                    Manufacturer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 321 of
(                                         368
                                         Checkout




                                                                                                                                                                           •
                                                                                                                                                                                      Sub total (1 item)                              $20.99

                  a              1. Free shipping, arrives by Tue, Mar 28                                                                                                             Shipping                                            Free

                                                                                                                                                                                      Est imated taxes                                   $1.47


                                                                                                                                                                             Edit     Estimated total                                $22.46
                                                 Miami, FL 33133

                                                                                                                                                                                      Have a promo code?                                    V


               Delivery instructions                                                                                                                                        Add


               Add gate codes or other useful informat ion.




               Items details
               Arrives by Tue, Mar 28 (1 item)


               Sold and shipped by Lot usHaze

                                      Soft Silicone C leansing Br ush - Gent le Sonic C leansing Brush -                                         Qty1                   $20.99
                                      Wat erproof C leansing Brush Rechargeable Elect ric C leansing Br us...
                                      Actual Color: Yellow




                  LJ 2. Payment method


                  Pay with card



               Le-am more about ~ }m@nt met hods we accept.



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                   Pay with PayPal                                                               Pay in mont hly installme nt s wit h Affirm

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               con: nu·ng. you agree to our Mobile Alert Terms.




      © 2023 Walmart. All Rights Reserved.                                                            Give feedback           CA Privacy Rig ht s         (Zl) Your Privacy Choices   Request My Personal Informat ion   California Supply Chains Act
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 322 of
                                       368


DOE Number: 342
Seller Name: PXNKY Co. Ltd
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 323 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store                                       Q,



Q How do you want your items? v I 0                                          ~ Miami Supe rce nt er                Deals     Mother's Day      Grocery & essentials          Fashion     Home      Tech   Auto       Registry


     BeautY.       Skin Care   Face Cleansers   Facial Cle ansing Brushes



                                                                        Walmatt+     Ship free, no order min* As ofte n as you ne ed. l earn more

                                                                                                                                                                                                            Spon~ored

                                                                                                                                                                                                              Q
                                                                                   SKIN CARE STARTS WITH WASHING YOUR FACE                          PENGXIANG

               -      I                                                                                                                             Sonic Face Wash Brush,lmproving the
                                                                                                                                                    Efficacy of Creams,Anti-aging,Lift Facial
                                                                                                                                                    Skin,Long Handle,Sonic Cleansing
                                                                                                                                                    Brush,Handheld Cleansing



                                                -.
                                                                                                                                                    lnstrument,With Massage Function
                                                                                                                                                    Silicone Cleansing Brush

                                                                                                                                                    $19.79
                                                                                                                                                    Pr lc e when purchased online (D



                                                                                                                                                    (      Buy n ow      )   EHU..l\•9
                                                                                                                                                    Actual Color: Green



            n" n


                                                                                                                                                    l;;b   Free shipping, arrives by Fri, Apr 28 to
                                                                                                                                                           2665 Sout hwest 37th Avenue
                                                                       Roll ove r image t o zoom in
            0                                                                       ®                                                               fl
                                                                                                                                                           More ogt ions

                                                                                                                                                           Sold and shipped by PXN KY Co. Ltd
                                                                                                                                                           **** ti 2 seller reviews
     About this item                                                                                                                                       View seller information

                                                                                                                                                    (9     Free 30-day returns Details

        Produc t d e t a ils                                                                                                             A
                                                                                                                                                    Q      Add to list
       Main Feature:

        • Distinctive Facial Brush - Ultra Hygienic Soft Silicone rubber exterior provides the softest and most gent le face cleansing
          and massage for all skin types normal.                                                                                                    Protect your purchase                                        V
        • Glowing Skin - Gain vibrant confidence in your face with a deeper. c leaner, younger, more beautiful complexion. Gently                   Get the best value on product protection including fast
          remove stubborn makeup, deep clean pores, reduce blackheads with maximum power & minimal effort so t hat you can brim                     repairs or replacements.
          with confidence with fresh, glowing skin
        • S Function Modes - Different vibration frequencies for different cleansing tasks, resolving skin problems such as blemishes,
          clogged pores, increasing skin e lasticity and promoting collagen production.It inhibits the accumulation of oil and dead skin                                               Sponsored
          cells, prevents t he formation of blackheads and whiteheads, and effectively reaches areas that difficult to clean such as the                                               Now$24.99 $36c99
          T-zone.
        • All-in-One design - IPX6 waterproof design, rinse with water directly after use, safe, quick, and easy to clean, USB charge 2-
          3 hours for up to 20 days of use. The ergonomically curved handle is easy to grip, easy to store, and carry while traveling
        • Great Gift - Makes a perfect gift for your mom, wife, best friend or someone special. Send them beauty, make them more
          confident.

       Specifications:

        • Material: Silicone
        • Charging indicator: red light is on when charging, green light is on when fully charged
        •   Frequency: 8000/min
        •   Rated Voltage: 3.7 V
        •   Charging time: about 2 hours
        •   Continuous use t ime after fully charged: about 3 hours
        •   Weight and Size: 0.33 lb; 7.42*1.44*0.87 in

       Package Include:

        • 1*Facial Cleansing Brush
        • 1*USB Cable

        •   Hand held design, which is easy to operate. Ha nds could not be dirty.
        •   Full body IPX6 wat e rproof desig n, easy to clean.
        •   5 gears for different cleaning needs.
        •   Durable batt e ry is suitable for travel.
        •   Fashionable,our ultrasonic cleansing brush is a new fashion choice for skincar
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 324 of
<                                         368
                                         Checkout




                                                                                                                                                                 •
                                                                                                                                                                         Subtotal (1 it e m)     $19.79

      II:, 1. Free shipping, arrives by Fri, Apr 28                                                                                                                      Shipping                  Free

                                                                                                                                                                         Estimated taxes          $1.39



                                                                                                                                                                  Edit   Estimated total         $21.18
                                                 M iami, FL 33133

                                                                                                                                                                         H av e a p romo code?       V


     Delivery instructions                                                                                                                                       Add


     Add gate codes or other u seful information.




     Items details                                                                                                                                      Hide det ails

     Arrives by Fri, Apr 28 (1 it em)


     Sold and shipped by PXN KYCo. Ltd

                            Sonic Face Wash Brush.Improving t he Efficacy of Creams.Anti-                                             Qty l                    $19.79
             -     I        aging,Lift Facial Skin,Long Hand le,Sonic C leansing Brush,Handhel...
                            Actual Color : Green




     C'.9 2. Payment method
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     Pay wit h card



     Leam more about ~ r.ment method!. we accept



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     I E:I       Card number•




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        Other ways to pay


        Pay wit h PayPal                                                              Pay in monthly installme nts wit h Af firm

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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 325 of
                                       368


DOE Number: 345
Seller Name: Sevenstore
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 326 of
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G, How do you want your items? v I 0                                  Q M1am1Supercenter                                                           Deals   Easter      Grocery & essentials          Home        Tech     Fashion   Auto   Walmart+


               Beauty:      Skin Care    Face Cleansers      Facial O eaM ing Brushes




                                                                                                                                                                                                                               Q


                                                                                                                                                               Sonic Facial Cleansing Brush - Soft
                                                                                                                                                               Silicone Water-Proof Face Scrubber
                                                                                                                                                               Exfoliator Brush For Deep Cleansing
                                                                                                                                                               Gentle Exfoliating And Massaging

                                                                                                                                                               $26.99
                                                                                                                                                               Price whe n purcha$.ed onlirw   ©

                                                                                                                                                               (      Buy now        : ,   EMF♦
                                                                                                                                                               Size: NoSize

                                                                                                                                                                      NoSize
                                                                                                                                                                      $26,99

                                                                                                                                                               Actual Color. light Pink

                                                                                                                                                                     Light Pink



                                                                                                                                                               ~       Free shipping, arrives by Mon, Mar 20 t o
                                                                                                                                                                      2665 SW 37t h Avenue
                                                                                                                                                                      More ORt ions

                       0                                                                                                                                       e Sold a nd shipped by Sevenstore
                                                                                                                                                                 ***** 1 selle r review
                                                                                                                                                                      View se!1er informat ion

                Popular items in this category                                                                                                                 E)      Free 30-day ret urns Det ails
               Bestselling items that customers love

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                                                                                                                                0                              Pr otect your purchase
                                                                                                                                                               Get t he b est value on product protection including fast
                                                                                                                                                                                                                                A



                                                                                                                                0                              re pairs or replaceme nts.




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                                                                                                                                                               l;I    Add Walmar t Prot ect io n Plan by Allstat e Det ails

                                                                                                                                                                      0 2-Year plan - $3.00
                                                                                                                          Spof!sored
                                                                                                                                                                      Q 3-Year plan - $3.50
                $7,98                               $13.12                              Now $5.66 $HS                     $24,99
                Clio Facial Cleansing               True Glow by Conair                 3 Pac k Silicone Face             Facial Cleansing Brush,                     @ I don't need protection at this time
                Syst e m, Pink, Wate r              Facial Cleansing Brush              Scrubbers Exfoliator              Electric Face Brush
                Resistant, Facial...                Battery op erat e d, 3 ...          Brush-Facial Cleansin...          Scrubbe r...
                ***** t12                           ••••tr m                            ***tI* 10                         *****9                                                                   Sponsored

                 Pickup Delivery                     Pickup Delivery                    3- day sh·pping                   2-d ay shippifl9
                                                                                                                                                                                                   $44.95
                                                                                                                                                                                                   MyboClean Daily Eyelid
                1-day shippin<J                      I-day shippin9



               About this item


                    Prod uct det ails


                    It em id: BH01n1Copy

                    Product Attributes: Alcohol Free

                    Sonic Facia l Cleansing Brush - Soft Silicone Water-Proof Face Scrubbe r Exfoliator Brush For Dee p Cleansing Gent le Exfoliat ing
                    And Mass.aging

                    © We aim to show you accurate product information. Manufacturers, suppliers and ot hers provide what you see here, and we
                        have not verified it See our disclaimer



                    Spe cifications

                    Brand
                    Temu
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 327 of
(                                         368
                                         Checkout




                                                                                                                                                                              •
                                                                                                                                                                                        Subtotal (1 item)                                $26.99

                a                1. Free shipping, arrives by Mon, Mar 20                                                                                                               Shipping                                            Free

                                                                                                                                                                                        Est imated taxes                                  $1.89


                                                                                                                                                                                Edit    Estimated total                                $28.88
                                                 Miami, FL 33133

                                                                                                                                                                                        Have a promo code?                                    V


               Delivery instructions                                                                                                                                           Add


               Add gate codes or other useful informat ion.




               Items details
               Ar rives by Mon, Mar 20 (1 item)


              Sold and shipped by Seve nst ore

                                       Sonic Facial Cleansing Brush - Soft Silicone Water-Proof Face                                               Qty1                    $26.99
                                       Scrubber Exfoliator Brush Fo r Deep C leansing Gent le Exfoliating...
                                       Size: NoSize, Actual Color: Light Pink




               LJ 2. Payment method


               Pay with card



               Le-am more about ~ }m@nt met hods we accept.



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                  Ot her ways to pay


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               con: nu·ng. you agree to our Mobile Alert Terms.




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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 328 of
                                       368


DOE Number: 346
Seller Name: Shaoxing Sandeli Textile Co. LTD
Marketplace: Walmart
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 329 of
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G, How do you want your items? v I 0                                     Q M1am1Supercenter                                                   Deals   Easter     Grocery & essentials             Home          Tech      Fashion   Auto   Walmart+


               Beauty:         Skin Care   Face Cleansers     Facial O eaMing Brushes




                                                                                                                                                                                                                               Q



                      ,,                                                                                                                                  BSROLUNA

                                                                                                                                                          Portable Mini Face Brushes for Cleansing
                                                                                                                                                          & Exfoliating,Silicone Sonic Facial
                                                                                                                                                          Scrubber Exfoliator Brush,Waterproof
                                                                                                                                                          Electric Face Cleansing
                                                                                                                                                          Brush,Rechargeable Face Cleansing
                                                                                                                                                          Brush,Face Scrubber(Orange)

                                                                                                                                                          $19.99
                                                                                                                                                          Pric e whe n purcha$.ed otllir1e   ©

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                                                                                                                                                          Actual Color: Orange




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                                                                                                                                                          ~     Shipping, arrives by Thu, Mar 9 to

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                                                                                                                                                          @ Sold by Shaoxing Sandeli Textile Co. LTD
                                                                                                   ®                                                            0 Pro Seller
                                                                                                                                                                  Fulfilled by Walmart

                Check out these re lated products                                                                                                                ****ir 21 seller r ev iews
                                                                                                                                                                View sel!er informat ion

                                                                                                                                                          E)     Free 90-day returns Det ails


                                             Q                                   Q                               Q                            Q
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                                                                                                                                              0           Walmart+        Get free next-day shipping & more!*

                                                                                                                                                          · Restrictions apply Start yo-uf free 30 -di.y trial



                Gll·l1lt      ;.2options
                                                    Gil-Ht                                         +4 options                  +3 o pt ions
                                                                                                                                                          Pr otect you r p u r chase                                            A
                                                                                                                                                          Get the best value on product protection including fast
                                                                                                                                                          repairs or replacements.
                $5.81 • $2.1Jsh;pping               $14.99                              From $55.89 $@00              $21.39
                HSMQHJW E Face                      GIFZES Facial                       PMD Clean Mini Facial         Cleansing Facial                    (;I   Add Walmart Prot ection Plan by Allstate Det ails

                                                                                        Cleansing Device -
                Vacuum Exfoliating                  Clea nsing Brush Skin-                                            Cleanser Silicone Face
                                                                                                                                                                Q 2-Year plan - $2.00
                Skin C leansing ...                 friendly Blackhead ...              Orange                        Cleansing Brush Skin-...

                    3 - day shipping                 3 - day shippirrg                  3- day shipping               3- day shipping                           Q 3-Year plan - $3.00

                                                                                                                                                                @ I don·t need prot ection at t his t ime


                Popular items in this category                                                                                                                                                   SponSOt""ed
               Bestselling items t hat customers love
                                                                                                                                                                                                 $19.94

                     Bestselle r j                                                                                                                                                               True Glow by Conair Battery
                I                                   I Best seller I                     I Best seller I
                                                                                                                                                                                                 Operated Facial Cleansing...




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                $7.98
                Clio Facial Cleansing
                System, Pink, Water
                Resistant, Facial...
                                                    $13.12
                                                    True Glow by Conair
                                                     Facial Cleansing Brush
                                                     Batter y operat ed, 3 ...
                                                                                        Now$5.66 ',F.15
                                                                                        3 Pack Silicone Face
                                                                                        Scrubbers Exfoliato r
                                                                                        Brush -Facial Cleansin ...
                                                                                                                      -
                                                                                                                      Sponsored

                                                                                                                      $24.99
                                                                                                                      Facial Cleansing Brush,
                                                                                                                      Electric Face Brush
                                                                                                                      Scrubber ...

                ***** 112                           ••••t1m                             · • •t 1* 10                  · · · •"1 9
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 330 of
(                                         368
                                         Checkout




                                                                                                                                                                     •
                                                                                                                                                                                Subtotal (1 item)                                   $19.99
                  a               1. Shipping, arrives by Thu, Mar 9                                                                                                            Shipping (below $35 order m inimum)                   $6.99

                                                                                                                                                                                Est imated taxes                                     $1.89



                                                                                                                                                                       Edit     Estimated total                                    $28.87
                                               Miami, FL 33133

                                                                                                                                                                                Have a promo code?                                       V


               Delivery inst ructions                                                                                                                                 Add


               Add gate codes or other useful informat ion.




               Items details
               Ar rives by Thu, Mar 9 (1 it em)


              Sold by Shaoxing Sandeli Textile Co. LTD(3 Pro Selle r




                  ,,
              Fulfilled by Walmart

                                      Portable M ini Face Brushes for Cleansing & Exfoliat ing,Silicone
                                      Sonic Facial Scrubber Exfoliator Brush.Waterproof Electric Face ...
                                     Actual Color: Orange
                                                                                                                                            Qty1




                  LJ 2. Payment method
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                  Pay with card



               Learn more about P-!Y.!!!ent methods we aecept.



               • Required field



              I El Card number •


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                   Other ways to pay


                   Pay with PayPa l                                                          Pay in mont hly installments wit h Affirm

                   D Remember my PayPal account details                                      It ems in your cart are not e ligible for Affirm.

                   (                           PayPal                                  )                                    affQ
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                  0 3. Mobile contact
               We'll contact you in ca,;e a nyt hing comes up wit h your order.

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                                                                                  ■ I want to receive text updates about the status of my order.

              Mess.age md diti ri:es IT'iYiP~Y- J\.umber i nd freci1.,encyof i ...~or>1i:e-d tex-.:s fYliYViry besed on your o rder. Corsent no~ req,J red for purchase. By
              cor ,: ming, you agree to our Mobile A lert Terms




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 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 331 of
                                       368


DOE Number: 347
Seller Name: Skincare
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 332 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store                                      Q,


Q How do you want your items? v I 0                             CJ Miami Supercenter        Deals     Grocery & Essentials      4th of July Prep   Cooling      Pride & Joy          Back to School          National Candy Month


     Beauty:     Skin Care   Face Cleansers      Facial Cleansing Brushes




                                                                                                                                                                                                                     Q
                                                                                                                                                    I2P-oint

                                                                                                                                                    Electric Facial Cleansing Brush Silicone
                                                                                                                                                    Deep Cleaning Waterproof Handheld
                                                                                                                                                    Brush New TOPOINT

                                                                                                                                                    $13.95
                                                                                                                                                    Pr ice when purc ha5ed online (D




                                                                                                                                                    (    Buy now       )   @#PH•-



                                                                                                                                                    Actual Color: Pink




                                                                                                                                                         More OP-t ions

                                                                                                                                                    ~    Sold and shipped by Skincare
                                                                                                                                                          **** *      10 seller reviews
                                                                                                                                                         V iew seller information

                                                                                                                                                    Q     Free 90-day returns Details



                                                                                                                                                    Q    Add to list          dl'i     Add to reg ist [)'.


     About this item
                                                                                                                                                    Protect your purchase
                                                                                                                                                    Get the best value on product protection including fa st
       Produc t det ails                                                                                                                            repairs or replacements.

       Features:                                                                                                                                    0    Add Walmart Protection Plan by Allst at e Details
       Ult rasonic vibration, intelligent high-frequency vibration, can vibr ate 8000 t imes per minute;
       The fuselage integrated design, the content of the traditional host is integrated into the handle, more convenient;                               0     2-Year plan - $2.00
       IPX6 waterproof grade, use cleaning to be healthier;
       Two colors are available, pink for her, b lue for him;                                                                                            0 3-Year plan - $3.00
       Massage function, promote absorption, apply skin care pr oducts, can speed up the introduction of facial nutrit ion;
       Edible grade silicone material to care for our skin
                                                                                                                                                         @ I don't need protection at this time
       Specifications:
       Material: silicone
       Color: pink,blue
       Power supply: 300mAh rechargeable battery


       Ult rasonic vibrat ion, intelligent high-frequency vibratio n, can vibrat e 8 000 times per minute;
       The fuselage integrated design, t he content ofthe trad itional host is int egrated into the handle, more convenient;
       IPX6 wat er proof grade, use cleaning to be healthier ;
       Two co lors are available, pink for her, blue for him;
       Massage function, promot e absorption, apply skin care products, can speed up t he introductio n of facial nut rit ion

       CD We aim to show you accurate product information. M anufacturers, suppliers and others provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specific at ion s


       Brand
       Topoint

       Manufacturer Par t Number
       196446.01-LQQ -AC2.13

       Assembled Product Weight
       0.34 Ib

       Manufact u rer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 333 of
<                                         368
                                         Checkout




                                                                                                                              •
                                                                                                                                      Subtotal (1 it em)       $13.95
      11111:. 1. Shipping, a rrives by Wed, Jul 19                                                                                    Seller shipping          $2.99


                                                                                                                                      Estimated taxes           $1.19


                                                                                                                               Edit
                                                                                                                                      Estimated total          $18.13
                             Miami, FL 33138


                                                                                                                                      Have a p romo c o d e?       V


     Delivery instructions                                                                                                     Add


     Add gate codes or other useful information.




     Items details                                                                                                    Hide det ails

     Arrives by Wed, Jul 19 (1 it em)


     Sold and shipped by Skincare
     $2.99 Freight shipping

                            Electric Facial C leansing Brush Silicone Deep C leaning Water proof                             $13.95
                            Handheld Brush New TOPOINT
                            Actual Color: Pink

                                                                                                                               +




      C'.9 2. Payment method
                                                                                                                              •
     Pay with card



     Learn more about ~ y:ment m et llods w e accept



     • Required field




     I E:I Card number•



         O t her ways t o pay


         Pay with Pay Pal                                           Pay in monthly installme nt s wit h Af firm

        PJ Remember my PayPal account details                       Items in your cart are not elig:ble for Affirm.

        (                            PayPal                    )                               affQ




    wa1mart+    Fr ee 30-day trial

    Save with free delivery + so much more
    Restrict ioM apply.

    Icy: Walmart+ free fo r 30 dav.s
                                                                                                                        "'
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      0 3. Mobile cont act
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 334 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store                                      Q,



Q How do you want your items? v I 0                             CJ Miami Supercenter        Deals     Grocery & Essentials      4th of July Prep   Cooling      Pride & Joy          Back to School          National Candy Month


     Beauty:     Skin Care   Face Cleansers      Facial Cleansing Brushes




                                                                                                                                                                                                                     Q


               •                                                                                                                                    I2P-oint

                                                                                                                                                    Electric Facial Cleansing Brush Silicone
                                                                                                                                                    Deep Cleaning Waterproof Handheld
                                                                                                                                                    Brush New

                                                                                                                                                    $12.79

                                                                                  ,..    .                                                          Pr ice when purc ha5ed online (D




               •                                                                                                                                    (    Buy now



                                                                                                                                                    Actual Color: Blue
                                                                                                                                                                       )   @#PH•-




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                                                                                                                                                         More OP-t ions

                                                                                                                                                         Sold and shipped by Skincare
                                                                                                                                                          **** *      10 seller reviews
                                                                                                                                                         V iew seller information

                                                                                                                                                    Q     Free 90-day returns Details



                                                                                                                                                    Q    Add to list          dl'i     Add to reg ist [)'.


     About this item
                                                                                                                                                    Protect your purchase
                                                                                                                                                    Get the best value on product protection including fa st
       Prod uc t details                                                                                                                            repairs or replacements.

       Features:                                                                                                                                    0    Add Walmart Protection Plan by Allst at e Details
       Ult rasonic vibration, intelligent high-frequency vibration, can vibr ate 8000 t imes per minute;
       The fuselage integrated design, the content of the traditional host is integrated into the handle, more convenient;                               0     2-Year plan - $2.00
       IPX6 waterproof grade, use cleaning to be healthier;
       Two colors are available, pink for her, b lue for him;                                                                                            0 3-Year plan - $3.00
       Massage function, promote absorption, apply skin care pr oducts, can speed up the introduction of facial nutrit ion;
       Edible grade silicone material to care for our skin
                                                                                                                                                         @ I don't need protection at this time
       Specifications:
       Material: silicone
       Color: pink,blue
       Power supply: 300mAh rechargeable battery


       Ult rasonic vibrat ion, intelligent high-frequency vibratio n, can vibrat e 8 000 times per minute;
       The fuselage integrated design, t he content ofthe t rad itional host is int egrated into the handle, more convenient;
       IPX6 water proof grade, use cleaning to be healthier ;
       Two co lors are available, pink for her, blue for him;
       Massage function, promote absorption, apply skin care products, can speed up t he introductio n of facial nut rition

       CD We aim to show you accurate product information. M anufacturers, suppliers and others provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specific at ion s


       Brand
       Topoint

       Manufacturer Par t Number
       196446.02-LQQ -AA2.13

       Assembled Product Weight
       0.33 lb

       Manufac turer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 335 of
<                                         368
                                         Checkout




                                                                                                                                •
                                                                                                                                        Subtotal (1 it em)        $12.79
      11111:. 1. Shipping, a rrives by Wed, Jul 19                                                                                      Seller shipping            $4.99


                                                                                                                                        Estimated taxes            $1.24


                                                                                                                                 Edit
                                                                                                                                        Estimated total           $19.02
                             Miami, FL 33138


                                                                                                                                        Hav e a p ro m o cod e?       V


     Delivery instructions                                                                                                       Add


     Add gate codes or other useful information.




     Items details                                                                                                      Hide det ails

     Arrives by Wed, Jul 19 (1 it em)


     Sold and shipped by Skincare
     $4.99 Freight shipping

                             Electric Facial C leansing Brush Silicone Deep C leaning Water proof                              $12.79
                             Handheld Brush New
                             Actual Color: Blue


                                                                                                                                 +




      C'.9 2. Payment method
                                                                                                                                •
     Pay with card



     Learn more about ~ y:ment m etllods w e accept



     • Required field




     I E:I Card number•



         O t her ways t o pay


         Pay wit h Pay Pal                                           Pay in monthly installme nt s wit h Af firm

        PJ Remember my PayPal account details                        Items in your cart are not elig:ble for Affir m.

        (                            PayPal                     )                               affQ




    wa1mart+    Fr ee 30-day trial

    Save with free delivery + so much more
    Restrict ioM apply.

    Icy: Walmart+ free for 30 dav.s
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      0 3. Mobile cont act
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 336 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                             [:::J Miami Supercenter       Deals     Gr ocery & Essentials     4th of July Prep   Cooling       Pride & Joy          Back to School           National Candy Month


     Beauty:     Skin Care   Face Cleansers      Facial Cleansing Brushes




                                                                                                                                                                                                                         Q


               •                                                                                                                                      Im2oint

                                                                                                                                                      Electric Facial Cleansing Brush Silicone
                                                                                                                                                      Deep Cleaning Waterproof Handheld
                                                                                                                                                      Brush New

                                                                                                                                                      $12.79

                                                                                   ,... .                                                             Pr ice when purcll,n ed online (D




               •                                                                                                                                      (      Buy now



                                                                                                                                                      Actual Color: Blue
                                                                                                                                                                           )   @#P..l\•9



               •                                                                                                                                      f!1l
                                                                                                                                                             More OP-tions

                                                                                                                                                             Sold and shipped by Skincare
                                                                                                                                                             **** *       10 seller reviews
                                                                                                                                                             V iew seller information

                                                                                                                                                      8      Free 90-day returns Details



                                                                                                                                                      Q      Add to list         dl'i     Add t o reg ist [)'.


     About this item
                                                                                                                                                      Protect your purchase
                                                                                                                                                      Get t he best value on product protection including fast
       Prod uc t d et ails                                                                                                                            repairs or replacements.

       Features:                                                                                                                                      0      Add Walmart Prot ection Plan by Allst at e Details
       Ult rasonic vibration, intelligent high-frequency vibration, can vibr ate 8000 t imes per minute;
       The fuselage integrated design, the content of t he t raditional host is integrated into the handle, more convenient;
       IPX6 waterproof grade, use cleaning to be healthier;
       Two colors are available, pink for her, b lue for him;
       Massage function, promote absorption, apply skin care pr oducts, can speed up the introduction of facial nutrition;
       Edible grade silicone material to care for our skin


       Specifications:
       Material: silicone
       Color: pink,blue
       Power supply: 300mAh rechargeable battery


       Ult rasonic vibrat ion, intelligent high-frequency vibration, can vibrat e 8000 times per minute;
       The fuselage integrated desig n, t he content of the t rad itional host is int egrated into the handle, more convenient;
       IPX6 wat er proof grade, use cleaning to be healthier ;
       Two colors are available, pink for her, blue for him;
       Massage functio n, promot e absor ption, apply skin care products, can speed up t he introduction of facial nut rit ion

       CD We aim to show you accurate product information. M anufacturers, suppliers and others provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specif icat io ns


       Brand
       Topoint

       Manuf acturer Part Number
       196446.02-LQQ -AA2.13

       Assembled Product Weight
       0.33 lb

       Manuf acturer
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 337 of
<                                         368
                                         Checkout




                                                                                                                            •
                                                                                                                                    Subtot al (1 it em)         $12.79
      Ill:. 1. Shipping, arrives by Thu, Jul 20                                                                                     Seller shippin g             $4.99


                                                                                                                                    Est imated taxes             $1.24


                                                                                                                             Edit
                                                                                                                                    Estimated total             $19.02
                            Miami, FL 33138


                                                                                                                                    Hav e a p ro m o c o d e?       V


     Delivery instructions                                                                                                   Add



     Add gate codes or other useful information.




     Items details                                                                                                  Hide det ails

     Arrives by Th u, Jul 20 (1 it em)


     Sold and shipped by Skincare
     $4.99 Freight shipping

                           Electric Facial C leansing Brush Silicone Deep C leaning Waterproof                             $12.79
                           Handheld Brush New
                           Actual Color: Blue


                                                                                                                             +




     C'.9 2. Payment method
                                                                                                                            •
     Pay with card



     Learn more about ~ y:ment methods w e accept



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     I El Card number•



        Other ways to pay


        Pay with PayPal                                           Pay in monthly installme nts with Af firm

        PJ Remember my PayPal account details                     Items in your cart are not eligible for Affirm.

        (                           PayPal




    watmart+   Fr ee 30-day trial

    Save with free delivery + so much more
    RestrictioM apply.

    Icy Walmart+ free for 30 dav.s
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      0 3. Mobile contact
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 338 of
                                       368


DOE Number: 348
Seller Name: SOTNDA Co. Ltd
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 339 of
                 •.. .
                                            368
                                                                            Search everything at Wa lmart online and in store                                  Q,



Q How do you want your items? v I 0                            CJ Miami Supercenter          Deals    Grocery & Essentials   4th of July Prep   Cooling     Pride & Joy           Back to School        National Candy Month


     Beauty:    Skin Care    Face Cleansers     Facial Cle ansing Brushes




                                                                                                                                                                                                                Q
                                                                                  SKIN CARE STARTS WITH WASHING YOUR FACE

                                                                                                                                                 Sonic Face Wash Brush,lmproving the
                                                                                                                                                 Efficacy of Creams,Anti-aging,Lift Facial
                                                                                                                                                 Skin,Long Handle,Son ic Cleansing
                                                                                                                                                 Brush,Handheld Cleansing



                                              -.
                                                                                                                                                 lnstrument,With Massage Function
                                                                                                                                                 Silicone Cleansing Brush

                                                                                                                                                 $19.78
                                                                                                                                                 Price when purchased online (D


                                                                                                                                                 (    Buy now        )   E#IIH•+
                                                                                                                                                 Actual Color: Gree n




                                                                                                                                                 OJ   Free shipping, arrives by Tue, Jul 11 to
                                                                                                                                                      More ogt ions
                                                                       Roll ove r image t o zoom in
            0                                                                       ®                                                            ®    Sold and shipped by SOTNDA Co. Ltd
                                                                                                                                                      *****       5 selle r reviews
                                                                                                                                                      View seller information
     About this item                                                                                                                             Q    Free 30.day returns Details


        Product details                                                                                                                          Q    Add t o list        i'ill     Add t o regist['/

       Main Feature:

        • Distinctive Facial Brush - Ultra Hygienic Soft Silicone rubber exterior provides the softest and most gentle face c leansing           Protect your purchase
          and massage for all skin types normal.                                                                                                 Get the best value on product protection including fast
        • Glowing Skin - Gain vibrant confidence in your face with a deeper, cleaner, younger, more beautiful complexion. Gently                 repairs or replacements.
          remove stubborn makeup, deep clean pores, reduce blackheads with maximum power & minimal effort so that you can brim
                                                                                                                                                 @J Add Walmart Prot ection Plan by Allstate Details
          with confidence with fresh, glowing skin
        • 5 Function Modes - Different vibration frequencies for different cleansing tasks, resolving skin problems such as blemishes,
          clogged pores, increasing skin e lasticity and promoting collagen production.It inhibits the accumulation of oil and dead skin
                                                                                                                                                      0 2-Year plan - $2.00
          cells, prevents the formation of blackheads and whiteheads, and effectively reaches areas t hat difficult to dean such as the               0 3-Year plan - $3.00
          T-zone.
        • All-in-One design - IPX6 waterproof design, rinse with water directly after use, safe, quick, and easy to clean, USB charge 2-
          3 hours for up to 20 days of use. The ergonomically curved handle is easy to grip, easy to store, and carry while traveling
        • Great Gift. Makes a perfect gift for your mom, wife, best friend or someone special. Send them beauty, make them more
          confident.

       Specifications:

        •   Material: Silicone
        •   Charging indicator: red light is on when charging, green light is on when fully charged
        •   Frequency: 8000/ min
        •   Rated Voltage: 3.7 V
        •   Charging time: about 2 hours
        •   Continuous use t ime after fully charged: about 3 hours
        • Weight and Size: 0.33 lb; 7.42*1.44*0.87 in

       Package Include:

        • 1*Facial Cleansing Brush
        • 1*USB Cable

        •   Hand held design, which is easy to operate. Ha nds could not be dirty.
        •   Full body IPX6 waterproof design, easy to clean.
        •   5 gears for different cleaning needs.
        •   Durable battery is suitable for travel.
        •   Fashionable,our ultrasonic cleansing brush is a new fashion choice for skincar
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 340 of
<                                         368
                                         Checkout




                                                                                                                                     •
                                                                                                                                             Subtotal (1 it e m )    $19.78

      11111:.          1. Free shipping, arrives by Tue, J ul 11                                                                             Shipping                  Free

                                                                                                                                             Estimated taxes          $1.38



                                                                                                                                      Edit   Estimated total         $21.16
                               Miami, FL 33138

                                                                                                                                             Hav e a p romo cod e?       V


     Delivery instructions                                                                                                            Add



     Add gate codes or other useful information.




     Items details                                                                                                           Hide det ails

     Arrives by Tue, Jul 11 (1 it em)


     Sold and shipped by SOTNDA Co. Ltd

                              Sonic Face Wash Brush.Improving t he Efficacy of Creams.Ant i-                                        $19.78
                              ag ing,Lift Fac ial Skin,Long Hand le ,Sonic C lea nsing Brush,Hand hel...
                              Actual Color : Green


                                                                                                           Remove                     +




      ['.g 2. Payment method
                                                                                                                                     •
      Pay with card



      Learn more about IMY.ment methods. w e accept



      • Required field




     I E:I       Card number'




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         O t her ways t o pay


         Pay with PayPal                                                   Pay in monthly installme nt s with Affi rm

         m Remember my PayPal account details                              Items in your cart are not elig:ble for Affirm.

         (                              PayPal                        )                               affQ




    Walmart+     i:ree 3 0 -day trial

    Save with free delivery + so much more
    Restrict ions. apply.

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     ry Walmart + free for 30 da¥S
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                                                                                                                                    -
       0 3. Mo bile contact

     We'll contact yo u in case anyt hing co mes. up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 341 of
                                       368


DOE Number: 349
Seller Name: Tasharina Corp
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 342 of
                 •.. .
                                            368
                                                                            Search everything at Walmart online and in store



Q How do you want your items? v I 0                            [:::J Miami Supercenter       Deals    Gr ocery & Essentials    4th of July Prep   Cooling     Pride & Joy         Back to School           National Candy Month


     Beauty:    Skin Care    Face Cleansers      Facial Cleansing Brushes



                                                                                  Walmart+    Ship free, no order min• As often as you need.                                                                     Sponsored




                                                                                                                                                                                                                   Q
                                                                                                                                                   Unigue Bargains

                                                                                                                                                   Unique Bargains Sonic Facial Cleansing
                                                                                                                                                   Brush Hygienic Soft Silicone with USB
                                                                                                                                                   Line for All Skin Cleansing for Women
                                                                                                                                                   Men Green
       ~ ~,.,
       --~':. =                                                                                                                                    $17.57
                                                                                                                                                   Pr ice when purchased online (D



                                                                                                                                                   (    Buy now      )   E#li..l\•9



                                                                                                                                                   Actual Color : Green




                                                                                                                                                   ~    Free shipping, arrives by Tue, Jul 11 to
               •'                                                                                                                                       More OP.:t ions

                                                                                                                                                   ~    Sold and shipped by Tasharina Corp
                                                                                                                                                        *****        17851 seller reviews
                                                                        Ro ll ove r image t o zoom in                                                   V iew seller information
            0                                                                        ®                                                             8    Free 90-day returns Details


     About this item                                                                                                                               Q    Addto list          dll      Add t o reg ist[)'.



       Prod uct d etails
                                                                                                                                                   Protect your purchase
       Sonic Facial Cleansing Brush Hygienic Soft Silicone with USB line for All Skin Cleansing for Women Men Green                                Get the best value on product protection including fast
                                                                                                                                                   repairs or replacements.
       Feature:

        •   Made of silicone and ABS material, durable and comfortable for face cleaning.
        • With a soft brush design, it can clean the face in a convenient and efficient way.
        • The faci al cleansing brush's handle is smooth that provides a good experience in washing your face.
        • The cleansi ng instrument defaults to the thir d gear every time the power is turned on. The shifting posit ion can be
            completed by adding or subtracting the gears. The order of the cleansing instrument is: blue, second gear b lue, third gear
            green, fourth gear yellow, and fifth gear r ed.
        • The low red l ight flashed, the charging red light is long, and the full light is green.
        • Wide application, it can be used on daily cleaning for unisex.

       Specification:

        •   Color: Green
        •   Mater ial: Silicone, ABS
        •   Model: KS..J01
        • Wor king Voltage: 3.7V
        •   Power: 0.6W
        •   Charging Voltage: SV
        •   Battery Capacity: 250mAh
        •   Size: 17x3.7x2.8cm / 6.69"x1.46"'x1.1'"(L•W•H)

       Package Include:

        •   1 x Sonic Facial Cleansing Brush
        •   1 x USB Line
        •   1 x Using Instruction

       Unique Bargains Sonic Facial Cleansing Brush Hygienic Soft Silicone with USB line for All Skin C leansing for Women Men Green

        •   Durable material, smooth handle for use.
        •   Good replacement for t he facial cleansing.
        •   N ice appearance portable for travel and daily.
        •   Suits for t he unisex, universal produc t.

       CD We aim to show you accurate product informat ion. M anufacturers, suppliers and ot hers provide what you see here, and we
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 343 of
<                                         368
                                         Checkout




                                                                                                                                  •
                                                                                                                                          Subt ot al (1 it e m)     $17.57
      Ill:. 1. Free shipping, arrives by Wed, Jul 12                                                                                      Shipping                    Free

                                                                                                                                          Estimated taxes            $1.23


                                                                                                                                   Edit   Estimated total          $18 .80
                             Miami, FL 33138

                                                                                                                                          H av e a p romo cod e?        V


     Delivery instructions                                                                                                         Add


     Add gate codes or other u seful information.




     Items details                                                                                                        Hide det ails

     Arrives by Wed, Jul 12 (1 item)


     Sold and shipped by Tasharina Corp

                            Unique Bargains Sonic Facial C leansing Brush Hygienic Soft Silicone                                 $17.57
                            with USB Line for All Skin C leansing for Women Men Green
                            Actual Color: Green


                                                                                                        Remove                     +




      Cg 2. Payment method
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      Pay with card



     Learn more ab out IMY.ment methods. w e accept



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     I El       Card number'




                                                                                                                      Elli+♦
         Other ways to pay


         Pay with PayPal                                                Pay in monthly installme nts with Affirm

         m Remember my PayPal account details                           Items in your cart are not elig:ble for Affirm.

         (                           PayPal                        )                              affim,J




    wa1mart+     Fr ee 30-daytrlal

    Save with free delivery + so much more
    Restrictions. apply.

    l_ry Walmart+ free for 30 da¥S
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                                                                                                                                 -
      0 3. Mobile contact
     We'll contact you in case anyt hing comes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 344 of
                                       368


DOE Number: 350
Seller Name: The Skin Shop
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 345 of
                 •.. .
                                            368
                                                                             Search everything at Walmart online and in store                                    Q,



Q How do you want your items? v I 0                               CJ Miami Supercenter        Deals   Grocery & Essentials    4th of July Prep   Cooling      Pride & Joy       Back to School     National Candy Month


     Beauty:     Skin Care      Face Cleansers    Facial Cleansing Brushes




                                                                                                                                                                                                            Q
                                                                                                                                                  Dearderm

                                                                                                                                                  Ultrasonic Silicone Massage Cleansing
                                                                                                                                                  Brush

                                                                                                                                                  $35.00
                                                                                                                                                  Pr lc e when purc hased online (D




                                                                                                                                                  (     Buy n ow      )   ♦#UH•+
                                                                                                                                                  l;Q   Free shipping, arr ives by Fri, Jul 7 to
                                                                                                                                                        More 0P-t ions

                                                                                                                                                  ®     So ld and shipped by The Skin Shop
                                                                                                                                                        *****        63 sel !er reviews
                                                                                                                                                        V iew seller information

                                                                                                                                                  Q     Free 90-day returns Details



                                                                                                                                                  Q     Add to list




                                                                                                                                                  Protect your purchase                                     A
                                                                                                                                                  Get the best value on product protection including fast
                                                                         Ro ll ove r im age t o zoom in                                           repair s or replacements.


                                                                                     ®                                                            ©     Add Walmart Protection Plan by Allst at e Details



     About this item


         Pro d uc t d et ails                                                                                                              A


         * Easy-to-use 3-button interface.* Ult rasonic Facial Cleansing Cleanser/Massager.* USB rechargeable* Water Resistant cleansing
         brush for use in the bath or shower.

         Ult rasonic Silicone Massage Cleansing Brush

         <D We aim t o show you accurate product inf ormation. M anufact urers, suppliers and ot hers provide what you see here, and w e
             have not verified it. See our disclaimer




         Specific at io ns


         Brand
         Oearderm



     0     & P.:ort incorrect 12roduct informat ion



     Popular items in this category
     Best selling items that customers love




                                                                     Q                                Q




                                                      +3options                      +3 opt ions

                                          ~19.?4                             ~4.RO                          ~11.77
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 346 of
<                                         368
                                         Checkout




                                                                                                                                  •
                                                                                                                                           Subtotal (1 it em )     $35.00

      11111:. 1. Free shipping, arrives by Fri, Jul 7                                                                                      Shipping                  Free

                                                                                                                                           Estimated taxes          $2.45



                                                                                                                                   Edit    Estimated total         $37.45
                              Miam i, FL 33138

                                                                                                                                           Hav e a p romo cod e?       V


     Delivery instructions                                                                                                         Add



     Add gate codes or ot her useful information.




     Items details                                                                                                         Hide det ails

     A rrives by Fri, Jul 7 (1 it em )


     Sold and shipped by The Skin Shop

                             U ltrason ic Silicone Massage C leansin g Brush                                                   $35.00

                                                                                                          Remove                   +




     (:g 2. Payment method
                                                                                                                                  •
     Pay with card



     Learn more about P-2Y.ment methods. we accept.


     • Required field




     I E:I       Card number•




                                                                                                                       -11;.;:;9
         Other ways to pay


         Pay wit h Pay Pal                                               Pay in mont hly installme nt s wit h Affirm

        PJ Rem ember my PayPal account details                           Items in your cart are not elig:ble for Affirm.

        (                             PayPal




    Walmaf'1:+   Fr ee 30-daytr ial

    Save with free delivery + so much more
                                                                                                                             ..
    Restrictions apply.

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     ry Walmart + free for 30 dap
                                                                                                                                  -
      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.

     ·Required field
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 347 of
                                       368


DOE Number: 351
Seller Name: VASYL Flagship store
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 348 of
                 •.. .
                                            368
                                                                           Search everything at Walmart online and in store



Q How do you want your items? v I 0                            [:::J Miami Supercenter      Deals    Gr ocery & Essentials    4th of July Prep   Cooling      Pride & Joy          Back to School           National Candy Month


     Beauty:    Skin Care     Face Cleansers    Facial Cleansing Brushes



                                                                                 Walmart+   Ship free, no order min• As often as you need.                                                                        Sponsored




                                                                                                                                                                                                                    Q
                                                                                                                                                  VASYL

                                                                                                                                                  Silicone Facial Cleaning Brush Skin Care
                                                                                                                                                  Wash Cleansing Device Beauty Facial

                                                                                                                                                  Now $10.39 $1+.,9 0
                                                                                                                                                  Pr ic e when purchased online   (D


                                                                                                                                                  (    Buy now        )   @·fhi-Pl•-
                                                                                                                                                  Actual Color : Pink




                                                                                                                                                  ®     So ld and shipped by VASYL Flagship store
                                                                                                                                                        *****        5 seller reviews
                                                                                                                                                        V iew seller information

                                                                                                                                                  8     Free 30-day returns Details


                                                                        Roll ove r image t o zoom in
                                                                                                                                                  Q     Add to list          dll       Add to reg i,t[)'.
                                                                                       ®
                                                                                                                                                                                       Sponsored
     About this item
                                                                                                                                                                                       $24.99
                                                                                                                                                                                       SLF Facial Cleansing Massager,

       Prod uct d etails                                                                                                                                                               Rechargeable Face and Skin ...

                                                                                                                                                                                       ***** •
                                                                                                                                                                                        3+ day shipping
       Silicon e Facial Cleaning Brush Skin Care Wash Cleansing Device Beauty Facial
       About the Product :
       1.Super hygienic and resist bacteria build-up to keep sk in f resh and clean.
       2.Designed to provide a professional standard of skincare.
       3.Helping t o clear and clar ify for a more luminous complexion.
       4.Adjustable intensit ies allow you to customise your c leansing exp erience.
       5.Suitable for all skin t ypes.
       Feature:
       Charging t ime: 120 minutes
       Vibration frequency: 6000rpm
       Power supply: DC 3.7V
       Product si1e: 130*90*40MM
       Product Included:
       1 x Facial Cleansing Device 1 x USB Cable
       Notes:
       1.Due to the difference between different monitors,the picture may not reflect the actual color of the item. We guarantee the
       style is the same as shown in the pictures.
       2.0ue to the manual measurement and different measurement met hods, please allow 1-3cm deviation.Thanks!

        • Best price, Easy transaction, Excellent buying experience
        • Low car bon, Environmental protection, No pollut ion and du rable
        • A great and economical way to clean o r decorate your room
        • Manual measurement , please allow O ~ 2cm error, t hank you
        • Due to t he differences between different monitors, the picture may not reflect the act ual co lor of t he it em. We guarantee
          the same style as shown in t he picture

       <D We aim to show you accurate product information. M anufact urers, suppliers and ot hers provide what y ou see here, and we
           have not verified it . See our disclaimer




       Specificat io ns

       Brand
       VASYL
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 349 of
<                                         368
                                         Checkout




                                                                                                                             •
                                                                                                                                      Subtotal (1 item)     ~

      ~               1. Shipping, arrives by Thu, Jul 20                                                                             Savi ngs             -$1.40

                                                                                                                                                           $10.39


                                                                                                                                      Seller shipping       $1.99
                                                                                                                              Edit
                              Miami, FL 33138
                                                                                                                                      Estimated taxes       $0.87



                                                                                                                                      Estimated total      $13.25
     Delivery instruct ions                                                                                                   Add


     Add gate codes or other u seful information.                                                                                     Have a promo code?       V




     Items details                                                                                                    Hide det ails

     A rrives by Th u, Jul 20 (1 it em)


     Sold and shipped by VASYL Flagship store
     $1.99 Freight shipping

                             Silicone Facial Cleaning Brush Skin Care Wash C leansing Device
                             Beaut y Facial
                             Actual Color: Pink


                             $1.40 from savings
                                                                                                                             -
                                                                                                                          $10.39




                                                                                                    Remove                    +




      (:g 2. Payment method
                                                                                                                             •
      Pay with card



     Leam more about P-2v.ment methods we accept



     • Required field




     I E:I      Card number'




                                                                                                                 -11;.;:;9
         Other ways to pay


         Pay with Pay Pal                                           Pay in monthly installme nt s with Affirm

         PJ Remember my PayPal account details                      Items in your cart are not elig:ble for Affirm.

         (                            PayPal                   )                              affimll




    Walmart+     Fr ee 30-daytr ial

    Save with free delivery + so much more
                                                                                                                        ..
    Re,strictions apply.

    l.
     r y Walmart+ free for 30 da:,,s                                                                                         -
      0 3. Mobile contact
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 350 of
                                       368


DOE Number: 352
Seller Name: VivaBella
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 351 of
                 •.. .
                                            368
                                                                                Search everything at Walmart online and in store



Q How do you want your items? v I 0                                [:::J Miami Supercenter      Deals   Gr ocery & Essentials    4th of July Prep   Cooling         Pride & Joy     Back to School   National Candy Month


     Beauty:       Skin Care     Face Cleansers      Facial Cleansing Brushes



                                                                                     Walmart+   Ship free, no order min• As often as you need.                                                             Sponsored




                                                                                                                                                                                                               Q
                                                                                                                                                     lil;yle Edit

                                                                                                                                                     StyleCraft Scrubs Gentle Cleansing Facial
                                                                                                                                                     Brush - Pink for Unisex - 1 Pc

                                                                                                                                                     $26.11
                                                                                                                                                     Prlc e when purc hased online (D




                                                                                                                                                     (     Buy now        )   E#IIH•+
                                                                                                                                                     Actual Color: Pink




                                                                                                                                                     O}    Free shipping, arrives by Sat, Jul 8 to
                                                                                                                                                           More OP-tions

                                                                                                                                                     fl    Sold and shipped by VivaBella
                                                                                                                                                            *****      1502 seller r eviews
                                                                                                                                                           View seller information

                                                                                                                                                     E)     Free 30-day returns Det ails
                                                                           Roll ove r im age t o zoom in


                                                                                        ®                                                            Q     Add to list



     About this item                                                                                                                                 More seller opt io ns (2 )

                                                                                                                                                     Starting from $30.35
         Prod uc t d et ails                                                                                                                         ComQ:are all sellers

         Style Edit was founded on the belief that gorgeous, healthy hair is a universal right. This product range is dedicated to bringing
         the return of confidence and head-turning hair. Scrubs cleansing brush gently removes over 99 percent of dirt and impurities for
         a fully customizable cleansing.
                                                                                                                                                     Protect your purchase
                                                                                                                                                     Get the best value on product protection including fast
          •     Multi-zone micro-bristles have variating thickness and length for the ultimate cleansing experience                                  repair s or replacements.
          •     Specialize<t soft-touch silicone desig n is nonporous to resist bacter ia build up
          •     50 percent larger cleansing surface for faster, more efficient cleaning                                                              0     Add Walmart Protection Plan by Allstate Details

         CD We aim to show you accurate product information. M anufacturers, suppliers and ot hers provide what you see here, and we                      0         2-Year plan • $3.00
                have not verified it. See our disclaimer
                                                                                                                                                          0 3-Year plan • $3.50
         Specific at io ns
                                                                                                                                                          @ I don't need protection at this time
         Features
         Brush

         Brand
         St yle Edit

         Manuf acturer Par t Number
         00!0106322

         Assembled Product Weight
         1 lb

         Manuf acturer
         Style Edit

         Assembled Product Dimensions ( L x W x H )
         1.00 x 1.00 x 0 .01 Inches



     0        & P.ort incorrect P.;roduct informat ion
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 352 of
<                                         368
                                         Checkout




                                                                                                                                    •
                                                                                                                                            Subtotal (1 it em)        $26.11
      Ill:. 1. Free shipping, arrives by Sun, Jul 9                                                                                         Shipping                   Free

                                                                                                                                            Estima ted taxes          $1.83


                                                                                                                                     Edit   Estimated total          $27.94
                             Miami, FL 33138

                                                                                                                                            H av e a p romo cod e?        V


     Delivery instructions                                                                                                           Add


     Add gate codes or other useful information.




     Items details                                                                                                          Hide det ails

     A rrives by Sun, Jul 9 (1 it em)


     Sold and shippe d by Viva Bella

                            St yleCraft Scrubs Gentle Cleansing Facial Brush - Pink for Unisex - 1                                 $26.11
                            Pc
                            Actual Color: Pink

                                                                                                         Remove                      +




      Cg 2. Payment method
                                                                                                                                   •
      Pay with card



     Learn more about IMY.ment methods. we accept



     • Required field




     I El       Card number'




                                                                                                                        Elli+♦
         O t her ways t o pay


         Pay wit h PayPal                                                Pay in mont hly installme nts wit h Affirm

         m Remember my PayPal account details                            Items in your cart are not elig:ble for Af firm.

         (                           PayPal                         )                               affim,J




    wa1mart+     Fr ee 30-daytrlal

    Save with free delivery + so much more
    Restrictions. apply.

    l_ry Walmart+ free for 30 da¥S
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      0 3. Mobile contact
     We'll contact yo u in case anyt hing comes up wit h your o rd er.
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 353 of
                                       368


DOE Number: 353
Seller Name: Yinchuan Xingtian E-commerce Sales Co., Ltd.
Marketplace: Walmart
      Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 354 of
                                            368
                                                                              Search everything at Walmart online and in store



Q How do you want your items?          v   I 0                  c;J Miami Supercenter        Deals     Grocery & Essentials      4th of July Prep   Cooling          Pride & Joy    Back to School    National Candy Month


      BeautY.     Skin Care    Face Cleansers     Facial Cleansing Bru shes




                                                                                                                                                                                                               Q
                                                                                                                                                     Bill!!l(fair~

                                                                                                                                                     Sonic Face Cleansing Brush Anti-Aging
                                                                                                                                                     Lift Facial Skin Handheld Cleansing Tool

                                                                                                                                                     $15.55
                                                                                                                                                     Price when purchased on line   ©

                                                                                                                                                     (     Buy now        )   +u;;.;;;.+
                                                                                                                                                     Actual Color: Green



                                                                                                                                                    n l')l
                                                                                                                                                    ~~
                                                                                                                                                     Ol    Free shipping. arrives by Fri, Jul 7 t o
                                                                                                                                                           More 012tions

                                                                                                                                                     $     Sold and shipped by Yinchuan Xingtian E~comm erce
                   .,_                                                                                                                                     Sales Co., ltd.
           _ ·· f)                                                                                                                                         View seller information

                                                                                                                                                     Q     Addto list
                                                                         Ro ll over image to zoom in
             0                                                                        ®                                                              Protect you r pu rchase
                                                                                                                                                     Get the best value on product protection including fast
     About this item                                                                                                                                 repa irs or replacements.



          Product details



          Material: silicone and ABS
          Cleaning Modes: S
          Function: cleansing exfoliating massaging
          Voltage and current: SV/1A
          Battery capacity: 300mAh
          Waterproof rating: IPX6
          Size: 188.S"36.S' 22.3mm
          Weight: 130g

           • The facial cleansing brush with high frequency ultrasonic technology and high quality silicone material. can deeply cleanse
             your skin without harming it and can effectively solve your sl<ln problems.
           • The sonic facial cleansing brush has 5 different cleaning modes. You can choose the cleaning mode according to your skin
             sensitivity.
           • The facial cleanser also has a massage function. When used with the serum. it can effectively absorb and make your skin firm.
             rosy and glowing.
           • The face cleansing brush is made of silicone and ABS material. safe and non-irritating. The soft cleansing brush is used for
             cleansing and exfoliating and is more comfortable for your skin.
           • Portable facial cleansing brush, convenient to carry for travel, business trip and play in outside. The best gift for your mom,
             wife or friend.

          © We aim to show yo u accurate product informa tion. Manufacturers, suppliers and others provide what you see here, and we
             have not ve rified it. See our disclaimer



          Specificatio ns

          Brand
          Funnyfairy

          Manufac turer Part Number
          LJ-00200G



      0     ~Rort incorrect 12roduct information
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 355 of
<                                         368
                                         Checkout




                                                                                                                                   •
                                                                                                                                            Subt ot al (1 it em)     $15.55
      Ill:. 1. Free shipping, arrives by Sat, Jul 8                                                                                         Shipping                   Free

                                                                                                                                            Estimated taxes           $1.0 9


                                                                                                                                    Edit    Estimated total          $16.64
                             Miami, FL 33138

                                                                                                                                            H av e a p romo cod e?        V


     Delivery instructions                                                                                                          Add


     Add gate codes or other useful information.




     Items details                                                                                                          Hide det ails

     A rrives bySat , Jul 8 (1 it em)


     Sold and shipped by Yinchuan Xingtian E-commerce Sales Co., l td.

                            Sonic Face C leansing Brush Ant i-Aging Lift Facial Skin Ha ndheld                                  $15.55
                            C leansing Tool
                            Actual Color: Green


                                                                                                          Remove                    +




      Cg 2. Payment method
                                                                                                                                   •
      Pay with card



     Learn more ab out IMY.ment methods. w e accept



     • Required field




     I El       Card number'




                                                                                                                        Elli+♦
         Other ways to pay


         Pay with PayPal                                                  Pay in monthly installme nts with Affirm

         m Remember my PayPal account details                             Items in your cart are not elig:ble for Affirm.

         (                           PayPal                          )                              affim,J




    wa1mart+     Fr ee 30-daytrlal

    Save with free delivery + so much more
    Restrictions. apply.

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     ry Walmart+ free for 30 da¥S
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      0 3. Mo bile contact
     We'll contact yo u in case anyt hing co mes up wit h your o rd er.
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 356 of
                                      368




         Purchase evidence –
           Walmart sellers
                  Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 357 of
                                                        368

Cart (14 items)

,     Pickup and delivery options v

                                                                                                                                          Continue to checkout

                  Shipping, arrives Mon, Sep 25-Mon, Oct 23                                            See options
                                                                                                                                     Items in your cart are selling fast! Check X
                                                                                                                                     out soon before they're sold out
                   S12.00 shipping


                                                                                                                          Subtotal (14 items)                               ~
    14 items
                                                                                                                          Savings                                          -$77-00

    Arrives by Mon, Sep 25                                                                                     1 item
                                                                                                                                                                            $241.56


                                                                                                                          Seller shipping                                    $12.00
    Sold by .Ei:\!Jwl0 Pro Seller
    Fulfilled by Walmart
                                                                                                                          Taxes                          Calcu lated at checkout
                       Facial Clean sing Brush, Waterproof V ibrating and H eat ing                          $15.99
                       Face Brush for Deep Cleansing, Gentle Exfoliating and ...                              ~
                                                                                                       v..,...,. S63.00
                                                                                                                          Estimated total                                 $253.56
                       Actual Color: Pink 2
                       E) Free 90-day returns                                                                                                                    $23/mo with affQ
                       OnlyS left                                                                                                                                         Learn bow
                      @) Add Walmart Protection Plan by Allstate
                           Yiewdetai1s
                                                                                                                                     Become a member to get free same-day
                           ( Only one option can be selected at a time.)                                                                                                            X
                                                                                                                          waimart+   delivery, gas discounts & more!
                           0 2-Year plan - $2.00                                                                          0 Try Walmart• free for 30 days!
                           0 3-Year plan - $3.00




                                                                                                                           -
                                                                           ~          Save for later                                   Earn 5% cash back on Wal mart.com        X
                                                                                                                                       See if you're pre-approved with no
                                                                                                                                       credit risk. I earn bow
    Arrives by Tue, Sep 26                                                                                     1 item



    Sold and shipped by Electmnjcsonjc com

                       Pursonic FC200PK Silicone Facial Brush&#44;                                            $11.77
                       Pink
                       E) Free 30-day returns

                                                                                      Save for later


    Arrives by Sat, Sep 30                                                                                     1 item



    Sold and shipped by m.aella0 Pro Seller

                       StyleCraft Scrubs Gentle C leansing Facia l Brush - Pink for                         $26.55
                       Unisex -1 Pc
                       Actual Color: Pink
                       E) Free 30-day returns
                       Only2 left

                      @) Add Walmart Protection Plan by Allstate
                           Yiewdetai1s
                           ( Only one option can be selected at a time.)

                           0 2-Year plan - $3.00
                           0 3-Year plan - $3.50

                                                                                      Save for later


    Arrives by Mon, Oct 2                                                                                     2 items



    Sold and shipped by Beaytjful & Bold Aesthetjcs l ! C

                       Deep C leaning Silicone Facial Cleansing Brush Elect r ic                             $19.00
                       Massage Brush
                       E) Free 30-day returns

                                                                                      Save for later


    Sold and shipped by The Skjn Sho12

                       Ultrasonic Silicone Massage Cleansing                                                $35.00
                       Brush
                       E) Free 90-day returns
                       Only2 left

                      @) Add Walmart Protection Plan by Allstate
                           Yiewdetai1s
                           ( Only one option can be selected at a time.)

                           0 2-Year plan - $4.00
                           0 3-Year plan - $5.00

                                                                                      Save for later


    Arrives by Tue, Oct 3                                                                                     2 items



    Sold and shipped by PXNKY Co I td

                       Sonic Face Wash Brush,lmproving t he Efficacy of                                      $19.79
                       Creams,Anti-aging,Lift Facial Skin,Long Handle,Sonic...
                       Actual Color: Green
                       E) Free 31-day returns
               Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 358 of
                                                     368
                    @) Add Walmart Protection Plan by Allstate
                        View details
                        ( Only one option can be selected at a t ime.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                         ~           Save for later


Sold and shipped by Jasharjna Corp

                     Unique Bargains Sonic Facial C leansing Brush Hygienic Soft                          $17.57
                     Silicone with USB Line for A ll Skin C leansing for Women ...
                     Actual Color: Green
                     E) Free 90-day returns
                     Only4 left

                    @) Add Walmart Protection Plan by Allstate
                        View details
                        ( Only one option can be selected at a time.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                                     Save for later


Arrives by Wed, Oct 4                                                                                       1 item



Sold and shipped by Xi!J.gti.aJl..Us1.

                     Sonic Face Cleansing Brush Anti -Aging Lift Facial Skin                              $15.55
                     Handheld C leansing Tool
                     Actual Color: Green



                    @) Add Walmart Protection Plan by Allstate
                        View details
                        ( Only one option can be selected at a time.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                                     Save for later


Arrives by Thu, Oct S                                                                                     4 items



Sold and shipped by AUYMF Store

                     Silicone Face C leanser Brush Portable Face Cleaning                                 $15.49
                     Massager Exfoliating Blackhead Electric Facial Washing ...
                     Actual Color: Pink
                     E) Free 30-day returns

                    @) Add Walmart Protection Plan by Allstate
                        Yiewdetai1s
                        ( Only one option can be selected at a time.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                                     Save for later


Sold and shipped by ~.12uy...MaJ:kel;121.al;e.

                                                                                                          $14.99


    I
                     A lloet Men Silicone Face C leansing Brush 5 Mode Electric
                     Facial Cleanser (Black)
                     Size: One size
                     Actual Color: Black
                     E) Free 30-day returns

                    @) Add Walmart Protection Plan by Allstate
                        Yiewdetai1s
                        ( Only one option can be selected at a time.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                                     Save for later



I Reduced price I
                     Handheld Rechargeable Acoustic Wave Facial Cleanser,                                 $14.99
                     Waterproof Electric Household Portable C leaning Facial ...                           ~
                     Actual Color: Green                                                              Yousaw S4.00

                     E) Free 30-day returns

                    @) Add Walmart Protection Plan by Allstate
                        View details
                        ( Only one option can be selected at a time.)

                        0 2-Year plan - $2.00
                        0 3-Year plan - $3.00

                                                                                     Save for later


Sold and shipped by JoybuyMarketplace(Fxpress}
               Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 359 of
                                                     368
                                                                                                           $13.89


    I
                     Ltesdtraw Men Sil icone Face Cleansing Brush 5 Mode
                     Electric Facial Cleanser (Black)
                     Size: One size
                     Actual Color: Black
                     E) Free 30-day returns
                     Only2 left

                    @) Add Walmart Protection Plan by Allstate
                         Yiewdetai1s
                         ( Only one option can be selected at a time.)

                         0 2-Year plan - $2.00
                         0 3-Year plan - $3.00

                                                                         ~           Save for later


Arrives by Sat, Oct 7                                                                                        1 item



Sold and shipped by .lli1ll2iaw;

SS.00 Freight shipping


                     Soft Silicone Cleansing Brush - Gentle Sonic C leansing                               $13.99
                     Brush - Waterproof C leansing Brush Rechargeable Electric ...
                     Actual Color: Red
                     E) Free 30-day returns

                    @) Add Walmart Protection Plan by Allstate
                         Yiewdetai1s
                         ( Only one option can be selected at a time.)

                         0 2-Year plan - $2.00
                         0 3-Year plan - $3.00

                                                                                     Save for later


Arrives by Mon, Oct 23                                                                                       1 item



Sold and shipped by ~ g .
S7.00 Freight shipping


                     Facial Cleansing Brush, Electric Face C leansing Brush with 5                          $6.99
                     Adjustable Speed, IPX6 Waterproof Sil icone Face Brush, ...                             ~
                                                                                                      You wve $10.00
                     E) Free 90-day returns




                                                                                     Save for later
                                  Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 360 of
                                                                        368




  a                Shipping, arrives between Mon, Sep 25-Mon, Oct 23

                                                                                                                                    Place order for $242.90

                                                                                                                      By placing this order, you agree to our Privacy Policy and Terms of Use


                                Miami, FL 33131
                                                                                                                  Subtotal (13 items)                                                    $292.01

                                                                                                                  Savings                                                               -$77.00

                                                                                                                                                                                         $215.01
 Delivery instructions (optional)                                                                       Add


 Add access codes or other necessary information.                                                                 Seller shipping                                                         $12.00


                                                                                                                  Estimated taxes                                                          $15.89



 Items details                                                                                   View details
                                                                                                                    0     Give $0.10 to The National Fish and Wildlife
 One-time purchase (13 items)                                                                                             Foundation to support your local co

                   -,                                                                                                     Round up your total to the nearest dollar to donate
              ..
                                  ••                            • I                                      +3
                                                                                                                    Donate a whole dollar to The National Fish and
                                                                                                                    Wildlife Foundation
                                                                                                                                                                                                ©



 LI Payment method
                                                                                                                  Estimated total                                                     $242.90


      (QI       We'll look for smart ways to pay                                                                  Have a promo code?                                                            V
                We'll suggest payment methods that work best with eligible items in your cart.



 E                                                                                                 $242.90

 + Add new P.av.ment                                                              (     Edit payment      )




 or pay $20/mo with aff{r;;;)




Walmart+    Free 30-day trial
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Save with free delivery + so much more
Restrictions apply.

Trv. Wal mart+ free for 30 day..§.




  D         Mobile contact



 We'll contact you in case anything comes up with your order.


 'Required field


 Phone number (10 digits)*




 D I want to receive text updates about the status of my order.
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 361 of
                                      368
  ~ Halloween's a scream                                                                  Sponsored




                                                                           0
                                                                   Thanks for your order!

                                                               You saved $77.00

                Walmart t ' Join today

   -    ~       Members can save $1,300/year with free shipping and delivery•                                                    Try Walmart+ Free

  W+        ~
                                                          We'll email details   tel
                                                           Order #200011418652738 I $242.90


                                    sporkgood    Small acts lead to big impact in your community

                                   Round up to the nearest whole dollar the next time you check out. Select a local charjty ©




   a        Shipping, arrives between Mon, Sep 25-Mon, Oct 23




                           M iami, FL 33131




   Arrives by Mon, Sep 2S
   One-time purchase (1 item)




   Arrives by Tue, Sep 26
   One-time purchase (1 item)



    I
   Arrives by Mon, Oct 2
   One-time purchase (2 items)




   Arrives by Tue, Oct 3
   One-time purchase (2 items)




   Arrives by Wed, Oct 4




                Continue Shopping



   Arrives by Thu, Oct S
   One-time purchase (4 items)



                         I I
   Arrives by Sat, Oct 7
   One-time purchase (1 item)




   Arrives by Mon, Oct 23
   One-time purchase (1 item)



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                  Get order updates anytime with the app
                  Scan the QR code or search "Wal mart app" in your App Store to download.




            Make it eaaier to sign in                                                                                           Verify number
Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 362 of
                                      368
   Total order savings                                                                                                                           $77.00




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 $12.80 $16:66              $11.63 $1.11/fl oz       $18.47                  $8.44                  $9.00 83 c/ea                  $1.97 $5.97/fl oz
 Daily Concepts             Dove Exfoliating         Blackhead Remover       Finishing Touch        Hanhoo O n The Go              Freeman Natural
 Daily Facial Roller        Body Po lish Scrub       Vacuum,Upgraded         Flawless Facial        Hydrocolloid Acne              Skincare Clearing

 ***-t1*10                  Oatmeal & ...            Facial Po re...         Massage Ice Roller     Pat ch Roll, A ll Ski...       Charcoal & Tomat ...

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                        -             Earn 5%cash back on Walmart com See if you're pre approved w ith no cred it risk I earn how




          ONE                        Debit with rewards. Get 3% cash back at Walmart, up
                                     to $50 a year. See terms for eligibility.
                                                                                                                               (    learn more )




                      Continue Shopping
   Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 363 of
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           Sold and shipped by AutmorOiced:.us
                                                                                                                                                                  ,,,
                                                                                                                                                                   W:tlmMt+ Become a member to get free s-ame~day
                                 Silicone f:acc Washing Machine Ultrasonic Vibration                                                            $13.98                      delivery, g~s disc01Jnts & more!
                                 Waterproof racial Cle<1nsing Brush.Pink                                                                                           0 New members gel , free 30-day trial
                                 Actual Color. Pink




                                                                                                                                                                    -
                                 E) Ffee 90-day ceturns

                                @J Add Walmart Protection Plan by Allstate                                                                                                        Earn So/. cash back on Walmartcom           X
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                                       0 3 Year plan S.3.00



           Arrives by Wed, O ct 4                                                                                                                  I item




                                     Klzo Facial Cle.:,nsing Brush Silicone W~lerproof                                                          $12.88
                                     Rechargeable Facial Cleanser Face Scrub Brushes for...
                                 Actual Color: Pink
                                 E) Free 30.day returns

                                @ Add W.>lm.lrt Protection pt-,n by Allst.>to
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                                       {Only on~ option C.)n bf. s.oloet~ .)ti til'l"W).)

                                       0 2-Yea, plan - Sl-00
                                       0 3·Year plan - SlOO



           Arrives by Tue, Oct 10                                                                                                                 !Item


           Sold and shipped by JlQIE..W;
           $1.99 Frf1ght shippi,w;


                                     Facial Cleansing Brush USS Rechargeable Rotation And                                                       $10.79


                 I               Sonic Vibrating
                                 Actual Color. G.-oco
                                 E) free 60-dciy returns
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                                                                    G/Ye feedback           CA Privacy Rights   O   Your Prtvacy Choices   Notice at Collectlon   Request My Personal lnfonmtlon              Callforria SuppJy Chains.Act
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 364 of
<                                           368
                                         Review Order



                                                                                                                                                                        Place ordor for $42.4 1
         ~              Shipping, arrives between Thu, Sep 28-Tue, Oct 10


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                                               iam~ FL33131                                                                                             Seller shippflg                                           $1.99


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        Delivery instructions (optional)
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Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 365 of
                                                          368
                        Search cvcrythinq a t Wafmart onlino a nd in store



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                              Members can save $1,300/year with free shipping and delivery·                                                     GWl::li,4&♦
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                                Get order updates anytime with the app
                                Scan t he Q R code or search "Walmart •pp" in your A pp Store to download.




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          Weekly d eals
          Upto~~off




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          MOSHUVNeck                    JWOSummer                   FOLUNSI Women·,            Vwi 26" 4 .0 Fat Tire       Segmart Mobility      PowerSrnarl 21,
 Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 366 of
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DOE Number: 354
Seller Name: Cao ruixin
Marketplace: Wish
    Case 1:23-cv-23631-RNS Document 20-3 Entered on FLSD Docket 11/13/2023 Page 367 of
wish                                      368 0 What do you want to find?  M
                                                                                                                                                     ISM
  *   Popular     •   Express      0 Blitz Buy       @ Recently Viewed          Trending      Fashion      Baby Gear   Pet Accessories        Gadgets          Tools        Hea lth and Beauty   More



                Health and Beauty> Beauty and Cosmetics> Skin Care > Skin Care Tools

                Overview          Relate d


                      n                                                                                                       Deep Cleaning Silicone Facial
                                                                                                                              C leanser Electric Facial Cleanser




                  •
                                                                                                                              Elect ric Fac ial Cleanser Cleans T he
                                                                                                                              Skin Deep Cleansing Massage Brush

                                                                                                                               $7.97
                                                                                                                              4 interest-free payments o f $1.99 Wlth afterpay,c'.> or
                                                                                                                              Kkarno. Learn more




                 •
                                                                                                                              Color:




                ••
                                                                                                                                                   Blue




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                ••                                                                                                                            Q Add to Wishlist




                --Descript ion                                                                         Show Less
                                                                                                                              Flat rat e sh ip ping


                                                                                                                                 - - - - - - - - - - - - $10
                                                                                                                                 Spend $10 more to qualify
                                                                                                                                 Ship all eligible items for $2.99

                                                                                                                                 Estimated delivery Apr 30 - May 8


                  Features:
                  Increase brushing head, cover facial skin in large area. clean in many directions,                          Standard shipping $ 2.99
                  eliminat e acne more thoroughly.                                                                            Flat rate eligible
                  High frequency vib rat ion silence effect. for your more comfortab le use. we carry out                     Apr 30- May 8
                  humanized design.
                  Strengthen massage brush and fine contacts to make contacts closer to skin, softer and                      Items are sold and shipped by Cao ruixin
                  less harmful to skin.
                  Fuselage waterp roof design, no longer need to worry about falli ng into the water,
                  imagine cleansing fun, comfortable and enjoy its good.
                  USB Charging is Convenient. Fast. Persistent and Easy.
                   Description:
                  Deep cleanliness w ithout dead corner. brighten skin. tighten and soothe.
                   Specifications:
                  Color: rose red.azure,
                  Size: 80' 80 ' 3 5mm
                  Vibration frequency: 6000 RPM
                  Charging mode: USB charging
                  Waterp roof: Yes
                  Power supply: 200 Mah
                   Package! included:
                  1x Charging Waterp roof Beauty Inst rument
                   Not ice:
                  1.A II t he pictures in our store are 100% taken f rom the original products. Because of light
                  in different environments. different display screens. and ot her reasons. probably there
                  will be a little chromatic aberration between pict ure and product.
                  2.Due to the manual measurement and differe nt measurement methods, please allow1-
                  3mm deviation.Thanks!




                  Refe re nce Price by Selle r                                                         Show Less

                  A reference price is provided by t he seller of t he item (caoruixin). Pe rcentage off and
                  savings amounts are based on the seller's refere nce price. Sellers are not required to
                  provid e a reference price, but if they do, it should be (a) t he Manufacturer's Suggested
                  Retail Price (MSRP) or similar List Price of the p roduct; or (b) t he price at w hich the item
                  has been recently offered for sale and for a reasonable pe riod of time.
                  The refere nce price can give you an indication of the value of the product butsome
                  stores may sell the item for less than the reference price.

                  If you feel a reference price is inaccurate or misleading please report it wit h t he URL for
                  t he listing to report-abuse@wish.com




                  Sold By                                                                              V iew store

                           Cao ruixin
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w is h                                     368

     *   Popular    •     Express       0 Blitz Buy        @ Recently Viewed          Trending      Fashion   Baby Gear    Pet Accessories         Gadgets          Tools     Health and Beauty   More




                        Shipping
                                                                                                                                 - - - - - - - - - - --                      - - $10
                                                                                                                                 You're $2.03 fro m flat rat e shipping. Save o n
                                                                                                                                 shipping by adding an eligible item to cart.
                                                                                                                                 learn more
                                                                                                                  Change
                                               Palm Beach. Florida, United States. 33480
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                    @ Pay full amount
                          Pay the order total $11.73 now and you're all set                                                      Item Total                                             $7.97
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                          4 interest-free payments of $2.93
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                        Goog le Pay                                                                               Change
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                                                    Deep Cleaning Silicone Facial Cleanser Electric Facial         $7.97
                                                                                                                                 We've got your back. Get a full refund if any of
                                                   Cleanser Electric Faci al Cleanser Cleans The Skin Deep
                                                                                                                                 your it ems don't arrive. Learn More
                                                   Cleansing Massage Brush

                                                   Blue                                                                          0     30 Day Fr ee Return and Refund


                                                                 Remove




                                                Standard shipping: $ 2.99
                                                Flat rate eligible
                                                Estimated delivery: Apr 30-May 8


Contact. Policies & More "
